Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 1 of 228



                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

   ATLAS AIR, INC, et al.,
                                             Civil Action
                 Plaintiffs,                 No. 1:17-cv-1953

           vs.                               Washington, DC
                                             October 31, 2017
   INTERNATIONAL BROTHERHOOD
   OF TEAMSTERS, et al.,                     11:06 a.m.

               Defendants.
   __________________________/


      TRANSCRIPT OF MOTION FOR PRELIMINARY INJUNCTION - DAY 1
                 BEFORE THE HONORABLE RANDOLPH D. MOSS
                   UNITED STATES DISTRICT COURT JUDGE

   APPEARANCES
   For the Plaintiffs:       ROBERT A. SIEGEL
                             MICHAEL G. McGUINNESS
                                O'Melveny & Myers LLP
                                1625 Eye Street, NW
                                Washington, DC 20006


   For the Defendants:       EDWARD A. GLEASON
                                Law Office of Edward A. Gleason
                                10 17th St. N.W., Suite 800
                                Washington, D.C. 20006

                             DEIRDRE HAMILTON
                                International Brotherhood of
                                Teamsters
                                25 Louisiana Ave NW
                                Washington, DC 20001

   _____________________________________________________________

   Court Reporter:           Jeff M. Hook, CSR, RPR
                                Official Court Reporter
                                U.S. District & Bankruptcy Courts
                                333 Constitution Avenue, NW
                                Room 4700-C
                                Washington, DC 20001

   Proceedings recorded by realtime stenographic shorthand;
   transcript produced by computer-aided transcription.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 2 of 228
                                                                          2

1                                   I N D E X

2

3       Opening Statements                                             Page

4         By Mr. Siegel                                                  7

5         By Mr. Gleason                                                60

6

7

8       Witness Testimony                                              Page

9       Darren Lee, PhD

10           Voir Dire Examination by Mr. Siegel                       107

11           Voir Dire Examination by Mr. Gleason                      111

12           Direct Examination by Mr. Siegel                          113

13           Cross-Examination by Mr. Gleason                          148

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 3 of 228
                                                                         3

1                             P R O C E E D I N G S

2                  DEPUTY CLERK:    Civil action 17-cv-1953, Atlas Air,

3       Inc., et al. versus the International Brotherhood of

4       Teamsters, et al.    Will counsel please approach the podium

5       and identify yourselves for the record.

6                  MR. SIEGEL:    Good morning, your Honor.     Robert

7       Siegel of O'Melveny & Myers for the plaintiffs.        And my

8       colleague Mike McGuinness will help present the case also

9       from O'Melveny & Myers.

10                 THE COURT:    Welcome to both of you.

11                 MR. GLEASON:    Good morning, your Honor.     Ed

12      Gleason from the Law Office of Edward Gleason here

13      representing the defendants, International Brotherhood of

14      Teamsters and Teamsters Local 1224.      With me are my

15      colleagues co-counsel Dierdre Hamilton from the

16      International Brotherhood of Teamsters and James Petroff, my

17      co-counsel as well.     And thank you, Mr. Petroff just entered

18      his appearance pro hac vice this morning.

19                 THE COURT:    Well, welcome to all of you, thank

20      you.   Anything that either party wants to raise before we

21      start with opening statements?

22                 MR. SIEGEL:    Your Honor, there was some material

23      during discovery presented by the union.       They designated it

24      as confidential, so it was filed under seal with the

25      supplemental declaration of Mr. Carlson.       I spoke with
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 4 of 228
                                                                          4

1       Mr. Gleason before court today, and he indicated he would

2       not require that that material remain sealed or that we

3       would have to clear the courtroom as we begin to present

4       some of the evidence.      I don't want to speak for him, but I

5       wanted to clarify it before we present information that had

6       been designated as confidential.

7                   THE COURT:    Is there a confidentiality designation

8       or a seal that the Court should lift at this time, should I

9       enter an order lifting it?

10                  MR. SIEGEL:    That's what I was going to ask.

11      There's a designation, and if we didn't address it

12      technically maybe some people in the courtroom would have to

13      leave as we address the evidence.

14                  THE COURT:    And in addition to that, I just think

15      there's a strong preference in the law for not filing things

16      under seal.   And if there's not a need to, we ought to lift

17      the seal.

18                  MR. SIEGEL:    From the plaintiffs' side, we don't

19      perceive it as needs to be sealed.       The material was

20      redacted by defendants before they produced it, so it's our

21      understanding that anything that was deemed by them to be

22      private was already redacted.

23                  THE COURT:    Mr. Gleason?

24                  MR. GLEASON:   Thank you, your Honor.     We agree,

25      the seal can be lifted.     We would consent to that.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 5 of 228
                                                                          5

1                  THE COURT:   What is the docket number on that so

2       if I enter an order lifting the seal, I know what I'm doing?

3                  MR. GLEASON:    It's Mr. Carlson's -- I would need

4       your help.   It's Mr. Carlson's supplemental declaration and

5       the exhibits.    I believe it started at Exhibit 121 and

6       moving forward if I recall it correctly.

7                  MS. ACKERMAN:    It's Exhibit 126, ECF 27-2, 28-2

8       and then it's being filed on ECF 29.

9                  THE COURT:   So the ECF documents 27-2 and 28-2 and

10      it's Exhibit 126 to those documents, is that correct?

11                 MS. ACKERMAN:    It's Exhibit 126 and it had

12      attachments as exhibits.     And only a portion were under

13      seal.

14                 THE COURT:   Okay, thank you.

15                 MR. GLEASON:    And if I may, your Honor?

16                 THE COURT:   You may.

17                 MR. GLEASON:    Thank you.   They were exhibits that

18      had been attached to Captain Carlson's supplemental

19      declaration.    I don't have the numbers standing in front of

20      me, I have them in the booklet.      I believe Ms. Sloane is

21      correct.   We had requested that they be filed under seal

22      because we have an underlying objection with respect to the

23      union member privilege.     And we will have to deal with that

24      as we go along.

25                 I believe that based upon our conversation and our
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 6 of 228
                                                                          6

1       discussion in the pretrial status conference hearing the

2       other day, I believe a lot of that will be addressed in our

3       briefs.

4                  THE COURT:    Well, let me do this:    Since you're

5       the one who filed it under seal, why don't I let you after

6       the next break just give me the precise docket number and

7       pages that I should lift the seal on.       And I will enter an

8       order on the record doing that.      Since it's yours, I want to

9       make sure you've gone back and looked at it and that you're

10      comfortable what we're lifting the seal on.

11                 MR. GLEASON:    And I appreciate that.     There may

12      also just be another housekeeping matter with respect to the

13      transcripts that are going to now come in without the seal,

14      you know, with the seal lifted.      We had redacted -- just so

15      the Court knows, we had indeed redacted that which was

16      irrelevant, that which was privileged and confidential.        The

17      transcripts that have provided and Captain Carlson's

18      declarations don't show that there were any redactions, but

19      we'll just have to deal with that as we go along in the

20      hearing.

21                 THE COURT:    Yeah, I think it would be important to

22      clarify that.    Okay, thank you.

23                 MR. GLEASON:    Thank you very much.

24                 THE COURT:    Okay, Mr. Siegel?

25                 MR. SIEGEL:    I also believe that your Honor and
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 7 of 228
                                                                          7

1       the court reporter asked for a list of acronyms that might

2       be used in the case, and we've worked with the defendants to

3       prepare such a list.     So I don't know if you -- if I may

4       hand it to him?

5                  THE COURT:    You may.   I'm sure he will appreciate

6       it.   Thank you.

7

8                          PLAINTIFFS' OPENING STATEMENT

9                  MR. SIEGEL:    Your Honor, I'd like to begin with an

10      opening statement describing -- addressing the legal

11      standard and the facts that we intend to present in support

12      of our motion.

13                 As your Honor knows, we're here today on Atlas

14      Air's motion for preliminary injunction to prohibit the

15      defendants from engaging in an illegal and concerted

16      slowdown, and to order them to exert every reasonable effort

17      to stop the slowdown.

18                 Your Honor, this injunction is vital in this case

19      because Atlas is embarking upon its very busy peak holiday

20      season.   And businesses as well as millions of consumers

21      worldwide are counting on Atlas to deliver a timely,

22      reliable product.     This illegal slowdown which is designed

23      to pressure Atlas into collective bargaining negotiations

24      with defendants has led to a significant increase in

25      extended flight delays that are highly disruptive to Atlas,
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 8 of 228
                                                                            8

1       its customers, the United States military and the general

2       public.

3                  It has cost Atlas millions of dollars in lost

4       revenue and additional expenses.      And it has severely

5       damaged Atlas' reputation with its customers for

6       reliability.   It has also harmed a large number of consumers

7       who have not received their medications, documents, business

8       supplies and other important items on time because of

9       operational disruptions at Atlas.      If Atlas fails to deliver

10      reliable, timely services during the upcoming holiday

11      season, its brand and its business goodwill will be severely

12      damaged.

13                 In addition, your Honor, this illegal slowdown has

14      caused and is continuing to cause significant harm to U.S.

15      military operations including to our servicemen and women

16      who count on Atlas to deliver them and their critical

17      supplies to remote locations around the world.        It has also

18      caused our servicemen and women unconscionable, personal

19      inconvenience as the Atlas flight delays rob them of limited

20      time off and cost them precious time with their families.

21                 I would like to outline briefly, your Honor,

22      before I discuss our evidence the legal principles that

23      govern this case beginning with the Railway Labor Act which

24      applies to labor relations in the airline and rail

25      industries.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 9 of 228
                                                                             9

1                   Section 2 First of the Railway Labor Act which has

2       been described by the Supreme Court as the heart of the RLA

3       requires -- and I'll quote:     "All carriers and employees to

4       exert every reasonable effort to make and maintain

5       agreements, and to settle all disputes in order to avoid any

6       interruption to commerce or to the operation of any

7       carrier."

8                   Court decisions have repeatedly confirmed that

9       Section 2 First creates what they call a status quo

10      obligation during collective bargaining negotiations.          And

11      that obligation does two things:      It prohibits a union from

12      instigating a change in employee behavior designed to slow

13      down operations and assert economic pressure on a carrier.

14      And secondly, it requires a union to take effective steps to

15      stop a slowdown even if the union did not instigate it.

16                  There are a series of cases that have so held, and

17      they're identified in our brief in support of our motion.

18      Some of the lead cases were United versus IAM out of the

19      Seventh Circuit in 2001; Delta versus the Airline Pilots

20      Association, the Eleventh Circuit in 2001; United versus the

21      Airline Pilots Association, the Seventh Circuit in 2009;

22      U.S. Airways versus USAPA from the district court in the

23      Western District of North Carolina in 2011; and most

24      recently Spirit versus Airline Pilots Association in the

25      Southern District of Florida, a district court opinion
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 10 of 228
                                                                          10

1       earlier this year.     All of those cases have established and

2       have interpreted Section 2 First of the Railway Labor Act as

3       creating a status quo obligation during collective

4       bargaining negotiations.

5                  Now, your Honor, these cases have also expressly

6       held that even if the parties' collective bargaining

7       agreement itself permits individual pilots to engage in

8       certain conduct such as not accepting overtime flying or

9       calling in sick or fatigued, any change in the pilot's

10      conduct on a concerted basis in an effort to disrupt

11      operations and exert economic leverage is a violation of the

12      status quo requirement of the Railway Labor Act.

13                 This is an important point.      It was discussed at

14      some length by the Eleventh Circuit in the Delta versus

15      Airline Pilots Association case.      The point being that of

16      course individual pilots have rights to decline voluntary

17      flying or to of course not fly if sick or fatigued.         But

18      what is prohibited by Section 2 First of the Railway Labor

19      Act is a concerted effort to change behavior as a group in

20      order to exert pressure, bargaining pressure on the carrier.

21                 And again, most importantly your Honor, for this

22      case, the cases have regularly held that a union's use of

23      phrases such as "fly the contract" and "work to rule" and

24      "work by the book" and "fly safe" are well-recognized codes

25      and signals to engage in an illegal slowdown.        This type of
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 11 of 228
                                                                        11

1       tactic has been discussed at length by the Seventh Circuit

2       in both of the cases I mentioned, and was thoroughly

3       analyzed by the district court in the U.S. Airways case in

4       2011, U.S. Airways versus USAPA.

5                  In the ALPA case, the Seventh Circuit found these

6       phrases were -- and I quote:      "Code for the pilots to

7       strictly adhere to the contract terms for the purpose of

8       causing a slowdown."

9                  The Seventh Circuit held that the use of such code

10      phrases does not convert illegal slowdown activity into

11      lawful conduct.    When a status quo violation occurs, a

12      federal court has the authority to issue an injunction to

13      stop a concerted slowdown.      The cases have expressly held

14      that this authority to enjoin illegal conduct in violation

15      of the Railway Labor Act is not prohibited by the Norris–La

16      Guardia Act.

17                 And there is absolutely no case law to support the

18      defendants' argument that the First Amendment prohibits an

19      injunction against illegal conduct in violation of the

20      Railway Labor Act.     Nor, your Honor, is there any case law

21      to support the defendants' argument that this court is

22      deprived of jurisdiction to enforce the status quo mandate

23      of the RLA because these parties have a contractual,

24      no-strike clause in their collective bargaining agreement.

25                 The allegation in this case is that the defendants
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 12 of 228
                                                                              12

1       are violating a federal statute, not the collective

2       bargaining agreement.     And that is a question over which

3       this court plainly has jurisdiction.

4                  THE COURT:    Is the violation or the alleged

5       violation of the collective bargaining agreement subject to

6       arbitration?

7                  MR. SIEGEL:    Yes, under the Railway Labor Act, the

8       violation of a collective bargaining agreement, if it is

9       asserted, is called a minor dispute under the Railway Labor

10      Act.

11                 THE COURT:    Isn't there an obligation to attempt

12      all things short of going to a federal court to obtain an

13      injunction before doing so?

14                 MR. SIEGEL:    The Courts have said if there is a

15      minor dispute, one takes it to arbitration.        But when there

16      is a collective bargaining negotiation being conducted --

17      which is called a major dispute under the Railway Labor Act,

18      the formulation of a collective bargaining agreement, it's a

19      major dispute.    And the way in which you are required to try

20      to resolve it before you seek your injunction is to ask the

21      union to stop the illegal slowdown.

22                 And that's how the courts have treated this under

23      the Railway Labor Act and the Norris-La Guardia Act.            And

24      the evidence in this case shows that the company has done

25      that on at least three separate occasions.        And each time
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 13 of 228
                                                                          13

1       the company attempted to resolve with the union the

2       disruption of operations during the negotiation of a

3       collective bargaining agreement, the union absolutely

4       refused and in fact wrote a letter back saying that's

5       nonsense.

6                   THE COURT:    So I take it you're disagreeing with

7       this, but the defendants say in their brief that under the

8       Norris–La Guardia Act -- which needs to be read in

9       conjunction with the Railway Labor Act, provides that you

10      actually need to negotiate, mediate and arbitrate, to the

11      extent those are available remedies, before you come to the

12      federal court for an injunction.

13                  They argue that the Norris–La Guardia Act is not

14      at odds with the Railway Labor Act in this regard because

15      there's a way to accommodate both acts.       And that you just

16      need to go through the step of mediating or arbitrating, if

17      available, before you come to the federal court.

18                  MR. SIEGEL:   Your Honor, but there's -- just to

19      make clear, there's a series of cases that hold that you

20      balance the Norris–La Guardia Act with the Railway Labor

21      Act.   But the Norris–La Guardia Act does not, does not

22      prevent an action for injunction when there is a major

23      dispute and there is a violation of Section 2 First of the

24      Railway Labor Act.     The balance is struck in favor of the

25      Railway Labor Act's prohibition against the violation of the
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 14 of 228
                                                                        14

1       status quo in that context.

2                  THE COURT:    So the cases that you cited to me

3       earlier, in any of those cases did the collective bargaining

4       agreement actually provide a mediation or arbitration remedy

5       that the Court held well, that doesn't matter, we don't have

6       to do that or were those cases where it wasn't raised

7       because there wasn't such a remedy in those cases?

8                  MR. SIEGEL:    It was not mentioned in the Court

9       cases.   I can't tell you what was precisely in the

10      collective bargaining agreement.      But what I can say is that

11      all of those cases, like this case, involved an allegation

12      that there is a negotiation of a collective bargaining

13      agreement occurring which is a major dispute under the

14      Railway Labor Act.

15                 Those cases said that when you have that

16      occurring, when you have a major dispute and you are

17      negotiating a collective bargaining agreement, the carrier

18      and the court has -- the carrier may go to court and the

19      court has jurisdiction to enforce Section 2 First of the

20      Railway Labor Act in the context of a major dispute which is

21      the formation of a collective bargaining agreement.

22                 THE COURT:    I guess the question I'm asking is is

23      there any case law one way or the other of where you have a

24      major dispute -- and I'll grant you that, it is a major

25      dispute, but it also involves a violation of an existing
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 15 of 228
                                                                         15

1       collective bargaining agreement and so that there could be a

2       lesser remedy of at least trying to enforce one's rights

3       under the collective bargaining agreement through an

4       arbitration or mediation; but where the courts have said you

5       don't need to do that because this is a major dispute and

6       therefore you can jump over that?

7                  MR. SIEGEL:    There's no case that has -- and I

8       think I know all the cases on this point, your Honor.

9       There's no case that has said you may not -- that because of

10      a contractual no-strike clause, you may not enforce Section

11      2 First of the Railway Labor Act in federal court.         The

12      cases I've mentioned to you do not mention the -- whether

13      there's a no-strike clause in the collective bargaining

14      agreement or not, because they're focused on the alleged

15      violation of the statute.

16                 And I must say, this obligation to solve before

17      you seek an injunction -- the way it's been articulated by

18      the courts in a major dispute where the carrier is not

19      alleging a violation of the collective bargaining agreement,

20      the way that obligation has been routinely interpreted by

21      the courts is that the carrier is required to not seek

22      arbitration but to seek resolution by discussing the illegal

23      conduct with the union and asking the union to stop.

24                 And that is what you will see discussed in some

25      detail, for example, by Judge Conrad in the U.S. Airways
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 16 of 228
                                                                          16

1       versus USAPA case most recently and in the cases involving

2       United Airlines before the Seventh Circuit.        They regularly

3       interpret the requirement to seek resolution with the other

4       party in a major dispute where you are dealing with a -- I

5       must just really stress, when you're dealing with the

6       formation of a collective bargaining agreement.

7                  THE COURT:    Right.

8                  MR. SIEGEL:    That's how they interpret that

9       obligation that balances the Railway Labor Act and the

10      Norris–La Guardia Act.

11                 THE COURT:    That obligation comes out of the

12      Norris–La Guardia Act, correct?

13                 MR. SIEGEL:    Yes, your Honor, that obligation

14      comes out of the Norris–La Guardia Act.       I think it's fair

15      to say it's part of the Railway Labor Act as well.         I think

16      that's why Atlas -- and you'll see the carriers in these

17      other cases, repeatedly asked the union to stop the illegal

18      conduct before coming to court.      And that's what the courts

19      have said is the satisfaction in a collective bargaining

20      negotiation dispute, a major dispute of the obligation to

21      try to solve.

22                 THE COURT:    What I'm trying to figure out is

23      whether this is a question of first impression and whether

24      it's -- collective bargaining agreements don't typically

25      include a no-strike provision that is subject to arbitration
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 17 of 228
                                                                            17

1       so it just doesn't come up that often, and so in these other

2       cases the issue just didn't arise in that context.         That's

3       what I'm trying to get at.

4                  MR. SIEGEL:    I mean, in terms of whether the

5       courts have ever addressed it precisely, I think they have

6       not.   And to just explain, your Honor, the way the courts

7       look at it, there's a no-strike clause basically stated in

8       the Railway Labor Act.     That's what 2 First is.     And so

9       unlike collective bargaining agreements under the National

10      Labor Relations Act, many under the Railway Labor Act don't

11      even include contractual no-strike clauses because there's a

12      statutory no-strike clause.

13                 But I must say, your Honor, in this case the fact

14      that there's a contractual no-strike clause I would submit

15      certainly doesn't obviate a cause of action under the

16      statute, and I'll say for two reasons.

17                 THE COURT:    Okay.

18                 MR. SIEGEL:    First of all, the obligation not to

19      disrupt operations and not to disrupt commerce as mandated

20      by Congress is as much for the public interest as it is for

21      the carrier's interest.     I see no indication anywhere in the

22      Railway Labor Act jurisprudence that there can be

23      essentially a waiver of the Congressional mandate against

24      interruption of commerce and against interruption of

25      carrier's operations.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 18 of 228
                                                                        18

1                   That provision has regularly been recognized by

2       the Supreme Court as being at the heart of the Railway Labor

3       Act.   And I've seen no evidence, no precedent that it can

4       simply be obviated or waived by a contractual provision.

5                   Secondly, if one were to take it as a first

6       impression issue here, this collective bargaining

7       agreement's no-strike clause has an expressed provision in

8       it which says completely -- it says it in black and white

9       that this contractual provision shall not in any way obviate

10      the rights to seek an injunction in federal court against

11      the union or the individual employees for violation -- for a

12      slowdown.    That was set forth in it.     Let me just read that

13      to you.   It says --

14                  THE COURT:    You're reading this from the

15      collective bargaining agreement?

16                  MR. SIEGEL:   I'm reading from the no-strike clause

17      in the collective bargaining agreement.       The defendants did

18      not quote this in their brief.      But it says:    "This

19      paragraph shall not alter or limit the company's right, if

20      any, to obtain a court order enjoining such conduct by the

21      union or the crew members, both collectively and

22      individually."

23                  So that's included in the contractual no-strike

24      clause.   So I would submit that that contract clause and the

25      purpose of the Congressional mandate in Section 2 First
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 19 of 228
                                                                            19

1       would lead to the conclusion that the jurisdiction of a

2       federal court to enforce the status quo provision of Section

3       2 First of the Railway Labor Act is not obviated by the fact

4       that there is at least in this case a contractual no-strike

5       provision as well.

6                  THE COURT:    What is the current status of the

7       collective bargaining agreement?      Is it enforceable?        I

8       mean, its term has run.

9                  Is it sort of a holdover provision in that it

10      still has the legal force until a new contract or is it a

11      nullity?

12                 MR. SIEGEL:    Under the Railway Labor Act, unlike

13      the National Labor Relations Act, collective bargaining

14      agreements only become amendable.       They don't actually term

15      out.

16                 THE COURT:    I see.

17                 MR. SIEGEL:    And here what's happened is there's

18      actually a collective bargaining agreement at Atlas with the

19      Teamsters, and there is also a collective bargaining

20      agreement at Southern which is -- there's a merger between

21      those two.    And those two contracts have hit their amendable

22      dates, but they continue in full force and effect under the

23      Railway Labor Act.

24                 The parties have reached a protocol agreement

25      where they're trying to bargain what we would call a joint
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 20 of 228
                                                                           20

1       collective bargaining agreement following the merger where

2       they bargain for a contract that would combine -- that would

3       apply to the combined pilot group.       So those negotiations

4       are proceeding currently pursuant to a protocol agreement

5       that the Teamsters and Atlas and Southern worked out earlier

6       this year.

7                  THE COURT:    I realize this is off point, but it

8       might help me framing things in my mind.       How does that

9       process work?    Are they required to negotiate?      Do they

10      reach impasse -- or hopefully reach an agreement.        If they

11      don't reach an agreement, there's a period that they reach

12      impasse and then they're at impasse and then there are

13      procedures that kick in?

14                 MR. SIEGEL:    Yes.

15                 THE COURT:    If you can walk me through that.

16                 MR. SIEGEL:    In this case, it's a bit more

17      complicated because of one of the contract provisions

18      applicable to mergers.     But let me start with the normal

19      process under the Railway Labor Act.

20                 The parties are required to continue to bargain

21      with each other even past the amendable dates.        The

22      contracts remain in place.       Normally under the procedures of

23      the Railway Labor Act, the parties are allowed to seek

24      mediation services of the National Mediation Board which is

25      the board that regulates railway and airline labor law.         And
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 21 of 228
                                                                         21

1       there's three presidential appointees who sit on that board,

2       and a staff of mediators.

3                  The parties are not allowed to take self-help as

4       it's called, strike by the union, slowdown by the union or

5       unilateral changes by the carrier until the National

6       Mediation Board issues what is called essentially a release

7       from mediation which then produces a 30-day cooling off

8       period.   And then at the end of that, under the Railway

9       Labor Act, a right to take self-help.

10                 So the Supreme Court has called that an

11      interminable process, and it's a regulated process unlike

12      the process under the National Labor Relations Act where it

13      does not allow slowdowns, strikes and such until or unless

14      the National Mediation Board releases.       And so that's why

15      there would be negotiations typically under the Railway

16      Labor Act past the amendable date trying to reach agreement.

17                 There is a unique feature of this situation, and

18      it's the subject of a dispute between Atlas and the

19      Teamsters in the Southern District of New York right now.

20      But it is the following:     That in this case, after these

21      contracts became amendable and the merger occurred around

22      the very same time, Atlas and Southern invoked provisions in

23      their collective bargaining agreements that indicated that

24      in a merger, there would be a special procedure used for

25      formulating a joint collective bargaining agreement.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 22 of 228
                                                                            22

1                  This was a specific section in each of the

2       contracts, section 1F in the Atlas contract and I believe it

3       was section 1B3 in the Southern contract.        And those

4       sections provided that if there were a merger, instead of

5       following the procedure that I just outlined for resort to

6       the National Mediation Board and eventual release if the

7       board so deems, those contract provisions say in a merger

8       the parties will meet to try to negotiate very quickly for a

9       joint contracting to cover the combined group.        And if they

10      don't reach agreement within a very short period of time,

11      they would submit the unresolved issues to what is called

12      interest arbitration.

13                 Instead of using the NMB, instead of getting a

14      release from the NMB, instead of having a right to strike or

15      take self-help actions, this provision in both of the

16      contracts said you will discuss the joint contract for a

17      specified time, and then if you cannot reach agreement you

18      will submit the unresolved issues to arbitration.        In the

19      labor field, we call that interest arbitration because it's

20      not interpretation of a contract, it's actually an

21      arbitrator formulating terms of a contract.

22                 And that would be binding on the parties.         It's

23      essentially in lieu of -- it's the parties' contractual

24      agreement about how to comply with the Railway Labor Act,

25      and it's in lieu of the normal way.       There's a dispute that
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 23 of 228
                                                                              23

1       is not obviously before this court between the carriers and

2       the union over the applicability of those contract

3       provisions that I just described.       The company asked in that

4       situation the union to comply with those provisions.            The

5       union declined.    And so we are now in a lawsuit in the

6       Southern District of New York.

7                  THE COURT:    Who is that in front of?

8                  MR. SIEGEL:    They just changed the judicial

9       assignment so I have to check it.       We submitted

10      cross-motions for summary judgment for the motion to dismiss

11      by the union.    After submitting the papers, the judge -- the

12      assignment was changed.     Maybe you can give me the name of

13      the judge, Sloane.     I should make sure the detail on that is

14      clear as well.

15                 What happened there is the companies said section

16      1F and 1B3 requires that we engage in this merger process.

17      And when the union said we don't think so, then the company

18      filed what's called a management grievance.        And the union

19      refused to submit the management grievance to arbitration.

20      That would have been a normal interpretation arbitration,

21      not the interest arbitration, just to say that section 1F

22      and section 1B3 applies.

23                 When they refused to arbitrate, we then filed an

24      action in the Southern District of New York to compel

25      arbitration under the question of whether section 1F and 1B3
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 24 of 228
                                                                         24

1       applies to the formation of the joint contract.        And the

2       parties have submitted cross-motions, and we're either

3       waiting for a ruling or we're waiting for a hearing, we're

4       not sure which at this stage.

5                  THE COURT:    Okay.

6                  MR. SIEGEL:    But it is a -- the reason I think to

7       some extent this dispute that I'm describing is on the

8       sidelines is that in the meantime, while this dispute is

9       pending in the Southern District of New York, the good news

10      is that the carriers and the union in June of this year

11      decided to try to sit down and simply without giving ground

12      on what I'll call the end game -- whether it be the NMB or

13      interest arbitration -- they agreed to sit down and try to

14      negotiate in good faith for a joint collective bargaining

15      agreement.

16                 That process started in July of this year while

17      the lawsuit still is pending.      The parties essentially put

18      what I'm calling the end game aside while they tried to see

19      if they can make progress in negotiating.

20                 THE COURT:    Another question I have for you and

21      then I'll let you get back to your presentation.

22                 MR. SIEGEL:    Sure.

23                 THE COURT:    It strikes me that one issue that may

24      be a significant issue in this case is when the negotiation

25      process begins.    Is it with the formal notice or is there a
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 25 of 228
                                                                         25

1       period of negotiation before the formal notice is served?

2       And if so, is that period before the formal notice is served

3       covered by provisions that say that you need to maintain the

4       status quo or is the status quo provision only triggered

5       once the formal notice -- once the amenability period comes

6       into effect and there's a notice that's served?

7                  MR. SIEGEL:    Well, the way the courts look at this

8       is the status quo requirement of the Railway Labor Act is

9       applicable at any time until or unless the National

10      Mediation Board releases the parties to engage in unilateral

11      change and self-help.     So there is a status quo that is in

12      place during the term of a collective bargaining agreement,

13      and also obviously during the period in which the parties

14      are negotiating to amend the collective bargaining

15      agreement.

16                 But these decisions that have come up in the last

17      few years have focused on the fact that what has been

18      happening frankly in the industry is an attempt when the

19      negotiations are starting, usually when what we call a

20      Section 6 is provided under the Railway Labor Act.         That is

21      notice of an intended change in the CBA.       It's at that point

22      that there has been a problem, at least in the courts'

23      views, with the attempt by some of the unions to direct

24      employees to change their normal behavior in a way that

25      would, as the courts call it, change the status quo behavior
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 26 of 228
                                                                        26

1       and disrupt operations to bring pressure on those

2       negotiations.

3                  So most of these -- all of these cases have come

4       up in the context when you are in that period, when you are

5       in Section 6.    But the status quo itself is actually

6       applicable under the Railway Labor Act during the term of

7       the contract.    There's no -- this is a semi-regulated

8       industry, and it's done to be -- the whole purpose of 2

9       First is to ensure that at least in the railroad and the

10      airline industries, there is not a right to alter status quo

11      in a manner that disrupts operations and imposes pressure on

12      the other side.    The litigation comes up typically when

13      you're in those negotiations.

14                 THE COURT:    I mean, I raised this for reasons that

15      are probably obvious to you which is one of the arguments

16      that the union makes here is it says we were doing this

17      before, before the Section 6 notice was served.        And in

18      fact, this was triggered -- to the extent any change

19      occurred, the change occurred where new union leader sat

20      down with new management, and they talked and they said we

21      agree we're going to abide by the terms of the contract.

22      And from that point forward at least, that's when the union

23      said we're going to hold you strictly to the contract and we

24      understood that the employer or the company was going to

25      hold the union strictly to the contract.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 27 of 228
                                                                         27

1                   MR. SIEGEL:   So your Honor, I was planning to

2       address that.    But let me just go right to it.      What the

3       evidence shows -- and I would like to summarize it a bit

4       before the witnesses go.     But what the evidence shows -- and

5       I don't think it's actually -- this is not inconsistent with

6       what the defendants said, is that when new leadership was

7       elected in approximately December of 2014, one of the first

8       things the new leader did was to make a proposal, present to

9       the company a specific document and propose to essentially

10      open the contract earlier than the amendable date; and to

11      provide wage increases and other changes to the collective

12      bargaining agreement.     That was presented to the company by

13      new leadership in early December 2014.

14                  The company was not obligated to open the contract

15      early and did not accept the new union leader's invitation

16      to have an early reopener of that type.       But the union

17      tried.   This is Captain Kirchner, the newly elected leader,

18      he tried.    And so if you want a signal when the attempt to

19      start bargaining occurred, it occurred with that document in

20      December 2014.    And if you read Captain Kirchner's

21      declaration, he concedes that he did that.        And then we

22      submitted a copy of that proposal with Captain Carlson's

23      supplemental declaration.

24                  So this was not a benign new union leadership with

25      a theme of contract compliance.      It was from the beginning
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 28 of 228
                                                                           28

1       an attempt to change the collective bargaining agreement

2       even though the carrier was not legally obligated to do

3       that.    And what happened was after the carrier did not do

4       that, the leadership started some level of communications to

5       the pilots in 2015 -- and our evidence shows this.         And some

6       of that communication was along the lines of fly the

7       contract, strict compliance with the contract which as I've

8       indicated, many courts have recognized as signal and code

9       words.

10                 But what happened was through 2015, some of that

11      communication began to come from new leadership.        But also

12      at the same time new leadership started to develop the theme

13      of do this, do this, strict compliance so that we can put

14      leverage on the company for a changed collective bargaining

15      agreement.    It was occurring earlier than the amendable

16      date, but it was occurring after the union had tried to

17      obtain an early change and had failed.

18                 So this was not benign communication of an

19      interest in strict contract compliance.       It was coupled from

20      the very beginning with bring this to bear on the company so

21      that they will feel the pressure and you will get a better

22      collective bargaining agreement.

23                 Now, it did not have the same effect, your Honor,

24      in 2015 as it began to have in 2016.       The company didn't --

25      the pilots did not begin to change their behavior in light
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 29 of 228
                                                                             29

1       of some of those earlier 2015 communications.        In fact,

2       there was plenty -- there were plenty of pilots in 2015

3       volunteering for open time flying.       And we did not have the

4       spike in prolonged delays that we saw later in 2016.            So

5       there was some beginning activity in 2015, beginning

6       communication by the new union leader.       And it followed an

7       unsuccessful attempt for a really early opener, and the

8       companies did not agree to do that.

9                   But what happened was it began to intensify in

10      2016.   That is why we have focused on that period.        They

11      started the conversation.      They started this theme of fly

12      the contract.    They started this theme of strict compliance

13      with the contract earlier.      But this message intensified as

14      we have said in our papers and in our expert report in 2016

15      at the same or approximate time that the formal Section 6

16      notices were exchanged.

17                  And it's at that time in early 2016 that the union

18      announced a couple of their formal campaigns to change pilot

19      behavior.    They announced what they called the SHOP

20      campaign, Stop Helping Out Purchase.       Purchase is the

21      headquarters of Atlas.     The word stop connotes a change in

22      behavior.    And they also announced the BOOT campaign, Block

23      Out On Time, which means instead of leaving early like many

24      did if the airplane had passed safety checks and was loaded.

25                  It was when the union intensified its earlier
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 30 of 228
                                                                           30

1       communication campaign in early 2016, intensified it and

2       combined it, your Honor, frankly with threats against pilots

3       who wouldn't cooperate.     They called them bad apples.        They

4       used the word scabs.     They said take names.     That started

5       later in 2016, and that's when we saw the beginning of the

6       change in pilot behavior that is the subject of this

7       lawsuit.

8                  That is when the core status quo violation began

9       to manifest.    And at the same time, that is when the

10      disruption to the operation occurred according to the data

11      that we have presented.     We see a spike in prolonged delays.

12      We see a spike in same-day sick calls.       We see a drop in

13      voluntary acceptance of open time flying.        We see the

14      disruption and we see the change of behavior that the union

15      is directing intensify with the union's rhetoric in 2016

16      when they begin these formal programs and they begin to

17      threaten individual pilots who do not abide by the union

18      program.   This is in black and white.

19                 I'd like to, before I sit down, just share some of

20      the examples that have been the basis for this allegation.

21      But that is how we explain the timeline.

22                 THE COURT:    Okay.   That's helpful, thank you.

23                 MR. SIEGEL:    I'd like to summarize the status quo

24      violation and inform the Court as to our witnesses and a

25      short summary of the evidence we rely on.        I do point out
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 31 of 228
                                                                         31

1       that in this case, the evidence has been presented

2       extensively by agreement with the defendants, direct

3       testimony presented through declarations.        And we have a

4       rebuttal report from our expert witness.       So a good deal of

5       the testimony is in the record, and I do not intend to take

6       a good deal of time to present witnesses just to repeat what

7       they've already testified to.      But they'll be asked to

8       highlight and summarize some principles, and of course be

9       available for cross-exam.

10                 First of all, I'd like to focus on the fact that

11      we've presented evidence that the union's messages have

12      caused the pilots to change their behavior on a concerted

13      basis over the course of the last many months.        First of

14      all, the pilots are calling in sick on what we call short

15      notice meaning the day they are scheduled to fly at for-hire

16      rates than they have in the past making it far more

17      difficult to find a replacement on a timely basis.

18                 Secondly, pilots are calling off fatigued at far

19      higher rates than they did before they started the slowdown

20      in a manner designed to induce what we call prolonged flight

21      delays of six hours or more.      Number three, pilots are

22      refusing to accept open time or unassigned flights that they

23      historically have volunteered to fly.

24                 Pilots have instituted what I referred to a moment

25      ago as the BOOT campaign, Block Out On Time, whereby they
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 32 of 228
                                                                           32

1       refuse to depart from the gate until the estimated departure

2       time even when the aircraft has been loaded and has passed

3       all safety checks.     The BOOT campaign, your Honor, robs

4       Atlas of an important buffer it used to have during the

5       status quo period which allows it to absorb unexpected

6       delays related to weather, air traffic control and other

7       variables and still arrive on time.

8                   So the status quo was to go when ready, loaded and

9       not wait.    And being deprived of that past practice

10      adversely affects the operation.      That's why the union has

11      instigated it.    If it didn't adversely affect the operation,

12      I would assert to this Court we would not see the union

13      telling people to BOOT.

14                  The pilots have engaged in a campaign known as

15      SHOP which directs all pilots to Stop Helping Out Purchase.

16      Atlas is located in Purchase, and the SHOP campaign has

17      basically been a directive to change your behavior.         Stop

18      means change and stop doing the things that you have done in

19      the past to help Atlas achieve operational success.

20                  Now I'd like to address the -- one of the ways

21      that they have encouraged pilots to SHOP is to what they

22      call strictly comply with the collective bargaining

23      agreement.    This slogan which we see throughout their

24      communications is virtually identical to the fly the

25      contract and the work to rule slogans that the courts have
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 33 of 228
                                                                               33

1       addressed and have expressly found to be impermissible code

2       phrases or signals for an illegal slowdown.

3                   Another way that the defendants have directed

4       pilots to change their behavior is to urge them -- and I'll

5       quote this phrase, "not to be afraid to call fatigued."           And

6       they've done that on the grounds they say of safety.            This

7       too is identical to the slogan such as fly safely and safety

8       comes first that the courts have found to be impermissible

9       code words for an illegal slowdown.

10                  There's a very good discussion of this subject in

11      U.S. Airways versus USAPA, Judge Conrad out of the Western

12      District of New York in 2011, where the Court found that you

13      could not convert an illegal change in behavior, an illegal

14      slowdown into lawful conduct by labeling it a fly safely

15      campaign.

16                  And I should stress to your Honor that none of

17      this involves asking individual pilots to operate through

18      their -- against their own individual discretion under a

19      safety standard.    And Judge Conrad addressed that in the

20      USAPA decision, U.S. Airways decision.       The injunction

21      issued in that case was against concerted union-directed

22      change in behavior designed to impose bargaining leverage on

23      the carrier, not to foreclose appropriate individual pilot

24      discretion regarding what is safe or what is not.

25                  Let me also add that the defendants have made
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 34 of 228
                                                                        34

1       clear that this change in behavior that they are directing

2       must take place on a concerted basis with no tolerance for

3       individual pilot choice.     This is evident in the constant

4       use of phrases such as "all in" and "solidarity" and

5       repeated threats to ostracize and label pilots as "scabs"

6       and "bad apples" if they do not engage in the concerted

7       change in behavior urged by the defendants.

8                   Now, your Honor, on these issues we plan to

9       present to the Court three witnesses.       The first is

10      Dr. Darren Lee who is an expert in economics, statistics and

11      in the airline industry.     He's testified in cases like this

12      one and has been certified as an expert on many occasions.

13      His analysis confirms that the change in behavior such as

14      calling in sick on short notice and calling in fatigued, the

15      change in those behaviors is what the economists call

16      statistically significant meaning that the change is not the

17      result of random occurrence but rather is attributable to

18      concerted behavior.

19                  We'll also call Captain Jeff Carlson who is the

20      vice president of flight operations for Atlas.        He will

21      describe the concerted change in pilot behavior that he has

22      observed.    He'll explain how the defendants have instigated

23      the slowdown through a persistent campaign of publications

24      and communications.

25                  I want to note, your Honor, that Mr. Carlson and
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 35 of 228
                                                                        35

1       Atlas do not challenge and will not challenge the bona fides

2       of each individual sick or fatigued call in this hearing.

3       The gravamen of this case is not over the bona fides of each

4       individual call, but rather is over a concerted change of

5       behavior in the aggregate.      To that point, Mr. Carlson will

6       confirm what he said in his declaration testimony that in

7       the aggregate, the concerted usage of sick and fatigue has

8       changed as the union has urged the pilots to slow down the

9       operation including expressly urging them to call in

10      fatigued or sick.

11                 The individual examples of fatigue and sick calls

12      set forth in Mr. Carlson's declaration were included to

13      provide this Court with basically an insight into how our

14      operation functions and the impact of fatigue calls on that

15      operation.    But Mr. Carlson did not identify the names of

16      the individual pilots involved in those examples, and in

17      this hearing Atlas does not base its claim for violation of

18      the Railway Labor Act on whether a particular pilot was sick

19      or not on a particular day.      We're not here to litigate

20      that.

21                 THE COURT:    Does the law speak to the question of

22      whether the Court has to look at motive for the change in

23      the status quo?    Does it have to be that there's a change in

24      status quo that was done for the purpose of exerting

25      influence?    The reason I ask that question is imagine a
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 36 of 228
                                                                        36

1       world in which you have a union of painters.        And there's a

2       press report that comes out that says that exposure to the

3       fumes from the paint for more than four hours without taking

4       a break can lead to cancer.      And the union is concerned

5       about the health of its painters and it says you're all

6       entitled under the collective bargaining agreement to take a

7       break every three hours.     We're really encouraging you to do

8       it for health reasons, because you may be increasing your

9       risk of getting cancer if you're not doing it.

10                 It so happens that they do it at a time that

11      coincides with a negotiation of the collective bargaining

12      agreement, and the employer company comes in and says wait a

13      second, we're in the middle of a negotiation and all of a

14      sudden we're getting on average an hour less of productivity

15      a day really affecting our business.

16                 So do I look to the motive and do I have to make a

17      finding that they're doing this for the purpose of exerting

18      influence?

19                 MR. SIEGEL:    It's a very good question under the

20      Railway Labor Act.     I think analytically, Section 2 First of

21      the Railway Labor Act prohibits an alteration in the status

22      quo that disrupts operations.      And it does not itself focus

23      on the motive for that alteration in status quo.        The cases

24      I've mentioned to you -- and there's a lot of them, have --

25      in the course of receiving evidence, the courts have noted
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 37 of 228
                                                                         37

1       that the invocation of flying the contract or the invocation

2       of safety has been deemed by many of the courts to be an --

3       they don't use the word pretext, but an unacceptable way to

4       try to convert disruptive behavior into lawful conduct.         So

5       I think the -- if the change in behavior disrupts

6       operations, I think it violates Section 2 First of the

7       Railway Labor Act.

8                  That said, a number of the courts have focused on

9       the fact that the change is motivated by a desire to impose

10      pressure on collective bargaining.       I wouldn't run away from

11      that requirement, because I think the evidence in this case

12      is overwhelming -- overwhelming as it was in the other

13      cases, that the intent of the union's directive to change

14      behavior is to impose pressure on collective bargaining

15      negotiations.

16                 The evidence in this case is in black and white

17      when you just read the union communications that tell the

18      pilots that's why we are directing you.       So I think the

19      motive element is demonstrable here.       And frankly, it was

20      demonstrable in most of the other cases I've cited.         And the

21      courts have certainly -- I won't say relied on that, but

22      have described that as part of the basis for their decisions

23      even though I don't see it in the Railway Labor Act as such.

24                 THE COURT:    Although I take it that the standard

25      we're relying on here is one that really is judicially
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 38 of 228
                                                                           38

1       inferred from other language.      The Railway Labor Act doesn't

2       speak directly to this question, but case law has been built

3       on it?

4                   MR. SIEGEL:   That's right.

5                   THE COURT:    Drawn from it.

6                   MR. SIEGEL:   It's a fair point.     It's not in the

7       statute, but I very much agree with your Honor that this

8       element has been an element that has been developed in the

9       case law.    And as I say, when you read this case law, it's

10      extraordinary.    Because to avoid liability, very frequently

11      what has occurred is invocation of fly the contract, fly

12      safe, work to rule as an effort to try to say that's our

13      motive.

14                  But in all of those cases -- and in this one as

15      well, the evidence shows that that is indeed not the motive.

16      The motive is to bring to bear pressure on the company

17      during negotiations.      And frankly, your Honor, the union

18      here doesn't even try to avoid that.       It doesn't even try to

19      avoid that.

20                  There's a line in I believe it's Captain

21      Kirchner's declaration where he says, "Yes, I'm seeking to

22      impose leverage on the carrier in collective bargaining, but

23      I believe that leverage is legal."       That's what he says.   I

24      say back to your Honor no, it is not legal.        It is not legal

25      under any of the cases that have addressed this issue.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 39 of 228
                                                                           39

1                  I was going to follow up my point about the

2       individual issues which is we note that the defendants have

3       filed approximately 25 declarations from pilots testifying

4       about whether they were sick or fatigued or not.        We have no

5       intention to litigate this case on the basis of whether any

6       one of them was sick or not sick, and we have informed

7       Mr. Gleason we don't intend to cross-examine those pilots.

8                  The filing of those declarations misses the point

9       of our claim frankly and misses the point of any status quo

10      claim under the Railway Labor Act which is that there --

11      which is that there has been a concerted change in pilot

12      behavior instigated by the union to impose leverage in

13      collective bargaining.     And this change is proven by the

14      statistical evidence and by the anecdotal evidence including

15      the barrage of union communications expressly directing the

16      pilots to change their behavior.

17                 Your Honor, our third witness will be William

18      Flynn, the CEO of Atlas, who will testify about the damages

19      that the slowdown has caused to Atlas.       Most prominently

20      with respect to its reputation with its customers, and the

21      devastating injury the company will face if the slowdown is

22      allowed to disrupt the upcoming holiday season.

23                 I'd like now to finish my comments by just giving

24      a brief overview of some of the principal evidence that we

25      rely on in this case.     And I'll do this quickly.     But your
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 40 of 228
                                                                           40

1       Honor, Atlas and defendants -- as I think our comments

2       addressed a moment ago, are parties to a collective

3       bargaining agreement that became amendable on September 8th,

4       2016.   And that contract remains in place past the amendable

5       date while they bargain for -- right now are bargaining for

6       a joint contract to cover Atlas and Southern.

7                  As I mentioned a moment ago, in December 2014 when

8       the current union leadership headed by Captain Kirchner came

9       into office, the union asked Atlas to reopen the collective

10      bargaining early, earlier than the amendable date, for the

11      purpose of implementing what the union called industry

12      standard pay raise and other changes.       Atlas was not

13      required under the law to reopen the contract early in this

14      manner, and it did not do so.

15                 The parties eventually began direct negotiations

16      for a new collective bargaining agreement in January 2016.

17      And in February of 2016, the defendants sent Atlas what is

18      called a Section 6 notice under the Railway Labor Act which

19      is formal advice to Atlas that the union desired to make

20      changes to amend the collective bargaining agreement.

21                 After Atlas acquired Southern Air in April 2016,

22      the parties engaged in extended discussions over a process

23      to negotiate a single collective bargaining agreement

24      applicable to the combined group at both airlines.         And a

25      protocol agreement for such joint negotiations was reached
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 41 of 228
                                                                          41

1       in June of 2017.

2                  By the way, that protocol is -- a notice is not in

3       the record, but it was described by the union in an e-mail

4       to its members, and that's Plaintiffs' Exhibit 128.         The

5       joint negotiations for a single collective bargaining

6       agreement began in July of 2017 and continue to the present

7       time.   After the company declined to reopen the collective

8       bargaining agreement early in December 2014, as I mentioned

9       a moment ago, the new union leaders began an early

10      communication plan to the pilots that indicated that the

11      pilots should strictly enforce the collective bargaining

12      agreement on a concerted basis.

13                 But these were not just benign communications to

14      observe the collective bargaining agreement, your Honor.

15      The first one on December 10th, 2014 was a message from

16      Captain Kirchner.     And he mentioned the following -- and

17      I'll quote:    "There will be tough times ahead to get the

18      kind of compensation and quality of life which are long

19      overdue and richly deserved by this pilot group."

20                 And then he added that the union needed -- and

21      I'll quote:    "Each and every one of you standing strong with

22      us day in and day out."     And he also added the following --

23      and I'll quote:    "Unless everyone is 100 percent on board,

24      we will all fall short."     That's Defendants' Exhibit 38.

25                 A few weeks later on January 15th, 2015, Captain
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 42 of 228
                                                                              42

1       Kirchner sent another communication in the form of a podcast

2       called an Atlas Teamsters Action Message which some people

3       refer to as ATAM.     In this message, Captain Kirchner told

4       the pilots that -- and I'll quote:       "All of us will need to

5       band together to achieve what is long overdue here."            And

6       then he added that:     "If you want something you've never

7       had, you must be willing to do something you've never done."

8       He was actually quoting Thomas Jefferson at that point.

9                   In the same message on January 15th, 2015 -- and

10      this is long before they started the Section 6 process,

11      Captain Griffith, who's the head of the union's

12      communication committee, in the same message stated as

13      follows:    "And only you the membership, working in

14      solidarity with the exco, will create the unstoppable

15      leverage we need to demand the industry-leading CBA we

16      deserve."    Those were the early communications which started

17      well before the Section 6 notice, and started before the

18      actual effect of the illegal slowdown.       But the message

19      began early on, your Honor.      And it was not a benign message

20      in favor of contract compliance, but rather it was a call to

21      arms at an early stage to disrupt the operation and create

22      leverage on the company.

23                  Since approximately January 2016, when the formal

24      Section 6 negotiations began, these directives to the pilots

25      intensified.    And it is then that they began to create a
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 43 of 228
                                                                         43

1       concerted change in pilot behavior that has resulted in a

2       significant disruption to Atlas' flight operations.         As part

3       of this intensified campaign, defendants' communications in

4       2016 began to advocate the formal programs that I mentioned

5       earlier that the union calls BOOT and SHOP which directed

6       the pilots to stop assisting Atlas' operation in any manner

7       that is not required strictly by the collective bargaining

8       agreement.

9                  For example, in February 2016, defendants

10      published another recorded ATAM message to the pilots in

11      which Captain Griffith instructed the pilots as follows --

12      and I'll quote:    "Are you going to continue to sell your

13      talents for a quick buck or are you going to stop doing the

14      company favors and follow the CBA to the letter and give

15      your exco and the negotiating committee the leverage and

16      power they need today?"     That's Plaintiffs' Exhibit 8.

17                 Captain Kirchner, the chairman of the Atlas pilots

18      executive council, testified in his declaration in this case

19      that he has repeatedly advised the Atlas pilots -- and I'll

20      quote:   "The union does not want and is not asking pilots to

21      engage in illegal activity such as a job slowdown."         That's

22      Captain Kirchner's declaration at paragraph 25.

23                 But your Honor, that is not accurate.       The record

24      is replete with instructions, directions from Captain

25      Kirchner to do just that making it perfectly clear that he
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 44 of 228
                                                                           44

1       expected all pilots to change their behavior on a concerted

2       basis in order to force the companies to submit to the

3       union's collective bargaining demands.

4                   For example, in February 2016, he participated in

5       two separate crew calls which are telephone sessions led by

6       Local 1224 and attended by Atlas pilots who listen and can

7       ask questions.    In these two calls, Captain Kirchner

8       directed the pilots as follows -- and I'll quote a couple of

9       pieces of this:    "Remember everybody, when you're out there

10      doing your job, you're also at the negotiating table.           Every

11      time you uphold the CBA and every time you make them do

12      their job and deliver for you, you won."

13                  He also says:   "I'm calling on each and every one

14      of you to strictly abide by the CBA.       Let me repeat that,

15      strictly abide by the CBA and exercise your rights as crew

16      members to their maximum."

17                  And the last quote from this crew call:      "We're

18      aggressive, we file grievances.      We abide by the CBA

19      strictly.    We hold everybody accountable, and we hold the

20      company accountable.     And that's how we behave.     And we hope

21      that each and every one of you would behalf that way."

22                  Now, Captain Kirchner repeated this call for

23      concerted pilot action on several occasions.        For example,

24      there was a crew call on September 15, 2016 in which he

25      counseled pilots -- and I'll quote again:
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 45 of 228
                                                                           45

1                   "No excuses anymore for not abiding by what

2             we have set up for you.     None.   Zero.   This could

3             get done in a real hurry if everybody starts

4             marching lockstep and stops doing everybody's job

5             for them like hotels, like scheduling, like

6             maintenance, and just pretending that, that, oh,

7             they didn't know or this excuse or that excuse.

8             Everybody knows what our stance is, and everybody

9             knows what's going on here.     So the more in line

10            you are, the better and the faster this is going

11            to happen.   It all comes down to brass knuckles

12            pressure."

13                  That's Plaintiffs' Exhibit 104.       In many of these

14      communications, your Honor, where they call on the pilots to

15      act in a concerted manner to disrupt operations, the union

16      has expressly encouraged its pilots to call in fatigued.          In

17      a February 2nd, 2016 crew call for example, an executive

18      council member essentially incited plaintiffs to call in

19      fatigued telling them:     "If you are fatigued, call in

20      fatigued.    Do not worry about the consequences.      You will be

21      pay protected for those funds that you're out.        You're not

22      going to lose money."

23                  In a November 23rd, 2016 communication, defendants

24      returned to this fatigued strategy, this issue.        It was a

25      video, and it instructed pilots who called for reserve
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 46 of 228
                                                                        46

1       flying to:    "Take your time because that's your time for you

2       to be safe."    And also:   "Do not be afraid to call fatigued

3       on reserve.    As always, it is safety first."

4                  There are many, many other examples of union

5       messages that have encouraged pilots to use fatigue as a

6       weapon, and those are summarized in Captain Carlson's

7       declaration, Plaintiffs' Exhibit 122.

8                  But it gets even worse, your Honor.       Not only has

9       the union directed pilots to engage in a concerted slowdown,

10      the union has also threatened to retaliate against and

11      punish pilots who do not comply with these illegal

12      instructions.

13                 In the September 15th, 2016 crew call I referenced

14      a moment ago, Captain Kirchner stated as follows -- and I'll

15      quote:

16                 "As far as getting some of these bad apples,

17            some of these people identified for CBA

18            transgressions and stuff like that, we are looking

19            at several proposals right now to start putting

20            people's names out who are constant contract

21            violators and so on and so forth.      The most

22            important part of that is for everybody to know

23            who these people are, if and when we do, and not

24            have dinner with them, not socialize with them and

25            basically ostracize them.     Peer pressure is a
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 47 of 228
                                                                             47

1              powerful tool."

2                   Only a month later in a November 2016 crew call,

3       Captain Kirchner reminded the pilots -- and I'll quote:

4       "When you see a bad apple, call them out.        Call him or her

5       out.   Peer pressure is the greatest, greatest way to keep

6       people in line."    Captain Kirchner also told the pilots that

7       the union was -- and I quote:      "Looking at some disciplinary

8       measures against a couple of the bad apples."

9                   The defendants continued their call for unlawful,

10      concerted activity really throughout 2017 and have continued

11      to threaten and intimidate the pilots.       During an

12      April 14th, 2017 crew call, Captain Kirchner returned to the

13      subject of punishment for pilots who did not fall in line

14      referring to scab lists and other retaliatory tactics.          He

15      warned as follows:     "These lists that are going around,

16      there probably eventually will be a certified list, okay, of

17      some kind.    Whether it's a don't go out to dinner with these

18      guys list or a full fledged scab list, we will see as we

19      proceed."

20                  And then finally he told the pilots in this crew

21      call -- and I'll quote:     "There will be an accounting at the

22      end of this of everybody and where they stood, whether they

23      were fence sitters, whether they were sympathizers for the

24      enemy if you will or whether they were good, solid union

25      members."
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 48 of 228
                                                                          48

1                  Your Honor, in various of these communications,

2       the union also openly gloated about the impact its slowdown

3       campaign has had on the company's operation making it

4       abundantly clear that the slowdown has no safety purpose or

5       other legitimate objective.

6                  In a June 8, 2017 crew call, Captain Kirchner

7       proclaimed that -- and I'll quote:       "The leverage we have is

8       that the airline is falling apart.       They can't run their

9       business without giving us an industry standard contract.

10      It's simple, the PR campaign, they don't like that.         The

11      fact that the crew members are SHOP'ing and just doing their

12      job and so on and so forth, it is all coming to bear."

13                 And he bragged again on July 10th, 2017 that he

14      was disrupting the operations.      He told the pilots:     "We're

15      watching some trips cancel, some trips delayed.        You are all

16      watching a huge amount of open time.       There's unfortunately

17      some of our pilots are falling over backwards to help them

18      out of a jam and so on and so forth, but I don't think it's

19      a large amount."

20                 He also, your Honor, throughout these

21      communications urged the pilots to comply with the BOOT

22      program.   At one point, he disingenuously stated that the

23      BOOT program, that's a safety program he said while in the

24      next breath he said, "And it is very effective in many

25      ways."
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 49 of 228
                                                                          49

1                  Most disturbing, your Honor, the defendants have

2       made it abundantly clear that they intend to use their

3       slowdown tactics to sabotage Atlas during its upcoming peak

4       operation in the fall holiday timeframe.       In his June 23rd,

5       2017 update, chairman's update, Captain Kirchner said:          "You

6       must SHOP.    You must BOOT.    You must push back.    We are

7       getting into the busy season during the second half of the

8       year, and it is now more important than ever to stay strong

9       with your solidarity."

10                 On June 30th, 2017 in an ATAM, Captain Griffith

11      used almost the exact same words:       "We are getting into the

12      busy season during the second half of the year."        And he

13      urged the pilots then to be in solidarity with the union.

14      There was also a message from Captain Griffith in an ATAM on

15      August 31st, 2017.     The message threatened the pilots -- or

16      threatened that the pilots would harm Atlas during the peak

17      fourth quarter if rumors that the company would not put,

18      quote, real money, close quote, into the CBA during upcoming

19      contract negotiations.     Here's what Captain Griffith said

20      specifically:    "Well, as a pilot crew member, I can honestly

21      say this will not be good for their fourth quarter if this

22      is true.   And the "this" is not putting real money into the

23      CBA.

24                 Your Honor, I won't go into the complete detail,

25      but we also presented to the Court with Mr. Carlson's
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 50 of 228
                                                                            50

1       declaration examples of pilots recognizing that the union

2       communications are a call to arms, and that they are a call

3       to engage in the disruption of the operations to impose

4       leverage.    And these postings were on online forums called

5       Atlas Air Hiring.     You see a number of them listed in

6       Captain Carlson's declaration.      But they basically -- just

7       to pick one example:     "Our job is to fly the current

8       contract to the letter.     If we don't waiver, then we win."

9                   And then here's one that I think is particularly

10      applicable:    "However, we need to be realistic here.          Plenty

11      of other ways to frustrate the company during negotiations

12      that don't set up the union for a work action lawsuit."           The

13      keyword that everyone has been saying is fly the contract,

14      nothing more, nothing less.      The exact code word that

15      several courts have identified as being pretext for an

16      illegal slowdown.

17                  Your Honor, I'm going to just also mention that

18      the company has received communications from pilots who do

19      not favor the illegal slowdown being directed by the union.

20      The material from Mr. Carlson includes a letter from

21      May 9th, 2016 from an Atlas pilot to a chief pilot in which

22      the pilot said -- and I'm going to quote:

23                  "It has become increasingly difficult for me

24            to do my job effectively and efficiently with the

25            intimidation and threats from some of my union
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 51 of 228
                                                                         51

1             brothers and sisters.     I am not sure if you are

2             aware of the BOOT program that is being promoted

3             by the union.    BOOT stands for Block Out On Time.

4             We are being told that we should not release the

5             brakes until scheduled block out time even if we

6             are ready to leave before.     There is also the SHOP

7             program.   We are being told that this is going to

8             put pressure on the company to negotiate a

9             contract quickly.    I not only do not think that is

10            going to have any effect whatsoever on contract

11            negotiations, but it is keeping me from getting my

12            ship, crew and freight on the way as soon as I

13            can."

14                 Now, your Honor, the disruption, the change of

15      behavior I've just been describing, is having a demonstrable

16      and provable effect on the operation.       Our testimony from

17      Dr. Lee, the statistical analysis he has performed confirms

18      that the union campaign I just described is changing pilot

19      behavior and is degrading the operation.       Dr. Lee has filed

20      an initial declaration and a rebuttal declaration in which

21      he describes his analysis of the pilots' behavior.

22                 I won't go through the full details other than to

23      say conceptually, what the statistical analysis shows first

24      of all is that there is a -- what Dr. Lee would call a

25      statistically significant change in pilot behavior with
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 52 of 228
                                                                           52

1       regard to same-day sick calls, short-notice sick calls; with

2       regard to fatigue calls; with regard to picking up open time

3       flying; with regard to maintenance write ups.

4                  He compares, your Honor, conceptually the status

5       quo period to the slowdown period.       And when he says that it

6       is statistically significant change -- which he tracks based

7       on the data maintained by the airline during the ordinary

8       course, what he means by that is that this is not occurring

9       by random or other means.      And it is highly likely that it

10      is occurring because of concerted behavior.

11                 The examples in the reports are highly detailed,

12      but the effect on the operation is enormous.        The spike in

13      prolonged delays, the spike in the ability to maintain the

14      carrier on an on-time basis is extraordinary.

15                 Now, the union submitted an expert report from

16      Mr. Akins to challenge the conclusions by Dr. Lee.

17      Mr. Akins argues that, "Its disruptions that Atlas has

18      recently experienced are not due to pilot concerted

19      activity, but rather are due to other causes such as the

20      company's growth or the fact that the pilots are allegedly

21      flying less but working more or there's been pilot

22      attrition."

23                 Dr. Lee has filed a rebuttal report addressing

24      these and many other assertions advanced by Mr. Akins.          For

25      example, Dr. Lee notes that Mr. Akins' contention that
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 53 of 228
                                                                          53

1       growth has caused the operational disruptions is

2       unsupportable, because Atlas has been growing since 2010

3       without similar difficulties.      And that growth has been

4       largely on a scheduled domestic network that is actually

5       more predictable and less challenging.

6                  So Dr. Lee also points out Mr. Akins has used in

7       many situations improper statistical methods.        What Dr. Lee

8       has done in his rebuttal report is to take some of

9       Mr. Akins' charts and correct for the errors that Dr. Lee

10      has observed.    And then shows that the conclusions reached

11      by Mr. Akins are not correct.

12                 I will say to the Court that besides the fact that

13      the statistics analysis from Mr. Akins is plainly wrong in

14      light of the rebuttal from Dr. Lee, it's also just a matter

15      of common-sense wrong to say that we're not seeing

16      disruption due to a pilot slowdown but rather due to growth.

17      And that at the same time we are seeing disruption, we are

18      seeing an overwhelming communication campaign directing the

19      pilots to disrupt the operation.      It's occurring at the same

20      time.

21                 It defies any sense of practicality to say my

22      judgment is your disruption in your operations is occurring

23      because you've had attrition or you've had growth in your

24      company.   It's not correct.     It's not correct statistically,

25      but it's also not correct as a matter of common-sense.          The
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 54 of 228
                                                                              54

1       union is directing it.     It's not only encouraging it, it's

2       demanding it and it's threatening pilots if they don't

3       comply.

4                   Now I'd like to conclude by addressing an element

5       of the Railway Labor Act and the Norris–La Guardia Act about

6       attempts to solve the problem.      Your Honor asked me some

7       questions about this earlier.      I think as a predicate to

8       filing for an injunction under Section 2 First of the

9       Railway Labor Act, the effort by Atlas has been on several

10      occasions to directly contact the union and ask them

11      directly to discontinue the illegal campaign, the illegal

12      slowdown.    And the three times the company has done that,

13      one was in December 2016 when Captain Carlson wrote a letter

14      to the union informing them of the illegal slowdown.            And

15      the union, through Captain Kirchner and Captain Wells, sent

16      a letter back on December 21st, 2016 that they flatly denied

17      that they were engaged in an illegal slowdown.        And they

18      accused Atlas of -- and I'll quote, "Posturing, bombast and

19      bluster."

20                  Secondly, on May 31st of this year, our CEO

21      Mr. Flynn told the director of the Teamsters airline

22      division that the Atlas pilots were engaged in an illegal

23      slowdown that was disrupting operations, particularly

24      military missions, and asked the union leader to stop the

25      slowdown.    And then thirdly, in June of 2017, in a phone
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 55 of 228
                                                                         55

1       call between counsel, counsel for Atlas stated that the

2       company was aware of the illegal slowdown and directly asked

3       that the union take steps to stop it.

4                  These are the kinds of steps, your Honor, that I

5       was mentioning before which are the ones that the courts

6       have focused on as an effort, as a predicate under the

7       Railway Labor Act and Norris–La Guardia Act to try to solve

8       the problem before seeking to enforce 2 First of the Railway

9       Labor Act.

10                 As I said to you at the beginning -- and I'll just

11      end with this, I think we've covered the point, but there's

12      no reflection in the cases that this is insufficient as a

13      predicate for filing a lawsuit for an injunction in a

14      situation where the allegation is a violation of a

15      Congressional mandate in Section 2 First of the Railway

16      Labor Act that is in fact subject to enforcement in federal

17      courts and not before arbitrators.

18                 Notwithstanding the three times that we have said

19      this to the union, the union has not only continued the

20      slowdown, but there is evidence that the union intends to

21      intensify it during the upcoming holiday season.        We're

22      going to present evidence particularly from Mr. Flynn that

23      if the union does this, Atlas will suffer extraordinary,

24      irreparable harm to its goodwill, to its brand, to its

25      reputation for reliability.      It is -- I mean, what we have
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 56 of 228
                                                                          56

1       seen so far, just so far before we get to the holidays, is

2       that the rate of prolonged delays of at least six hours or

3       more in the Atlas operation has increased by 70 percent.

4       70 percent since last December.

5                   These delays average sometimes as long as eight

6       hours, but sometimes much longer.       When I say 70 percent, I

7       mean in the private -- for customers in the private

8       industry.    The prolonged delays are even more pronounced in

9       the company's military operation where we are observing an

10      increase in prolonged delays of over 200 percent.

11                  Atlas' customers rely on their cargo arriving at a

12      requested location at a requested time.       Large customers

13      like DHL have sorting hubs, and when you -- they have hubs

14      where packages are quickly unloaded off one aircraft, sorted

15      and reloaded onto other flights.      A late arrival by Atlas

16      can mean the fact that thousands of packages are delayed in

17      a single day.

18                  And customers have noticed this.      Our testimony

19      from Mr. Carlson and Mr. Flynn has said that we have begun

20      to receive an extraordinary increase in communications from

21      our customers.    The customers have been complaining in a

22      series of communications that we summarized in the evidence

23      that they are observing high fatigue calls on Atlas flights

24      at a rate extraordinarily higher than any other air carrier

25      they use to transport their cargo.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 57 of 228
                                                                          57

1                   In addition to the harm to these customers, it's

2       harm to the United States military.       We have received -- and

3       Mr. Flynn will testify, complaints from -- extraordinary

4       complaints not only from the U.S. military but from military

5       families.    Pilot actions have caused troops to arrive late

6       in battle and without critical supplies.       They've caused

7       unnecessary delays returning our troops home to their

8       families after lengthy tours in the Middle East and

9       throughout the world.

10                  Your Honor, we submit this is just unacceptable.

11      The complaints we've received included complaints from

12      spouses who were horribly distressed that a soldier coming

13      home from the battle zone was delayed days and days by the

14      Atlas disrupted operation.

15                  I think your Honor knows from reading the papers

16      that irreparable injury is not actually required for a

17      preliminary injunction under Section 2 First of the Railway

18      Labor Act.    We've cited to the Supreme Court decision in

19      Conrail and to a number of Court of Appeals decisions.          But

20      the standard is that no showing of irreparable injury is

21      required for a status quo violation under the Railway Labor

22      Act.

23                  And that being said, without a doubt we believe

24      that our evidence establishes the irreparable injury to the

25      brand, to the goodwill, to the reputation for reliability.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 58 of 228
                                                                        58

1       And this will harm our ability in the future to maintain our

2       business relationships.

3                   I'll conclude by saying that -- what I started

4       saying, your Honor.      The defendants have, based on the

5       evidence we've presented, clearly orchestrated a slowdown

6       campaign that has changed the status quo behavior of the

7       pilots unlawfully, and it has taken a significant toll on

8       our reputation.    Their publications leave no doubt that they

9       intend to escalate this behavior during the peak holiday

10      season, and they intend to do so to pressure Atlas into

11      collective bargaining negotiations.

12                  In this context, this Court has the authority and

13      should exercise its authority, I'd respectfully submit, to

14      issue an injunction in order to avoid any further

15      interruptions to commerce and to operations in violation of

16      the Railway Labor Act.

17                  Your Honor, the defendants will not stop this

18      illegal slowdown until or unless this Court orders them to

19      stop.   Thank you very much.

20                  THE COURT:    Okay, thank you.

21                  MR. SIEGEL:   Your Honor asked me in terms of the

22      judge who's handling the case in the Southern District of

23      New York.    It's been reassigned to Judge Katherine Forrest,

24      F-O-R-R-E-S-T.    It was reassigned on September 28th.

25                  THE COURT:    Okay, thank you.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 59 of 228
                                                                           59

1                  MR. SIEGEL:    Thank you, your Honor.

2                  THE COURT:    Mr. Gleason, about how much time do

3       you think you'll need for your opening?

4                  MR. GLEASON:    We actually reserved an hour.        As we

5       can see here, that went on for well over an hour.

6                  THE COURT:    Yeah, that was actually an hour and 35

7       minutes.

8                  MR. GLEASON:    Yeah, I hope not to be that long.

9       But frankly after that kind of an opening -- which was kind

10      of a hybrid opening/closing argument, I feel like I do need

11      to -- much more than I had intended at all, to reset the

12      table here and to just first discuss the law.        There's a

13      number of factual issues that have also been raised, but I

14      really feel absolutely compelled to reset the law here.

15                 THE COURT:    And I don't think you're going to want

16      to do so going into the lunch hour.       I think you'd probably

17      want to come back after lunch I would think and do that.

18                 So I am concerned about time and making sure that

19      we press forward here, because I know we've got a limited

20      time reserved for this matter.      I'll just remind the parties

21      to do your very best to stick to the schedule.        I know you

22      need to respond, and you deserve an hour and 35 minutes of

23      opening and you're entitled to respond to that.        But as we

24      move into the witnesses, I just would encourage the parties

25      to be as efficient as they can in going through the
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 60 of 228
                                                                        60

1       testimony.

2                  Why don't we come back an hour from now at 10

3       minutes to 2:00 and we can start there.       And then after you

4       give your opening, the plaintiffs should be prepared to call

5       its first witness.

6                  MR. GLEASON:    Thank you, your Honor.

7                  THE COURT:    Okay, thank you.

8             (Off the record at 12:59 p.m.)

9             (Back on the record 2:01 p.m.)

10                 THE COURT:    Mr. Gleason, the podium is yours.

11                 MR. GLEASON:    Thank you, your Honor.     Good

12      afternoon.

13                 THE COURT:    Good afternoon.

14

15                        DEFENDANTS' OPENING STATEMENT

16                 MR. GLEASON:    Your Honor, as we discussed before

17      our lunch break, I feel that it is important for us to try

18      to reset the law here and to rehash some of this ground and

19      maybe to clear it up.     To do that, I think we should first

20      really turn our attention to the plaintiffs' complaint.

21                 In the plaintiffs' 82-page complaint, at page 76

22      you will find their cause of action.       And their cause of

23      action is styled as a violation of the Railway Labor Act.

24      It says:   "The defendants attempt to unlawfully create

25      leverage on Atlas in 'current negotiations' for a new
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 61 of 228
                                                                          61

1       collective bargaining agreement by substantially disrupting

2       the operations" -- and I'm now paraphrasing.        And there is a

3       blatant violation of their status quo obligations during the

4       RLA major dispute under Section 2 First as established by

5       applicable legal precedent.      That's paragraph 195 of their

6       complaint.    It appears on page 77.

7                  The following paragraph, 196, starts off:        "During

8       negotiation of a CBA which is ongoing here," and then it

9       continues and it alleges that we violated the statute.          This

10      is a case that started off just a little bit more than a

11      month ago when we had approximately 3,000 pages as you know,

12      your Honor, filed and served complaining that the union was

13      engaged in the illegal slowdown.      Based upon a myriad of

14      examples that were cited in the complaint and in Captain

15      Carlson's declaration, all of which said those examples were

16      clearly traceable to changes in the status quo and the

17      status quo behavior.

18                 This is a case that is a classic -- according to

19      the company in its complaint -- the company being the

20      plaintiffs, is one of a classic status quo violation that

21      they allege.    A status quo violation that they allege,

22      they've already told it to us.      It's something that happened

23      during contract negotiations.

24                 I think it is important, your Honor, to take a

25      look at the statute.     We have of course two statutes that
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 62 of 228
                                                                          62

1       are involved here.     We have the Railway Labor Act, and we of

2       course have the Norris-La Guardia Act of which we're going

3       to have to discuss a little bit again today.        But the

4       Railway Labor Act, your Honor, it is a statute that is

5       grounded in the First Amendment.      It is grounded in the

6       freedom of associational rights under the First Amendment.

7       It imposes duties and obligations on both carriers and of

8       course on their employees.

9                  And so counsel for plaintiffs have emphasized

10      Section 2 First.    And 2 First says it's a duty of -- it's

11      characterized as general duties, and it's the duties of

12      carriers and employees to settle their disputes.        And it

13      says that:

14                 "It shall be the duty of all carriers, their

15            officers and employees to exert every reasonable

16            effort to make and maintain agreements concerning

17            rates of pay, rules and working conditions; and to

18            settle disputes, whether arising out of the

19            application of such disputes or otherwise, in

20            order to avoid any interruption of commerce or to

21            the operation of any carrier growing out of any

22            dispute between the carrier and the employees."

23                 And so that I imagine is what counsel for

24      plaintiffs is saying is a no-strike clause in the RLA.          It's

25      not a no-strike clause, it's a duty.       It's an affirmative
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 63 of 228
                                                                              63

1       duty to make and maintain agreements; to make and maintain

2       agreements and to exert all reasonable efforts to do that,

3       to both make and maintain agreements.       That is what Section

4       2 First does.

5                  Section 6 of the Railway Labor Act which is 45

6       U.S.C. Section 156, that is the status quo provision about

7       which we're discussing here.      That is the statutory

8       provision that provides for a procedure in changing those

9       rates of pay and rates and working conditions about which

10      counsel for plaintiffs has been talking about.        And it is

11      that which on February 16th of 2016 which is what, if you

12      will, anchors or tethers this case and its theory as set

13      forth again on pages 76 and 77 of its complaint.

14                 It is that which sets the status quo, and it is

15      that within the statute itself -- and I will have to quote,

16      although my glasses, I kind of left them over in my

17      briefcase and I'm blind as a bat.

18                 THE COURT:    Well, go get them.

19                 MR. GLEASON:    It will take me too long.     I think I

20      can do it if I just hold my arms out.       Well, it says:      "In

21      every case" -- and I'm going to quote.       "In every case where

22      such notice of intended change" -- that's what counsel for

23      plaintiffs' references as the Section 6 notice.        "In every

24      case where such notice of intent of change has been given or

25      conferences are being held with reference thereto, that the
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 64 of 228
                                                                          64

1       rates of pay, rules or working conditions shall not be

2       altered by the carrier unless and until the provisions of

3       the" -- well, they're called the dispute resolution

4       provisions set forth in Section 6 and also Section 5 for

5       mediation have to be exhausted.

6                  That means you have to -- if you're in Section 6

7       negotiations, you engage in direct negotiations.        At a point

8       in time if either or both parties determine that they can no

9       longer -- it's not possible frankly that they can directly

10      reach a consensual agreement, they can call for mediation.

11      That's Section 5 of the Railway Labor Act.

12                 And when you're in mediation, that's the part

13      where the Supreme Court has many, many times said it's an

14      interminable process.     During those processes, during a

15      Section 6 and a Section 5 process, negotiations plus

16      mediation, that's where the status quo attaches.        That is

17      what we cannot, either side, alter.       We cannot alter rates,

18      pay, working conditions.

19                 And when we talking about working conditions, the

20      Supreme Court in the Shoreline decision is talking about

21      objective working conditions, past practices if you will.

22      And a past practice of course is something that can't be

23      something that you just pull from some ephemeral concept, it

24      has to actually be an objective working condition.         But that

25      is what's happening here.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 65 of 228
                                                                           65

1                  This case started with allegations that we engaged

2       in violations of that status quo during negotiations.

3       Again, you have to -- it's tethered -- it is anchored if you

4       will to Section 6, February the 16th.       And here, as we heard

5       this morning, plaintiffs' theory has kind of shifted.           It's

6       moved backwards because of the facts.       They can't run from

7       those facts.

8                  The fact here is that we have since the very

9       beginning of the administration of the Atlas pilot

10      leadership on January 1st of 2015 adopted a policy of strict

11      contract compliance, both sides, strictly adhere and comply

12      with the contract.     A contract that as you see in Captain

13      Kirchner's declaration was one that was frankly laxly

14      enforced, if you will, more enforced in the breach, if you

15      will; and one that required the union in the prior

16      administration to have to chase after violations to try to

17      ensure its compliance.

18                 And in January of '15, if you will, a new sheriff

19      in town said that's enough, both sides have got to stick to

20      the contract.    And it was -- actually that was articulated

21      to them back in Legal Seafoods just across the river in

22      Virginia in the fall of 2014, and both sides recognize that.

23      Captain Carlson said that's not a problem.        We understood

24      that to mean okay, both sides, let's adhere to the contract.

25                 And it is that that then started on January 15th
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 66 of 228
                                                                          66

1       when he actually formally took office, that Captain Kirchner

2       set out to educate and let the work -- let the members know

3       what it means, what the contract says, what it does, what it

4       protects, what it doesn't do.

5                  And it's a two-way street.      Contract compliance is

6       not one where one party gets to decide whether it going to

7       stick to it and comply with it, both sides have to.         And

8       that's a policy that started from the very beginning of

9       2015.    All of these --

10                 THE COURT:    So let me ask you a question about

11      that then.    I take it your argument is that the status quo

12      requirement does not kick in until there's actually been a

13      notice under Section 6, is that right?

14                 MR. GLEASON:    One for which they -- the statutory

15      status quo provision kicks in from there.        That's where this

16      Court would have jurisdiction.      They have problems back in

17      2015.    If they thought that we were violating the collective

18      agreement, that would have been a minor dispute under

19      section -- we have a provision as you've discussed with

20      counsel, under section -- it's 20 I want to tell you D as in

21      David.   They have a right to file a company or a management

22      grievance.    They didn't do that.

23                 THE COURT:    But if my description of your legal

24      position is right, then why couldn't a union or employer

25      simply avoid any status quo obligation by two days before
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 67 of 228
                                                                            67

1       the Section 6 notice is provided or before the amendability

2       period kicks in to say okay, you know, we're going to start

3       doing this thing now two days beforehand because we know

4       we're going into a negotiation, and we're going to want this

5       leverage in the negotiation.      And then we can point back and

6       say no, we were doing this beforehand and therefore it

7       wasn't a violation of the status quo because we were doing

8       it last week and it was before.

9                  MR. GLEASON:    And that's a fair question and a

10      good question.    My answer to you is that that may be one

11      where it's -- you know, that's something that would

12      certainly not have been in good faith and it would have been

13      disguised to jump the gun if you will.       But that's not our

14      case.   Our case is a year prior plus.

15                 THE COURT:    But even if it's a year before, if

16      it's a year before and it's in the context of we're unhappy

17      with our current collective bargaining agreement, we want to

18      change it and we're actually going to go to the employer

19      beforehand or to the company beforehand and say to the

20      company we want you to voluntarily agree right now to change

21      things.   We know we're coming up, we're a year away.           And by

22      the way, these processes are interminable so a year isn't so

23      long.   It's a year away, but let's start now getting ready

24      for.    And you can negotiate with us now or you can negotiate

25      with us a year from now.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 68 of 228
                                                                             68

1                  I'm not quite sure why it's fundamentally

2       different if it's a year versus two days under my example.

3                  MR. GLEASON:    Well, I understand again your

4       question, and it's frankly based upon facts that are not

5       accurate; they were not presented accurately into this

6       record today and into writing.      Either side can

7       voluntarily -- you know, both sides -- it would -- it takes

8       consent -- can open a collective agreement early, no

9       question about that.     That's not what happened.

10                 As you did hear today, that even had it been

11      properly characterized as an effort by the union or a

12      request to open early, that didn't happen.        But even if that

13      was the case, the union -- the company declined and then you

14      go on.   That -- you also talked about the word motive.         We

15      have a duty to enforce our contract no matter what, whether

16      it's pre Section 6 or post Section 6.       And there's -- I know

17      it's a -- you have to make a decision in terms of was all of

18      the conduct that was taking place prior, was that just part

19      of our responsibilities to educate our workforce or were we

20      trying to jump the gun if you will.       I think that's where

21      you're heading on this.

22                 That's fact-based.     It's going to require

23      decisions from the Court.      And I believe you will find quite

24      clearly based upon certain -- the Norris-La Guardia statute

25      of clear proof that that's not what happened.        That what
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 69 of 228
                                                                          69

1       happened here is just as we said it happened, just as

2       Captain Carlson himself said all the way back in '14 where

3       it shouldn't be a problem, just as Captain Kirchner said,

4       "We're going to enforce our collective agreement, we have

5       to."   And the idea of using the word --

6                   THE COURT:   I mean, there were certainly some of

7       those e-mails or some of the things that Mr. Siegel read to

8       me were in the context of we have to enforce our contract

9       because we're not going to get better.       We're not going to

10      do well in any negotiations if we're not enforcing the

11      contract.    This is our leverage in negotiations, is the fact

12      that we're enforcing our contract which means doing no more

13      than the contract provides.      Because if we're doing more

14      than the contract provides, we've already given something

15      away before we go into a negotiation.

16                  MR. GLEASON:   The problem, your Honor, is this:

17      We have a contract that we have a duty of fair

18      representation to enforce every day.       We have also a

19      responsibility to educate a very changing demographic of our

20      workforce as to what that contract requires.

21                  THE COURT:   But what in the contract -- or how are

22      you violating your duty of fair representation if you're

23      allowing pilots to block out early?       The plane has been

24      loaded, it's ready to go.      Are you violating your duty of

25      fair representation if you're saying to those pilots:
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 70 of 228
                                                                          70

1       "Yeah, if you're loaded go"?

2                  MR. GLEASON:    No, that's just not accurate, your

3       Honor.   We -- I think we would not only violate our duty of

4       fair representation, we would also probably violate several

5       other federal laws and regulations.

6                  Let's talk about BOOT, let's get right to this.

7       That also relates to Dr. Lee's analysis and the common-sense

8       discussion that we had heard earlier.       That BOOT campaign

9       that they're talking about is talking about blocking out on

10      time.    So forget Kafka and whether on time means delay,

11      let's talk about how they've actually defined it here.

12                 What they're talking about is saying that even

13      though -- and this is in the reports, both Mr. Akins' report

14      and in Dr. Lee's reports, that they're talking about pilots

15      departing six minutes less early.       There is a federal --

16      there is a -- it's called an FOM, Flight Operations Manual.

17      The company has a Flight Operations Manual that says you

18      have to get permission -- explicit permission to leave 15

19      minutes or earlier.

20                 You can't simply that say because I'm leaving six

21      minutes less early, that that is a -- that there's a past

22      practice to that.     There's no way you could possibly enforce

23      that, because how can you, you're at different airports.         If

24      you're in Cincinnati at CBG, are you pushing back, are your

25      taxiing?   You have no earthly idea.      It's called captain's
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 71 of 228
                                                                           71

1       discretion as to when they leave.       And if they leave early

2       for which they would be punished and they would be

3       reprimanded and they could actually --

4                   THE COURT:   Reprimanded by whom?

5                   MR. GLEASON:   By the carrier, because it's their

6       own rule that says you can't leave without -- you know, 15

7       minutes earlier.    And it's the --

8                   THE COURT:   I'm guessing that Mr. Siegel will

9       stipulate today that if pilots are loaded and want to leave,

10      that that's okay with the company.

11                  MR. GLEASON:   But it's not their decision to make.

12      What about the air traffic controllers, your Honor?         What

13      about everyone else that actually worked -- to have a well

14      orchestrated and run machine, an airline operation doesn't

15      simply -- because somebody says you're loaded and go, it

16      doesn't happen that way.

17                  THE COURT:   We've all been on airplanes that have

18      left early before.     It's not a violation of federal law for

19      an airplane to leave early.

20                  MR. GLEASON:   It is a violation of our -- an FAA

21      approved Flight Operations Manual that says if you want to

22      leave early you need to get permission.       And it is also --

23      and that makes it a federal law in my mind.

24                  THE COURT:   Say you get permission, I mean you

25      simply --
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 72 of 228
                                                                              72

1                   MR. GLEASON:    And what if you don't?

2                   THE COURT:   -- say to the tower, "We're ready to

3       leave now, can we leave now," right?

4                   MR. GLEASON:    And so there is absolutely no

5       evidence in this record whatsoever that says that the tower

6       even cleared them to do that.

7                   THE COURT:   But did they ask?     I mean, that's the

8       question.    If they're not asking, they're not going to clear

9       them to do it.

10                  MR. GLEASON:    Well, because you don't know why

11      they couldn't do it.     There's no evidence as to why.         For

12      instance, the whole block out -- you know, when you block

13      out on time, it deals with --

14                  THE REPORTER:   Excuse me, but you've got to slow

15      down and speak clearer, please.

16                  MR. GLEASON:    Sorry.   When --

17                  THE REPORTER:   Just before you start, I just want

18      to remind you that I'm here to make the record for you, and

19      I can't do that when I can't understand what you're saying.

20      Thank you.

21                  MR. GLEASON:    Sure, thank you.    When you block

22      out, that also sets another federal regulatory requirement

23      duty time limits.     Because it's measured, you have to have a

24      measurable period to determine whether you're legal to fly

25      under the regulations for flight time.         So just to leave
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 73 of 228
                                                                               73

1       willy nilly or even at any time, also as in our declaration,

2       it requires a lack of work.      It's not simply a matter of

3       snapping your fingers and saying I want to go and you're

4       clear to go.    You have to then check back through -- it's

5       called GCC, through their headquarters and through their

6       manager on duty, to determine whether the pilots would even

7       be legally able to fly and depart six minutes early.            They

8       have to -- there's again --

9                  THE COURT:    I thought you said 15 was the cut off.

10                 MR. GLEASON:    Well, 15, but six minutes is all

11      they're complaining about.

12                 THE COURT:    But six minutes early, they could

13      leave early, right?

14                 MR. GLEASON:    If they're legal.     You still --

15      yeah, I mean, there is leeway.      But they still have to

16      ensure themselves that they're legal.       To determine whether

17      you're legal to fly under the regulatory rest requirements

18      and all that, it's not just the company that does, the pilot

19      also has a responsibility.

20                 THE COURT:    To leave six minutes early, what does

21      the pilot have to do to leave six minutes early?

22                 MR. GLEASON:    Well, he's got to get clearance.        He

23      has to get clearance obviously from the tower.        And he's got

24      to --

25                 THE COURT:    I assume there's clearance anytime
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 74 of 228
                                                                           74

1       you're actually backing the plane out, is that not right?

2                  MR. GLEASON:    No, I mean --

3                  THE COURT:    You can just back a plane out without

4       getting permission from the tower as long as you're on time?

5                  MR. GLEASON:    No, you've got to let them know what

6       you're doing so you don't have a collision.

7                  THE COURT:    Right, that's what I assumed.      So I

8       assume they're always asking for clearance from the tower.

9       They're saying we're ready to back up, we'd like to back up

10      and the tower says okay or don't, right?

11                 MR. GLEASON:    Yeah, and if you don't, it's still

12      going to be held against us in Dr. Lee's analysis.         Because

13      Dr. Lee's analysis doesn't talk about any of the human

14      factors associated with that.

15                 THE COURT:    Okay.   But I'm still just trying to

16      get the legal requirements.      What is it that -- what's

17      different backing up six minutes early versus backing up at

18      the designated time?

19                 MR. GLEASON:    Nothing, because there is also no --

20      in this case, in this case as it applied, because there

21      there's no -- all we're talking about is what time you leave

22      versus when do you get there.      There's no link in saying

23      that when I depart, that I'm getting there late because I

24      left six minutes less early than I did early.        There's

25      nothing in the record that shows that.       So that's what I'm
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 75 of 228
                                                                          75

1       talking about as well, it's law and common-sense.

2                  THE COURT:    Okay, but I just want to make sure I'm

3       understanding you.     Based on what you're saying, I'm saying

4       there's not any contractual or legal obstacle that would

5       prevent a pilot from blocking out six minutes early and

6       leaving six minutes early?

7                  MR. GLEASON:    The legal obstacle would be again if

8       you're told you can't leave early by the tower or if you

9       don't have clearance to leave early, then you can't.

10                 THE COURT:    You always need clearance from the

11      tower to block out one way or the other.

12                 MR. GLEASON:    Legally, yes.    And so whether it's

13      six minutes less early or on time or 10 minutes later, you

14      still have to get the clearance to be able to taxi out.

15                 THE COURT:    Okay.

16                 MR. GLEASON:    And so again, there's just also a

17      common-sense element to this, your Honor.        We're being

18      accused under the analysis that Dr. Lee has developed of if

19      we block out six minutes less early than what the scheduled

20      time or what they characterize as the estimated time is, if

21      we do that, we're still deemed to be a delay and then we fit

22      into his statistical analysis.

23                 Even if we get to the other side -- you know, if

24      we get to the arriving airport early, then that's still

25      considered to be illegal conduct.       That's not sensical, it
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 76 of 228
                                                                        76

1       makes no sense.

2                  THE COURT:    Well, let me ask it sort of from a

3       common-sense perspective.      What interest does the union have

4       in saying to pilots don't block out early?

5                  MR. GLEASON:    Again --

6                  THE COURT:    I mean, I understand the argument is

7       that the incentive the union has to do that is it gives them

8       some negotiating room.

9                  MR. GLEASON:    It also teaches members, new pilots

10      who come from a regional -- many of these pilots have not

11      been exposed to the international flying that they do with

12      Atlas, and they have not therefore been exposed to two

13      different provisions for flight time and duty time

14      restrictions.

15                 There's what we -- as you've seen in the papers

16      FAR 117 which applies to passenger flights.        And then

17      there's the old part 121 which applies to the all cargo

18      flights.   Atlas is one of only two carriers that flies a

19      mixed operation so that I could be a pilot, and on my

20      schedule today I could fly a passenger flight and be subject

21      to the restrictions under part 117, and then two days from

22      now I'm going to end up -- when I'm in Asia or someplace,

23      I'm going to end up flying under a 121 regime.

24                 So the reason it's important for the union to let

25      them know is because you've got pilots who don't have a clue
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 77 of 228
                                                                           77

1       how to operate under a mixed operation regime like that; and

2       who have a duty and a responsibility under their licenses to

3       ensure that they're legal to fly as well.        It's not just a

4       duty that's imposed on carriers.

5                  THE COURT:    Are you telling me that -- you know,

6       we haven't heard a word of evidence, but when the evidence

7       comes in, the evidence is going to support the proposition

8       that the BOOT program was about protecting pilots and making

9       sure that pilots were not getting in trouble because they

10      didn't know which regime they were working in and it was

11      completely unrelated to any desire to create any pressure

12      point with the company or sort of any negotiating room?

13                 MR. GLEASON:    No, the evidence will -- there's a

14      lot of evidence that's already been discussed in an opening

15      argument here that turned into a closing argument.         But

16      look, the reality is the BOOT program and SHOP program was

17      created not by the union.      It was -- the concept and words

18      BOOT and SHOP were adopted.      It was -- and, you know, we're

19      going to be accused of saying Stop Helping out Purchase.

20                 All of these words and these acronyms are ways to

21      communicate to our members that you still need to start from

22      a platform.    I'm not going to walk away the from the fact

23      that we've used the word leverage many a time over the

24      last -- since 2015.     And I'm not going to -- I won't do

25      that.   At the same time, I would ask that this Court
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 78 of 228
                                                                            78

1       understand that we have the duty as well to explain -- and

2       if you want -- if you're complaining about your contract,

3       you don't like it today, even if it's going to happen three

4       years from now -- and you could have a 10 year contract, you

5       don't like it, you've got to start from someplace.         You've

6       got to start from a stable platform.       That means that both

7       sides have to follow those rules.       And to stop helping --

8                  THE COURT:    That I understand.

9                  MR. GLEASON:    And to stop helping Purchase is to

10      make sure that you don't cut side deals -- an individual

11      pilot doesn't cut a side deal with a company.        So if a

12      company for instance tells a young pilot block out early or

13      whatever, you know, 15 minutes or something like that or

14      don't worry about catering, here's a $50 voucher.        But even

15      though that's not in the contract and not allowed, that's

16      okay.   That's what stop helping Purchase means.       They're not

17      doing us any favors, and you're not more importantly doing

18      yourself any favor as a member unless you start to enforce

19      your contract and make sure that both sides do.

20                 So no, I'm not going to stand here and tell you

21      that BOOT doesn't have -- at least that it's got a

22      psychological, it's almost like a mind ops because it's

23      clearly gotten under somebody's skin at the company when it

24      doesn't mean a hill of beans.      It doesn't mean a hill of

25      beans if you have to try to invent some type of -- at least
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 79 of 228
                                                                        79

1       an obscure metric and determine that if I leave six minutes

2       less early than before, that that equates into an illegal

3       change in behavior.

4                  The other problem I have -- and I'll just stick

5       with the common-sense, is this whole analysis is

6       predicated -- statistical analysis, it's predicated on just

7       the extended delays.     It's a rather obscure again metric to

8       use in this case.     It's certainly not one that Dr. Lee has

9       used in his prior cases dealing with slowdowns where you

10      deal with arrivals, delayed arrivals.       That's not this case.

11      This is dealing with departures.

12                 And the number six might be a good number to play

13      for a lottery or something, but there's nothing magical

14      about six.    It's a number that he pulled out of the air --

15      no pun intended there.     And to use six is also to then

16      create a very limited number of flights that are even going

17      to be included in your analysis.

18                 Extended delays, when counsel for the plaintiffs

19      talked about the 70 percent increase in extended delays,

20      that's just -- it's an absolute mischaracterization of what

21      is going on here.     70 percent, what he's talking about is a

22      percentage of a percentage.

23                 THE COURT:    I understand that.

24                 MR. GLEASON:    Yeah, so the real number here was a

25      1 percent increase.     It was a 1 percent --
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 80 of 228
                                                                         80

1                  THE COURT:    It wasn't a 1 percent increase, it was

2       an increase hypothetically from 1 percent to 2 percent.

3                  MR. GLEASON:    1.4 to 2 point --

4                  THE COURT:    Right.

5                  MR. GLEASON:    That's one.    And that 1 percent

6       number is based upon actual delays.       Even if you pick six

7       hours as your measuring stick if you will, that's a

8       1 percent increase.     70 percent is just if you take the

9       difference as you just did.       And even that is frankly -- as

10      we'll present testimony -- and we have it in Mr. Akins's

11      report, that's very highly -- that's almost -- it's probably

12      inflated by a factor of two there.       And the reason for that

13      is because Dr. Lee segmented his analysis to even come to

14      that number.

15                 So again, as a practical matter, we're here to

16      talk about leaving six minutes less early.        And we're

17      talking about extended departure delays that they ascribed

18      solely and exclusively to pilot behavior that amounts to no

19      greater than a 1 percent increase time over time with a

20      company who has itself has conceded as it must not just here

21      but to the public since it's a public traded operation, says

22      it's expanding very rapidly, it's got a very different

23      operation.    It has gone from a traditional long haul

24      operator to more of a very specialized time sensitive

25      e-commerce and scheduled carrier.       My goodness gracious, to
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 81 of 228
                                                                          81

1       ascribe that behavior and to call that illegal all on the

2       pilots is just not common-sense at all.

3                   THE COURT:   I mean, I understand the point that

4       we're talking about a percent of a percent and you started

5       talking about a low number to start with.        But in this

6       business, it does seem to me that you can't quite discount

7       that entirely.    If you had an airline -- or a delivery

8       service and they had a 100 percent on time delivery, they

9       said 100 percent we guarantee you it gets there on time

10      100 percent of the time.     That's pretty darn good.

11                  If they went in there for instance and said we

12      have a 99 percent on time delivery, that is -- I can't even

13      ascribe a percentage increase because it's going from zero

14      to 1 percent which is infinite in terms of the percentage

15      increase.    But that is a difference when you're dealing with

16      goods that need to be there the next day or in two days and

17      people are promising that delivery or you're dealing with

18      the military.

19                  And so you're right that it is a percent of a

20      percent, and I shouldn't think of this -- I'm not going to

21      think of it from going from zero to 70 percent, that's not

22      accurate either.    It's going from roughly -- and you have

23      the numbers, but roughly 1 percent to roughly 2 percent or

24      something in that range where it's significant.        It's not

25      earth shattering.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 82 of 228
                                                                          82

1                  If you're in the business of guaranteeing people

2       something's going to get there on time -- let me put it this

3       way:   I would much rather be marketing a company with a

4       99 percent on time delivery than a company with a 98 percent

5       on time delivery, particularly in a world where there's

6       competition and the other people can go to the other company

7       with the 99 percent on time delivery.

8                  MR. GLEASON:    Sure, and that makes sense too.      And

9       I would too.    And here's the problem:     The company's

10      chronically late.     So again they're ascribing us with a late

11      arrival.   Again, they're ascribing us to try to enjoin us,

12      blaming us for their late problems.       They're trying to blame

13      us for their operational problems.

14                 I have to find -- and I'm sure you have yet

15      either, your Honor, find a company that's ever been a 100

16      percent on time for anything.      They're not even asking --

17      they're not even telling you that they're not 100 percent on

18      time, they're just you they're late by six -- or at least

19      six minutes -- under their definition, six minutes less

20      early when they leave.

21                 I mean, so yeah, I do understand that.       And yet

22      there's also just the common-sense again application no

23      company frankly is ever going to meet the 100 percent

24      standard short of infallibility, and I have yet to find that

25      here on this earth.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 83 of 228
                                                                           83

1                  THE COURT:    If we're just talking about six

2       minutes here and there's not a legal impediment to it,

3       what's the harm to the union in saying stop doing the BOOT

4       program and have people -- if you're loaded and ready to go

5       six minutes early, you ought to leave?       What's the downside

6       to that?   How does that hurt the union except for the fact

7       of taking away leverage in negotiations which is what this

8       case is about.

9                  MR. GLEASON:    Well, what happens when -- if you

10      want to take a look at the order itself -- and I understand

11      your point, it's not -- it wouldn't be an order just against

12      the union.    It's also against a crew member or pilot.         What

13      if he doesn't want to leave, he has a reason why he can't.

14      He still need to check his own legality.       He's got to still

15      finish his paper, he's got to clean the cockpit up, he's got

16      to get it ready.    There's a myriad of reasons why, even if

17      he's being told I'm not ready to go and he has the --

18                 THE COURT:    I mean, I understand that concern, and

19      if I were a pilot I wouldn't want to be in a position in

20      which I was potentially in contempt of court if I decided

21      that I had to wait a couple of more minutes.        But from the

22      union's perspective, why do you need the campaign of telling

23      pilots wait until the designated time and do not leave

24      before that?    I mean, I understand why the pilots want to be

25      in a position in which they can exercise their judgment in
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 84 of 228
                                                                         84

1       making sure that they're doing something that's safe and

2       appropriate under the circumstances.

3                   But from the union's perspective, why does the

4       union feel the need to say to the pilots, you know, "We

5       fully expect you to wait until the designated time.         Do not

6       leave before then."     What is the interest in saying that?

7                   MR. GLEASON:   It is an interest only again you

8       have to factor again the changing demographic of this pilot

9       workforce; of a young -- a relatively young and

10      inexperienced -- and when I say experienced, in terms of

11      international operations crew force.

12                  We have approximately at this point 50 percent of

13      the Atlas pilots, their hire date is after January 1st of

14      2015.   That's a new workforce.     It's a workforce that comes

15      primarily from a commuter and a regional airline passenger

16      industry.    They need to know what it means to be able to --

17      they need to know what not just their rights are, but what

18      their responsibilities are.

19                  And your Honor, so from an institutional point of

20      view -- aside from the fact obviously I don't want to have

21      the institution to have to get hauled in for contempt

22      anymore than I would want a pilot.       But from and

23      institutional point of view, what we're saying is you need

24      to -- our programs are designed to teach a young -- if you

25      will, a millenial group of -- because I'm a geezer, a
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 85 of 228
                                                                           85

1       millenial group of pilots, you have to communicate to them

2       in a way that will stick in their heads.       They don't listen

3       and communicate the way I do from my generation at least.

4       I'm at least a generation or two north of that.

5                   And so for us to do that is to kind of muzzle us

6       in doing our duty.     Our duty is to make sure not only that

7       they comply with the contract, but that they indeed do fly

8       safe.   That is our job.    And for us to be muzzled and just

9       using our words and our means to communicate to our members

10      simply because there's a Section 6 notice that's been filed

11      I think is an incredibly dangerous precedent.        And I think

12      it's also a violation of -- you know, to me it's like a

13      doctrine of prior restraint, because I don't want to be

14      enjoined.    I do not want to be muzzled in communicating --

15      the act of communicating what our contract says and what the

16      safety regulations and rules mean.

17                  THE COURT:   The Supreme Court has upheld

18      restrictions on work slowdowns and things like that and

19      strikes which I take your point, it's First Amendment

20      activity.    But the Supreme Court hasn't said we're not going

21      to uphold those restrictions because it was prior restraint.

22                  MR. GLEASON:   Those decisions still when you

23      actually have evidence, when you have evidence in the record

24      after a Section 6 notice has been filed, they deal with

25      evidence not statistics based upon obscure metrics.         They
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 86 of 228
                                                                             86

1       deal with causation.     They deal with actual clear proof that

2       indeed a union engaged in a slowdown or in a strike.

3                  We don't have that evidence here.       As you've heard

4       already, your Honor, all of the myriad of examples that were

5       included in the complaint and included in Captain Carlson's

6       declaration that until just about an hour and a half, two

7       hours ago we had been led and understood to believe were

8       clearly traceable to our legal conduct, they're not even

9       disputing that.

10                 So to have clear proof, to have evidence that the

11      words actually caused something, you've got have facts.          We

12      have none.

13                 THE COURT:    I mean, I do think just in fairness

14      that Mr. Siegel did say I think at our pre-hearing

15      conference that he wasn't planning on crossing the

16      individual pilots.

17                 MR. GLEASON:    Yeah, but that's a little bit

18      different than saying we don't dispute.       Because how can

19      you?   I mean, let's be real.     How can you dispute Captain

20      Malloy being accused of -- that's the dream lifter one.

21      That's the July 21st one, the sick call, the fourth bullet I

22      think in their paragraph in dealing with sick outs where

23      they call it sick call.

24                 They falsely accused the Captain of calling out

25      sick at the absolutely worst time right at block out.           It
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 87 of 228
                                                                         87

1       wasn't even the Captain, it was First Officer Malloy who was

2       working in a cockpit that was over 100 plus degrees with no

3       air conditioning, who took effectively a heatstroke he

4       blew -- he projectile vomited.

5                   THE COURT:   I read it.

6                   MR. GLEASON:   And so that's concerted activity?

7       That's not proof.     That is proof only that a person got sick

8       in a condition that was pretty horrible to begin with in a

9       cockpit that's that hot.

10                  We have another Captain who had the gout who could

11      hardly walk because he had a bad bout of the gout.         And he's

12      now supposed to operate nine and half hours or whatever

13      roughly across the ocean?      And he can't -- how's he going to

14      operate the controls of his plane if he's got the gout?

15      That's concerted activity?

16                  We have two other examples where we had a

17      probationary employee who can't even take advantage of the

18      grievance machinery in the collective agreement who has

19      stepped forward and put in a declaration who says he screwed

20      up, he made a mistake.     He missed his flight because he

21      didn't Zulu time -- you know, UTC time versus local time.

22      And yet that was recorded by Purchase by management as a

23      sick off.    And now it's being --

24                  THE COURT:   Someone may have been doing him a

25      favor on that.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 88 of 228
                                                                            88

1                   MR. GLEASON:   Yeah, but now it's a favor that's

2       being used against us now several months after the fact as

3       evidence that indeed we're engaging in illegal concerted

4       activity.    That's not right.    So I appreciate the favor to

5       the fellow, but I don't appreciate the fact that we have to

6       stand here and talk about something simply wasn't true in

7       terms of the evidence and the statistics that they're trying

8       to derive from that.     That's the problem I'm having.

9                   In order to do what you were talking about with

10      the Supreme Court to enjoin, yeah, of course unions have

11      been enjoined.    I've done cases where carriers have been

12      enjoined for violating the status quo.       But there's got to

13      be some causation, there's got to be facts.        And there's no

14      facts in this case.      All we have are statistics that I would

15      with respect suggest to you are suspect if not just based

16      upon very, very obscure metrics.

17                  THE COURT:   I'm looking forward to getting into

18      that.

19                  MR. GLEASON:   Indeed.   But you cannot prove

20      illegal concerted activity under the Norris-La Guardia Act

21      or the Railway Labor Act simply by using statistics.            That's

22      the United Airlines case for instance.       Statistics alone

23      don't cut the mustard.

24                  THE COURT:   United Airlines versus?

25                  MR. GLEASON:   I think it's the ALPA one.      So it
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 89 of 228
                                                                           89

1       would have been United Airlines versus ALPA.        It's one of

2       the two, there's two.

3                  THE COURT:    You've mentioned that before, and it

4       may be in your papers too.      The United Airlines case doesn't

5       give me enough guidance because it's --

6                  MR. GLEASON:    Yeah, it's within the Seventh

7       Circuit obviously because it's United.       There's at least two

8       cases that we've cited that tell you that.        But again, you

9       know, I know I've gone deep -- much deeper into the facts

10      before I wanted to go back to the law.       I still need to set

11      back to the law.

12                 The law we've discussed is Section 6 that sets the

13      status quo.    We discussed Section 2 First, and that

14      discusses and it puts an obligation jointly on the parties

15      to make and maintain agreements.      And then let's apply that

16      to this, to the strict enforcement.

17                 We heard a lot this morning about -- and into the

18      afternoon about the New York litigation.       We heard about

19      that in the context that the company of course did file a

20      management grievance against the union.       And it did that

21      because it is trying still to compel the Atlas bargaining

22      unit to stop engines, to negotiate not under the Railway

23      Labor Act but voluntarily -- contractually in that regard;

24      to take its contract and to merge it into another contract.

25      Yes, it's another contract whose pilots are represented by
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 90 of 228
                                                                         90

1       the Teamsters and by Local 1224.      Two separate contracts,

2       two separate bargaining units.      And the management grievance

3       deals with merging those saying that we've effectively

4       waived our right under the Railway Labor Act to negotiate as

5       we started off on February 16th to negotiate a single

6       contract for -- you know, to amend the contract we have in

7       front of us.

8                  So what's going on there is the company claims it

9       has a right to strictly enforce what it believes are its

10      rights and it terms, the way it reads the contract but we

11      don't today even though their lawsuit was filed after the

12      Section 6 obviously.     The lawsuit was filed in February of

13      this year.

14                 So it's kind of strange.      Section 2 First is a

15      two-way street.    Management has a right under our collective

16      bargaining agreement -- it's 20D of our contract, to file a

17      grievance.    They haven't done that.     So really what that

18      boils --

19                 THE COURT:    Their answer to that, what they say is

20      they're not -- their contention -- and they get to control

21      their complaint as the plaintiff.       Their complaint is not

22      there's a violation of the collective bargaining agreement.

23      Their compliant is that there was a violation of the RLA,

24      because the union has taken actions that have altered the

25      status quo in a manner that shifts bargaining power for
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 91 of 228
                                                                           91

1       purposes of the ongoing negotiation.       That's what their

2       complaint is.

3                   MR. GLEASON:   It is, but all you'll find in the

4       complaint many references -- several references at least,

5       not many, that's not fair.      You will nevertheless find

6       references to various provisions in our collective

7       bargaining agreement.      And as you know, now we can talk a

8       little bit perhaps about minor versus major disputes.

9                   This court has jurisdiction under the Railway

10      Labor Act over major disputes, not minor disputes.         Minor

11      disputes are not minor because of the quality -- you know,

12      the severity of the alleged conduct, but because they are

13      something that the dispute derives itself from the

14      collective agreement or a well-established past practice.

15      Here you have terms -- as you pointed out earlier, we have

16      explicit language in our contract not just giving the

17      company the right to file a management grievance, but it

18      actually has a very explicit no-strike and no slowdown

19      provision.    It has a sentence, and we need to talk about

20      that.

21                  But we don't concede obviously we're in a

22      slowdown.    That is something that should be dealt with

23      through a system board of arbitration.       The sentence that

24      Mr. Siegel is discussing, if we refused to arbitrate that,

25      if they filed a grievance and we refused to arbitrate that,
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 92 of 228
                                                                         92

1       it's like a Boys Markets under the National Labor Relations

2       Board.   The equivalent would be -- West Chester Lodge I

3       think would be the Second Circuit case where you can

4       enjoin -- issue an injunction even though it's a minor

5       dispute in order to preserve the jurisdiction of the system

6       board itself.    That's not this case though.

7                  THE COURT:    Let me ask you this question:      Assume

8       for purposes of this question that it's a major dispute.

9       Assume the Court concludes this is a major dispute.         Is

10      there a requirement under the Railway Labor Act or under the

11      Norris-La Guardia Act that says even if it's a major

12      dispute, that if the plaintiff could initiate arbitration --

13      could cast the dispute as a minor dispute and therefore

14      initiate arbitration under the collective bargaining

15      agreement, that the union -- that the company's required to

16      do that before the union can then initiate litigation?

17                 MR. GLEASON:    I believe so, particularly under the

18      Norris-La Guardia Act.     Simply calling something major when

19      indeed you're doing that just to avoid arbitrating and

20      trying to get an injunction --

21                 THE COURT:    No, no, no, I'm not saying -- don't

22      get into sort of just whether they're just calling it that.

23      Assume that I actually conclude that it is a major dispute

24      for the purposes of the question.       I'm not saying I have

25      concluded that.    But for purposes of the question, assume I
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 93 of 228
                                                                        93

1       conclude that it is in fact a major dispute, it is not

2       battling nomenclature.

3                  If it is a major dispute, are they still

4       nonetheless required to exercise whatever other less drastic

5       remedies they might have which might be bringing a grievance

6       or initiating an arbitration under the collective bargaining

7       agreement which would be a minor dispute?        And I understand

8       that would be a minor dispute, but it might be a way of

9       curing the major dispute or avoiding the major dispute.

10                 MR. GLEASON:    So I don't know, I've never had a

11      case where we have what's being characterized as a major

12      dispute -- meaning in order to get there, you have to have a

13      Section 6 status quo period to start with, to have a major

14      dispute that deals with explicit provisions in the

15      collective agreement that explicitly also allow for

16      arbitration, I don't know.

17                 I mean, the closest thing I can come up with is

18      under the National Labor Relations Act -- again I'm showing

19      my age, but it's the Collyer deferral.       You defer to the --

20      in that instance you defer to the administrative body --

21      that would be the National Labor Relations Board there, not

22      our statute, the other one, where you defer it, you

23      Collyerize it and find out whether there was -- instead of

24      just going to whether there's an unfair labor practice, you

25      determine what's going as to whether there's a violation of
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 94 of 228
                                                                           94

1       the collective agreement.

2                  But honestly, I don't know the answer to that.

3       And I don't know that you really have to go that far here,

4       your Honor, to have to grapple with that.        I think all you

5       have contend with is FWOL.      And I say that with some level

6       of -- with a tongue in my cheek here, is the fact that

7       indeed this is a case that's predicated upon activity that

8       they said began after a Section 6 process, and we know that

9       that's not true.

10                 In addition to that, we've talked about the

11      Railway Labor Act, but we really haven't discussed much of

12      the Norris-La Guardia Act.      And it's the Norris-La Guardia

13      Act -- as limited as your jurisdiction, your Honor, is under

14      the Railway Labor Act, it's really limited under the

15      Norris-La Guardia Act, and for good reason.        No disrespect

16      to the Court, but for really good reason.

17                 It's because of the history of activist courts way

18      back when enjoining everything that you need to do.         It

19      wasn't always thug activity and violence, it was even words.

20      And so the Norris-La Guardia Act is where we really have to

21      turn some attention.     And the Norris-La Guardia Act is one

22      that says that you have very, very limited jurisdiction.

23      You have jurisdiction only if the elements of the statute --

24      the requirements of the statute have been strictly complied

25      with.   That's section one.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 95 of 228
                                                                        95

1                  We discussed this in our papers. but there are

2       obviously a number of findings, legal and factual, that you

3       have to make, your Honor.      But even to get here today,

4       frankly your jurisdiction may not even be satisfied based

5       upon D.C. Circuit law there.      That's Green versus -- I want

6       to say it's Grenfell.     It's the 1941 decision from the D.C.

7       Circuit that says that you have to strictly -- every

8       element, every requirement has to be strictly complied with

9       in order for this Court to have jurisdiction.        And here for

10      instance it's an easy one -- and it sounds absurd, but it

11      must be adhered to according to the Green decision.

12                 The hearing can only be held after the company has

13      provided notice to the public authorities -- it's under

14      Section 7:    "Such hearing shall be held after due and

15      personal notice thereof has been given in such manner as the

16      Court shall direct to all known persons against whom relief

17      is sought, and also to the chief of those public officials

18      of the county and the city within which the unlawful acts

19      have been threatened or committed and charged with the duty

20      to protect the complainant's property."

21                 Now, that may sound kind of an absurdity since

22      they're talking about words and not thuggery -- although

23      frankly it's somewhat offensive to be accused of us

24      threatening people.     I really find that very offensive as a

25      trade union as well as a lawyer.      That is a provision in
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 96 of 228
                                                                        96

1       this statute that has yet to be complied with.

2                  THE COURT:    Have you raised this previously?

3                  MR. GLEASON:    No, it's a matter of subject matter

4       jurisdiction.

5                  THE COURT:    Well, I have a question.     I want to go

6       back and look at that.     The Supreme Court of late has said

7       there are a lot of things that both the Supreme Court and

8       the D.C. Circuit called matters that are subject matter

9       jurisdiction for years and years that aren't really matters

10      of subject matter jurisdiction but are conditions precedent

11      for example to bringing suit.      And the Court has made clear

12      that the statute has to use jurisdictional language -- I

13      maybe it does, but it has to use jurisdictional language for

14      it to actually be a matter of subject matter jurisdiction.

15                 MR. GLEASON:    Yeah, and the Norris-La Guardia Act

16      is a jurisdictional statute to start with, and again I think

17      it's a jurisdictional requirement.

18                 THE COURT:    That's something -- I mean, if it's a

19      matter of my own jurisdiction, I have to look at it and it's

20      not waived.    But it hasn't been presented to me at this

21      point so I haven't looked at it all.

22                 MR. GLEASON:    I would tell you, your Honor, that

23      again the Norris-La Guardia Act as a jurisdictional statute

24      really informs and conscribes your jurisdiction to even

25      adjudicate this case.     And again, we have therefore -- as we
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 97 of 228
                                                                            97

1       discussed a little bit the last time we were together, there

2       is -- at times there's a conflict, there's a tension between

3       the Norris-La Guardia Act and the Railway Labor Act.            Other

4       times there's not.

5                  There's a situation where you have to harmonize

6       that where the two statutes are harmonized.        And when that

7       happens -- when there is no conflict between the two, that's

8       one thing.    But where the Norris-La Guardia Act flat out

9       requires various findings of fact, conclusions of law and

10      processes to be adhered to strictly --

11                 THE COURT:    What is the section number of the

12      provision you were just describing with respect to notice?

13                 MR. GLEASON:    On the Norris-La Guardia Act, it's

14      29 U.S.C. Section 107.     And I also cited Section 101 which

15      is the general -- you know, the jurisdictional provision

16      requiring strict conformity with the statute.        I would also

17      point your attention to Section 6, the clear proof standard.

18                 THE COURT:    Is that 106?

19                 MR. GLEASON:    Yeah, I'm sorry, I quoted Section 6,

20      but it's 29 U.S.C. Section 106.      And so what we have here is

21      we have the strict requirements of the Norris-La Guardia

22      Act.   We have the provisions of the Railway Labor Act of

23      which the operative one is really Section 6 and it's status

24      quo period.    And then the other one is Section 2 First.         We

25      have, each side, a duty to make and maintain agreements, and
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 98 of 228
                                                                           98

1       yet we're being led to believe -- at least my understanding

2       of the plaintiffs' case is that they have a right to enforce

3       the contract the way they want, but we don't now, to try to

4       enforce it because the Section 6 notice has already kicked

5       in.   It's kind of bizarre and I don't think it's

6       appropriate.    And I don't think the statute there was at all

7       intended to allow for that.

8                  And it does go back to our duty and our

9       responsibility to communicate with our members and to

10      educate our members to let them know what the contract says,

11      what it doesn't say and what their responsibilities are.

12      And yes, you've cited cases as well.       I mean, I would go

13      back to the Claiborne Hardware case.       I would go back to the

14      civil rights cases that laborers had to use because we're

15      not well liked.    We understand that laborers are not well

16      liked, and so we have to be able to protect vigorously our

17      rights to speech and our rights to association just as the

18      NAACP did in that one.

19                 So there's been just such a mishmash of theories,

20      a mishmash of the law and frankly a mischaracterization of

21      the law that in and of itself is very troubling.        But it's

22      made even much more troubling and frankly very exhaustingly

23      difficult over the last 30 days trying to chase their

24      theories down.    Theories that keep shifting.      Theories that

25      first were based upon what they claimed were -- the
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 99 of 228
                                                                        99

1       plaintiffs claimed were clearly traceable facts to justify

2       their conclusion of concerted activity when the facts don't

3       bear that out and there's no causation.       To have mere words

4       alone -- Claiborne Hardware for instance, lawful in and of

5       themselves to use against us a year later -- more than a

6       year later even, sometimes up to 20 months later to say that

7       we've engaged in concerted illegal activity, it's not

8       appropriate and it certainly doesn't fit within the confines

9       of my view of the Court's jurisdiction under either of those

10      two statutes.

11                 As I've discussed just a few minutes ago, to use

12      statistics in such a rather odd way to try to reverse

13      engineer and to prove something that otherwise can't be

14      proven because the facts don't allow them and don't support

15      them is also inappropriate.

16                 So your Honor, I don't want to take anymore time,

17      I want to get on with this case.      I know we have to go

18      forward.   I would ask frankly for you to dismiss the case.

19      I don't know that you would, but I don't know that you have

20      jurisdiction.    And I would ask you should please consider

21      it.   But if you're prepared to go forward, we're prepared to

22      depend.

23                 THE COURT:    Well, so the only jurisdictional

24      argument I've heard from you today I think was your argument

25      that notice wasn't provided as required under the Norris-La
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 100 of 228
                                                                         100

1        Guardia Act, and that that deprived -- that that is a

2        jurisdictional requirement.

3                   MR. GLEASON:    That's one, and then the other one

4        is this is still a minor dispute under the Railway Labor

5        Act.

6                   THE COURT:   Well, that strikes me as that goes to

7        sort of the core of the case and I just need to hear from

8        the parties on that issue.     If it turns out you convince the

9        Court it's a minor dispute, then whether it's a

10       jurisdictional defense or not, the plaintiffs lose.        If it's

11       a major dispute, the plaintiffs convince me it's a major

12       dispute, they've made substantial progress with respect to

13       the merits of their case.

14                  With respect to your argument with respect to the

15       notice argument, I don't think we need to take more time on

16       this today.   If you want to submit a brief motion to the

17       Court identifying the relevant authorities and indicating

18       that I'm without subject matter jurisdiction, I would be

19       happy to consider that.

20                  Obviously Mr. Siegel would be able to then respond

21       to your argument on the papers.      I know everybody is busy

22       and they've got a lot on their plates, but this strikes me

23       as an issue that you probably can do in three or four pages.

24                  MR. GLEASON:    And I can tell you the case is Green

25       versus Grenfell, I believe it's a 1941 D.C. Circuit
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 101 of 228
                                                                         101

1        decision.   I'll find it.

2                    THE COURT:   Okay.   And if you have any other cases

3        you want me to look at, I'm happy to do that.

4                    MR. GLEASON:   And then one last point, and it goes

5        towards the other laws that are involved here -- not

6        jurisdictional, but just the other laws that are involved

7        here.   They deal with fatigue.     Fatigue is something that --

8        again, the way this case has been developed based upon a

9        statistic analysis is very troubling to us.       We've heard the

10       company and the plaintiffs tell us that they're not trying

11       to obtain an order enjoining legitimate fatigue calls or

12       legitimate sick calls.     But we've also heard the company not

13       questioning our refuting of the examples that they said

14       originally were abused.     How on earth is that going to ever

15       be policed and complied with?

16                   I don't want to have to -- if we ever get enjoined

17       for whatever reason here -- and obviously we don't

18       believe you have not just jurisdiction, but there is nothing

19       that would other allow for -- provide for such an

20       extraordinary remedy.      But if that were to happen, who's

21       going to police that?      Who's going to police the person who

22       is the next statistic, you know, one blip above that

23       statistic who then has to make the decision will I be hauled

24       into court or will my union be hauled into court because I'm

25       really tired.    Or the same thing if I have food poisoning, I
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 102 of 228
                                                                         102

1        mean, what's going to happen there?      I mean that is a

2        very -- and I'm not making that for trouble, I'm talking

3        serious stuff here.     The National Transportation Safety

4        Board and the FAA have placed a great tremendous campaign in

5        an effort in educating that transport, particularly

6        transport pilots, don't fly fatigued.

7                   THE COURT:   I get your point on that.      It's

8        obviously a very, very serious matter with respect to

9        fatigue and sick and goes to public safety.       I'm not saying

10       that this has happened here.     If there were a case in which

11       pilots were using fatigue as a means of exerting an

12       influence and they weren't really fatigued, that would be

13       also an equally serious matter in which they were then

14       making it hard for people to know when it was real fatigue

15       versus not real fatigue.     I mean, that is a real dilemma.

16                  I think everyone shares the concern here that we

17       don't want to put the pilots or the public in a situation in

18       which anything is causing any unnecessary danger or risk.

19                  MR. GLEASON:    Thank you, because we take that just

20       as seriously as anyone if not perhaps more so, because we

21       also have a duty just because we're the certified

22       representative.    But I don't want to be in a position quite

23       frankly to have to monitor that.      And frankly, given the

24       track record that I've had to deal with just over the last

25       few years with a very litigious company of having to be --
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 103 of 228
                                                                          103

1        trying to defend ourselves or our pilots over something of

2        that nature.    And with that, I thank you very much for your

3        time.

4                   THE COURT:    This was helpful, thank you.

5        Mr. Siegel, do you want to call your first witness?

6                   MR. SIEGEL:    We're going to call Dr. Lee as our

7        first witness.

8                   DEPUTY CLERK:    Please raise your right hand.       Do

9        you solemnly swear that you will well and truly answer all

10       questions propounded to you by the Court, so help you God?

11                  THE WITNESS:    Yes, I do.

12                  MR. SIEGEL:    Your Honor, we're going to ask

13       Dr. Lee to do a bit of an overview on his two declarations,

14       we're not repeating his declaration testimony.        He will

15       refer to some of the charts that are in the two

16       declarations.    Our plan is to -- as he testifies or explains

17       some of them, we'll put them on the screen.

18                  We also have -- just for your convenience, your

19       Honor, I've prepared in case you don't want -- if you want

20       to see them in hard copy without going through the entire

21       exhibit book, I have just a ring binder with the ones he's

22       going to discuss during direct testimony.

23                  THE COURT:    Okay, that's fine.    Have you shown

24       this to opposing counsel?

25                  MR. SIEGEL:    I will.   These are just the exhibits
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 104 of 228
                                                                         104

1        but extracted from the exhibit book for this direct exam.

2                   THE COURT:    Okay.

3                   MR. SIEGEL:    I'm sorry, your Honor, the other

4        clarification was at the Friday status conference, you had

5        mentioned exclusion of witnesses who are yet to testify.        I

6        don't want to proceed without at least raising the issue.

7        We have witnesses -- first of all, we have witnesses in the

8        courtroom.   So the issue is whether your Honor wishes people

9        to depart at this time.

10                  THE COURT:    So is Mr. Glass here?

11                  MR. SIEGEL:    Well, Mr. Glass is one of our

12       witnesses who is not going to be here in the hearing because

13       Mr. Gleason does not need to cross-examine him.

14                  THE COURT:    I see.    So who is here then?

15                  MR. SIEGEL:    We have -- our client representative

16       will be Mr. Carlson.     So I believe he's permitted to stay.

17                  THE COURT:    Okay.

18                  MR. SIEGEL:    And then we would have Mr. Flynn who

19       is the CEO of the company.       And he has read the Court papers

20       including the declarations of Dr. Lee, so I'm not -- I would

21       suggest it's perhaps --

22                  THE COURT:    Well, I think that I'm going to --

23       Mr. Gleason, what's your view on this?

24                  MR. GLEASON:    We have here in terms of our fact

25       witnesses -- well, my client representative is Captain Dan
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 105 of 228
                                                                           105

1        Wells, he's the principal officer of Teamsters Local 1224.

2        We actually have Mr. Akins also in the courtroom who of

3        course is our expert that we have provided a declaration for

4        and will present testimony.

5                   I feel a little hamstrung dealing with testimony

6        from an expert without my expert present.

7                   THE COURT:    It seems the parties may be in

8        agreement that they don't object to having the witnesses

9        present, is that correct?

10                  MR. SIEGEL:    All the declarations and expert

11       reports have been reviewed by everybody.

12                  THE COURT:    Mr. Gleason?

13                  MR. GLEASON:    I'm more concerned about having my

14       expert assist me in cross-examining Mr. Lee.

15                  THE COURT:    If the parties don't object, I'm fine

16       with letting the witnesses stay in the room protecting your

17       ability to engage in effective cross-examination.        If you

18       don't object, that's fine.

19                  MR. GLEASON:    Thank you, your Honor.

20                  MR. SIEGEL:    Thank you, your Honor.    Just for your

21       Honor's convenience, if you would like me to hand this to

22       you?

23                  THE COURT:    I would, thank you.    So just so you

24       can plan for purposes of your examination, I think we should

25       probably take a break at about no later than 3:30.        If
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 106 of 228
                                                                          106

1        there's a natural breaking time before then, great.        If you

2        want to go as late as 3:30, that's okay.

3                   MR. SIEGEL:    Okay.   And I'll try to speed this up.

4        This is really designed to be an overview and make it easier

5        to understand the two reports, but not to go through them in

6        complete detail.

7                   And your Honor, I don't have a stipulation from

8        Mr. Gleason on qualifying Dr. Lee as an expert, so I'll ask

9        some questions and then ask the Court to qualify Dr. Lee.

10                  THE COURT:    Is Mr. Gleason objecting to Dr. Lee's

11       qualification as an expert?

12                  MR. GLEASON:    I don't know.    I would like to do

13       just a quick voir dire because I'm not quite sure what he's

14       being qualified as.     If I could ask --

15                  MR. SIEGEL:    Rather than do that, can I just

16       qualify him?

17                  THE COURT:    Of course.

18                  MR. SIEGEL:    Thank you very much.

19                  MR. GLEASON:    And we may be able to move along

20       very quickly if I know precisely what he's being qualified

21       as.

22                  MR. SIEGEL:    I'll ask him in about three minutes,

23       we'll get there.

24                  THE COURT:    Okay.

25
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 107 of 228
                                                                         107

1               VOIR DIRE EXAMINATION OF PLAINTIFFS' WITNESS

2               DARREN LEE

3        BY MR. SIEGEL:

4             Q.    Thank you very much.     Dr. Lee, first of all, could

5        you state your full name for the record.

6             A.    It's Darren Norman Lee.

7             Q.    And have you prepared a CV for purposes of this

8        testimony?

9             A.    I have, yes.

10            Q.    Let me direct your attention to the -- your

11       initial declaration in this matter which is Plaintiffs'

12       Exhibit 124 in the third volume of Plaintiffs'

13       Exhibit binders.    You don't have that -- I'm sorry, your

14       Honor, we should get an exhibit book up there.

15            A.    Can you repeat the number?

16            Q.    That's Plaintiffs' Exhibit 124, in the third

17       volume of our exhibit binders.      And it would be page

18       124.079.

19            A.    I'm there, sir.

20            Q.    Can you identify this document?

21            A.    This is a copy of my curriculum vitae.

22            Q.    And can you just briefly summarize for the Court

23       your educational background as described at page 124.079?

24            A.    I received my PhD in economics from Brown

25       University in 1998.    Prior to that I received a Masters in
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 108 of 228
                                                                         108

1        economics from Queens University in Kingston, Ontario, and a

2        Bachelor of Science in economics from the University of

3        Victoria, British Columbia in 1991.

4             Q.     Can you please describe your professional

5        background also as described in your CV?

6             A.     I am currently an executive vice president in the

7        Boston office of Compass Lexecon which is an economic

8        consulting firm.    I've been there since 2011.     And prior to

9        that, between 1998 and early 2011 I was a -- I had many

10       different titles but was at a similar firm called LECG, also

11       an economic consulting firm.     At both of those firms, for

12       the last 20 years I focused almost exclusively on matters

13       related to economics and statistics relating to the airline

14       industry.

15            Q.     Can you also summarize for the Court articles that

16       you have written in academic journals regarding the airline

17       industry.

18            A.     On pages A2 and A3 of my CV, it lists all of my

19       publications and referee economics journals of which there

20       are 18 publications.    Fifteen of those 18 publications --

21       again all peer reviewed scholarly journals, are various

22       types of empirical analyses of various topics in the airline

23       industry.

24                   I'm also the editor of the Advances in Airline

25       Economics book series, volumes one and two of that book
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 109 of 228
                                                                         109

1        series, which is a collection of scholarly work principally

2        by academics in the field looking at different topics of

3        airline economics.

4             Q.    Could you just tell us some of the airlines for

5        which you've provided consulting services?

6             A.    Certainly.   Over the past 20 years or so, I've

7        worked pretty much for every large U.S. passenger airline in

8        the United States including United, American, Delta and then

9        prior to their mergers Northwest and U.S. Airways; some of

10       the low cost carriers such as Southwest, Spirit, Jet Blue,

11       Alaska Airlines; numerous regional carriers such as Horizon

12       and Comair, Envoy; international carriers such as Air New

13       Zealand, ANA, Air Canada as well as industry trade

14       associations, A4A and some aircraft manufacturing companies.

15            Q.    And have you served in any expert role with regard

16       to matters for the United States Government?

17            A.    Well, I've certainly provided economic analyses

18       that I've presented before many different agencies of the

19       U.S. Government including the Justice Department, the USDOT

20       and the U.S. State Department.

21            Q.    Have you served as -- have you been certified as

22       an expert witness in federal court litigation involving the

23       airline industry in the past?

24            A.    I have, yes.    I've been qualified as an expert in

25       economics and statistics of the airline industry on at least
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 110 of 228
                                                                         110

1        a couple of occasions.     I've also served as an expert in

2        numerous other federal court cases that didn't actually

3        reach the courtroom.    And I've testified as an expert on

4        numerous occasions in various arbitration settings.

5             Q.    Have you served as an expert witness in matters

6        involving statistical analysis involving situations like

7        slowdown allegations --

8             A.    Yes, I was --

9             Q.    -- with the Railway Labor Act?

10            A.    Yes, I was an expert witness in one of the cases

11       that was mentioned in both of the openings.       I think it was

12       the USAPA versus U.S. Airways matter in 2011 in the federal

13       court in North Carolina.

14            Q.    And can you just briefly describe the subjects

15       about which you've testified as an expert in these court

16       arbitration proceedings?

17            A.    Certainly.   I have provided expert testimony on a

18       wide range of topics involving the airline industry

19       including mergers and acquisitions; antitrust immunity;

20       commercial disputes; labor disruptions or labor

21       disagreements; foreign trade issues; commercial disputes

22       between airlines.    A whole host of matters.

23            Q.    And has this involved analysis or involved

24       empirical or statistical analysis of airline data?

25            A.    Yes, virtually every engagement that I work on or
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 111 of 228
                                                                         111

1        that I've worked on in the last 20 years involving the

2        airline industry involves an empirical analysis of airline

3        data.

4                   MR. SIEGEL:    Your Honor, we'd like to offer

5        Dr. Lee as an expert in statistics, economics and the

6        airline industry.

7                   THE COURT:    Mr. Gleason?

8                   MR. GLEASON:    Just very briefly, I think that -- I

9        would like to voir dire very briefly?

10                  THE COURT:    Okay.

11

12            VOIR DIRE EXAMINATION OF PLAINTIFFS' WITNESS DARREN LEE

13       BY MR. GLEASON:

14            Q.    Hello, Doctor, how are you?

15            A.    Hello, good.

16            Q.    Doctor, do you hold a degree in psychology?

17            A.    I'm not a psychologist, no.

18            Q.    You're not trained in psychology?

19            A.    I'm not.

20            Q.    Do you hold a degree in behavioral science?

21            A.    I do not have a degree in behavioral science.

22            Q.    Have you ever been qualified as an expert in air

23       cargo operations or logistics?

24            A.    I've been qualified as an expert in airline

25       economics, but not specifically in air cargo and logistics.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 112 of 228
                                                                          112

1             Q.     What about have you ever been qualified as an

2        expert in air cargo scheduling?

3             A.     Not that I can recall.

4             Q.     Have you ever been qualified as an expert in

5        fatigue assessment?

6             A.     I've not specifically --

7                    THE COURT:   You know, I hate to interrupt, but I

8        think this may go more to your cross-examination.        He hasn't

9        been offered as an expert on any of these topics.        I can

10       understand why you'd might want to make these points for

11       purposes of cross-examination, but I'm not sure this goes to

12       voir dire for purposes of disqualifying him as an expert on

13       the issues that he's being offered on.

14                   MR. GLEASON:   And that was my question, because it

15       was really based upon the confusion in his declaration where

16       he said he's an expert on various things including

17       industrial -- I forget the actual term he used, but

18       industrial...

19                   THE WITNESS:   Industrial organizations.

20                   MR. GLEASON:   I wanted to make sure I understood

21       precisely what he was being qualified for.

22                   THE COURT:   If you have another question you may

23       ask that.

24                   MR. GLEASON:   I have no other questions on that.

25       I believe he will qualify -- and I'll let you rule, but
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 113 of 228
                                                                           113

1        those are my last series of questions if he's going to be

2        qualified only as to economics and statistics.

3                   THE COURT:   Do you have any objection to his

4        testifying on those topics?

5                   MR. GLEASON:    No, I don't know.

6                   THE COURT:   Dr. Lee is qualified to testify on

7        these topics.

8

9             DIRECT EXAMINATION OF PLAINTIFFS' WITNESS DARREN LEE

10       BY MR. SIEGEL:

11            Q.    Dr. Lee, have you been asked to prepare an expert

12       declaration to analyze issues in the case that is before the

13       Court?

14            A.    Yes, I have.

15            Q.    I'd like to turn back to your -- Plaintiffs'

16       Exhibit 124, pages 124.003 of your initial declaration, and

17       specifically ask you to refer to paragraph four.        I think

18       we're going to get that up on the screen.       Okay, we're not.

19                  Let me just -- this is your -- I believe these are

20       basically the mandate for your studies, so could you explain

21       to the Court what principally you were addressing in your

22       initial declaration?

23            A.    Certainly.   There were principally three questions

24       that I was asked to examine.     The first is whether or not --

25       it was to provide an independent statistical analysis of
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 114 of 228
                                                                          114

1        various changes in pilot behavior that the company had been

2        experiencing after the IBT or the union sent its Section 6

3        notice to the company; and to determine whether or not those

4        changes in behavior were statistically significant.

5                   The second thing I was asked to examine was

6        provide a statistical analysis of the erosion or the

7        degradation in the company's operational performance that

8        began to occur after the union sent a Section 6 notice.         And

9        again, to look at those through the lens of a statistician

10       or economist to determine whether or not those changes were

11       statistically significant, and whether or not they were

12       likely to be caused by the changes in behavior by pilots.

13                  And then third, to the extent that the evidence

14       from the first two tasks demonstrated that in fact if there

15       were changes in behavior that were statistically significant

16       and they were the cause of operational disruptions, to

17       assess the extent to which those were harming the company

18       and its customers.

19            Q.    Okay.   I'd like to direct your attention now to

20       page 124.004, paragraph five.      And can you please just

21       describe to the Court how did you go about analyzing the

22       principal issues that you were addressing?

23            A.    Well, I went about analyzing them the way I would

24       undertake any matter that I work on which is I'm

25       fundamentally kind of a data driven, empirical person.          So
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 115 of 228
                                                                           115

1        whenever a question is posed of me, I want to understand

2        what data is available to bring to bear, to shed some light

3        onto the question.    Fortunately, the airline industry is one

4        that by its nature generates a lot of data.

5                   So I sought out what data that I thought was

6        relevant to answer the questions before me.       A lot of that

7        data in this case comes from Atlas Air, and it's data that

8        they maintain in the regular course of business.        And then

9        to that I would supplement it with other data which is

10       commonly used by economists studying the airline industry:

11       Weather data, airline operation -- other airline operations

12       data, a whole host of things.

13                  And of course I would combine that with my roughly

14       two decades of experience in looking at matters such as

15       these and apply standard statistical tools that are commonly

16       used by economists -- myself and other economists who study

17       the airline industry to see if I can shed some light to the

18       questions before the Court.

19            Q.    Dr. Lee, the type of data that you just described

20       and the methods you are using, are they commonly used by

21       other economists studying the airline industry?

22            A.    Certainly they are.     I would say the cargo

23       industry probably gets a little bit less attention by

24       academic scholars that look at the airline industry.        But

25       nevertheless, the types of data that Atlas maintains in the
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 116 of 228
                                                                         116

1        ordinary course of its business in terms of pilot

2        utilization is very similar to those being studied by

3        economists including myself as well as other economists in

4        the airline industry.     So it's very, very, very standard.

5                   The statistical techniques that I used here again

6        are very similar to the types of techniques that I used in

7        similar matters as well as other engagements looking at a

8        wide range of topics in the airline industry.

9             Q.    Thank you, Dr. Lee.     I'd like to turn now to the

10       summary of opinions that you offered in the beginning of

11       your first declaration.     That would be --

12                  THE COURT:   Just before you move onto that, I have

13       one more question on the methodology which is as a matter of

14       your methodology, did you just look for statistical

15       correlations or do you actually build an econometric model

16       that considered other variables in a that way that you could

17       exclude the possibility that it was other variables?

18                  THE WITNESS:    That's a fantastic question, your

19       Honor.    And so I think what's really important in

20       understanding my report is that the underlying assumption is

21       in fact that there have been no changes in pilot behavior or

22       that pilot changes have not been the cause of the underlying

23       disruptions that we're seeing.

24                  So the null hypothesis so to speak is always that

25       there's been no change.     And I do exactly what you
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 117 of 228
                                                                           117

1        mentioned.   There's a combination of statistical analyses in

2        my report.   Some of the most important statistical analysis

3        in my report uses an econometric, a regression based model,

4        to do exactly what you mentioned; to control for alternative

5        factors or alternative hypotheses or explanations as to why

6        we may be seeing what we're going to see.

7                   So I had a bunch of things, based off of my

8        experience, that I would normally expect to cause delays or

9        to cause the ability of an aircraft to depart exactly on

10       time.   I incorporate all these covariances.      And what we're

11       really measuring here is controlling for all those factors

12       the change in the variable we're interested in looking at

13       after the Section 6 notice was sent controlling for those

14       other factors.

15                  And I would also just mention that I tend to think

16       of myself as kind of an open-minded economist.        Mr. Akins

17       also proposed some alternative hypotheses or alternative

18       explanations as to sort of what's driving the changes in

19       operations and change in behavior.      So in my rebuttal

20       declaration, I incorporated all of those explanations or

21       alternative explanations that he offered to see if they

22       altered my fundamental conclusions.      They had no impact.      So

23       I'm fairly confident having put it through my only lens of

24       analytical rigor and then also applying the same -- the

25       criticisms or the alternative explanations that Mr. Akins
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 118 of 228
                                                                         118

1        offered.

2                   And you include those as additional statistical

3        controls or additional covariates as you would say, the

4        fundamental underlying results in terms of changes in either

5        behavior or operational performance -- i.e., these long

6        delays that we talked about, are still present in the

7        variable above.

8                   THE COURT:   Okay, thank you.

9        BY MR. SIEGEL:

10            Q.    Let me direct you to paragraph six of your initial

11       report which is at pages 124.005 to 124.0014.       This is your

12       summary of opinions at the beginning of your initial report.

13       If I might just ask you to briefly summarize these opinions

14       and conclusions for the Court.

15            A.    Certainly.   And I'll try and be brief, because

16       obviously all of my opinions are laid out quite clearly I

17       hope in my two declarations.     But in a nutshell, there's two

18       primary conclusions that I reached based on the analysis

19       that I conducted.    The first is that after the union sent

20       its Section 6 notice in February of 2016, several measures

21       of pilot behavior began to exhibit statistically significant

22       changes.

23                  Those measures of pilots' behavior include the

24       portion of sick calls made by pilots on short notice;

25       fatigue calls; the willingness of pilots to accept open time
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 119 of 228
                                                                         119

1        or what are sometimes called overtime flying opportunities;

2        the willingness of pilots to block out at the ETD, at the

3        estimated time of departure when they're loaded and ready;

4        and then the rate at which pilots were identifying and

5        writing up mechanical discrepancies on their aircraft.

6                   And each of these measures -- and again, I use a

7        variety of different statistical methods, some of which are

8        regression based, some of which are slightly different

9        depending on the nature of the data and the type of analysis

10       which I'm doing.    All of them show statistically significant

11       changes that can't be explained by other factors or random

12       statistical variation.

13                  The second main conclusion is similar, but it

14       relates to the erosion in the company's operations that

15       likewise have occurred since the union sent its Section 6

16       notice.   And when you study again statistically using in

17       this case a regression analysis, what that analysis shows is

18       that there's been a statistically significant erosion in the

19       company's operations that can't be explained by other

20       potential explanations or random statistic variation.

21            Q.    Now, in reaching these conclusions, can you tell

22       us whether or not you used methods to -- or what methods you

23       used to rule out the possibility that factors other than

24       changes in pilots' behavior could have been the cause of

25       Atlas' operational disruptions?
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 120 of 228
                                                                           120

1             A.    Certainly.   And I think -- I'll try to be brief

2        here, because this is very much similar to the question that

3        your Honor asked.    Obviously I start with the proposition

4        that there is no -- it's not being driven by pilots.        And

5        then once you have that proposition in place, there's really

6        kind of three sets of mechanical tools that one does.           One

7        looks at a historical base period and compares that to the

8        period since the sending of the Section 6 notice.        One could

9        employ a regression analysis that specifically controls for

10       certain factors that one might think is systematically

11       correlated with what you're looking at, be it BOOT or long

12       delays.

13                  And then finally to further rule out the

14       possibility that things like customer driven changes or bad

15       weather or air traffic control issues as being the cause.

16       In a number of my regression analyses, I will strip out all

17       of the flights that had any type of weather or ATC or

18       customer driven delays to have a clean set of natural

19       experiments to look at.

20            Q.    Thank you, Dr. Lee.     I'd like now to turn to some

21       of the highlights in your initial declaration by asking you

22       to explain some of these charts and exhibits.       Let's start

23       with the one that addresses short notice sick calls.        Turn

24       to page 124.024 of your initial declaration.       Take a look at

25       Exhibit 5.   We do have it on the screen now.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 121 of 228
                                                                         121

1             A.    Well, what this exhibit shows is it shows the

2        proportion of sick calls by pilots every month at Atlas that

3        occur on what I refer to as short notice.       So it's normal at

4        any airline to have on any given day some pilots call in

5        sick.    That's normal at Atlas and normal at any other

6        airline.   But the way in which pilots can call in sick can

7        dramatically affect whether or not that particular sick call

8        is going to cause an operational disruption.

9                   So when you look at how pilots have been calling

10       in sick, what it shows is that on average in the months

11       before -- and again this chart goes back to 2013, in the

12       several years leading up to the IBT Section 6 notice, on

13       average about 15.4 percent of the pilots' sick calls would

14       occur on the same day of the pilots' next duty period.

15                  What the chart shows is that shortly after the IBT

16       sent its Section 6 notice, that portion of sick calls that

17       were short notice rose rather sharply.       And as you can see,

18       by October of 2016 it had reached 25 percent which is a

19       proportion which had previously not been seen.        I think you

20       can see from the chart that the highest level it had ever

21       been on a monthly level before the Section 6 notice was

22       21 percent.   And since the fall of last year, they've

23       consistently been at or above levels that had previously

24       been kind of like the high watermark of short notice sick

25       calls.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 122 of 228
                                                                         122

1             Q.    Now, have you conducted statistical tests to

2        assess the likelihood that the increased proportion of short

3        notice calls that Atlas has experienced since the Section 6

4        notice could have been the result of random statistical

5        variation as opposed to concerted activity?

6             A.    Yes.   There's a kind of standard type of

7        probablistic test that one could apply in a situation like

8        this, and it's explained in my report.       But the probability

9        of observing this many kind of what I would call outlier

10       months in the period since the union sent its Section 6

11       notice is far less than one in a billion.

12            Q.    Let me turn to the issue of fatigue calls.

13                  THE COURT:   Just before we turn off of Exhibit 5,

14       I suppose the -- if you backed up and looked at a period of

15       time starting in September of 2016, then the average may be

16       a little bit higher.    Because there was a period of time

17       after February 2016 where there wasn't much of a bump,

18       right?

19                  THE WITNESS:    That's correct.

20                  THE COURT:   And then it comes later?

21                  THE WITNESS:    That's correct.

22                  THE COURT:   Do you have any sense or did you look

23       at how high it would have been if you pushed the start date?

24                  THE WITNESS:    That's a great question.     Normally

25       when I conduct this Bernoulli type test it's called, once
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 123 of 228
                                                                         123

1        something is one in a billion I don't try to determine

2        whether or not there's an even rarer event.       But if one were

3        to start this test period at say for example September, it

4        would be far, far less than one in a billion.       I might even

5        venture to say it could be as rare as one in a trillion.

6                   Suffice to say that because my test period is

7        including these months where it's lower prior to -- so in

8        this period say from March through to August, if anything,

9        the one in a billion is understating the degree of

10       abnormalness so to speak of what's going on.

11                  THE COURT:   Okay.

12       BY MR. SIEGEL:

13            Q.    Turning to the subject of fatigue calls, that

14       would be Exhibit 7 of your declaration at page 124.028.         And

15       we have this on the screen for demonstrative purposes.

16       Could you please just describe this chart for the Court?

17            A.    Certainly.   So Exhibit 7 is similar to the

18       previous chart we just discussed, but here we're looking at

19       the rate of pilot fatigue calls.      It's important to

20       emphasize that when you measure something like a fatigue

21       call, you don't want to be looking at just the number of

22       fatigue calls that happen in a given month.       You really need

23       to put it on a standardized rate basis.       The reason for that

24       of course is Atlas has been growing as a company.

25                  So as Atlas gets larger and it has more pilots,
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 124 of 228
                                                                         124

1        even if they're calling in fatigued at the same rate, the

2        absolute number of fatigue calls will increase.        What I've

3        done here is expressed the monthly fatigue calls as a rate

4        per thousand pilots.    What this shows again is prior to IBT

5        sending out its Section 6 notice, the average rate was

6        around 5.7 fatigue calls per thousand pilots each month.

7        Since it's sent out its Section 6 notice, it's increased

8        almost threefold to 16.3 fatigue calls per thousand pilots

9        per month.

10            Q.    Have you again conducted a statistical test to

11       assess the likelihood that the increased proportion of

12       fatigue calls that Atlas has experienced could have been the

13       result of random statistical variation?

14            A.    I have, I've conducted that same test.       This one

15       is not quite as rare, it's only about one in about 600,000.

16            Q.    Now Dr. Lee, analyzing the change in sick calls

17       and fatigue patterns, have you ruled out the possibility

18       that these changes are due to pilots working more hours?

19            A.    I have.   Whenever one looks at fatigue for pilots,

20       the first thing that one really needs to assess and rule out

21       is whether or not the pilots have been flying more.        Because

22       obviously as pilots fly more, it's fatiguing if you're

23       flying more.    And so there could be -- one might expect that

24       there's a positive correlation between legitimate fatigue

25       and the rate at which pilots call in fatigued.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 125 of 228
                                                                           125

1                    So it's a standard way to measure in the industry

2        to look at kind of the utilization of pilots is known as the

3        monthly block hours per pilot.      That is used throughout the

4        industry as a way to measure how much pilots are working.

5        And I looked at that as part of my analysis.

6             Q.     Let me ask you to turn to page 124.36 of your

7        report.   In particular, Exhibit 11 which discusses average

8        block hours per Atlas pilot by fleet.       Can you explain this

9        chart for the Court?

10            A.     Certainly.   This chart describes the metric which

11       I was just speaking about which is the average number of

12       block hours that Atlas pilots are flying per month.        I've

13       broken it into both fleet types, the 767s on the top and the

14       747s on the bottom.      The period in red are the months since

15       the union sent the Section 6 notice.

16                   As you can see, in fact the average amount of

17       block hours per pilot in both the 747s and the 767s is

18       actually a little bit lower since the Section 6 notice than

19       the historical base period.

20            Q.     Now, does this Exhibit 11 also shed any light on

21       the union's assertion that Atlas is suffering from a pilot

22       shortage?

23            A.     It does.   So I certainly have seen the claims in

24       the IBT pleadings that one of the big problems that Atlas

25       faces is that there's a worldwide pilot shortage, and in
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 126 of 228
                                                                         126

1        turn that that pilot shortage is starting to have

2        implications on Atlas and that the pilot shortage affected

3        Atlas.

4                   So if that were the case, one would expect that

5        because Atlas is a growing company, if they haven't been

6        able to hire enough pilots to fly the schedule as they

7        expand their business, one would expect to see the average

8        amount of block hours flown by the pilots that they do have

9        be increasing over time.

10                  But in fact, what you see is that the average

11       block hours per pilot has been flat if not a little bit down

12       since the union sent its Section 6 notice which means that

13       they're able to hire and train enough pilots to fly their

14       operations.

15                  THE COURT:   Let me ask a follow up on this which

16       is you were in the courtroom earlier, and you heard

17       Mr. Gleason make the point that -- I think he said something

18       in the neighborhood of 50 percent of Atlas' pilots started

19       with the company since 2016 is it?

20                  MR. GLEASON:    January 1st, 2015, your Honor.

21                  THE COURT:   January 1st, 2015.     Is that something

22       that you considered in this?     Is that something that could

23       affect this so that new pilots for example might not be in a

24       position where they could fly as many hours because they may

25       have more training responsibilities?
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 127 of 228
                                                                         127

1                   THE WITNESS:    That's a very good question.     This

2        analysis here only considers the pilots who have completed

3        their training and are in revenue service.       So to the extent

4        that there could be a backlog of training capacity and

5        simulator capacity and things like that, that wouldn't

6        implicate or affect this chart.      Because what we're looking

7        at here are only the pilots who are in what's called revenue

8        service.

9                   THE COURT:   Thank you.

10       BY MR. SIEGEL:

11            Q.    I'd like to turn now to the -- what has been

12       referred to as the BOOT campaign, and ask you to turn to

13       your report Exhibit 124, page 124.038 which is your initial

14       declaration, and Exhibit 12.     We have that on the screen as

15       well.

16                  Dr. Lee, could you explain to the Court what this

17       exhibit represents?

18            A.    Certainly.   So as we discussed already this

19       afternoon, every Atlas flight has what's known as an ETD or

20       an estimated time of departure which is the time that has

21       been communicated from the company to the pilots as to when

22       the aircraft is expected to depart.

23                  What this chart shows -- again, going back to at

24       least 2012, is that there has been a precedent at the

25       company and by the pilots of the company to leave before the
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 128 of 228
                                                                          128

1        ETD.   In fact, around 80 percent of Atlas' flights have

2        traditionally left before the ETD once the pilots are ready

3        and once the cargo is on the aircraft.

4                   A smaller proportion of flights which are shown in

5        the blue line have typically left exactly at the ETD, so

6        essentially in the 60-second window which is the actual ETD.

7        And then also a small proportion of flights have

8        traditionally left after the ETD.

9                   What the exhibit also shows is that shortly after

10       the union sent its Section 6 notice, the red line -- which

11       are the proportion of flights blocking out prior to the ETD,

12       I mean, it really just dropped like a rock from about

13       80 percent down to around 30 percent.       And interestingly,

14       the ones that shot up to kind of essentially make up for the

15       ones that were no longer leaving before the ETD is the blue

16       line which are the flights that were leaving exactly at the

17       ETD.   So again, within this 60-second window which is the

18       estimated time of departure.     It goes from around 50 percent

19       to around 60 percent.

20                  THE COURT:   And I take it that this chart -- maybe

21       there's something else in your testimony, but this chart

22       doesn't speak to how late the flight was?       It doesn't speak

23       to the question of how much before the estimated time of

24       departure flights might have previously left?

25                  THE WITNESS:    So that's a good question.     And your
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 129 of 228
                                                                         129

1        Honor, if you'll actually just turn two pages to Exhibit 13,

2        I know this is --

3                   THE COURT:   And if you're getting to this,

4        Mr. Siegel --

5                   THE WITNESS:    No, no, actually this is something

6        which we had not planned to discuss.      But Exhibit 13, your

7        Honor, shows the distribution by minutes of time before the

8        ETD that flights had been leaving.      And the ones that had

9        been leaving are the ones in gray.      So the gray period is

10       the historical base period.     And as you can see, there's

11       many flights that would leave 15 minutes, 14 minutes, 13

12       minutes, 12 minutes, 11 minutes and so forth.

13                  And prior to the Section 6 notice, only around

14       13 percent left exactly at the ETD.      And then since the

15       Section 6 notice was sent, you can see all those gray bars

16       kind of drop down.    So those are the flights that used to be

17       leaving early, and that's dropped down.       They've all dropped

18       down by roughly half if not a little bit more.        And what has

19       shot up is the ones that are exactly at zero which are the

20       ones blocking out exactly on time.

21                  THE COURT:   So the bottom legend is minutes

22       before?

23                  THE WITNESS:    Minutes before the ETD going from 25

24       or greater to exactly on time.

25                  THE COURT:   Okay, thank you.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 130 of 228
                                                                          130

1                    THE WITNESS:   You're welcome.

2        BY MR. SIEGEL:

3             Q.     Dr. Lee, turning to the impact of the pilot

4        behavior that we're discussing, the operational disruptions,

5        may I ask you if you could please turn to page 124.59 of

6        your initial declaration.     I'll direct your attention to

7        Exhibit 20 and ask if you can describe this chart to the

8        Court, please?

9             A.     Certainly.   So this chart shows the proportion of

10       Atlas' flights each month that suffer a delay.        Here it's a

11       departure delay of at least six months.       And so in the --

12       you know, in the cargo world it's a little different than in

13       the passenger world where passenger airlines cancel a lot of

14       flights.    If a flight is going to be delayed by six hours,

15       they often cancel the flight and book the passengers the

16       next day.

17                   In the cargo world, it's a little bit more

18       complicated than that.     You're not running the same type of

19       network where you're having in many cases multiple

20       frequencies the same day.     So they usually absorb the delay,

21       leave later and then have to kind of recover over the next

22       several days to try to kind of build back all that time and

23       reshuffle things around.

24                   And so these six hour or longer delays which is

25       what I referred to as prolonged delays throughout my report
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 131 of 228
                                                                         131

1        are kind of akin to a cancellation in the passenger world.

2        And what --

3                    MR. GLEASON:   I object at this point, your Honor.

4        He's already testified on voir dire he's not an expert for

5        cargo operations.    Now he's going for an opinion that's not

6        relevant.

7                    THE COURT:   I'll allow the testimony.

8                    THE WITNESS:   So what this shows is that in the

9        historical period -- again, starting going back to 2012 up

10       until when the union sent its Section 6 notice, on average

11       about 1.4 percent of Atlas' flights experienced a prolonged

12       delay.   In the months directly after the Section 6 notice

13       was sent, there was really not an immediate change.

14                   And it was around the fall of last year, kind of

15       in the peak season, when things like the short notice sick

16       calls had been increasing and when the fatigue calls had

17       been increasing is when you start to see this noticeable

18       rise in the short notice sick -- sorry, in the prolonged

19       delays going up.    And you can see, in the period since

20       December of last year until September of this month, the

21       rate has increased to 2.4 percent.      So again, it's that 1

22       percentage point increase.

23                   And I will readily admit that it's a 1 percentage

24       point increase, but when you think of it in terms of the

25       amount of the proportion of Atlas' flights that have been
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 132 of 228
                                                                         132

1        affected or the change, this is that 70 percent increase

2        that we spoke of.

3        BY MR. SIEGEL:

4             Q.    Have you also conducted a statistical analysis to

5        determine if this observed increase in prolonged delays is

6        statistically significant?

7             A.    I have.   This is one of the instances where I

8        conducted a regression analysis.

9             Q.    Let me ask you to turn to -- for this regression

10       analysis, turn to page 124.64 of your initial declaration,

11       Exhibit 22, and ask can you describe this or explain this

12       chart to the Court?

13            A.    Certainly.   So this is -- as your Honor is

14       probably familiar seeing in some other instances, seeing a

15       regression table which shows the estimated coefficients of

16       running the regression just to make sure everyone's on the

17       same page.

18                  When you estimate a regression model, you signify

19       a standard practice to signify whether or not a coefficient

20       is statistically significant or not through the use of

21       either one asterisk or two asterisks.       If there's two

22       asterisks next to an estimated coefficient, it that means

23       it's statistically significant at the 99 percent level which

24       means the 99 percent level of confidence.

25                  What this shows is that since December 1st of last
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 133 of 228
                                                                          133

1        year -- again, just it was like when we saw the bar chart

2        rising, there has been an -- in column one it's all Atlas

3        flights regardless of customer -- a 1.18 so let's call it a

4        1.2 percentage point increase in prolonged delays

5        controlling for other factors.

6                   Again, I would mention to your Honor that this is

7        one of the regressions where I've already excluded flights

8        that had any type of weather delay, that had any type of

9        customer driven delay or that had any type of ATC or

10       government delay as well as what are known as secondary

11       delays.   So it's a very clean set of flights where there

12       really shouldn't be many other causes for delays.

13                  The other thing I would just point out is that

14       this effect is widespread against all different customer

15       types.    Column two shows the impact on military flights.

16       And in fact, the estimated coefficient as you can see there

17       is around 3.6 percent, so actually much, much greater in the

18       military flights.    It also shows that it's there for DHL and

19       Amazon flights, albeit with a slightly lower percentage, as

20       well as the other flights that are neither military or

21       express package.    So it's widespread in reaching all

22       customer typesets at Atlas.

23                  MR. SIEGEL:    Your Honor, you mentioned you wanted

24       to take a break.    This is a good time to do so.

25                  THE COURT:    Okay, let's do that.    How much more
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 134 of 228
                                                                           134

1        time do you need?

2                   MR. SIEGEL:    Not much, just a few questions in

3        response to Mr. Akins' report.      I don't think it will take

4        more than --

5                   THE WITNESS:    Twenty minutes.

6                   MR. SIEGEL:    -- twenty minutes or so.

7                   THE COURT:    Okay.   So why don't we break until

8        five minutes until 4:00.

9                   MR. SIEGEL:    Thank you, your Honor.

10            (Off the record at 3:44 p.m.)

11            (Back on the record at 4:06 p.m.)

12                  THE COURT:    Mr. Siegel, you may continue.

13       BY MR. SIEGEL:

14            Q.    Dr. Lee, have you prepared a rebuttal declaration

15       in this matter?

16            A.    I have, yes.

17            Q.    Let me ask you to turn to Plaintiffs' Exhibit 136

18       which is entitled rebuttal declaration of Darren Lee.           Can

19       you before we look at some of the charts just summarize your

20       view as expressed in this declaration regarding the --

21       Mr. Akins' declaration that was filed on behalf of the

22       union?

23            A.    Certainly.    And as described in fuller detail in

24       my declaration, there's many things in Mr. Akins'

25       declaration that I disagreed with.      But just by way of
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 135 of 228
                                                                         135

1        summary, I would kind of categorize them in four general

2        buckets.   The first is that he makes the claim that Atlas'

3        operational disruptions predate the union sending its

4        Section 6 notice and that's been going on for a long time.

5        I demonstrate throughout my declaration that that's

6        incorrect.

7                   The second is that he in many instances

8        provides -- does manipulation or visual presentations of the

9        data which I think I would characterize as misleading or

10       misrepresentative of the data.      The third is that he

11       includes a number of -- five or six -- regression analyses

12       of his own, and each of them suffers from very, very serious

13       analytical flaws or statistical flaws.

14                  And then finally -- and what I think is probably

15       the most interesting and important at least from my point of

16       view is that he actually provides two alternative

17       explanations as to why the company's operational performance

18       has been deteriorating.     One is that the airline has become

19       larger and more complex.     And two, that because of this new

20       operational complexity that the airline has found itself in,

21       pilots are, according to Mr. Akins, flying less but working

22       more.

23            Q.    And did --

24            A.    And I would just conclude that as I described in

25       my supplemental rebuttal declaration, each of these claims
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 136 of 228
                                                                         136

1        that fall into these four different buckets are incorrect.

2             Q.    So let's go through each one of the four in

3        sequence, Dr. Lee.    I'd like to start with the assertion

4        made by Mr. Akins that the operational disruptions have been

5        ongoing well before February 2016.

6                   Is there any valid statistical analysis to support

7        Mr. Akins' certification?

8             A.    None whatsoever that I can see.      What I think is

9        telling is that as I described in the first part of my

10       direct testimony, there are several measures both of pilot

11       behavior and of operational disruption that clearly when one

12       looks at the data increase in a statistically significant

13       way after the union sent its Section 6 notice.        And at least

14       nowhere that I can see in Mr. Akins' report did he ever even

15       attempt to rebut that point.

16                  So just on the highest level, you know, he makes

17       that claim with I think one exhibit which by itself I think

18       doesn't even actually show his point.       But there's nothing

19       in his declaration which in any way demonstrates that this

20       predated the Section 6 notice.

21            Q.    Now let me direct your attention to what you

22       called the second bucket which is a manipulation or a

23       misrepresentation of the data.      And for that purpose, let's

24       switch and look at the defendants' exhibit tab -- binder,

25       tab three which is Exhibit 3.      I think we have that on the
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 137 of 228
                                                                           137

1        screen as well, is that correct?      Yes?

2             A.    Oh, certainly.

3             Q.    So this is Defendant's Exhibit 3.      This is from --

4        is this from Mr. Akins' report?

5             A.    It is.

6             Q.    And can you -- first of all, is this an example of

7        how you believe Mr. Akins presented a misleading analysis?

8             A.    It is.   Just to explain it, this is a chart in

9        Mr. Akins' report where he's showing the average amount of

10       time away from base by pilots on their days on duty.        And

11       what the exhibit is purporting to show is that there's been

12       this substantial increase starting at the early part of this

13       year -- sorry, the early part of last year, February of 2016

14       or January of 2016, of 38 hours I believe it says.

15                  And I would point out there's kind of a couple of

16       things which are a little suspicious about the chart.           The

17       first is that Mr. Akins shows a very, very narrow range --

18       as you see on the left hand side actually, a very, very

19       narrow range of the actions.     He starts the chart at 220

20       hours and goes up to 300.     So that by itself calls into

21       question a little bit of the data.      And then the other thing

22       is that he shows a very short period of time.

23            Q.    Okay.    So have you prepared an alternative version

24       of his Exhibit 7 which you think corrects the errors he's

25       made?
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 138 of 228
                                                                          138

1             A.    I have, yes.

2             Q.    Let's turn back to the plaintiffs' exhibit book,

3        and that would be page 136.015 in your rebuttal report.          And

4        that's Exhibit 2?

5             A.    Yes.

6             Q.    I see it's got a title on it.      Is that your title,

7        Corrected Exhibit 7 from Akins Declaration?

8             A.    It is, yes.

9             Q.    Can you explain to us what you have done in your

10       view to correct Mr. Akins' chart?

11            A.    Well, I really just -- all I did was I used the

12       exact same underlying data as Mr. Akins did to create his

13       chart which is the data that was provided by Atlas.        The

14       only thing that I've done here is I've shown the full scale

15       of the vertical axis.     So I start at zero which is really

16       the standard way that I think economists would normally look

17       at a data chart such as this.      And then B, I extend the

18       period of time back a little bit further.

19                  So in this corrected version, the blue portion of

20       my corrected chart is actually the exact same data that

21       Mr. Akins has in his chart.     As you can see, it's just these

22       two small things that Mr. Akins has done which they may seem

23       innocuous to the blind eye, but as you can see it provides a

24       very different visual of the data.

25                  And in particular, the 38 hour increase that he
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 139 of 228
                                                                         139

1        would have one believe is unusual, in fact that type of

2        variation is common in the data.      I think in the previous

3        year it was 40 hours from the trough to the peak, and before

4        that it was around 60 hours.     So that type of increase that

5        Mr. Akins alludes to causing some type of behavioral change

6        is actually extremely common.

7                   And then the second thing I would point out is in

8        fact, in the period since the Section 6 notice, the absolute

9        level of the time away from base on days off -- on days on,

10       sorry, is actually a little bit lower.       Not materially

11       lower, but I think it's about three hours or so lower per

12       month.

13                  So again, I think when you look at the full

14       spectrum of the data -- which is the way I think economists

15       would normally look at data -- you could see that there's

16       really been no change.

17            Q.    Now let's direct your attention to the third

18       bucket you described which you identified as your view about

19       Mr. Akins' regression models.      You indicated you thought

20       they were incorrect.    May I ask you to direct your attention

21       to page 136.025 of your rebuttal declaration and focus on

22       Exhibit 7.

23            A.    Certainly.

24            Q.    This has the title of Replication and Correction

25       of Mr. Akins' Exhibit 18 (Examining Pilot Fatigue)?
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 140 of 228
                                                                         140

1             A.     That's correct.

2             Q.     I'd like to ask you to explain to the Court why

3        you determined that Mr. Akins' regression is flawed, and how

4        have you corrected it if you will in this chart?

5             A.     Certainly.   So this is just one of the examples of

6        one of Mr. Akins' regression analyses.       And he runs a

7        number -- I think it's around five in his declaration --

8        which are largely set up the exact same way which is a --

9        what he calls a univariate or a single variable regression.

10       And I believe it's because his belief is that simple is

11       better.   And I can sympathize, I actually tend to think of

12       myself as a person who likes simple econometric models.         But

13       I don't want to sacrifice simplicity for the ability to

14       address the question which is actually at hand.

15                   So here Mr. Akins is looking at fatigue.      His

16       underlying hypothesis is that as Atlas has gotten larger,

17       it's had more fatigue calls, okay.      So his only dependent --

18       his only explanatory variable in understanding or trying to

19       explain the number of fatigue calls that Atlas had each

20       month is how many flights Atlas operated that month.

21                   And so that's a very peculiar way to look at this

22       question.   It's almost like suggesting -- I mean, I will

23       fully support the proposition that if you have more pilots,

24       you will have more absolute fatigue calls.       So the way

25       Mr. Akins is looking at this is kind of akin to an analysis
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 141 of 228
                                                                           141

1        that would say that if we turned all Major League Baseball

2        games from nine innings to 18 innings, that there would be

3        more runs scored.    And that wouldn't suggest in any way that

4        I can think of that batters are getting better.        It would

5        just say if you play more innings, on average there will be

6        more runs scored.

7                   That's largely what he's doing here is saying that

8        as Atlas gets larger and increases the number of pilots,

9        they've had more fatigue calls.      The real question is not

10       the number of fatigue calls, it's the rate at which pilots

11       have been calling in fatigued, right.

12                  So what I've done to correct for this is to turn

13       the dependent variable not into the number of fatigue calls,

14       but into the rate of fatigue calls; so the fatigue calls per

15       thousand pilots.    And instead of controlling for the number

16       of monthly departures, I'm going to control for the number

17       of departures per pilot.     Because ultimately the amount that

18       each pilot is flying is really the informative piece of

19       information.

20                  But most importantly -- or equally importantly is

21       that nothing that Mr. Akins has done in his entire report

22       actually performs any type of statistical analysis one way

23       or the other to test the hypothesis as to whether or not

24       there's been a change in any measure before or after the

25       Section 6 notice was done.     So I'm going to add the same
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 142 of 228
                                                                           142

1        dummy variable, this variable called post February 2016,

2        which captures that change in the rate of fatigue calls

3        controlling for the number of flights per pilot on average.

4                   And what that shows is that when you make those

5        three changes, that even kind of under the same simple set

6        up of a fatigue regression that Mr. Akins has suggested, it

7        shows that the estimated coefficient on this post

8        February 2016 variable is 17 and statistically significant

9        at the 99 percent level.

10                  So this really reinforces the proposition, even

11       using Mr. Akins' formulation with some corrections, that

12       after the Section 6 notice was sent fatigue calls went up in

13       a statistically significant manner.

14            Q.    Thank you, Dr. Lee.     Let me direct your attention

15       to the fourth bucket that you mentioned which is -- which

16       you identified as Mr. Akins' claim that there are

17       alternative explanations for operational disruptions.           And

18       you noted first of all the issue of company growth and

19       increased complexity.

20                  So could I ask you to turn to Exhibit 4 of your

21       rebuttal report, that's page 136.018.       And it's on the

22       screen for the Court.

23            A.    Certainly.

24            Q.    And this has a label of being a sensitivity

25       analysis of prolonged delay regression.       Can you explain to
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 143 of 228
                                                                         143

1        us what this chart reflects?

2             A.    Certainly.   So this chart summarizes what an

3        economist would refer to as robustness analysis or

4        sensitivity analysis.     And so I take the underlying

5        prolonged delay regression that was in my initial

6        declaration, and I include some of the explanatory -- or the

7        reasons or the factors that Mr. Akins suggests are one of

8        the true underlying causes for the increase in operational

9        disruptions.

10                  In each case, in columns two through five, I

11       supplement my initial model with a variable which I think

12       that Mr. Akins is alluding to as being the true cause of

13       Atlas' operational disruption.      So in column two, I include

14       the monthly number of aircraft at Atlas -- what's called the

15       shell count -- to capture this size element.

16                  In column three, I include the number destinations

17       that were served by Atlas in that month; again to kind of

18       capture this complexity element.      In column four, I include

19       the proportion of domestic flying.      Mr. Akins makes kind of

20       what I think is somewhat of a peculiar claim which is that

21       as the airline has become larger, it's kind of diversified

22       into this domestic operation.      And he believes that that

23       adds more complexity.

24                  I find that a little peculiar given that the

25       domestic flying that's being added is actually much more
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 144 of 228
                                                                         144

1        scheduled and much less ad hoc than the company's

2        traditional flying.    But nevertheless, I'm going to test his

3        hypothesis in column four.     And then in column five, I

4        include the monthly departures which is a variable that

5        specifically Mr. Akins uses throughout his declaration as

6        being the primary explanatory factor -- I think he refers to

7        it as operational tempo -- and I'm going to include that in

8        column five.

9                   So what you can see from this exhibit is that each

10       of the new explanatory variables that Mr. Akins has alluded

11       to in his report or used specifically in his report are

12       statistically insignificant.     There's no asterisk either

13       that that's 95 percent, 99 percent.      So they can't explain

14       the degradation in operational performance that the company

15       has experienced since December of last year.

16                  But moreover, as you can see in this second row

17       which is boxed in red, the dummy variable which is capturing

18       this post December period remains statistically significant,

19       two stars, on each and every single model.

20                  So what this does is it just means that all of

21       these things, even after you control for them, it doesn't

22       alter materially the fundamental results from my initial

23       declaration.

24            Q.    Dr. Lee, I'd like to have you address the other

25       alternative explanation that Mr. Akins proposed which you
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 145 of 228
                                                                         145

1        identified is that pilots are allegedly flying less but

2        working more.    On that subject, I'd ask you to turn to page

3        136.012 of your rebuttal report which is -- which contains

4        Exhibit 1.    We have that on the screen.

5                    May I ask you to explain to the Court what this

6        reflects?

7             A.     Certainly.   So as you'll recall in my initial

8        declaration, I had pointed out that the average number of

9        block hours per Atlas pilot has actually been declining

10       since the company -- since the union sent its Section 6

11       notice.    Mr. Akins actually acknowledges that point as well

12       in his declaration, but he does make the comments or the

13       observation that while they're flying more -- flying less,

14       sorry, they're working more.

15                   And specifically he mentions that because the

16       company has started to do more shorter haul domestic flying.

17       The way that the theory goes is that in order for pilots to

18       kind of fly the same amount of hours given the shorter

19       average flight, they actually have to do more flights per

20       month.

21                   And what this chart shows -- there's three

22       columns.    Column three is the period since the Section 6

23       notice, and it compares it to two base periods.        The first

24       base period is the entire base period that I have been

25       looking at, January of 2013 to January of 2016.        But I also
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 146 of 228
                                                                         146

1        include a second base period which is shown in column two.

2        And the reason I do that is because Atlas' schedule is quite

3        seasonal and quite peaky, I want to make sure that even if I

4        hold the same calendar months exactly fixed, it doesn't

5        alter the result.

6                   So what this shows is in each case -- and

7        regardless of which measure you're looking at, pilots are

8        not flying more or in Mr. Akins' words working more since

9        the Section 6 notice was sent than before.

10            Q.    Okay.   Let me ask you to turn to page 136.42 of

11       your rebuttal declaration which is entitled conclusions.

12            A.    Certainly.

13            Q.    And let me ask you, after reviewing Mr. Akins'

14       declaration and the other materials that you did review, did

15       any of your conclusions from your initial declaration change

16       in light of statements made by Mr. Akins?

17            A.    No, they didn't.    And I think what I would kind of

18       characterize -- to kind of summarize my current kind of view

19       of the state of the world right now is that I had already

20       come to the conclusion based on my initial analysis in my

21       initial declaration that what the data was showing were that

22       changes in pilot behavior were both statistically

23       significant and the true source of the operational

24       disruptions that the company had been suffering.

25                  I've known Mr. Akins for a long time, and he's
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 147 of 228
                                                                            147

1        been around the industry for as many years as I have been,

2        if not more, and is a knowledgeable -- very knowledgeable

3        about the industry.

4                   So when I saw his declaration and saw that he had

5        proposed alternative explanations that I had not explicitly

6        explored in my initial declaration, I was eager to see

7        whether or not I had overlooked anything.       So in my rebuttal

8        declaration, I explicitly account for both of the primary

9        alternative explanations that Mr. Akins has offered.         And

10       even after I do that, the statistical significance of all of

11       my findings remains.

12                  So in fact, if anything, after having considered

13       and incorporated and tested all of Mr. Akins' alternative

14       explanations, because it doesn't change any of the

15       underlying analytics of my initial report, I'm actually even

16       more confident than I was before that the true source of the

17       disruption is changes in behavior by the pilots.

18                  MR. SIEGEL:    Thank you, Dr. Lee.    I have no

19       further questions subject to any need for rebuttal, but I

20       don't expect that.

21                  THE COURT:    Thank you.   Mr. Gleason, you may

22       proceed.

23

24            CROSS-EXAMINATION OF PLAINTIFFS' WITNESS DARREN LEE

25       BY MR. GLEASON:
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 148 of 228
                                                                         148

1             Q.    Hi again, Doctor.

2             A.    Hello.

3             Q.    Just very briefly, when were you first engaged

4        by -- for this project?

5             A.    So Atlas contacted me sometime ago to begin

6        monitoring their data for the potential -- you know, to keep

7        a pulse on the operation.     In terms of when I was asked to

8        prepare a declaration, the one that I submitted in

9        September, I think that was sometime in the early summer

10       when they thought that there was a potential need for an

11       expert declaration.

12            Q.    When did you first get tasked with monitoring the

13       data?

14            A.    I think it was sometime in 2015.

15            Q.    And all of the data that you evaluated in your

16       declaration and your two reports, Doctor, that was all

17       provided by Atlas?

18            A.    No, no.   As I mentioned, as a standard practice --

19       at least when I look at airline information, there's a

20       combination of Atlas data as well as other publicly

21       available information embedded into my report.

22            Q.    The data that Atlas gave you, you've listed in

23       your declaration after appendix B, Atlas documents and data.

24       Aside from that data that you received from Atlas,

25       everything else was publicly available documentation, is
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 149 of 228
                                                                          149

1        that what you're saying?

2             A.     Correct.   As you well understand, there's

3        certainly quite a bit of data that I did receive from Atlas.

4        But in addition to that data, I rely on things like weather

5        data which, you know, we get from a weather data vendor,

6        WeatherUnderground.    I rely on operational data for other

7        carriers through again another data vendor known as

8        MASFLIGHT.    So I combine all of these datasets into my

9        analysis.

10            Q.     Were you satisfied with the data that was provided

11       to you by Atlas, that that was sufficient for you to perform

12       your analysis in addition to along with your publicly

13       available I'll call it --

14            A.     I was, yes.

15            Q.     What crew scheduling data did Atlas provide you

16       with for instance?     You're familiar with their crew

17       scheduling software Ames?

18            A.     Ames, so the data we had from crew scheduling was

19       largely the data that was created out of Ames.        And this

20       data gives us quite detailed information as to what every

21       particular pilot is doing on any particular day and which

22       flights they were flying on and how many block hours they

23       were flying and things of that nature.

24            Q.     And in reviewing that Ames scheduling data, did

25       you also review the number of times the pilots' schedules
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 150 of 228
                                                                         150

1        are changed?    Did you see those clicks on the Ames program?

2             A.    That was not something specifically that -- you

3        know, changes in pilots' schedule at Atlas are fairly

4        routine.   And it's something which just by the nature of its

5        operation happens quite frequently.      And so, you know,

6        because it's something which is essentially in the

7        underlying nature of the company's operations, I didn't feel

8        that it's necessary to identify each particular change when

9        doing kind of aggregate level analysis.

10            Q.    So for instance, if a pilot is planning his rest

11       for a morning departure and then that flight is then delayed

12       by say 10 or 12 hours, that's a change in -- you didn't

13       consider that as a change and you didn't consider that as

14       something important in doing your analysis?

15            A.    Well, as I just mentioned, the important thing I

16       think to keep in mind, Mr. Gleason, is that when one

17       performs a statistical analysis such as the one we've done

18       here, the intent is not to understand each individual event,

19       right.    And so the reason why we use -- as economists we use

20       statistical analysis, because there's a lot of different

21       idiosyncratic things that happen in a complex operation.

22       Customers can call and change what they want to do and what

23       time they want to leave.     And we could be taxiing down the

24       runway and a coyote could go running across and you have to

25       abort your takeoff.    But there's a whole bunch of things
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 151 of 228
                                                                         151

1        that can happen that are essentially random events.

2                   And the purpose of doing statistical analysis,

3        okay, of aggregate level information is to essentially wipe

4        out all of the noise.     Because on average, all of those

5        things that are idiosyncratic largely cancel out.        And you

6        want to focus on the systematic factors that change things.

7        So things like -- as you were mentioning, schedule changes,

8        I will wholeheartedly admit that pilots have their schedules

9        changed.

10                  But again, in Atlas' operation, this is

11       commonplace.    And if anything, what I would say is that as

12       the company has expanded and as more and more of its flying

13       has become so called scheduled flying, that the ad hoc

14       nature or the portion of Atlas' operations that are kind of

15       that more ad hoc nature have become smaller and smaller.        I

16       didn't see a need -- if anything I would say if I were to

17       control for -- if I was to go through and try to identify

18       each of these scheduling changes and count them up, if

19       anything they would be going down and that would lead to me

20       understanding the effects of the disruptions.

21            Q.    I'm sorry, what would be going down?

22            A.    The -- as I said, as Atlas has gotten larger, a

23       greater proportion of its flights are now happening in what

24       I refer to -- I think what Mr. Flynn refers to as kind of

25       the scheduled part of Atlas, right, flying for Amazon and
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 152 of 228
                                                                          152

1        flying for DHL.    And these companies run a more time

2        definite schedule for Atlas to operate as opposed to the --

3        kind of some of the traditional long haul international

4        flying which would have been charter and ACMI which are a

5        little bit more ad hoc.

6                    So all I'm saying is as the greater proportion of

7        Atlas' operations have been in the more scheduled parts of

8        the airline, the operation has become more predictable, not

9        less predictable.

10              Q.   You didn't isolate simply Amazon and DHL domestic

11       scheduled operations did you, in your analysis?        Did you

12       isolate that and use only that type of flying to do your

13       analysis for instance concerning the increases in fatigue

14       and sick calls?

15              A.   Well, absolutely in terms of the proportion of

16       flights that are undergoing prolonged delays.       I actually

17       have a specific regression that looks at just the Amazon and

18       DHL.

19              Q.   But you also included Boeing 747 long haul

20       international flights going all over the globe, didn't you?

21              A.   Well, I'm happy to turn to the page to show you,

22       but I think we went over it in my direct.       But in fact, in

23       that regression I show both -- all flights, the blended one

24       that you speak of.    I show military.    I show DHL and Amazon

25       separately -- which is I think the question that you're
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 153 of 228
                                                                         153

1        asking, and I show all other.      And in each and every

2        instance, the proportion of Atlas' flights that have

3        suffered the prolonged delay has gone up.

4                   So I think the answer is yes, I have specifically

5        looked at each of those categories.

6             Q.    So if I also understand your testimony correctly,

7        when you received the data from Atlas -- I'm not talking

8        about the weather data and the public data, I'm talking

9        Atlas' data.    And when I talk Atlas, I mean Atlas and Polar

10       of course.

11            A.    Sure.

12            Q.    So when you received that data from Atlas, am I

13       correct in that you did not yourself or have any of your

14       associates or colleagues independently verify the accuracy

15       of that data?

16            A.    So you're saying that for example of the 3500

17       flights that Atlas operated in August of 2017, did I have

18       someone check to see whether or not each individual flight

19       was in fact operated for the customer ID that was listed in

20       the flight data?    No.   This is data that Atlas maintains in

21       the ordinary course of business.      And it's a sophisticated

22       company that relies on this data to deploy pilots, to bill

23       its clients, to plan its operations.

24                  I trust the fact that if the customer ID said

25       military, it was in fact a flight operated for the military.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 154 of 228
                                                                         154

1        And if the customer code said it was DHL or Amazon, that in

2        fact that flight was operated for those customers.

3             Q.    And so you also trusted for instance that the data

4        showing fatigue call outs was accurate, correct?

5             A.    I did use the data as I received it without

6        manipulating the data and exercising an individual judgment

7        over any particular event, that is correct.

8             Q.    And that applies -- when you say -- you mean that

9        applies across the board for all of the data that was

10       provided, for instance not just fatigue but sick calls?

11            A.    That is correct.    The data that I relied upon as

12       well as the data I believe Mr. Akins relied upon is the data

13       that Atlas has provided and produces in the ordinary course

14       of their business.

15            Q.    And let's talk about that.     You just mentioned for

16       instance 3500 flights.     One of the things I've been curious

17       about and I wanted to discuss with you is why in this case

18       you have used a metric of limited only to departure delays

19       of six hours or more?

20            A.    Well, in fact, if you were to read my declaration

21       in full, I think you would see that in appendix D, I

22       actually perform robustness analysis on departure delays of

23       six hours which is the standard, of four hours or longer as

24       well as eight hours or longer.      And so I tend to think of

25       myself as generally a pretty thorough person, and so I
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 155 of 228
                                                                         155

1        certainly want to make sure that the choice of six hours

2        isn't in any way affecting or biasing my results.

3                   So because of that, in my appendix I have

4        robustness analysis for four hours as well as eight hours.

5             Q.    Well, thank you, but where does that standard come

6        from?   You said that that standard is six hours?

7             A.    No, I don't think that was my testimony.       I think

8        what I said is that in my declaration, I used six hours as

9        the general benchmark.     And there's no magic behind six

10       hours, I will fully and readily admit that.       But what I am

11       saying is that because I don't want to have the result be

12       dependent on the choice of six hours, in appendix D of my

13       initial declaration I show that the result is robust to

14       using four hours and robust to using eight hours as well.

15       So kind of a broad range of spectrum of time.

16                  And again, the point of this long delay -- you

17       know, I could have chose five, I could have done seven.

18       Given that it's robust at four, six and eight, I'm highly

19       certain that it's going to be robust for five and seven as

20       well.   The whole point is not to identify six hour plus

21       delays as a specific measure, but that these are prolonged

22       delays; delays that are likely in the six hour range to

23       cause substantial inconvenience and disruption to Atlas'

24       customers.

25            Q.    Your analysis deals with delays of six hours or
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 156 of 228
                                                                         156

1        more, but again did I understand you correctly that you had

2        events that were uncontrollable or delays or secondary

3        delays from your analysis?

4             A.    So in my analysis of prolonged delays, in the

5        sample of flights I exclude flights that had any --

6        experienced any type of delay due to weather; due to

7        government; due to ATC or what are known as secondary causes

8        which are simply down line delays that when one flight is

9        delayed because of some reason, there's a follow on delay on

10       the next flight kind of as the aircraft kind of catches up.

11                  So yes, I exclude those because I want to rule out

12       the possibility, I want to control for the possibility that

13       the underlying cause of a six hour delay isn't that one of

14       Atlas' customers called up and says, "Hey, I've got another

15       truck full of horses coming, hold the plane."       You know,

16       because that's out of Atlas' control and that's certainly

17       out of the pilot's control.

18                  Likewise with weather events, these are things --

19       the storm comes in and the airport shuts down for six hours

20       as a tornado moves through the area.      I don't want that to

21       pollute the analysis.     I want to look at the set of flights

22       where no other systematic problems like weather and customer

23       driven and ATC have the potential to influence what we're

24       observing.

25                  THE COURT:   What does ATC stand for?
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 157 of 228
                                                                         157

1                   THE WITNESS:    Oh, air traffic control.

2                   THE COURT:   Thank you.

3        BY MR. GLEASON:

4             Q.    So in your analysis, what was the universe -- did

5        you define -- how -- I'm trying to understand specifically

6        how you defined uncontrollable delays and secondary delays.

7                   What is that?    And then the follow on question

8        would be, Doctor, is that the entire universe of what you

9        can conceive as to being uncontrollable delays and secondary

10       delays?

11            A.    So the uncontrollables as I mentioned were the

12       customer caused, weather caused, government/ATC caused or

13       what are referred to as secondary.      And these are all

14       indicated in the delay code data that Atlas codes each

15       flight that suffers a delay down to the minute.        It

16       allocates the amount of time that it's delayed into

17       different causes.    And so using those delay codes, I'm able

18       to exclude flights that had any type of delays such as that.

19            Q.    Help me out, that's where you then used the

20       regression analysis to determine -- you know, once you've

21       excluded uncontrollable delays and secondary delays, then

22       you performed a regression analysis.      What exhibit are you

23       looking at when you do that?

24            A.    I believe it is Exhibit 22, but let me just

25       confirm.   It's Exhibit 22 of the initial declaration.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 158 of 228
                                                                         158

1               Q.   Okay.   I'm not an economist so forgive me.     I see

2        though the second row, and that is -- that's your what?         Is

3        that what you would call a dummy variable?

4               A.   That is the dummy variable, correct.

5               Q.   And that dummy variable, from there then -- well,

6        everything below that, these are all of the other causes

7        that you would attribute to those and you would measure

8        against to determine their significance or the number of

9        delayed departures of six hours or more, is that accurate?

10              A.   They're the other explanatory variables that are

11       included in the model that you want that we're controlling

12       for.   In addition, what I would also just mention as you can

13       see in the footnotes, I'm including what are known as week

14       of year fixed effects.     Because there's 51 of those I don't

15       put them in the table.     But essentially what that does is

16       control for each week of the year to control for

17       seasonality.

18              Q.   So these are the only causes that could be

19       included that would be valid in order to make your

20       regression analysis complete?

21              A.   So these are the explanatory variables that remain

22       in the regression after one has already controlled for

23       weather, customer, ATC and secondary delays through the

24       sample selection.

25              Q.   And so only these -- with those exclusions, those
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 159 of 228
                                                                         159

1        are the only possibilities or causes that you could measure

2        against?

3             A.    They're the only systematic factors.       As I

4        mentioned before, there's a whole host of random factors.

5        One doesn't need to control for the random factors, because

6        there's no reason apriori to believe that kind of these

7        random factors will have changed before and after the union

8        sent its Section 6 notice.

9             Q.    So in your opinion, an increase in the education

10       program both by the Government and by the industry over the

11       importance of not flying fatigued, and if that were to

12       happen in your measuring period, would that have been a

13       cause perhaps of a delay, an extended delay?

14            A.    Well, as I think I mentioned in my initial

15       declaration, the FAA's fatigue mitigation and the company's

16       fatigue program had been in place well before the start of

17       the base period used in my regression analysis.        So one only

18       needs to control for changes, okay.      So keep in my mind --

19       and I fully acknowledge that after the FAA's kind of

20       increased fatigue awareness and obviously the company issued

21       an FAA approved fatigue program or mitigation program or

22       awareness program --

23            Q.    I'm sorry, and when do did they do that?       I

24       apologize for interrupting, but when did they do that?

25            A.    I believe it is in my report, and I think it is
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 160 of 228
                                                                           160

1        in -- I'll let obviously my report be the definitive.           Here

2        it is on footnote 42, in October 2010 is when that happened.

3        So that's been present the throughout period of the

4        analysis.

5             Q.     You're familiar with what a fatigue risk

6        management committee is, correct?

7             A.     I'm broadly aware of what it is, but I certainly

8        am not an expert in the various committees between Atlas and

9        its pilots.

10            Q.     And so if the -- and we'll use the acronym FRMC.

11       If the Atlas FRMC was established in June of 2013 in order

12       to consider, evaluate and accept fatigue reports starting in

13       the middle of 2013, you wouldn't have included that as a

14       possibility as any of the causes for any of the delays for

15       any of your other analyses here, would you?

16            A.     Again, if it started in February of 2013, that is

17       essentially when the start of the base period in the

18       analysis is.    So as you can see for example I'm on

19       Exhibit 7, and the fatigue analysis -- Atlas didn't even

20       record fatigue data until July of 2014.       So this thing that

21       begins in 2013 that you mentioned that could be a potential

22       factor in fatigue is already baked in to the entire period

23       of the.

24            Q.     If the company continued to teach and to encourage

25       its pilots to follow the law and not fly fatigued, from that
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 161 of 228
                                                                          161

1        point thereafter wouldn't that also have been a cause in the

2        change in pilot behavior after even 2013 for delays?

3             A.     Again, I think fatigue awareness has been

4        something which starting in 2010 and then into 2013 when the

5        fatigue mitigation or this committee I think you may be

6        alluding to came into play.     But again, the awareness of

7        fatigue is not new in the airline industry.

8             Q.     Part 117 is relatively new.     Do you recall when

9        the FAR part 117 flight time, duty time and rest rules were

10       adopted?

11            A.     I don't have the date committed to memory, but if

12       you're willing to share it.     I think what we'll discover is

13       that it's present throughout much of the period of my

14       analysis.

15            Q.     I would posit that part 117, the new rules went

16       into effect in the beginning of 2014.       Did you know that

17       Atlas Air is carved out as part of the cargo exemption from

18       part 117's flight time, duty time rules and rest

19       requirements?

20            A.     I don't have any specific knowledge of that, but

21       if you represented that I would believe you.

22            Q.     And so Atlas never told you that when you were

23       performing your analysis, they didn't give you that

24       information to factor in?

25            A.     They provided me with some information on kind of
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 162 of 228
                                                                         162

1        the history of the fatigue, programs that were in place at

2        the company which I referenced in footnote 42.        But again,

3        the base period in, for example, the analysis of prolonged

4        delays extends well after this 2014 period.       Remember, the

5        base period is ending after February of 2016.

6                   In any event, to the extent that something

7        happened in 2014, that is fully and wholly within the base

8        period.

9             Q.    Did Atlas discuss with you and did you therefore

10       factor into your analyses the fact that it's considered a

11       mixed operator such that it engages in both part 117

12       passenger operations and what's called part 121 operations

13       to haul cargo?

14            A.    I'm aware that Atlas operates passenger flights as

15       well as only cargo only flights.

16            Q.    Were you also aware and did you therefore factor

17       into your analysis the fact that the pilot's schedule on a

18       monthly basis includes both passenger and all cargo flying?

19            A.    Again, Mr. Gleason, I think we may be just

20       misunderstanding that Atlas has always been, has always

21       had -- I shouldn't say always.      But at least for the

22       relevant period of time that we're considering here, it has

23       had both passenger operations and cargo operations.        So that

24       is not a unique change that occurs only after the Section 6

25       notice was sent.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 163 of 228
                                                                           163

1                   So when you conduct this type of statistical

2        analysis, what really matters is whether or not there are

3        changes that occur at the same time -- or roughly the same

4        time as the Section 6 notice.      So Atlas has always had both

5        a passenger component as well as a cargo component during

6        the period of my analysis.

7             Q.    And yet its cargo -- DHL cargo and Amazon, those

8        aren't passengers, those are packages, right?

9             A.    Those are packages.

10            Q.    And that business has increased quite

11       significantly as you pointed out in your report, correct?

12            A.    It has increased, that is correct.

13            Q.    And indeed Amazon is still continuing to expand,

14       correct?

15            A.    I would agree with you that it's expanding.

16            Q.    And it's going to expand all the way through 2018,

17       correct?

18            A.    I believe that to be true.     I would just mention

19       that all of these things that you allude to such as these

20       increased flights, those are specifically controlled for in

21       the rebuttal declaration because there were things brought

22       up by Mr. Akins' -- and again, when I see that Mr. Akins

23       suggests an alternative hypothesis, I want to consider that.

24       I want to see whether or not it impacts the analysis.           And

25       in each and every case, it doesn't alter the findings.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 164 of 228
                                                                         164

1             Q.    You've provided declarations in I believe it was

2        the USAPA-U.S. Airways case?

3             A.    That's correct.

4             Q.    And I believe you had two declarations in that

5        one, is that right, you had a primary and then a

6        supplemental?

7             A.    There was a supplemental that was filed shortly

8        after the original one which included some responses to I

9        believe it was Mr. Cleary's declaration.       So they were done

10       quite closely together.

11            Q.    And of course that dealt with U.S. Airways, a

12       legacy passenger carrier subject now to part 117, is that

13       correct?

14            A.    That is correct.

15            Q.    And you also provided a declaration just earlier

16       this year for Spirit Airlines, is that correct?

17            A.    That's correct.

18            Q.    And that was a declaration involving -- a labor

19       action involving a passenger airline as well, is that

20       correct?

21            A.    That is correct.

22            Q.    And prior to that, along with Mr. Casper you had

23       provided a declaration in the United Airlines versus Alpha

24       case in 2008, is that correct?

25            A.    That is correct.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 165 of 228
                                                                           165

1             Q.     And in each of those you performed analyses based

2        upon arrival delay or cancellations, didn't you?

3             A.     That is correct.

4             Q.     And yet here in this case you did not do that, you

5        did only departure delays.     Why is that?

6             A.     Well, there's two reasons -- and there in fact may

7        be three reasons.    So keep in mind, Mr. Gleason, that when

8        one is looking at departure delays of six hours, a departure

9        delay of that magnitude -- and I understand your question

10       and your concern.    If a flight is departing at least six

11       hours late, I can pretty much guarantee -- and I've done the

12       analysis to internally confirm, that it's going to be

13       arriving very late as well.     You simply can't make up six

14       hours of lost departure time.      So that's reason number one.

15                   Reason number two is for the reasons that I talked

16       over earlier where I want to get a clean sample of flights

17       and I want to weed out the flights that experience a

18       customer driven delay, an ATC driven delay, a government

19       driven delay, those are coded by Atlas in the ordinary

20       course based off their departures.      So for that point, for

21       that purpose I focus on departure delays on the long.           But

22       as I mentioned, I could have substituted in arrival delays

23       of six hours or later and the results would be materially

24       the same.

25            Q.     But you didn't do that though, did you?
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 166 of 228
                                                                         166

1             A.    Well, it's not shown in my expert report or in my

2        declaration, but naturally it would be the type of thing

3        that I would do to corroborate my own analysis internally.

4        And then finally on the short delays, cognisant of the fact

5        that there was a BOOT -- a documented BOOT program, and my

6        understanding of that was that it was Block Out On Time, the

7        relevant measure to be looking at to assess the BOOT

8        campaign isn't arrival time, it is -- and again, here this

9        is a measure of pilot behavioral changes.

10                  If I wanted to understand whether or not there has

11       been a change of behavior in response to a BOOT campaign,

12       it's relevant only to look at the block out, right, because

13       that is what the campaign is targeted at.       So that's why in

14       that instance I look at departure delays.

15            Q.    So tell me, departure delays of six hours or more,

16       that's a small percentage of the flights that are delayed by

17       Atlas, right?    That's a very small number, isn't it?

18            A.    Well, I mean, I guess it depends on how you look

19       at it.    It's gone from 1.2 to 2.4 percentage points, percent

20       of Atlas' flights.    I think most airlines, Atlas included,

21       doesn't want to have massive disruptions on 2.4 percent of

22       its flights.    I think that would be considered to be --

23       again, in the controllable phase -- I mean, obviously

24       there's stuff that happens because of weather, a hurricane,

25       a snowstorm, worldwide computer failures that cause ATC to
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 167 of 228
                                                                         167

1        go down.   People understand that those things are out of an

2        airline's control.

3                   But to say that 2.4 percent -- or even an

4        incremental one percentage of point of flights suffering a

5        six hour delay is not meaningful I think is understating the

6        impact that those types of delays have on customers and on

7        the company.

8             Q.    Yeah, I'm sorry, I didn't say that it was not

9        meaningful. I'm just trying to make sure that that's only

10       accounting for a very small percentage of your flights.

11       When you do your analyses concerning this, your regression

12       analyses, it's only involving a very small number of flights

13       in the first place, isn't it?

14            A.    Again, we can quibble about whether 1 percent is a

15       small number or a large number.      I think if I'm running an

16       airline flying around cargo or passengers or military

17       personnel, I mean, my goal is well above 99 percent.        I want

18       to get as close as possible to as few uncontrollable long

19       delays as possible.

20            Q.    So in your experience for customers, what's more

21       important, arrivals, arriving on time, or a late departure?

22            A.    Well, I think as I mentioned, if you're delayed a

23       departure by six hours or more, I can say with a high degree

24       of confidence that you're going to arrive at your arrival

25       airport late.    So I agree with the general concept that
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 168 of 228
                                                                             168

1        arrival delays are a measure which people use to look at.

2        I've looked at them in the past.

3                   Here, when you're looking at a six hour delay,

4        it's kind of inconsequential whether or not it's a departure

5        delay or an arrival delay.     Because if you depart late by

6        six hours, you're going to be arriving late by a substantial

7        amount of time.

8             Q.    Just to be clear, that six hours is a number you

9        chose to use, correct?

10            A.    Again, yes, it is a number that I chose, and it's

11       a number that in appendix D of my declaration I do

12       sensitivity analysis on four, six and eight, that's correct.

13            Q.    You discussed Mr. Akins' declaration, and in that

14       you know that Mr. Akins pointed out that Atlas has

15       60 percent or more delayed arrivals in its operations,

16       correct, you saw that?

17            A.    I saw that.    I mean, I understand what he was

18       doing.    When you look at what he did, he measured what is

19       known as A0 which is whether or not a flight arrives at

20       least one minute later than its scheduled arrival time.             I

21       actually thought in the context of Atlas' operation that was

22       not a particularly informative measure.       I don't see that he

23       made any attempt to control for weather based delays.           I

24       don't see that he made any attempt to control for ATC or

25       customer delays.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 169 of 228
                                                                             169

1                   So while I saw his chart, it didn't at least to me

2        appear to be a particular informative chart because of the

3        fact that he was looking at these delays within one

4        minute -- and you know, you can leave right on time and if

5        head winds are slightly stronger than you expected you might

6        arrive one minute later.     So I didn't see his -- because he

7        didn't really look at underlying causes and didn't control

8        for any underlying causes -- I mean, I saw the chart.           I

9        didn't see it as being anything particularly informative.

10            Q.    That said.   You don't dispute that 60 percent or

11       more of Atlas' -- at least 60 percent of its arrivals are

12       indeed delayed, you don't dispute that, do you?

13            A.    I don't dispute the underlying data.       I do

14       question what logical inferences one can draw from it given

15       that he doesn't account for it.      And he actually also looks

16       at -- I should mention based off scheduled arrival time.            As

17       we do know at Atlas, schedules can change in the

18       nonscheduled component.     So again, I'm not disputing the

19       chart I saw.    I do question whether or not there's much

20       informative that one can draw out of that chart.

21                  THE COURT:   Mr. Gleason, if you just want to find

22       a convenient place to stop.     I don't want to interrupt your

23       cross, but sometime in the next five to 10 minutes.

24                  MR. GLEASON:    Thank you very much, your Honor, I

25       will.   I just have some follow ups on this.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 170 of 228
                                                                         170

1             Q.    So you say it wasn't a particularly informative --

2        useful I guess.    Is that another term or definition for

3        informative for you, is that what you mean?

4             A.    I'm happy to say I didn't personally find it

5        terribly useful because of the fact that he didn't make any

6        attempt I think to weed out weather delays and things like

7        that.

8             Q.    Let's talk about informative and useful data and

9        information for a second.     Let's talk about the BOOT

10       program, okay?

11            A.    The BOOT program, okay.

12            Q.    So on that one, now we're talking about what you

13       call a delay if you block out -- you defined it as a delay,

14       if you Block Out On Time, what you call the ETA or estimated

15       time of departure, that's a delay?

16            A.    I think it's the ETD that I referred to in the

17       BOOT program.

18            Q.    And in the BOOT program you factored or seized on

19       the fact that you found a six minute discrepancy or

20       difference such that now pilots during the post Section 6

21       period are blocking out six minutes less early than they did

22       previously, correct?

23            A.    That is shown in my declaration, correct.

24            Q.    And so let's say I block out six minutes early,

25       and I arrive on time at my destination.       Is that a delay
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 171 of 228
                                                                           171

1        under your analysis for BOOT?

2             A.    So I think you may misunderstand a little bit the

3        purpose of the BOOT analysis in my --

4             Q.    I'm sorry, I don't mean to go there because we do

5        have some time constraints.     I just want to make sure I

6        understand correctly.     I could block out early, six minutes

7        early from the estimated time of departure -- something

8        that's of course set by the company, and yet arrive on time

9        across the ocean for instance and that would still be

10       considered a delay under your BOOT analysis, correct?

11            A.    So the answer is it is wholly possible to depart

12       early and leave -- and sorry, and arrive early, on time or

13       late.   So I'm fully cognisant of the fact that time is

14       sometimes made up, time is sometimes lost.       I think what is

15       true and what Mr. Carlson will testify to I believe because

16       I saw in his report is that on average, if you are delaying

17       your departure -- again, this is not about what any one

18       particular flight does or does not.      What matters when you

19       perform these types of aggregate analyses are what are the

20       aggregate implications of a program to systematically delay

21       the departure delay.

22                  THE COURT:   Is the six minute figure a figure that

23       goes across all flights?     So on average, all flights during

24       the earlier period that you're testing against, your control

25       period -- and perhaps that is not the correct phase.        But
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 172 of 228
                                                                         172

1        during the earlier period of time, on average every flight

2        left six minute earlier.     If you take the total number of

3        flights, the total variance from an estimated time of

4        departure, there's a six minute differential on average for

5        each and every flight?

6                   THE WITNESS:    That's correct, there's a

7        differential of six minutes when you compare the pre-period

8        and the post period on average controlling for other

9        factors.   That is correct.

10                  THE COURT:   And how many flights a month are we

11       talking about?

12                  THE WITNESS:    In the last month, of the data that

13       I examined Atlas had approximately 3500 flights.

14                  MR. GLEASON:    I'm sorry, your Honor?

15                  THE COURT:   Go ahead.

16       BY MR. GLEASON:

17            Q.    That analysis though -- just to follow up from

18       your Honor's questions, again you would agree that -- I'm

19       sorry, I'll withdraw that question.

20                  You did not factor in the fact that with the

21       increase in DHL and Amazon flying that's taking place here

22       at Atlas, that that's going to require more domestic

23       departures operations and therefore more congested airports.

24       Did you factor any of that in?

25            A.    In fact, let me -- if you'll just allow me to turn
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 173 of 228
                                                                         173

1        to the regression table of the BOOT analysis which I believe

2        might be Exhibit 13 if memory serves me correct.

3             Q.     Of your original declaration?

4             A.     Of my initial declaration, yes.

5             Q.     All right.

6             A.     So what you can see here is there's a series of

7        control variables.    And in fact, one of the control

8        variables that's included here is known as the industry D0

9        rate.   And so here because --

10            Q.     I'm sorry, where do you see that?

11            A.     I'm looking on Exhibit 14, the --

12            Q.     Oh, 14 I apologize.

13            A.     -- explanatory variable just beneath the red

14       shaded bar is labeled industry D0 rate.       So what I've done

15       here is I've used one of these public industry sources of

16       data that I spoke to earlier known as the MASFLIGHT on time

17       data.   And I look at every airport that Atlas flies to, and

18       I'm able to look at what all of the other carriers that

19       serve that airport, what their D0 was on that day.

20                   So to your point, if it were the case that Atlas

21       was flying domestic operations and into chronically

22       congested airports where congestion was a problem, it would

23       be fully controlled for or picked up for in this explanatory

24       variable.

25            Q.     So that's a U.S. only rate, that industry D0
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 174 of 228
                                                                             174

1        delay, that's only for U.S. airports?

2             A.    So actually this delay data we source from a

3        company which actually gives us information for foreign

4        carriers as well at airports; like for example at Incheon,

5        at Hong Kong.    We have the carriers that report into this

6        data source, and so we do have foreign carriers that fly in

7        and out of airports that are outside of the United States

8        including -- so this is not -- to your question, this is not

9        the FAA box data which may only track the U.S. airlines.

10       This in fact has Korean airlines and it has carriers flying

11       in and out of Hong Kong like Cathay Pacific.       So it's got a

12       broad range of both domestic and international carriers.

13            Q.    Just a couple more questions, and then if your

14       Honor will let me maybe call it a night as well.        So

15       sticking with the BOOT program that you've been talking

16       about.    I just want to make sure that we're talking about

17       leaving again let's say six minutes earlier than the ETA,

18       that's still leaving early.

19                  And you understand of course in your years of

20       experience of working in the airline industry that the

21       company sets the scheduled time to depart, correct?          Your

22       estimated time of departure, that's a company decision, is

23       it not?

24            A.    So just on the first part of your question, I

25       think actually what Exhibit 12 shows is that the historical
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 175 of 228
                                                                         175

1        practice at Atlas and amongst Atlas' pilots has been to

2        leave early; and that 80 percent of its flights -- again,

3        I'm just looking at Exhibit 12, roughly 80 percent of its

4        flights historically have left before the ETD.

5               Q.   But --

6               A.   And that number is the number that has dropped

7        down to about 20 percent.      So the greatest proportion of

8        flights are now leaving exactly at the ETD.       And I will

9        acknowledge that that ETD is set by the company.

10              Q.   And so the company if it wanted to, it could

11       adjust the schedule to depart 15 minutes earlier, couldn't

12       it?

13              A.   If it wanted to.

14              Q.   And it has here, it did it with Amazon, did it

15       not?

16              A.   It did do it with Amazon, that's correct.

17              Q.   So again, there's no -- in your analysis, there's

18       no linking even this leaving six minutes earlier than an

19       estimated time of departure set by the carrier and the time

20       they arrive?    You don't have that in your analysis here to

21       show the linkage between those two, the early departure and

22       the time it arrives?

23              A.   Mr. Gleason, I think what you may not be fully

24       grasping is that my analysis of BOOT is principally an

25       analysis of behavioral change, okay.      So I think Mr. Carlson
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 176 of 228
                                                                         176

1        will speak to the cumulative operational impacts that the

2        BOOT program has had.     But as you'll see in my report, this

3        analysis of BOOT is principally a demonstration of how

4        pilots have responded to the BOOT -- the directive from the

5        union to engage in BOOT.

6                   And what I will tell you is that in my 20 years of

7        experience analyzing changes in behavior by pilots, I have

8        never seen anything that is as obvious and as statistically

9        demonstrable in terms of a change of behavior that is almost

10       like a light switch being turned on is what I see in

11       Exhibit 12 of my declaration.

12            Q.    Again, included within that was also the 36 second

13       change in taxi time?

14            A.    The 36 second taxi time -- and I'm not here and I

15       do not contend that that has caused massive disruption at

16       Atlas.    But what I will say is that again it's an area where

17       the union has directed pilots to slow taxi.       All I'm

18       providing that analysis to show is that there has been a

19       statistically significant change, and it has been -- it's

20       not 10 minutes, it's a small number.

21            Q.    36 or 37 seconds?

22            A.    The fact that it's under a minute, in fact it's

23       similar in magnitude to the increase in taxi time that I

24       testified to in the Charlotte litigation I'll add.        But

25       again, it's not meant to say that that by itself has caused
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 177 of 228
                                                                          177

1        massive harm to Atlas.     But what it does do is it is just

2        yet another illustration of a change in behavior by Atlas

3        pilots at the instruction of the union.

4                    THE COURT:   I'm sorry, but I think that may

5        actually partially address a question I had which is -- and

6        I guess what I'm wondering about is Mr. Gleason's question

7        about departure time and how it aligns with arrival time.

8        And if you assume all other things equal, a six minute later

9        departure ought to result in a six minute later arrival.

10       Now, I realize the world is not -- let me finish the

11       question.    I realize that there are other variables that go

12       into that.

13                   I take it that with respect to the 36 seconds in

14       the taxi time, that at least shows that that is not a

15       variable that would support the conclusion that even though

16       you departed six minutes earlier you made up for it by

17       taxiing faster or the fact you taxied slightly slower.          So

18       whether 36 seconds matters or not at least is evidence that

19       six minutes is not made up for during the taxiing, is that

20       correct?

21                   THE WITNESS:   I would agree with that proposition.

22                   THE COURT:   So what are the other variables then

23       that get into it, if you've looked at it, with respect to

24       whether the assumption would be correct that if you leave

25       six minutes later you're going to get there six minutes
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 178 of 228
                                                                         178

1        later?    Is it more likely you're going to be held up on the

2        runway longer?    I mean, I suppose you could fly faster, but

3        the flying faster is going to consume more fuel which is

4        going to pose a cost.

5                   So how do you go about thinking about all these

6        issues?

7                   THE WITNESS:    Well, what I would say is that there

8        is a -- and I believe Mr. Carlson will speak to this at even

9        greater length.    There is absolutely a correlation between

10       leaving early and arriving early or leaving on time and

11       arriving on time.    I think we all know this intuitively as a

12       passenger that if you're leaving late, there's a greater

13       chance that you're going to arrive late.

14                  This is not to say that you can't make up six

15       minutes on a long haul international flight, that's not my

16       proposition.    But on average, if you leave six minutes later

17       than you otherwise would have left, I can say with an

18       extremely high degree of certainty that the probability that

19       you arrive late has gone up.

20       BY MR. GLEASON:

21            Q.    So how do you explain the fact that you could

22       leave five minutes late from the estimated time of

23       departure -- your term there -- and still arrive early?

24            A.    Wind speeds, there's a whole bunch of reasons.

25                  THE COURT:   I mean, I'm not sure I care a whole
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 179 of 228
                                                                           179

1        lot in thinking about this about what the designated time of

2        arrival is.    This is not like with the commercial airlines

3        where the commercial airlines want to be able to advertise

4        to their customers and say we have a 99 percent arrival

5        time.   It's a business that is moving cargo in which you

6        want to move the cargo as quickly as you can.

7                    So I guess that's sort of what I was getting at in

8        my question.    It may be that you make it up because of wind

9        speed, but it also may be you would have still been there

10       five minutes earlier if you had left five minutes earlier.

11       The fact that you made it there within the arrival time may

12       or may not be significant.     But if you're still pulling up

13       five minutes earlier, maybe that's still a benefit even

14       counting wind speed and all that other stuff.

15                   MR. GLEASON:   Your Honor, as Dr. Lee just pointed

16       out, the company itself will determine the -- it can adjust

17       the scheduled time to depart to get you where you need to.

18       What you're describing simply isn't accurate.       It is

19       important on times not just of when you leave, but it's more

20       important especially for the types of carriers -- or the

21       companies DHL and Amazon, what time you get there.        So as

22       long as you get there when the company schedule says you're

23       supposed to get there, then you've met the company's

24       schedule.   So it's absolutely important.

25                   THE COURT:   You may have other witnesses who can
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 180 of 228
                                                                         180

1        offer some testimony on this, but it does just seem to me

2        that as a matter of logic unless you can come forward with

3        something else to say if you leave earlier, you're likely to

4        get there earlier on average unless there's something

5        systemic about leaving early.       Sometimes you're going to

6        have good wind, sometimes you're going to have bad wind, and

7        that comes up in the average.

8                   But if you leave earlier, unless there's something

9        systemic -- and it may be that you would have a witness to

10       come in say it turns out when you leave early, you end up

11       sitting on the runway longer because the air traffic control

12       is not ready to let you go.     And we actually have evidence

13       that shows and statistics that show that when you leave

14       early you just end up burning more fuel sitting on the

15       runway.   So I get that.    And if there were evidence that

16       showed that that's how it behaved on average, I would get

17       that.

18                  But putting that aside, it may be there are cases

19       where you have good tail winds, maybe cases where you have a

20       head wind.   But on average, if you leave earlier, it

21       increases the likelihood you're going to be there at least

22       on time or that you're going to meet your customers'

23       demands, perhaps even exceed them by being there early.

24                  MR. GLEASON:    Right.   And then the other

25       problem -- and perhaps maybe we can leave it at this is that
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 181 of 228
                                                                         181

1        we have now -- Dr. Lee agrees that the on time -- this is a

2        company that's chronically late anyway.       60 percent of its

3        arrivals are late anyway.     So what you're describing, your

4        Honor -- I know we'll have to do this through testimony.

5        But what you're describing --

6                    THE COURT:   But it's helpful for me to understand

7        what you want to show.     That will be helpful to me.

8                    MR. GLEASON:   So what we're talking about is

9        something that is -- it is not the issue.       The issue is the

10       company with a schedule it sets itself.       And if it can't

11       keep its own schedule that it gives the pilots as this is my

12       flight plan, this is when you're supposed to leave,

13       estimated time of departure call it -- which is really block

14       out -- this is your time arrival, what's a pilot to do.

15       You're can't do more what the company says you're supposed

16       to do when it sets the schedule in the flight plan in the

17       first place.

18                   THE COURT:   On the theory that's it's sort of

19       helpful to know what the judge is thinking when you're

20       putting on your evidence, moving the flight time doesn't

21       seem to me that it entirely addresses the issue.        Because I

22       think the point is that -- at least this is the plaintiffs'

23       position.   It may or may not be right, but the estimated

24       time of departure is we expect you to depart no later than

25       this.   And if it's after this time then we consider that a
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 182 of 228
                                                                              182

1        failure.   We hope that you'll depart sooner than that, and

2        if you can depart sooner, great.

3                   But when you set the time that someone's leaving,

4        sometimes it's going to take all that time to load the plane

5        and get it ready to go.     Sometimes the plane's going to load

6        faster and you're going to say oh, we're ready to go.           So

7        it's not necessarily just linked entirely saying well, if

8        you want to leave earlier just set the time earlier, because

9        what you're trying to do is maximize efficiency.        If instead

10       you could say to your pilots you've got to be out of here by

11       this hour, this is what we're designating.       But if you're

12       ready to go, great, get out there and leave earlier if

13       things have gone faster than we might have anticipated.

14                  MR. GLEASON:    Sure, and we'll have testimony on

15       this, your Honor.    But there's two sides to that.      When you

16       go to the other side, you still have to deal with the

17       efficiencies; is that airport or that station ready to

18       receive you; is the air traffic control up there, do they

19       have enough lanes and spots even for the plane to go into

20       the approach here; do you have ground crew to actually be

21       able to handle the airplane and do the unloading.

22                  I mean, it is not accurate to say that simply by

23       arriving late -- early -- or I'm sorry, leaving early and

24       then getting there early, that that's the best and most

25       efficient way of doing business.      If that were the case,
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 183 of 228
                                                                           183

1        there wouldn't be schedules in the first place.        The

2        schedule requires a well orchestrated operation on both

3        sides of the flight.

4                   THE COURT:   I guess all I would say is the only

5        thing I can say for certain based on what I've heard about

6        getting there early is I know you're not going to be late if

7        you're there early.     Maybe they're not going to be ready for

8        you, maybe there's some issue, but you're not going to be

9        late if you're there early.

10                  MR. GLEASON:    We'll have testimony, even that's

11       not -- again, there are so many factors.       Six minutes, that

12       it's just not right.

13                  THE COURT:   Well, I will look forward to hearing

14       the testimony on that.     But to give you the benefit of maybe

15       some of the questions that are occurring to me and that way

16       you can address it through the testimony.

17                  MR. GLEASON:    Well, I appreciate that.     Perhaps

18       this is a good time then for us to stop for the evening.

19                  THE COURT:   Okay, that sounds fine.     So let me

20       just say to the witness that you're still partway through

21       your examination.    I would request that you not confer about

22       your testimony with counsel over the break, because you're

23       in the midst of the examination still.       You're welcome to

24       talk about logistics or the baseball game tonight or

25       anything else you may want to talk about.
     Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 184 of 228
                                                                         184

1                   THE WITNESS:    I may be able to find someone

2        willing to talk to me about tonight's baseball game.

3                   THE COURT:   Just don't talk about your testimony.

4        We will start at 9:30 tomorrow morning.       You're welcome to

5        step down.

6                   Let me ask counsel, is there anything else we

7        should take up tonight?

8                   MR. GLEASON:    No, not this evening.    Perhaps if we

9        get here early -- and I'm not trying to be snarky, I'm going

10       to try to get here early.     If we have any issues we'll deal

11       with it through counsel.

12                  THE COURT:   If you're here early and you have an

13       issue you want to raise, that's fine.

14                  MR. GLEASON:    The earlier the better, right.

15                  THE COURT:   And I went late tonight because we've

16       been going slowly and I want to make sure you have the

17       chance to get to make your case.

18                  MR. GLEASON:    And I appreciate your staff,

19       particularly since it's Halloween with children, thank you

20       very much for that.

21                  THE COURT:   Okay, thank you.

22            (Off the record at 5:28 p.m.)

23

24

25
Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 185 of 228
$50 - 767s                                                                      Page 186
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 186 of 228
                            15 [8] 44/24 70/18 71/6        153/17
$                            73/9 73/10 78/13 129/11      2018 [1] 163/16
$50 [1] 78/14                175/11                       20D [1] 90/16
'                           15.4 [1] 121/13               21 percent [1] 121/22
                            156 [1] 63/6                  21st [2] 54/16 86/21
'14 [1] 69/2                15th [4] 41/25 42/9 46/13     22 [3] 132/11 157/24
'15 [1] 65/18                65/25                         157/25
'current [1] 60/25          16.3 [1] 124/8                220 [1] 137/19
1                           1625 [1] 1/13                 23rd [2] 45/23 49/4
                            16th [3] 63/11 65/4 90/5      25 [4] 1/19 39/3 43/22
1 percent [9] 79/25 80/1    17 [1] 142/8                   129/23
 80/2 80/5 80/8 80/19 81/14 17-cv-1953 [1] 3/2            25 percent [1] 121/18
 81/23 167/14               17th [1] 1/16                 27-2 [2] 5/7 5/9
1.18 [1] 133/3              18 [4] 108/20 108/20          28-2 [2] 5/7 5/9
1.2 [2] 133/4 166/19         139/25 141/2                 28th [1] 58/24
1.4 [1] 80/3                1941 [2] 95/6 100/25          29 [3] 5/8 97/14 97/20
1.4 percent [1] 131/11      195 [1] 61/5                  2:00 and [1] 60/3
10 [7] 1/16 60/2 75/13      1953 [2] 1/3 3/2              2:01 p.m [1] 60/9
 78/4 150/12 169/23 176/20 196 [1] 61/7                   2nd [1] 45/17
100 [2] 82/15 82/17         1991 [1] 108/3
100 percent [5] 41/23 81/8 1998 [2] 107/25 108/9          3
 81/9 81/10 82/23           1:17-cv-1953 [1] 1/3          3,000 [1] 61/11
100 plus [1] 87/2           1B3 [4] 22/3 23/16 23/22      3.6 [1] 133/17
101 [1] 97/14                23/25                        30 [1] 98/23
104 [1] 45/13               1F [4] 22/2 23/16 23/21       30 percent [1] 128/13
106 [2] 97/18 97/20          23/25                        30-day [1] 21/7
107 [2] 2/10 97/14          1st [5] 65/10 84/13 126/20    300 [1] 137/20
10th [2] 41/15 48/13         126/21 132/25                30th [1] 49/10
11 [3] 125/7 125/20 129/12                                31 [1] 1/5
111 [1] 2/11                2                             31st [2] 49/15 54/20
113 [1] 2/12                2 percent [2] 80/2 81/23      333 [1] 1/23
117 [7] 76/16 76/21 161/8 2 point [1] 80/3                35 [2] 59/6 59/22
 161/9 161/15 162/11 164/12 2.4 [1] 166/19                3500 [3] 153/16 154/16
117's [1] 161/18            2.4 percent [3] 131/21         172/13
11:06 [1] 1/6                166/21 167/3                 36 [5] 176/12 176/14
12 [6] 127/14 129/12        20 [8] 66/20 99/6 108/12       176/21 177/13 177/18
 150/12 174/25 175/3 176/11 109/6 111/1 130/7 175/7       37 [1] 176/21
121 [4] 5/5 76/17 76/23      176/6                        38 [3] 41/24 137/14 138/25
 162/12                     200 percent [1] 56/10         3:30 [2] 105/25 106/2
122 [1] 46/7                20001 [2] 1/19 1/24           3:44 p.m [1] 134/10
1224 [4] 3/14 44/6 90/1     20006 [2] 1/13 1/16
 105/1                      2001 [2] 9/19 9/20            4
124 [4] 107/12 107/16       2008 [1] 164/24               40 [1] 139/3
 113/16 127/13              2009 [1] 9/21                 42 [2] 160/2 162/2
124.0014 [1] 118/11         2010 [3] 53/2 160/2 161/4     45 [1] 63/5
124.003 [1] 113/16          2011 [6] 9/23 11/4 33/12      4700-C [1] 1/23
124.004 [1] 114/20           108/8 108/9 110/12           4:00 [1] 134/8
124.005 [1] 118/11          2012 [2] 127/24 131/9         4:06 p.m [1] 134/11
124.024 [1] 120/24          2013 [8] 121/11 145/25
124.028 [1] 123/14           160/11 160/13 160/16
                                                          5
124.038 [1] 127/13           160/21 161/2 161/4           5.7 [1] 124/6
124.079 [2] 107/18 107/23 2014 [11] 27/7 27/13 27/20      50 percent [3] 84/12
124.36 [1] 125/6             40/7 41/8 41/15 65/22         126/18 128/18
124.59 [1] 130/5             160/20 161/16 162/4 162/7    51 [1] 158/14
124.64 [1] 132/10           2015 [16] 28/5 28/10 28/24    5:28 p.m [1] 184/22
126 [3] 5/7 5/10 5/11        29/1 29/2 29/5 41/25 42/9
128 [1] 41/4                 65/10 66/9 66/17 77/24
                                                          6
12:59 p.m [1] 60/8           84/14 126/20 126/21 148/14   60 [3] 2/5 139/4 169/10
13 [4] 129/1 129/6 129/11 2016 [37] 28/24 29/4 29/10      60 percent [4] 128/19
 173/2                       29/14 29/17 30/1 30/5         168/15 169/11 181/2
13 percent [1] 129/14        30/15 40/4 40/16 40/17       60-second [2] 128/6 128/17
136 [1] 134/17               40/21 42/23 43/4 43/9 44/4   600,000 [1] 124/15
136.012 [1] 145/3            44/24 45/17 45/23 46/13      7
136.015 [1] 138/3            47/2 50/21 54/13 54/16
136.018 [1] 142/21           63/11 118/20 121/18 122/15   70 percent [8] 56/3 56/4
136.025 [1] 139/21           122/17 126/19 136/5 137/13    56/6 79/19 79/21 80/8
136.42 [1] 146/10            137/14 142/1 142/8 145/25     81/21 132/1
14 [3] 129/11 173/11         162/5                        747 [1] 152/19
 173/12                     2017 [12] 1/5 41/1 41/6       747s [2] 125/14 125/17
148 [1] 2/13                 47/10 47/12 48/6 48/13       76 [2] 60/21 63/13
14th [1] 47/12               49/5 49/10 49/15 54/25       767s [2] 125/13 125/17
77 - after                                                                      Page 187
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 187 of 228
                              absurd [1] 95/10               87/6 87/15 88/4 88/20 94/7
7                             absurdity [1] 95/21            94/19 99/2 99/7 122/5
77 [2]       61/6 63/13       absurdity since [1] 95/21     acts [2] 13/15 95/18
8                             abundantly [2] 48/4 49/2      actual [5] 42/18 80/6 86/1
                              abused [1] 101/14              112/17 128/6
80 percent [4] 128/1          academic [2] 108/16 115/24    actually [57] 13/10 14/4
 128/13 175/2 175/3           academics [1] 109/2            19/14 19/18 22/20 26/5
800 [1] 1/16                  accept [4] 27/15 31/22         27/5 42/8 53/4 57/16 59/4
82-page [1] 60/21              118/25 160/12                 59/6 64/24 65/20 66/1
8th [1] 40/3                  acceptance [1] 30/13           66/12 67/18 70/11 71/3
9                             accepting [1] 10/8             71/13 74/1 85/23 86/11
                              accommodate [1] 13/15          91/18 92/23 96/14 105/2
95 percent [1] 144/13         according [4] 30/10 61/18      110/2 116/15 125/18 129/1
98 percent [1] 82/4            95/11 135/21                  129/5 133/17 135/16 136/18
99 percent [9] 81/12 82/4     account [2] 147/8 169/15       137/18 138/20 139/6 139/10
 82/7 132/23 132/24 142/9     accountable [2] 44/19          140/11 140/14 141/22
 144/13 167/17 179/4           44/20                         143/25 145/9 145/11 145/19
9:30 tomorrow [1] 184/4       accounting [2] 47/21           147/15 152/16 154/22
9th [1] 50/21                  167/10                        168/21 169/15 174/2 174/3
A                             accuracy [1] 153/14
                              accurate [8] 43/23 68/5
                                                             174/25 177/5 180/12 182/20
                                                            actually worked [1] 71/13
a.m [1] 1/6                    70/2 81/22 154/4 158/9       ad [4] 144/1 151/13 151/15
A0 [1] 168/19                  179/18 182/22                 152/5
A2 [1] 108/18                 accurately [1] 68/5           add [3] 33/25 141/25
A3 [1] 108/18                 accused [6] 54/18 75/18        176/24
A4A [1] 109/14                 77/19 86/20 86/24 95/23      added [4] 41/20 41/22 42/6
abide [5] 26/21 30/17         achieve [2] 32/19 42/5         143/25
 44/14 44/15 44/18            acknowledge [2] 159/19        addition [7] 4/14 8/13
abiding [1] 45/1               175/9                         57/1 94/10 149/4 149/12
ability [5] 52/13 58/1        acknowledges [1] 145/11        158/12
 105/17 117/9 140/13          ACMI [1] 152/4                additional [3] 8/4 118/2
able [13] 73/7 75/14 84/16    acquired [1] 40/21             118/3
 98/16 100/20 106/19 126/6    acquisitions [1] 110/19       address [8] 4/11 4/13 27/2
 126/13 157/17 173/18 179/3   acronym [1] 160/10             32/20 140/14 144/24 177/5
 182/21 184/1                 acronyms [2] 7/1 77/20         183/16
abnormalness [1] 123/10       across [6] 65/21 87/13        addressed [6] 6/2 17/5
abort [1] 150/25               150/24 154/9 171/9 171/23     33/1 33/19 38/25 40/2
about [97] 22/24 36/5 39/1    act [100] 8/23 9/1 10/2       addresses [2] 120/23
 39/4 39/18 45/20 48/2 54/5    10/12 10/19 11/15 11/16       181/21
 54/7 59/2 59/18 63/6 63/9     11/20 12/7 12/10 12/17       addressing [5] 7/10 52/23
 63/10 64/19 64/20 66/10       12/23 12/23 13/8 13/9         54/4 113/21 114/22
 68/9 68/14 70/6 70/9 70/9     13/13 13/14 13/20 13/21      adds [1] 143/23
 70/11 70/12 70/14 71/12       13/21 13/24 14/14 14/20      adhere [3] 11/7 65/11
 71/13 73/11 74/13 74/21       15/11 16/9 16/10 16/12        65/24
 75/1 77/8 78/2 78/14 79/14    16/14 16/15 17/8 17/10       adhered [2] 95/11 97/10
 79/19 79/21 80/16 80/17       17/10 17/22 18/3 19/3        adjudicate [1] 96/25
 81/4 81/5 83/1 83/8 86/6      19/12 19/13 19/23 20/19      adjust [2] 175/11 179/16
 88/6 88/9 89/17 89/18         20/23 21/9 21/12 21/16       administration [2] 65/9
 89/18 91/8 91/19 94/10        22/24 25/8 25/20 26/6         65/16
 95/22 105/13 105/25 106/22    35/18 36/20 36/21 37/7       administrative [1] 93/20
 110/15 112/1 114/21 114/23    37/23 38/1 39/10 40/18       admit [3] 131/23 151/8
 118/6 121/13 124/15 124/15    45/15 54/5 54/5 54/9 55/7     155/10
 125/11 128/12 131/11          55/7 55/9 55/16 57/18        adopted [3] 65/10 77/18
 137/16 139/11 139/18 147/3    57/22 58/16 60/23 62/1        161/10
 153/8 154/15 154/17 167/14    62/2 62/4 63/5 64/11 85/15   advanced [1] 52/24
 170/8 170/9 170/12 171/17     88/20 88/21 89/23 90/4       Advances [1] 108/24
 172/11 174/16 174/16 175/7    91/10 92/10 92/11 92/18      advantage [1] 87/17
 177/6 177/7 178/5 178/5       93/18 94/11 94/12 94/13      adversely [2] 32/10 32/11
 179/1 179/1 180/5 181/8       94/14 94/15 94/20 94/21      advertise [1] 179/3
 183/5 183/21 183/24 183/25    96/15 96/23 97/3 97/3 97/8   advice [1] 40/19
 184/2 184/3                   97/13 97/22 97/22 100/1      advised [1] 43/19
about is [1] 70/12             100/5 110/9                  advocate [1] 43/4
above [5] 101/22 118/7        Act's [1] 13/25               affect [4] 32/11 121/7
 121/23 167/17 185/5          action [11] 1/3 3/2 13/22      126/23 127/6
above-entitled [1] 185/5       17/15 23/24 42/2 44/23       affected [2] 126/2 132/1
absolute [4] 79/20 124/2       50/12 60/22 60/23 164/19     affecting [2] 36/15 155/2
 139/8 140/24                 actions [4] 22/15 57/5        affects [1] 32/10
absolutely [8] 11/17 13/3      90/24 137/19                 affirmative [1] 62/25
 59/14 72/4 86/25 152/15      activist [1] 94/17            afraid [2] 33/5 46/2
 178/9 179/24                 activity [15] 11/10 29/5      after [45] 6/5 21/20 23/11
absorb [2] 32/5 130/20         43/21 47/10 52/19 85/20       28/3 28/16 40/21 41/7 57/8
after... - also                                                                 Page 188
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 188 of 228
                              agrees [1] 181/1               45/11 48/12 48/15 51/24
A                             ahead [2] 41/17 172/15         59/11 61/15 62/14 63/2
after... [37] 59/9 59/17      aided [1] 1/25                 66/9 68/17 69/2 71/17
 60/3 65/16 84/13 85/24       air [20] 1/2 3/2 32/6          73/10 73/18 74/21 76/17
 88/2 90/11 94/8 95/12         40/21 50/5 56/24 71/12        77/20 81/1 81/2 86/4 88/14
 95/14 114/2 114/8 117/13      79/14 87/3 109/12 109/13      91/3 94/4 95/16 96/21 98/6
 118/19 121/15 122/17 128/8    111/22 111/25 112/2 115/7     103/9 104/7 105/10 107/4
 128/9 131/12 136/13 141/24    120/15 157/1 161/17 180/11    108/18 108/21 117/10
 142/12 144/21 146/13          182/18                        117/11 117/20 118/16
 147/10 147/12 148/23         Air's [1] 7/14                 119/10 120/16 129/15
 158/22 159/7 159/19 161/2    aircraft [9] 32/2 56/14        129/17 130/22 133/2 133/14
 162/4 162/5 162/24 164/8      109/14 117/9 119/5 127/22     133/21 137/6 138/11 141/1
 181/25                        128/3 143/14 156/10           142/18 144/20 147/10
afternoon [4] 60/12 60/13     airline [48] 8/24 9/19         147/13 148/15 148/16 149/8
 89/18 127/19                  9/21 9/24 10/15 20/25         151/4 151/4 152/6 152/20
again [65] 10/21 44/25         26/10 34/11 48/8 52/7         152/23 153/1 154/9 157/13
 48/13 62/3 63/13 65/3 68/3    54/21 71/14 81/7 84/15        158/6 162/18 163/16 163/19
 73/8 75/7 75/16 76/5 79/7     108/13 108/16 108/22          171/23 171/23 173/5 173/18
 80/15 82/10 82/11 82/22       108/24 109/3 109/7 109/23     176/17 177/8 178/5 178/11
 84/7 84/8 89/8 93/18 96/16    109/25 110/18 110/24 111/2    179/14 182/4 183/4
 96/23 96/25 101/8 108/21      111/2 111/6 111/24 115/3     allegation [4] 11/25 14/11
 114/9 116/5 119/6 119/16      115/10 115/11 115/11          30/20 55/14
 121/11 124/4 124/10 127/23    115/17 115/21 115/24 116/4   allegations [2] 65/1 110/7
 128/17 131/9 131/21 133/1     116/8 121/4 121/6 135/18     allege [2] 61/21 61/21
 133/6 139/13 143/17 148/1     135/20 143/21 148/19 152/8   alleged [3] 12/4 15/14
 149/7 151/10 155/16 156/1     161/7 164/19 167/16 174/20    91/12
 160/16 161/3 161/6 162/2     airline's [1] 167/2           allegedly [2] 52/20 145/1
 162/19 163/22 166/8 166/23   airlines [17] 16/2 40/24      alleges [1] 61/9
 167/14 168/10 169/18          88/22 88/24 89/1 89/4        alleging [1] 15/19
 171/17 172/18 174/17 175/2    109/4 109/11 110/22 130/13   allocates [1] 157/16
 175/17 176/12 176/16          164/16 164/23 166/20 174/9   allow [7] 21/13 93/15 98/7
 176/25 183/11                 174/10 179/2 179/3            99/14 101/19 131/7 172/25
against [21] 11/19 13/25      airplane [3] 29/24 71/19      allowed [4] 20/23 21/3
 17/23 17/24 18/10 30/2        182/21                        39/22 78/15
 33/18 33/21 46/10 47/8       airplanes [1] 71/17           allowing [1] 69/23
 74/12 83/11 83/12 88/2       airport [6] 75/24 156/19      allows [1] 32/5
 89/20 95/16 99/5 133/14       167/25 173/17 173/19         allude [1] 163/19
 158/8 159/2 171/24            182/17                       alluded [1] 144/10
age [1] 93/19                 airports [6] 70/23 172/23     alludes [1] 139/5
agencies [1] 109/18            173/22 174/1 174/4 174/7     alluding [2] 143/12 161/6
aggregate [6] 35/5 35/7       Airways [10] 9/22 11/3        almost [7] 49/11 78/22
 150/9 151/3 171/19 171/20     11/4 15/25 33/11 33/20        80/11 108/12 124/8 140/22
aggressive [1] 44/18           109/9 110/12 164/2 164/11     176/9
ago [9] 31/25 40/2 40/7       akin [2] 131/1 140/25         alone [2] 88/22 99/4
 41/9 46/14 61/11 86/7        Akins [35] 52/16 52/17        along [6] 5/24 6/19 28/6
 99/11 148/5                   52/24 53/6 53/11 53/13        106/19 149/12 164/22
agree [9] 4/24 26/21 29/8      105/2 117/16 117/25 135/21   ALPA [3] 11/5 88/25 89/1
 38/7 67/20 163/15 167/25      136/4 137/7 137/17 138/7     Alpha [1] 164/23
 172/18 177/21                 138/12 138/21 138/22 139/5   already [13] 4/22 31/7
agreed [1] 24/13               140/15 140/25 141/21 142/6    61/22 69/14 77/14 86/4
agreement [69] 10/7 11/24      143/7 143/12 143/19 144/5     98/4 127/18 131/4 133/7
 12/2 12/5 12/8 12/18 13/3     144/10 144/25 145/11          146/19 158/22 160/22
 14/4 14/10 14/13 14/17        146/16 146/25 147/9 154/12   also [80] 3/8 6/12 6/25
 14/21 15/1 15/3 15/14         163/22 168/14                 8/6 8/17 10/5 14/25 19/19
 15/19 16/6 18/15 18/17       Akins' [22] 52/25 53/9         25/13 28/11 29/22 33/25
 19/7 19/18 19/20 19/24        70/13 134/3 134/21 134/24     34/19 41/22 44/10 44/13
 20/1 20/4 20/10 20/11         136/7 136/14 137/4 137/9      46/2 46/10 47/6 48/2 48/20
 21/16 21/25 22/10 22/17       138/10 139/19 139/25 140/3    49/14 49/25 50/17 51/6
 22/24 24/15 25/12 25/15       140/6 142/11 142/16 146/8     53/6 53/14 53/25 59/13
 27/12 28/1 28/15 28/22        146/13 147/13 163/22          64/4 68/14 69/18 70/4 70/7
 31/2 32/23 36/6 36/12 40/3    168/13                        71/22 72/22 73/1 73/19
 40/16 40/20 40/23 40/25      Akins's [1] 80/10              74/19 75/16 76/9 79/15
 41/6 41/8 41/12 41/14 43/8   al [4] 1/2 1/6 3/3 3/4         82/22 83/12 85/12 93/15
 61/1 64/10 66/18 67/17       Alaska [1] 109/11              95/17 97/14 97/16 99/15
 68/8 69/4 87/18 90/16        albeit [1] 133/19              101/12 102/13 102/21
 90/22 91/7 91/14 92/15       aligns [1] 177/7               103/18 105/2 108/5 108/10
 93/7 93/15 94/1 105/8        all [97] 3/19 9/3 9/5 10/1     108/15 108/24 110/1 117/15
agreement's [1] 18/7           12/12 14/11 15/8 17/18        117/17 117/24 125/20 128/7
agreements [11] 9/5 16/24      26/3 31/10 31/14 32/3         128/9 132/4 133/18 145/25
 17/9 19/14 21/23 62/16        32/15 34/4 36/5 36/13         149/25 152/19 153/6 154/3
 63/1 63/2 63/3 89/15 97/25    38/14 41/24 42/4 44/1         158/12 161/1 162/16 164/15
also... - ascribing                                                             Page 189
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 189 of 228
                              analytically [1] 36/20         154/9
A                             analytics [1] 147/15          apply [4] 20/3 89/15
also... [3] 169/15 176/12     analyze [1] 113/12             115/15 122/7
 179/9                        analyzed [1] 11/3             applying [1] 117/24
alter [7] 18/19 26/10         analyzing [4] 114/21          appointees [1] 21/1
 64/17 64/17 144/22 146/5      114/23 124/16 176/7          appreciate [6] 6/11 7/5
 163/25                       anchored [1] 65/3              88/4 88/5 183/17 184/18
alteration [2] 36/21 36/23    anchors [1] 63/12             approach [2] 3/4 182/20
altered [3] 64/2 90/24        anecdotal [1] 39/14           appropriate [4] 33/23 84/2
 117/22                       announced [3] 29/18 29/19      98/6 99/8
alternative [14] 117/4         29/22                        approved [2] 71/21 159/21
 117/5 117/17 117/17 117/21   another [14] 6/12 24/20       approximate [1] 29/15
 117/25 135/16 137/23          33/3 42/1 43/10 72/22        approximately [6] 27/7
 142/17 144/25 147/5 147/9     87/10 89/24 89/25 112/22      39/3 42/23 61/11 84/12
 147/13 163/23                 149/7 156/14 170/2 177/2      172/13
although [3] 37/24 63/16      answer [7] 67/10 90/19        April [2] 40/21 47/12
 95/22                         94/2 103/9 115/6 153/4       April 14th [1] 47/12
always [9] 46/3 74/8 75/10     171/11                       April 2016 [1] 40/21
 94/19 116/24 162/20 162/20   anticipated [1] 182/13        apriori [1] 159/6
 162/21 163/4                 antitrust [1] 110/19          arbitrate [4] 13/10 23/23
am [6] 51/1 59/18 108/6       any [74] 6/18 9/5 9/6 10/9     91/24 91/25
 153/12 155/10 160/8           11/20 14/3 14/23 18/9        arbitrating [2] 13/16
Amazon [12] 133/19 151/25      18/20 25/9 26/18 38/25        92/19
 152/10 152/17 152/24 154/1    39/5 39/9 43/6 51/10 53/21   arbitration [21] 12/6
 163/7 163/13 172/21 175/14    56/24 58/14 62/20 62/21       12/15 14/4 15/4 15/22
 175/16 179/21                 62/21 66/25 69/10 73/1        16/25 22/12 22/18 22/19
amenability [1] 25/5           74/13 75/4 77/11 77/11        23/19 23/20 23/21 23/25
amend [3] 25/14 40/20 90/6     77/12 78/17 78/18 101/2       24/13 91/23 92/12 92/14
amendability [1] 67/1          102/18 109/15 112/9 113/3     93/6 93/16 110/4 110/16
amendable [10] 19/14 19/21     114/24 120/17 121/4 121/4    arbitrator [1] 22/21
 20/21 21/16 21/21 27/10       121/5 122/22 125/20 133/8    arbitrators [1] 55/17
 28/15 40/3 40/4 40/10         133/8 133/9 136/6 136/19     are [192]
Amendment [4] 11/18 62/5       141/3 141/22 141/24 146/15   area [2] 156/20 176/16
 62/6 85/19                    147/14 147/19 149/21         aren't [2] 96/9 163/8
American [1] 109/8             153/13 154/7 155/2 156/5     argue [1] 13/13
Ames [5] 149/17 149/18         156/6 157/18 160/14 160/14   argues [1] 52/17
 149/19 149/24 150/1           160/15 161/20 162/6 168/23   argument [12] 11/18 11/21
amongst [1] 175/1              168/24 169/8 170/5 171/17     59/10 66/11 76/6 77/15
amount [10] 48/16 48/19        172/24 184/10                 77/15 99/24 99/24 100/14
 125/16 126/8 131/25 137/9    anymore [3] 45/1 84/22         100/15 100/21
 141/17 145/18 157/16 168/7    99/16                        arguments [1] 26/15
amounts [1] 80/18             anyone [1] 102/20             arise [1] 17/2
ANA [1] 109/13                anything [14] 3/20 4/21       arising [1] 62/18
analyses [12] 108/22           82/16 102/18 123/8 147/7     arms [3] 42/21 50/2 63/20
 109/17 117/1 120/16 135/11    147/12 151/11 151/16         around [16] 8/17 21/21
 140/6 160/15 162/10 165/1     151/19 169/9 176/8 183/25     47/15 124/6 128/1 128/13
 167/11 167/12 171/19          184/6                         128/18 128/19 129/13
analysis [84] 34/13 51/17     anytime [1] 73/25              130/23 131/14 133/17 139/4
 51/21 51/23 53/13 70/7       anyway [2] 181/2 181/3         140/7 147/1 167/16
 74/12 74/13 75/18 75/22      anywhere [1] 17/21            arrival [16] 56/15 82/11
 79/5 79/6 79/17 80/13        apart [1] 48/8                 165/2 165/22 166/8 167/24
 101/9 110/6 110/23 110/24    apologize [2] 159/24           168/1 168/5 168/20 169/16
 111/2 113/25 114/6 117/2      173/12                        177/7 177/9 179/2 179/4
 118/18 119/9 119/17 119/17   Appeals [1] 57/19              179/11 181/14
 120/9 125/5 127/2 132/4      appear [1] 169/2              arrivals [6] 79/10 79/10
 132/8 132/10 136/6 137/7     appearance [1] 3/18            167/21 168/15 169/11 181/3
 140/25 141/22 142/25 143/3   APPEARANCES [1] 1/11          arrive [11] 32/7 57/5
 143/4 146/20 149/9 149/12    appears [1] 61/6               167/24 169/6 170/25 171/8
 150/9 150/14 150/17 150/20   appendix [5] 148/23 154/21     171/12 175/20 178/13
 151/2 152/11 152/13 154/22    155/3 155/12 168/11           178/19 178/23
 155/4 155/25 156/3 156/4     apple [1] 47/4                arrives [2] 168/19 175/22
 156/21 157/4 157/20 157/22   apples [4] 30/3 34/6 46/16    arriving [8] 56/11 75/24
 158/20 159/17 160/4 160/18    47/8                          165/13 167/21 168/6 178/10
 160/19 161/14 161/23 162/3   applicability [1] 23/2         178/11 182/23
 162/17 163/2 163/6 163/24    applicable [6] 20/18 25/9     articles [1] 108/15
 165/12 166/3 168/12 171/1     26/6 40/24 50/10 61/5        articulated [2] 15/17
 171/3 171/10 172/17 173/1    application [2] 62/19          65/20
 175/17 175/20 175/24          82/22                        as [324]
 175/25 176/3 176/18          applied [1] 74/20             ascribe [2] 81/1 81/13
analytical [2] 117/24         applies [7] 8/24 23/22        ascribed [1] 80/17
 135/13                        24/1 76/16 76/17 154/8       ascribing [2] 82/10 82/11
Asia - bat                                                                      Page 190
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 190 of 228
                               133/2 133/22 138/13 140/16
A                              140/19 140/20 141/8 143/14   B
Asia [1] 76/22                 143/17 145/9 148/5 148/17    Bachelor [1] 108/2
aside [4] 24/18 84/20          148/20 148/22 148/23         back [33] 6/9 13/4 24/21
 148/24 180/18                 148/24 149/3 149/11 149/15    38/24 49/6 54/16 59/17
ask [36] 4/10 12/20 35/25      150/3 151/22 151/25 152/2     60/2 60/9 65/21 66/16 67/5
 44/7 54/10 66/10 72/7 76/2    153/7 153/9 153/9 153/12      69/2 70/24 73/4 74/3 74/9
 77/25 92/7 99/18 99/20        153/17 153/20 154/13          74/9 89/10 89/11 94/18
 103/12 106/8 106/9 106/14     157/14 160/8 160/11 160/19    96/6 98/8 98/13 98/13
 106/22 112/23 113/17          161/17 161/22 162/9 162/14    113/15 121/11 127/23
 118/13 125/6 126/15 127/12    162/20 163/4 165/19 166/17    130/22 131/9 134/11 138/2
 130/5 130/7 132/9 132/11      166/20 168/14 169/17          138/18
 134/17 139/20 140/2 142/20    172/13 172/22 173/17         backed [1] 122/14
 145/2 145/5 146/10 146/13     173/20 175/1 176/16 177/1    background [2] 107/23
 184/6                         177/2                         108/5
asked [14] 7/1 16/17 23/3     Atlas' [25] 8/5 43/2 43/6     backing [3] 74/1 74/17
 31/7 40/9 54/6 54/24 55/2     56/11 119/25 126/18 128/1     74/17
 58/21 113/11 113/24 114/5     130/10 131/11 131/25 135/2   backlog [1] 127/4
 120/3 148/7                   143/13 146/2 151/10 151/14   backwards [2] 48/17 65/6
asking [9] 14/22 15/23         152/7 153/2 153/9 155/23     bad [8] 30/3 34/6 46/16
 33/17 43/20 72/8 74/8         156/14 156/16 166/20          47/4 47/8 87/11 120/14
 82/16 120/21 153/1            168/21 169/11 175/1           180/6
assert [2] 9/13 32/12         attached [1] 5/18             baked [1] 160/22
asserted [1] 12/9             attaches [1] 64/16            balance [2] 13/20 13/24
assertion [2] 125/21 136/3    attachments [1] 5/12          balances [1] 16/9
assertions [1] 52/24          attempt [11] 12/11 25/18      band [1] 42/5
assess [5] 114/17 122/2        25/23 27/18 28/1 29/7        Bankruptcy [1] 1/22
 124/11 124/20 166/7           60/24 136/15 168/23 168/24   bar [2] 133/1 173/14
assessment [1] 112/5           170/6                        bargain [4] 19/25 20/2
assignment [2] 23/9 23/12     attempted [1] 13/1             20/20 40/5
assist [1] 105/14             attempts [1] 54/6             bargaining [74] 7/23 9/10
assisting [1] 43/6            attended [1] 44/6              10/4 10/6 10/20 11/24 12/2
associated [1] 74/14          attention [11] 60/20 94/21     12/5 12/8 12/16 12/18 13/3
associates [1] 153/14          97/17 107/10 114/19 115/23    14/3 14/10 14/12 14/17
association [5] 9/20 9/21      130/6 136/21 139/17 139/20    14/21 15/1 15/3 15/13
 9/24 10/15 98/17              142/14                        15/19 16/6 16/19 16/24
associational [1] 62/6        attributable [1] 34/17         17/9 18/6 18/15 18/17 19/7
associations [1] 109/14       attribute [1] 158/7            19/13 19/18 19/19 20/1
assume [7] 73/25 74/8 92/7    attrition [2] 52/22 53/23      21/23 21/25 24/14 25/12
 92/9 92/23 92/25 177/8       August [3] 49/15 123/8         25/14 27/12 27/19 28/1
assumed [1] 74/7               153/17                        28/14 28/22 32/22 33/22
assumption [2] 116/20         August 31st [1] 49/15          36/6 36/11 37/10 37/14
 177/24                       authorities [2] 95/13          38/22 39/13 40/3 40/5
asterisk [2] 132/21 144/12     100/17                        40/10 40/16 40/20 40/23
asterisks [2] 132/21          authority [4] 11/12 11/14      41/5 41/8 41/11 41/14 43/7
 132/22                        58/12 58/13                   44/3 58/11 61/1 67/17
at [206]                      available [7] 13/11 13/17      89/21 90/2 90/16 90/22
ATAM [4] 42/3 43/10 49/10      31/9 115/2 148/21 148/25      90/25 91/7 92/14 93/6
 49/14                         149/13                       barrage [1] 39/15
ATC [10] 120/17 133/9         Ave [1] 1/19                  bars [1] 129/15
 156/7 156/23 156/25 157/12   Avenue [1] 1/23               base [15] 35/17 120/7
 158/23 165/18 166/25         average [28] 36/14 56/5        125/19 129/10 137/10 139/9
 168/24                        121/10 121/13 122/15 124/5    145/23 145/24 145/24 146/1
ATLAS [129] 1/2 3/2 7/13       125/7 125/11 125/16 126/7     159/17 160/17 162/3 162/5
 7/19 7/21 7/23 7/25 8/3       126/10 131/10 137/9 141/5     162/7
 8/9 8/9 8/16 8/19 16/16       142/3 145/8 145/19 151/4     baseball [3] 141/1 183/24
 19/18 20/5 21/18 21/22        171/16 171/23 172/1 172/4     184/2
 22/2 29/21 32/4 32/16         172/8 178/16 180/4 180/7     based [25] 5/25 52/6 58/4
 32/19 34/20 35/1 35/17        180/16 180/20                 61/13 68/4 68/22 68/24
 39/18 39/19 40/1 40/6 40/9   avoid [8] 9/5 38/10 38/18      75/3 80/6 85/25 88/15 95/4
 40/12 40/17 40/19 40/21       38/19 58/14 62/20 66/25       98/25 101/8 112/15 117/3
 42/2 43/17 43/19 44/6 49/3    92/19                         117/7 118/18 119/8 146/20
 49/16 50/5 50/21 52/17       avoiding [1] 93/9              165/1 165/20 168/23 169/16
 53/2 54/9 54/18 54/22 55/1   aware [5] 51/2 55/2 160/7      183/5
 55/23 56/3 56/15 56/23        162/14 162/16                basically [6] 17/7 32/17
 57/14 58/10 60/25 65/9       awareness [4] 159/20           35/13 46/25 50/6 113/20
 76/12 76/18 84/13 89/21       159/22 161/3 161/6           basis [12] 10/10 30/20
 115/7 115/25 121/2 121/5     away [8] 37/10 67/21 67/23     31/13 31/17 34/2 37/22
 122/3 123/24 123/25 124/12    69/15 77/22 83/7 137/10       39/5 41/12 44/2 52/14
 125/8 125/12 125/21 125/24    139/9                         123/23 162/18
 126/2 126/3 126/5 127/19     axis [1] 138/15               bat [1] 63/17
batters - bit                                                                   Page 191
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 191 of 228
                               145/15 146/2 147/14 150/6    begun [1] 56/19
B                              150/20 151/4 155/3 155/11    behalf [2] 44/21 134/21
batters [1] 141/4              156/9 156/11 156/16 158/14   behave [1] 44/20
battle [2] 57/6 57/13          159/5 163/21 166/12 166/24   behaved [1] 180/16
battling [1] 93/2              168/5 169/2 169/6 170/5      behavior [57] 9/12 10/19
be [177] 4/19 4/21 4/25        171/4 171/15 173/9 179/8      25/24 25/25 28/25 29/19
 5/21 6/2 6/12 6/21 7/2        180/11 181/21 182/8 183/22    29/22 30/6 30/14 31/12
 8/11 13/8 15/1 17/22 18/4     184/15                        32/17 33/4 33/13 33/22
 21/15 21/24 22/22 24/12      become [7] 19/14 50/23         34/1 34/7 34/13 34/18
 24/24 26/8 31/7 31/8 33/1     135/18 143/21 151/13          34/21 35/5 37/4 37/5 37/14
 33/5 33/8 35/23 36/8 37/2     151/15 152/8                  39/12 39/16 43/1 44/1
 39/17 41/17 42/7 45/20       been [120] 4/6 5/18 9/2        51/15 51/19 51/21 51/25
 46/2 46/2 47/16 47/21         11/1 15/17 15/20 18/1         52/10 58/6 58/9 61/17 79/3
 49/13 49/21 50/10 59/8        23/20 25/17 25/22 30/20       80/18 81/1 114/1 114/4
 59/25 60/4 62/14 64/1 64/5    31/1 32/2 32/17 34/12 37/2    114/12 114/15 116/21
 64/22 64/24 67/10 69/3        38/2 38/8 38/8 39/11 50/13    117/19 118/5 118/21 118/23
 71/2 71/2 73/7 74/12 75/7     51/15 52/21 53/2 53/3 54/9    119/24 130/4 136/11 146/22
 75/14 75/21 75/25 76/19       56/21 58/23 59/13 63/10       147/17 161/2 166/11 176/7
 76/20 77/19 79/12 79/17       63/24 66/12 66/18 67/12       176/9 177/2
 81/16 82/3 83/11 83/19        67/12 68/10 69/23 71/17      behavioral [5] 111/20
 83/24 84/16 85/8 85/13        76/11 76/12 77/14 82/15       111/21 139/5 166/9 175/25
 85/14 86/19 88/13 88/13       85/10 85/24 86/7 87/24       behaviors [1] 34/15
 89/4 91/22 92/2 92/3 93/5     88/11 88/11 89/1 94/24       behind [1] 155/9
 93/7 93/8 93/8 93/21 95/4     95/15 95/19 96/20 98/19      being [35] 5/8 10/15 12/16
 95/8 95/11 95/12 95/14        101/8 105/11 108/8 109/21     18/2 32/9 50/15 50/19 51/2
 95/23 96/1 96/14 97/10        109/24 111/22 111/24 112/1    51/4 51/7 57/23 61/19
 98/16 99/13 100/18 100/20     112/4 112/9 113/11 114/1      63/25 75/17 83/17 86/20
 101/15 101/23 101/24          116/21 116/22 116/25          87/23 88/2 93/11 98/1
 102/12 102/22 102/25          119/18 119/24 121/9 121/19    106/14 106/20 112/13
 104/12 104/16 105/7 106/4     121/21 121/23 121/24 122/4    112/21 116/2 120/4 120/15
 106/19 107/17 113/1 114/12    122/23 123/24 124/12          142/24 143/12 143/25 144/6
 116/11 117/6 118/15 119/11    124/21 126/5 126/11 127/11    157/9 169/9 176/10 180/23
 119/19 120/1 120/11 122/15    127/21 127/24 129/8 129/9    belief [1] 140/10
 123/4 123/5 123/14 123/21     131/16 131/17 131/25 133/2   believe [34] 5/5 5/20 5/25
 124/23 126/9 126/23 127/4     135/4 135/18 136/4 137/11     6/2 6/25 22/2 38/20 38/23
 129/16 130/14 133/12 138/3    139/16 141/11 141/24 145/9    57/23 68/23 86/7 92/17
 141/2 141/5 150/23 151/19     145/24 146/24 147/1 147/1     98/1 100/25 101/18 104/16
 151/21 155/11 155/19 157/8    152/4 152/7 154/16 159/12     112/25 113/19 137/7 137/14
 158/18 158/19 160/1 160/21    159/16 160/3 161/1 161/3      139/1 140/10 154/12 157/24
 161/5 162/19 163/18 165/7     162/20 166/11 174/15 175/1    159/6 159/25 161/21 163/18
 165/12 165/23 166/2 166/7     176/18 176/19 179/9 184/16    164/1 164/4 164/9 171/15
 166/22 166/22 168/6 168/8    before [70] 1/9 3/20 4/1       173/1 178/8
 169/2 171/9 173/2 173/23      4/5 4/20 8/22 12/13 12/20    believe you [1] 101/18
 175/23 177/24 178/1 179/3     13/11 13/17 15/16 16/2       believes [2] 90/9 143/22
 179/8 179/9 179/12 180/9      16/18 23/1 25/1 25/2 26/17   below [1] 158/6
 180/18 180/21 181/7 181/23    26/17 27/4 30/19 31/19       benchmark [1] 155/9
 182/10 182/20 183/1 183/6     42/10 42/17 42/17 51/6       beneath [1] 173/13
 183/7 183/8 184/1 184/9       55/5 55/8 55/17 56/1 60/16   benefit [2] 179/13 183/14
beans [2] 78/24 78/25          66/25 67/1 67/8 67/15        benign [4] 27/24 28/18
bear [5] 28/20 38/16 48/12     67/16 69/15 71/18 72/17       41/13 42/19
 99/3 115/2                    79/2 83/24 84/6 89/3 89/10   Bernoulli [1] 122/25
became [2] 21/21 40/3          92/16 106/1 109/18 113/12    besides [1] 53/12
because [104] 5/22 7/19        115/6 115/18 116/12 121/11   best [2] 59/21 182/24
 8/8 11/23 13/14 14/7 15/5     121/21 122/13 127/25 128/2   better [6] 28/21 45/10
 15/9 15/14 17/11 20/17        128/15 128/23 129/7 129/22    69/9 140/11 141/4 184/14
 22/19 36/8 37/11 38/10        129/23 134/19 136/5 139/3    between [13] 19/20 21/18
 46/1 52/10 53/2 53/23         141/24 146/9 147/16 159/4     23/1 55/1 62/22 97/2 97/7
 59/19 65/6 67/3 67/7 69/9     159/7 159/16 175/4            108/9 110/22 124/24 160/8
 69/13 70/20 70/23 71/5       beforehand [4] 67/3 67/6       175/21 178/9
 71/15 72/10 72/23 74/12       67/19 67/19                  biasing [1] 155/2
 74/19 74/20 74/23 76/25      began [14] 28/11 28/24        big [1] 125/24
 77/9 78/22 80/13 81/13        29/9 30/8 40/15 41/6 41/9    bill [1] 153/22
 84/25 85/10 85/13 85/21       42/19 42/24 42/25 43/4       billion [4] 122/11 123/1
 86/18 87/11 87/20 89/5        94/8 114/8 118/21             123/4 123/9
 89/7 89/21 90/24 91/11       begin [7] 4/3 7/9 28/25       binder [2] 103/21 136/24
 91/12 94/17 98/4 98/14        30/16 30/16 87/8 148/5       binders [2] 107/13 107/17
 99/14 101/24 102/19 102/20   beginning [12] 8/23 27/25     binding [1] 22/22
 102/21 104/12 106/13          28/20 29/5 29/5 30/5 55/10   bit [20] 20/16 27/3 61/10
 112/14 118/15 120/2 122/16    65/9 66/8 116/10 118/12       62/3 86/17 91/8 97/1
 123/6 124/21 126/5 126/24     161/16                        103/13 115/23 122/16
 127/6 135/19 140/10 141/17   begins [2] 24/25 160/21        125/18 126/11 129/18
bit... - Captain                                                                Page 192
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 192 of 228
                              break [8] 6/6 36/4 36/7       calling [13] 10/9 24/18
B                              60/17 105/25 133/24 134/7     31/14 31/18 34/14 34/14
bit... [7] 130/17 137/21       183/22                        44/13 86/24 92/18 92/22
 138/18 139/10 149/3 152/5    breaking [1] 106/1             121/9 124/1 141/11
 171/2                        breath [1] 48/24              calls [46] 30/12 35/11
bizarre [1] 98/5              brief [7] 9/17 13/7 18/18      35/14 43/5 44/5 44/7 52/1
black [3] 18/8 30/18 37/16     39/24 100/16 118/15 120/1     52/1 52/2 56/23 101/11
blame [1] 82/12               briefcase [1] 63/17            101/12 118/24 118/25
blaming [1] 82/12             briefly [7] 8/21 107/22        120/23 121/2 121/13 121/16
blatant [1] 61/3               110/14 111/8 111/9 118/13     121/25 122/3 122/12 123/13
blended [1] 152/23             148/3                         123/19 123/22 124/2 124/3
blew [1] 87/4                 briefs [1] 6/3                 124/6 124/8 124/12 124/16
blind [2] 63/17 138/23        bring [4] 26/1 28/20 38/16     131/16 131/16 137/20 140/9
blip [1] 101/22                115/2                         140/17 140/19 140/24 141/9
block [29] 29/22 31/25        bringing [2] 93/5 96/11        141/10 141/13 141/14
 51/3 51/5 69/23 72/12        British [1] 108/3              141/14 142/2 142/12 152/14
 72/12 72/21 75/11 75/19      broad [2] 155/15 174/12        154/10
 76/4 78/12 86/25 119/2       broadly [1] 160/7             came [2] 40/8 161/6
 125/3 125/8 125/12 125/17    broken [1] 125/13             campaign [23] 29/20 29/22
 126/8 126/11 145/9 149/22    BROTHERHOOD [5] 1/5 1/18       30/1 31/25 32/3 32/14
 166/6 166/12 170/13 170/14    3/3 3/13 3/16                 32/16 33/15 34/23 43/3
 170/24 171/6 181/13          brothers [1] 51/1              48/3 48/10 51/18 53/18
blocking [5] 70/9 75/5        brought [1] 163/21             54/11 58/6 70/8 83/22
 128/11 129/20 170/21         Brown [1] 107/24               102/4 127/12 166/8 166/11
blue [4] 109/10 128/5         buck [1] 43/13                 166/13
 128/15 138/19                bucket [3] 136/22 139/18      campaigns [1] 29/18
bluster [1] 54/19              142/15                       can [99] 4/25 14/10 15/6
board [15] 20/24 20/25        buckets [2] 135/2 136/1        17/22 18/3 20/15 23/12
 21/1 21/6 21/14 22/6 22/7    buffer [1] 32/4                24/19 28/13 36/4 44/6
 25/10 41/23 91/23 92/2       build [2] 116/15 130/22        49/20 51/13 56/16 59/5
 92/6 93/21 102/4 154/9       built [1] 38/2                 59/25 60/3 63/20 64/8 64/9
body [1] 93/20                bullet [1] 86/21               64/10 67/5 67/24 67/24
Boeing [1] 152/19             bump [1] 122/17                68/6 68/8 70/23 72/3 74/3
boils [1] 90/18               bunch [3] 117/7 150/25         82/6 83/25 86/18 86/19
bombast [1] 54/18              178/24                        91/7 92/3 92/16 93/17
bona [2] 35/1 35/3            burning [1] 180/14             95/12 100/23 100/24 105/24
book [8] 10/24 103/21         business [15] 8/7 8/11         106/15 107/15 107/20
 104/1 107/14 108/25 108/25    36/15 48/9 58/2 81/6 82/1     107/22 108/4 108/15 110/14
 130/15 138/2                  115/8 116/1 126/7 153/21      112/3 112/9 114/20 115/17
booklet [1] 5/20               154/14 163/10 179/5 182/25    119/21 121/6 121/6 121/17
BOOT [37] 29/22 31/25 32/3    businesses [1] 7/20            121/20 125/8 125/16 129/10
 32/13 43/5 48/21 48/23       busy [4] 7/19 49/7 49/12       129/15 130/7 131/19 132/11
 49/6 51/2 51/3 70/6 70/8      100/21                        133/16 134/18 136/8 136/14
 77/8 77/16 77/18 78/21       but [211]                      137/6 138/9 138/21 138/23
 83/3 120/11 127/12 166/5     by six [1] 82/18               140/11 141/4 142/25 144/9
 166/5 166/7 166/11 170/9                                    144/16 150/22 151/1 157/9
 170/11 170/17 170/18 171/1   C                              158/12 160/18 165/11
 171/3 171/10 173/1 174/15    calendar [1] 146/4             167/14 167/23 169/4 169/14
 175/24 176/2 176/3 176/4     call [60] 9/9 19/25 22/19      169/17 169/20 173/6 178/17
 176/5                         24/12 25/19 25/25 31/14       179/6 179/16 179/25 180/2
Boston [1] 108/7               31/20 32/22 33/5 34/15        180/25 182/2 183/5 183/16
both [34] 3/10 11/2 13/15      34/19 35/2 35/4 35/9 42/20   can't [23] 14/9 48/8 64/22
 18/21 22/15 40/24 62/7        44/17 44/22 44/24 45/14       65/6 70/20 71/6 72/19
 63/3 64/8 65/11 65/19         45/16 45/17 45/18 45/19       72/19 75/8 75/9 81/6 81/12
 65/22 65/24 66/7 68/7         46/2 46/13 47/2 47/4 47/4     83/13 87/13 87/17 99/13
 70/13 78/6 78/19 96/7         47/9 47/12 47/21 48/6 50/2    119/11 119/19 144/13
 108/11 110/11 125/13          50/2 51/24 55/1 60/4 64/10    165/13 178/14 181/10
 125/17 136/10 146/22 147/8    81/1 86/21 86/23 86/23        181/15
 152/23 159/10 162/11          103/5 103/6 121/4 121/6      Canada [1] 109/13
 162/18 162/23 163/4 174/12    121/7 122/9 123/21 124/25    cancel [4] 48/15 130/13
 183/2                         133/3 149/13 150/22 154/4     130/15 151/5
bottom [2] 125/14 129/21       158/3 170/13 170/14 174/14   cancellation [1] 131/1
bout [1] 87/11                 181/13                       cancellations [1] 165/2
box [1] 174/9                 called [29] 12/9 12/17        cancer [2] 36/4 36/9
boxed [1] 144/17               21/4 21/6 21/10 22/11        cannot [4] 22/17 64/17
Boys [1] 92/1                  23/18 29/19 30/3 40/11        64/17 88/19
bragged [1] 48/13              40/18 42/2 45/25 50/4 64/3   capacity [2] 127/4 127/5
brakes [1] 51/5                70/16 70/25 73/5 96/8        Captain [44] 5/18 6/17
brand [3] 8/11 55/24 57/25     108/10 119/1 122/25 127/7     27/17 27/20 27/22 34/19
brass [1] 45/11                136/22 142/1 143/14 151/13    38/20 40/8 41/16 41/25
breach [1] 65/14               156/14 162/12                 42/3 42/11 43/11 43/17
Captain... - clean                                                              Page 193
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 193 of 228
                               101/2 110/2 110/10 130/19     176/13 176/19 177/2
C                              180/18 180/19                changed [8] 23/8 23/12
Captain... [30] 43/22         Casper [1] 164/22              28/14 35/8 58/6 150/1
 43/24 44/7 44/22 46/6        cast [1] 92/13                 151/9 159/7
 46/14 47/3 47/6 47/12 48/6   catches [1] 156/10            changes [29] 21/5 27/11
 49/5 49/10 49/14 49/19       categories [1] 153/5           40/12 40/20 61/16 114/1
 50/6 54/13 54/15 54/15       categorize [1] 135/1           114/4 114/10 114/12 114/15
 61/14 65/12 65/23 66/1       catering [1] 78/14             116/21 116/22 117/18 118/4
 69/2 69/3 86/5 86/19 86/24   Cathay [1] 174/11              118/22 119/11 119/24
 87/1 87/10 104/25            causation [3] 86/1 88/13       120/14 124/18 142/5 146/22
captain's [1] 70/25            99/3                          147/17 150/3 151/7 151/18
capture [2] 143/15 143/18     cause [17] 8/14 17/15          159/18 163/3 166/9 176/7
captures [1] 142/2             60/22 60/22 114/16 116/22    changing [4] 51/18 63/8
capturing [1] 144/17           117/8 117/9 119/24 120/15     69/19 84/8
care [1] 178/25                121/8 143/12 155/23 156/13   characterize [3] 75/20
cargo [22] 56/11 56/25         159/13 161/1 166/25           135/9 146/18
 76/17 111/23 111/25 112/2    caused [14] 8/14 8/18         characterized [3] 62/11
 115/22 128/3 130/12 130/17    31/12 39/19 53/1 57/5 57/6    68/11 93/11
 131/5 161/17 162/13 162/15    86/11 114/12 157/12 157/12   charged [1] 95/19
 162/18 162/23 163/5 163/7     157/12 176/15 176/25         Charlotte [1] 176/24
 163/7 167/16 179/5 179/6     causes [11] 52/19 133/12      chart [32] 121/11 121/15
Carlson [14] 3/25 34/19        143/8 156/7 157/17 158/6      121/20 123/16 123/18 125/9
 34/25 35/5 35/15 50/20        158/18 159/1 160/14 169/7     125/10 127/6 127/23 128/20
 54/13 56/19 65/23 69/2        169/8                         128/21 130/7 130/9 132/12
 104/16 171/15 175/25 178/8   causing [3] 11/8 102/18        133/1 137/8 137/16 137/19
Carlson's [11] 5/3 5/4         139/5                         138/10 138/13 138/17
 5/18 6/17 27/22 35/12 46/6   CBA [11] 25/21 42/15 43/14     138/20 138/21 140/4 143/1
 49/25 50/6 61/15 86/5         44/11 44/14 44/15 44/18       143/2 145/21 169/1 169/2
Carolina [2] 9/23 110/13       46/17 49/18 49/23 61/8        169/8 169/19 169/20
carrier [21] 9/7 9/13         CBG [1] 70/24                 charter [1] 152/4
 10/20 14/17 14/18 15/18      CEO [3] 39/18 54/20 104/19    charts [4] 53/9 103/15
 15/21 21/5 28/2 28/3 33/23   certain [5] 10/8 68/24         120/22 134/19
 38/22 52/14 56/24 62/21       120/10 155/19 183/5          chase [2] 65/16 98/23
 62/22 64/2 71/5 80/25        certainly [31] 17/15 37/21    check [4] 23/9 73/4 83/14
 164/12 175/19                 67/12 69/6 79/8 99/8 109/6    153/18
carrier's [2] 17/21 17/25      109/17 110/17 113/23         checks [2] 29/24 32/3
carriers [21] 9/3 16/16        115/22 118/15 120/1 123/17   cheek [1] 94/6
 23/1 24/10 62/7 62/12         125/10 125/23 127/18 130/9   Chester [1] 92/2
 62/14 76/18 77/4 88/11        132/13 134/23 137/2 139/23   chief [2] 50/21 95/17
 109/10 109/11 109/12 149/7    140/5 142/23 143/2 145/7     children [1] 184/19
 173/18 174/4 174/5 174/6      146/12 149/3 155/1 156/16    choice [3] 34/3 155/1
 174/10 174/12 179/20          160/7                         155/12
carved [1] 161/17             certainty [1] 178/18          chose [3] 155/17 168/9
case [81] 3/8 7/2 7/18        certification [1] 136/7        168/10
 8/23 10/15 10/22 11/3 11/5   certified [4] 34/12 47/16     chronically [3] 82/10
 11/17 11/20 11/25 12/24       102/21 109/21                 173/21 181/2
 14/11 14/23 15/7 15/9 16/1   certify [1] 185/3             Cincinnati [1] 70/24
 17/13 19/4 20/16 21/20       chairman [1] 43/17            Circuit [14] 9/19 9/20
 24/24 31/1 33/21 35/3        chairman's [1] 49/5            9/21 10/14 11/1 11/5 11/9
 37/11 37/16 38/2 38/9 38/9   challenge [3] 35/1 35/1        16/2 89/7 92/3 95/5 95/7
 39/5 39/25 43/18 58/22        52/16                         96/8 100/25
 61/10 61/18 63/12 63/21      challenging [1] 53/5          circumstances [1] 84/2
 63/21 63/24 65/1 67/14       chance [2] 178/13 184/17      cited [7] 14/2 37/20 57/18
 67/14 68/13 74/20 74/20      change [73] 9/12 10/9          61/14 89/8 97/14 98/12
 79/8 79/10 83/8 88/14         10/19 25/11 25/21 25/24      city [1] 95/18
 88/22 89/4 92/3 92/6 93/11    25/25 26/18 26/19 28/1       civil [3] 1/3 3/2 98/14
 94/7 96/25 98/2 98/13         28/17 28/25 29/18 29/21      Claiborne [2] 98/13 99/4
 99/17 99/18 100/7 100/13      30/6 30/14 31/12 32/17       claim [7] 35/17 39/9 39/10
 100/24 101/8 102/10 103/19    32/18 33/4 33/13 33/22        135/2 136/17 142/16 143/20
 113/12 115/7 119/17 126/4     34/1 34/7 34/13 34/15        claimed [2] 98/25 99/1
 143/10 146/6 154/17 163/25    34/16 34/21 35/4 35/22       claims [3] 90/8 125/23
 164/2 164/24 165/4 173/20     35/23 37/5 37/9 37/13         135/25
 182/25 184/17                 39/11 39/13 39/16 43/1       clarification [1] 104/4
cases [39] 9/16 9/18 10/1      44/1 51/14 51/25 52/6        clarify [2] 4/5 6/22
 10/5 10/22 11/2 11/13         63/22 63/24 67/18 67/20      classic [2] 61/18 61/20
 13/19 14/2 14/3 14/6 14/7     79/3 116/25 117/12 117/19    clause [12] 11/24 15/10
 14/9 14/11 14/15 15/8         124/16 131/13 132/1 139/5     15/13 17/7 17/12 17/14
 15/12 16/1 16/17 17/2 26/3    139/16 141/24 142/2 146/15    18/7 18/16 18/24 18/24
 34/11 36/23 37/13 37/20       147/14 150/8 150/12 150/13    62/24 62/25
 38/14 38/25 55/12 79/9        150/22 151/6 161/2 162/24    clauses [1] 17/11
 88/11 89/8 98/12 98/14        166/11 169/17 175/25 176/9   clean [4] 83/15 120/18
clean... - concludes                                                            Page 194
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 194 of 228
                               148/20                        159/20 160/24 162/2 167/7
C                             combine [3] 20/2 115/13        171/8 174/3 174/21 174/22
clean... [2] 133/11 165/16     149/8                         175/9 175/10 179/16 179/22
clear [16] 4/3 13/19 23/14    combined [4] 20/3 22/9         181/2 181/10 181/15
 34/1 43/25 48/4 49/2 60/19    30/2 40/24                   company's [14] 18/19 48/3
 68/25 72/8 73/4 86/1 86/10   come [16] 6/13 13/11 13/17     52/20 56/9 82/9 92/15
 96/11 97/17 168/8             17/1 25/16 26/3 28/11         114/7 119/14 119/19 135/17
clearance [7] 73/22 73/23      59/17 60/2 76/10 80/13        144/1 150/7 159/15 179/23
 73/25 74/8 75/9 75/10         93/17 146/20 155/5 180/2     compare [1] 172/7
 75/14                         180/10                       compares [3] 52/4 120/7
cleared [1] 72/6              comes [14] 16/11 16/14         145/23
clearer [1] 72/15              25/5 26/12 33/8 36/2 36/12   Compass [1] 108/7
clearly [8] 58/5 61/16         45/11 77/7 84/14 115/7       compel [2] 23/24 89/21
 68/24 78/23 86/8 99/1         122/20 156/19 180/7          compelled [1] 59/14
 118/16 136/11                comfortable [1] 6/10          compensation [1] 41/18
Cleary's [1] 164/9            coming [5] 16/18 48/12        competition [1] 82/6
clicks [1] 150/1               57/12 67/21 156/15           complainant's [1] 95/20
client [2] 104/15 104/25      comments [3] 39/23 40/1       complaining [4] 56/21
clients [1] 153/23             145/12                        61/12 73/11 78/2
close [2] 49/18 167/18        commerce [6] 9/6 17/19        complaint [11] 60/20 60/21
closely [1] 164/10             17/24 58/15 62/20 80/25       61/6 61/14 61/19 63/13
closest [1] 93/17             commercial [4] 110/20          86/5 90/21 90/21 91/2 91/4
closing [2] 59/10 77/15        110/21 179/2 179/3           complaints [4] 57/3 57/4
clue [1] 76/25                committed [2] 95/19 161/11     57/11 57/11
co [2] 3/15 3/17              committee [4] 42/12 43/15     complete [3] 49/24 106/6
co-counsel [2] 3/15 3/17       160/6 161/5                   158/20
cockpit [3] 83/15 87/2        committees [1] 160/8          completed [1] 127/2
 87/9                         common [11] 53/15 53/25       completely [2] 18/8 77/11
code [8] 11/6 11/9 28/8        70/7 75/1 75/17 76/3 79/5    complex [2] 135/19 150/21
 33/1 33/9 50/14 154/1         81/2 82/22 139/2 139/6       complexity [4] 135/20
 157/14                       common-sense [9] 53/15         142/19 143/18 143/23
coded [1] 165/19               53/25 70/7 75/1 75/17 76/3   compliance [9] 27/25 28/7
codes [3] 10/24 157/14         79/5 81/2 82/22               28/13 28/19 29/12 42/20
 157/17                       commonly [3] 115/10 115/15     65/11 65/17 66/5
coefficient [4] 132/19         115/20                       compliant [1] 90/23
 132/22 133/16 142/7          commonplace [1] 151/11        complicated [2] 20/17
coefficients [1] 132/15       communicate [5] 77/21 85/1     130/18
cognisant [2] 166/4 171/13     85/3 85/9 98/9               complied [4] 94/24 95/8
coincides [1] 36/11           communicated [1] 127/21        96/1 101/15
colleague [1] 3/8             communicating [2] 85/14       comply [9] 22/24 23/4
colleagues [2] 3/15 153/14     85/15                         32/22 46/11 48/21 54/3
collection [1] 109/1          communication [10] 28/6        65/11 66/7 85/7
collective [74] 7/23 9/10      28/11 28/18 29/6 30/1        component [3] 163/5 163/5
 10/3 10/6 11/24 12/1 12/5     41/10 42/1 42/12 45/23        169/18
 12/8 12/16 12/18 13/3 14/3    53/18                        computer [2] 1/25 166/25
 14/10 14/12 14/17 14/21      communications [16] 28/4      computer-aided [1] 1/25
 15/1 15/3 15/13 15/19 16/6    29/1 32/24 34/24 37/17       concede [1] 91/21
 16/19 16/24 17/9 18/6         39/15 41/13 42/16 43/3       conceded [1] 80/20
 18/15 18/17 19/7 19/13        45/14 48/1 48/21 50/2        concedes [1] 27/21
 19/18 19/19 20/1 21/23        50/18 56/20 56/22            conceive [1] 157/9
 21/25 24/14 25/12 25/14      commuter [1] 84/15            concept [3] 64/23 77/17
 27/11 28/1 28/14 28/22       companies [6] 23/15 29/8       167/25
 32/22 36/6 36/11 37/10        44/2 109/14 152/1 179/21     conceptually [2] 51/23
 37/14 38/22 39/13 40/2       company [83] 12/24 13/1        52/4
 40/9 40/16 40/20 40/23        23/3 23/17 26/24 27/9        concern [3] 83/18 102/16
 41/5 41/7 41/11 41/14 43/7    27/12 27/14 28/14 28/20       165/10
 44/3 58/11 61/1 66/17         28/24 36/12 38/16 39/21      concerned [3] 36/4 59/18
 67/17 68/8 69/4 87/18         41/7 42/22 43/14 44/20        105/13
 90/15 90/22 91/6 91/14        49/17 50/11 50/18 51/8       concerning [3] 62/16
 92/14 93/6 93/15 94/1         53/24 54/12 55/2 61/19        152/13 167/11
collectively [1] 18/21         61/19 66/21 67/19 67/20      concerted [29] 7/15 10/10
collision [1] 74/6             68/13 70/17 71/10 73/18       10/19 11/13 31/12 33/21
Collyer [1] 93/19              77/12 78/11 78/12 78/23       34/2 34/6 34/18 34/21 35/4
Collyerize [1] 93/23           80/20 82/3 82/4 82/6 82/15    35/7 39/11 41/12 43/1 44/1
COLUMBIA [2] 1/1 108/3         82/23 89/19 90/8 91/17        44/23 45/15 46/9 47/10
column [10] 133/2 133/15       95/12 101/10 101/12 102/25    52/10 52/18 87/6 87/15
 143/13 143/16 143/18 144/3    104/19 114/1 114/3 114/17     88/3 88/20 99/2 99/7 122/5
 144/3 144/8 145/22 146/1      123/24 126/5 126/19 127/21   conclude [5] 54/4 58/3
columns [2] 143/10 145/22      127/25 127/25 142/18          92/23 93/1 135/24
Comair [1] 109/12              144/14 145/10 145/16         concluded [1] 92/25
combination [2] 117/1          146/24 151/12 153/22         concludes [1] 92/9
conclusion - court                                                             Page 195
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 195 of 228
                             contact [1] 54/10              16/12 53/9 53/11 53/24
C                            contacted [1] 148/5            53/24 53/25 105/9 122/19
conclusion [5] 19/1 99/2     contains [1] 145/3             122/21 137/1 138/10 140/1
 119/13 146/20 177/15        contempt [2] 83/20 84/21       141/12 149/2 153/13 154/4
conclusions [9] 52/16        contend [2] 94/5 176/15        154/7 154/11 158/4 160/6
 53/10 97/9 117/22 118/14    contention [2] 52/25 90/20     163/11 163/12 163/14
 118/18 119/21 146/11        context [9] 14/1 14/20         163/17 164/3 164/13 164/14
 146/15                       17/2 26/4 58/12 67/16 69/8    164/16 164/17 164/20
condition [2] 64/24 87/8      89/19 168/21                  164/21 164/24 164/25 165/3
conditioning [1] 87/3        continue [5] 19/22 20/20       168/9 168/12 168/16 170/22
conditions [7] 62/17 63/9     41/6 43/12 134/12             170/23 171/10 171/25 172/6
 64/1 64/18 64/19 64/21      continued [4] 47/9 47/10       172/9 173/2 174/21 175/16
 96/10                        55/19 160/24                  177/20 177/24 185/4
conduct [16] 10/8 10/10      continues [1] 61/9            corrected [4] 138/7 138/19
 11/11 11/14 11/19 15/23     continuing [2] 8/14 163/13     138/20 140/4
 16/18 18/20 33/14 37/4      contract [73] 10/23 11/7      Correction [1] 139/24
 68/18 75/25 86/8 91/12       18/24 19/10 20/2 20/17       corrections [1] 142/11
 122/25 163/1                 22/2 22/3 22/7 22/16 22/20   correctly [4] 5/6 153/6
conducted [7] 12/16 118/19    22/21 23/2 24/1 26/7 26/21    156/1 171/6
 122/1 124/10 124/14 132/4    26/23 26/25 27/10 27/14      corrects [1] 137/24
 132/8                        27/25 28/7 28/7 28/19        correlated [1] 120/11
confer [1] 183/21             29/12 29/13 32/25 37/1       correlation [2] 124/24
conference [3] 6/1 86/15      38/11 40/4 40/6 40/13         178/9
 104/4                        42/20 46/20 48/9 49/19       correlations [1] 116/15
conferences [1] 63/25         50/8 50/13 51/9 51/10        corroborate [1] 166/3
confidence [2] 132/24         61/23 65/11 65/12 65/12      cost [4] 8/3 8/20 109/10
 167/24                       65/20 65/24 66/3 66/5         178/4
confident [2] 117/23          68/15 69/8 69/11 69/12       could [45] 15/1 33/13 45/2
 147/16                       69/13 69/14 69/17 69/20       70/22 71/3 73/12 76/19
confidential [3] 3/24 4/6     69/21 78/2 78/4 78/15         76/20 78/4 87/10 92/12
 6/16                         78/19 85/7 85/15 89/24        92/13 106/14 107/4 109/4
confidentiality [1] 4/7       89/24 89/25 90/6 90/6         113/20 116/16 119/24 120/8
confines [1] 99/8             90/10 90/16 91/16 98/3        122/4 122/7 123/5 123/16
confirm [3] 35/6 157/25       98/10                         124/12 124/23 126/22
 165/12                      contracting [1] 22/9           126/24 127/4 127/16 130/5
confirmed [1] 9/8            contracts [6] 19/21 20/22      139/15 142/20 150/23
confirms [2] 34/13 51/17      21/21 22/2 22/16 90/1         150/24 155/17 155/17
conflict [2] 97/2 97/7       contractual [10] 11/23         158/18 159/1 160/21 165/22
conformity [1] 97/16          15/10 17/11 17/14 18/4        171/6 175/10 178/2 178/21
confusion [1] 112/15          18/9 18/23 19/4 22/23 75/4    182/10
congested [2] 172/23         contractually [1] 89/23       couldn't [3] 66/24 72/11
 173/22                      control [24] 32/6 90/20        175/11
congestion [1] 173/22         117/4 120/15 141/16 144/21   council [2] 43/18 45/18
Congress [1] 17/20            151/17 156/12 156/16         counsel [15] 3/4 3/15 3/17
Congressional [3] 17/23       156/17 157/1 158/16 158/16    55/1 55/1 62/9 62/23 63/10
 18/25 55/15                  159/5 159/18 167/2 168/23     63/22 66/20 79/18 103/24
conjunction [1] 13/9          168/24 169/7 171/24 173/7     183/22 184/6 184/11
connotes [1] 29/21            173/7 180/11 182/18          counseled [1] 44/25
Conrad [3] 15/25 33/11       controllable [1] 166/23       count [3] 8/16 143/15
 33/19                       controlled [3] 158/22          151/18
Conrail [1] 57/19             163/20 173/23                counting [2] 7/21 179/14
conscribes [1] 96/24         controllers [1] 71/12         county [1] 95/18
consensual [1] 64/10         controlling [7] 117/11        couple [7] 29/18 44/8 47/8
consent [2] 4/25 68/8         117/13 133/5 141/15 142/3     83/21 110/1 137/15 174/13
consequences [1] 45/20        158/11 172/8                 coupled [1] 28/19
consider [7] 99/20 100/19    controls [3] 87/14 118/3      course [25] 10/16 10/17
 150/13 150/13 160/12         120/9                         31/8 31/13 36/25 52/8
 163/23 181/25               convenience [2] 103/18         61/25 62/2 62/8 64/22
considered [7] 75/25          105/21                        88/10 89/19 105/3 106/17
 116/16 126/22 147/12        convenient [1] 169/22          115/8 115/13 116/1 123/24
 162/10 166/22 171/10        conversation [2] 5/25          153/10 153/21 154/13
considering [1] 162/22        29/11                         164/11 165/20 171/8 174/19
considers [1] 127/2          convert [3] 11/10 33/13       court [87] 1/1 1/10 1/21
consistently [1] 121/23       37/4                          1/22 4/1 4/8 6/15 7/1 9/2
constant [2] 34/3 46/20      convince [2] 100/8 100/11      9/8 9/22 9/25 11/3 11/12
Constitution [1] 1/23        cooling [1] 21/7               11/21 12/3 12/12 13/12
constraints [1] 171/5        cooperate [1] 30/3             13/17 14/5 14/8 14/18
consulting [3] 108/8         copy [3] 27/22 103/20          14/18 14/19 15/11 16/18
 108/11 109/5                 107/21                        18/2 18/10 18/20 19/2
consume [1] 178/3            core [2] 30/8 100/7            21/10 23/1 30/24 32/12
consumers [2] 7/20 8/6       correct [51] 5/10 5/21         33/12 34/9 35/13 35/22
court... - defies                                                             Page 196
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 196 of 228
                             39/20 56/7 56/11 56/12       dealt [2] 91/22 164/11
C                            56/18 56/21 56/21 57/1       decades [1] 115/14
court... [49] 49/25 53/12    114/18 150/22 154/2 155/24   December [13] 27/7 27/13
 57/18 57/19 58/12 58/18     156/14 167/6 167/20 179/4     27/20 40/7 41/8 41/15
 64/13 64/20 66/16 68/23    customers' [1] 180/22          54/13 54/16 56/4 131/20
 77/25 83/20 85/17 85/20    cut [4] 73/9 78/10 78/11       132/25 144/15 144/18
 88/10 91/9 92/9 94/16 95/9 88/23                         December 10th [1] 41/15
 95/16 96/6 96/7 96/11      cv [5] 1/3 3/2 107/7 108/5    December 1st [1] 132/25
 100/9 100/17 101/24 101/24 108/18                        December 2014 [4] 27/13
 103/10 104/19 106/9 107/22                                27/20 40/7 41/8
 108/15 109/22 110/2 110/13 D                             December 2016 [1] 54/13
 110/15 113/13 113/21       D.C [5] 1/16 95/5 95/6        December 21st [1] 54/16
 114/21 115/18 118/14        96/8 100/25                  decide [1] 66/6
 123/16 125/9 127/16 130/8 D0 [4] 173/8 173/14 173/19     decided [2] 24/11 83/20
 132/12 140/2 142/22 145/5   173/25                       decision [11] 33/20 33/20
Court's [1] 99/9            damaged [2] 8/5 8/12           57/18 64/20 68/17 71/11
courtroom [6] 4/3 4/12      damages [1] 39/18              95/6 95/11 101/1 101/23
 104/8 105/2 110/3 126/16   Dan [1] 104/25                 174/22
courts [22] 1/22 12/14      danger [1] 102/18             decisions [6] 9/8 25/16
 12/22 15/4 15/18 15/21     dangerous [1] 85/11            37/22 57/19 68/23 85/22
 16/18 17/5 17/6 25/7 25/25 darn [1] 81/10                declaration [80] 3/25 5/4
 28/8 32/25 33/8 36/25 37/2 Darren [8] 2/9 34/10 107/2     5/19 27/21 27/23 35/6
 37/8 37/21 50/15 55/5       107/6 111/12 113/9 134/18     35/12 38/21 43/18 43/22
 55/17 94/17                 147/24                        46/7 50/1 50/6 51/20 51/20
courts' [1] 25/22           data [75] 30/10 52/7           61/15 65/13 73/1 86/6
covariances [1] 117/10       110/24 111/3 114/25 115/2     87/19 103/14 105/3 107/11
covariates [1] 118/3         115/4 115/5 115/7 115/7       112/15 113/12 113/16
cover [2] 22/9 40/6          115/9 115/11 115/12 115/19    113/22 116/11 117/20
covered [2] 25/3 55/11       115/25 119/9 135/9 135/10     120/21 120/24 123/14
coyote [1] 150/24            136/12 136/23 137/21          127/14 130/6 132/10 134/14
create [7] 42/14 42/21       138/12 138/13 138/17          134/18 134/20 134/21
 42/25 60/24 77/11 79/16     138/20 138/24 139/2 139/14    134/24 134/25 135/5 135/25
 138/12                      139/15 146/21 148/6 148/13    136/19 138/7 139/21 140/7
created [2] 77/17 149/19     148/15 148/20 148/22          143/6 144/5 144/23 145/8
creates [1] 9/9              148/23 148/24 149/3 149/4     145/12 146/11 146/14
creating [1] 10/3            149/5 149/5 149/6 149/7       146/15 146/21 147/4 147/6
crew [20] 18/21 44/5 44/15 149/10 149/15 149/18            147/8 148/8 148/11 148/16
 44/17 44/24 45/17 46/13     149/19 149/20 149/24 153/7    148/23 154/20 155/8 155/13
 47/2 47/12 47/20 48/6       153/8 153/8 153/9 153/12      157/25 159/15 163/21 164/9
 48/11 49/20 51/12 83/12     153/15 153/20 153/20          164/15 164/18 164/23 166/2
 84/11 149/15 149/16 149/18 153/22 154/3 154/5 154/6       168/11 168/13 170/23 173/3
 182/20                      154/9 154/11 154/12 154/12    173/4 176/11
critical [2] 8/16 57/6       157/14 160/20 169/13 170/8   declarations [11] 6/18
criticisms [1] 117/25        172/12 173/16 173/17 174/2    31/3 39/3 39/8 103/13
cross [12] 2/13 23/10 24/2 174/6 174/9                     103/16 104/20 105/10
 31/9 39/7 104/13 105/14    datasets [1] 149/8             118/17 164/1 164/4
 105/17 112/8 112/11 147/24 date [9] 21/16 27/10 28/16    decline [1] 10/16
 169/23                      40/5 40/10 84/13 122/23      declined [3] 23/5 41/7
cross-exam [1] 31/9          161/11 185/10                 68/13
cross-examination [5] 2/13 dates [2] 19/22 20/21          declining [1] 145/9
 105/17 112/8 112/11 147/24 David [1] 66/21               deemed [3] 4/21 37/2 75/21
cross-examine [2] 39/7      day [19] 1/9 6/2 21/7         deems [1] 22/7
 104/13                      30/12 31/15 35/19 36/15      deep [1] 89/9
cross-examining [1] 105/14 41/22 41/22 52/1 56/17         deeper [1] 89/9
cross-motions [2] 23/10      69/18 81/16 121/4 121/14     defend [1] 103/1
 24/2                        130/16 130/20 149/21         Defendant's [1] 137/3
crossing [1] 86/15           173/19                       defendants [26] 1/7 1/15
CSR [3] 1/21 185/3 185/10 days [12] 57/13 57/13            3/13 4/20 7/2 7/15 7/24
cumulative [1] 176/1         66/25 67/3 68/2 76/21         11/25 13/7 18/17 27/6 31/2
curing [1] 93/9              81/16 98/23 130/22 137/10     33/3 33/25 34/7 34/22 39/2
curious [1] 154/16           139/9 139/9                   40/1 40/17 43/9 45/23 47/9
current [5] 19/6 40/8 50/7 DC [4] 1/4 1/13 1/19 1/24       49/1 58/4 58/17 60/24
 67/17 146/18               deal [13] 5/23 6/19 31/4      defendants' [6] 11/18
currently [2] 20/4 108/6     31/6 78/11 79/10 85/24        11/21 41/24 43/3 60/15
curriculum [1] 107/21        86/1 86/1 101/7 102/24        136/24
customer [14] 120/14         182/16 184/10                defense [1] 100/10
 120/18 133/3 133/9 133/14 dealing [8] 16/4 16/5 79/9     defer [3] 93/19 93/20
 133/22 153/19 153/24 154/1 79/11 81/15 81/17 86/22        93/22
 156/22 157/12 158/23        105/5                        defer to [1] 93/19
 165/18 168/25              deals [5] 72/13 78/10 90/3    deferral [1] 93/19
customers [18] 8/1 8/5       93/14 155/25                 defies [1] 53/21
define - discretion                                                             Page 197
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 197 of 228
                              Department [2] 109/19          47/13 68/10 72/7 74/24
D                              109/20                        80/9 86/14 89/19 89/20
define [1] 157/5              departure [33] 32/1 80/17      98/18 114/21 116/14 122/22
defined [3] 70/11 157/6        119/3 127/20 128/18 128/24    135/23 136/14 138/11
 170/13                        130/11 150/11 154/18          138/12 146/14 146/14
definite [1] 152/2             154/22 165/5 165/8 165/8      148/12 149/3 149/15 149/24
definition [2] 82/19 170/2     165/14 165/21 166/14          150/1 152/11 152/11 153/13
definitive [1] 160/1           166/15 167/21 167/23 168/4    153/17 154/5 156/1 157/4
degradation [2] 114/7          170/15 171/7 171/17 171/21    159/23 159/24 161/16 162/9
 144/14                        172/4 174/22 175/19 175/21    162/9 162/16 165/4 165/5
degrading [1] 51/19            177/7 177/9 178/23 181/13     165/25 168/18 170/21
degree [6] 111/16 111/20       181/24                        172/20 172/24 175/14
 111/21 123/9 167/23 178/18   departure call [1] 181/13      175/14 175/16
degrees [1] 87/2              departures [7] 79/11          didn't [29] 4/11 17/2
DEIRDRE [1] 1/17               141/16 141/17 144/4 158/9     28/24 32/11 45/7 66/22
delay [39] 70/10 75/21         165/20 172/23                 68/12 77/10 87/21 110/2
 130/10 130/11 130/20         depend [1] 99/22               146/17 150/7 150/12 150/13
 131/12 133/8 133/9 133/10    dependent [3] 140/17           151/16 152/10 152/20
 142/25 143/5 153/3 155/16     141/13 155/12                 160/19 161/23 165/2 165/25
 156/6 156/9 156/13 157/14    depending [1] 119/9            167/8 169/1 169/6 169/7
 157/15 157/17 159/13         depends [1] 166/18             169/7 169/9 170/4 170/5
 159/13 165/2 165/9 165/18    deploy [1] 153/22             Dierdre [1] 3/15
 165/18 165/19 167/5 168/3    deprived [3] 11/22 32/9       difference [3] 80/9 81/15
 168/5 168/5 170/13 170/13     100/1                         170/20
 170/15 170/25 171/10         derive [1] 88/8               different [17] 68/2 70/23
 171/20 171/21 174/1 174/2    derives [1] 91/13              74/17 76/13 80/22 86/18
delayed [13] 48/15 56/16      describe [7] 34/21 108/4       108/10 109/2 109/18 119/7
 57/13 79/10 130/14 150/11     110/14 114/21 123/16 130/7    119/8 130/12 133/14 136/1
 156/9 157/16 158/9 166/16     132/11                        138/24 150/20 157/17
 167/22 168/15 169/12         described [12] 9/2 23/3       differential [2] 172/4
delaying [1] 171/16            37/22 41/3 51/18 107/23       172/7
delays [64] 7/25 8/19 29/4     108/5 115/19 134/23 135/24   difficult [3] 31/17 50/23
 30/11 31/21 32/6 52/13        136/9 139/18                  98/23
 56/2 56/5 56/8 56/10 57/7    describes [2] 51/21 125/10    difficulties [1] 53/3
 79/7 79/18 79/19 80/6        describing [7] 7/10 24/7      dilemma [1] 102/15
 80/17 117/8 118/6 120/12      51/15 97/12 179/18 181/3     dinner [2] 46/24 47/17
 120/18 130/24 130/25          181/5                        dire [8] 2/10 2/11 106/13
 131/19 132/5 133/4 133/11    description [1] 66/23          107/1 111/9 111/12 112/12
 133/12 152/16 154/18         deserve [2] 42/16 59/22        131/4
 154/22 155/21 155/22         deserved [1] 41/19            dire for [1] 112/12
 155/22 155/25 156/2 156/3    designated [6] 3/23 4/6       direct [19] 2/12 25/23
 156/4 156/8 157/6 157/6       74/18 83/23 84/5 179/1        31/2 40/15 64/7 95/16
 157/9 157/10 157/18 157/21   designating [1] 182/11         103/22 104/1 107/10 113/9
 157/21 158/23 160/14 161/2   designation [2] 4/7 4/11       114/19 118/10 130/6 136/10
 162/4 165/5 165/8 165/21     designed [6] 7/22 9/12         136/21 139/17 139/20
 165/22 166/4 166/14 166/15    31/20 33/22 84/24 106/4       142/14 152/22
 167/6 167/19 168/1 168/23    desire [2] 37/9 77/11         directed [7] 33/3 33/21
 168/25 169/3 170/6           desired [1] 40/19              43/5 44/8 46/9 50/19
deliver [4] 7/21 8/9 8/16     destination [1] 170/25         176/17
 44/12                        destinations [1] 143/16       directing [6] 30/15 34/1
delivery [7] 81/7 81/8        detail [5] 15/25 23/13         37/18 39/15 53/18 54/1
 81/12 81/17 82/4 82/5 82/7    49/24 106/6 134/23           directions [1] 43/24
Delta [3] 9/19 10/14 109/8    detailed [2] 52/11 149/20     directive [3] 32/17 37/13
demand [1] 42/15              details [1] 51/22              176/4
demanding [1] 54/2            deteriorating [1] 135/18      directives [1] 42/24
demands [2] 44/3 180/23       determine [13] 64/8 72/24     directly [6] 38/2 54/10
demographic [2] 69/19 84/8     73/6 73/16 79/1 93/25         54/11 55/2 64/9 131/12
demonstrable [4] 37/19         114/3 114/10 123/1 132/5     director [1] 54/21
 37/20 51/15 176/9             157/20 158/8 179/16          directs [1] 32/15
demonstrate [1] 135/5         determined [1] 140/3          disagreed [1] 134/25
demonstrated [1] 114/14       devastating [1] 39/21         disagreeing [1] 13/6
demonstrates [1] 136/19       develop [1] 28/12             disagreements [1] 110/21
demonstration [1] 176/3       developed [3] 38/8 75/18      disciplinary [1] 47/7
demonstrative [1] 123/15       101/8                        discontinue [1] 54/11
denied [1] 54/16              DHL [10] 56/13 133/18         discount [1] 81/6
depart [14] 32/1 73/7          152/1 152/10 152/18 152/24   discover [1] 161/12
 74/23 104/9 117/9 127/22      154/1 163/7 172/21 179/21    discovery [1] 3/23
 168/5 171/11 174/21 175/11   did [61] 9/15 14/3 18/17      discrepancies [1] 119/5
 179/17 181/24 182/1 182/2     27/8 27/15 27/21 28/3        discrepancy [1] 170/19
departed [1] 177/16            28/23 28/25 29/3 29/8        discretion [3] 33/18 33/24
departing [2] 70/15 165/10     29/24 31/19 35/15 40/14       71/1
discuss - drop                                                                  Page 198
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 198 of 228
                               46/2 46/11 46/23 50/18        22/10 23/17 27/5 37/3
D                              50/24 51/9 58/10 59/2         37/23 39/7 47/17 48/10
discuss [8] 8/22 22/16         59/10 59/16 59/17 59/21       48/18 50/8 50/12 54/2
 59/12 62/3 103/22 129/6       60/19 63/2 63/20 66/4         59/15 60/2 72/1 72/10 74/6
 154/17 162/9                  66/22 69/10 72/6 72/9         74/10 74/11 75/9 76/4
discussed [15] 10/13 11/1      72/11 72/19 73/21 74/22       76/25 78/3 78/5 78/10
 15/24 60/16 66/19 77/14       75/21 76/7 76/11 77/24        78/14 84/20 85/2 85/13
 89/12 89/13 94/11 95/1        78/19 82/21 83/22 83/23       86/3 86/18 88/5 88/23
 97/1 99/11 123/18 127/18      84/5 85/3 85/5 85/7 85/14     90/11 91/21 92/21 93/10
 168/13                        86/13 88/9 92/16 94/18        93/16 94/2 94/3 98/3 98/5
discusses [2] 89/14 125/7      100/23 101/3 103/5 103/8      98/6 99/2 99/14 99/14
discussing [4] 15/22 63/7      103/11 103/13 106/12          99/16 99/19 99/19 100/15
 91/24 130/4                   106/15 111/16 111/20          101/16 101/17 102/6 102/17
discussion [3] 6/1 33/10       111/21 113/3 116/15 116/25    102/22 103/19 104/6 105/8
 70/8                          117/4 120/25 122/22 126/8     105/15 105/18 106/7 106/12
discussions [1] 40/22          133/24 133/25 134/1 145/16    107/13 113/5 123/1 123/21
disguised [1] 67/13            145/19 146/2 147/10 150/22    134/3 134/7 140/13 147/20
disingenuously [1] 48/22       152/12 157/23 159/23          155/7 155/11 156/20 158/14
dismiss [2] 23/10 99/18        159/23 159/24 161/8 165/4     161/11 161/20 168/22
dispute [48] 12/9 12/15        165/25 166/3 167/11 168/11    168/24 169/10 169/12
 12/17 12/19 13/23 14/13       169/12 169/13 169/17          169/13 169/22 171/4 175/20
 14/16 14/20 14/24 14/25       169/19 171/4 173/10 174/6     184/3
 15/5 15/18 16/4 16/20         175/16 176/15 177/1 178/5    don't cut [1] 88/23
 16/20 21/18 22/25 24/7        178/21 181/4 181/14 181/15   done [23] 12/24 26/8 32/18
 24/8 61/4 62/22 64/3 66/18    181/16 182/9 182/18 182/20    33/6 35/24 42/7 45/3 53/8
 86/18 86/19 91/13 92/5        182/21                        54/12 88/11 90/17 124/3
 92/8 92/9 92/12 92/13        docket [2] 5/1 6/6             138/9 138/14 138/22 141/12
 92/13 92/23 93/1 93/3 93/7   Doctor [5] 111/14 111/16       141/21 141/25 150/17
 93/8 93/9 93/9 93/12 93/14    148/1 148/16 157/8            155/17 164/9 165/11 173/14
 100/4 100/9 100/11 100/12    doctrine [1] 85/13            doubt [2] 57/23 58/8
 169/10 169/12 169/13         document [3] 27/9 27/19       down [23] 9/13 24/11 24/13
disputes [10] 9/5 62/12        107/20                        26/20 30/19 35/8 45/11
 62/18 62/19 91/8 91/10       documentation [1] 148/25       72/15 98/24 126/11 128/13
 91/10 91/11 110/20 110/21    documented [1] 166/5           129/16 129/17 129/18
disputing [2] 86/9 169/18     documents [4] 5/9 5/10 8/7     150/23 151/19 151/21 156/8
disqualifying [1] 112/12       148/23                        156/19 157/15 167/1 175/7
disrespect [1] 94/15          does [37] 9/11 11/10 13/21     184/5
disrupt [8] 10/10 17/19        13/21 20/8 21/13 35/17       downside [1] 83/5
 17/19 26/1 39/22 42/21        35/21 35/23 36/22 43/20      Dr [1] 74/13
 45/15 53/19                   55/23 63/4 66/3 66/12        Dr. [40] 34/10 51/17 51/19
disrupted [1] 57/14            73/18 73/20 76/3 81/6 83/6    51/24 52/16 52/23 52/25
disrupting [3] 48/14 54/23     84/3 96/13 98/8 104/13        53/6 53/7 53/9 53/14 70/7
 61/1                          120/6 125/20 125/23 135/8     70/14 74/12 75/18 79/8
disruption [15] 13/2 30/10     144/20 145/12 155/5 156/25    80/13 103/6 103/13 104/20
 30/14 43/2 50/3 51/14         158/15 171/18 171/18 177/1    106/8 106/9 106/10 107/4
 53/16 53/17 53/22 121/8       180/1                         111/5 113/6 113/11 115/19
 136/11 143/13 147/17         doesn't [29] 14/5 17/1         116/9 120/20 124/16 127/16
 155/23 176/15                 17/15 38/1 38/18 38/18        130/3 134/14 136/3 142/14
disruptions [15] 8/9 52/17     66/4 71/14 71/16 74/13        144/24 147/18 179/15 181/1
 53/1 110/20 114/16 116/23     78/11 78/21 78/24 78/24      Dr. Darren [1] 34/10
 119/25 130/4 135/3 136/4      83/13 89/4 98/11 99/8        Dr. Lee [35] 51/17 51/19
 142/17 143/9 146/24 151/20    128/22 128/22 136/18          51/24 52/16 52/23 52/25
 166/21                        144/21 146/4 147/14 159/5     53/6 53/7 53/9 53/14 75/18
disruptive [2] 7/25 37/4       163/25 166/21 169/15          79/8 80/13 103/6 103/13
disrupts [3] 26/11 36/22       181/20                        104/20 106/8 106/9 107/4
 37/5                         doing [32] 5/2 6/8 12/13       111/5 113/6 113/11 115/19
distressed [1] 57/12           26/16 32/18 36/9 36/17        116/9 120/20 124/16 127/16
distribution [1] 129/7         43/13 44/10 45/4 48/11        130/3 134/14 136/3 142/14
district [15] 1/1 1/1 1/10     67/3 67/6 67/7 69/12 69/13    144/24 147/18 179/15 181/1
 1/22 9/22 9/23 9/25 9/25      74/6 78/17 78/17 83/3 84/1   Dr. Lee's [4] 70/7 70/14
 11/3 21/19 23/6 23/24 24/9    85/6 87/24 92/19 119/10       74/12 106/10
 33/12 58/22                   141/7 149/21 150/9 150/14    dramatically [1] 121/7
disturbing [1] 49/1            151/2 168/18 182/25          drastic [1] 93/4
diversified [1] 143/21        dollars [1] 8/3               draw [2] 169/14 169/20
division [1] 54/22            domestic [9] 53/4 143/19      Drawn [1] 38/5
do [123] 6/4 14/6 15/5         143/22 143/25 145/16         dream [1] 86/20
 15/12 20/9 28/2 28/3 28/13    152/10 172/22 173/21         driven [9] 114/25 120/4
 28/13 29/8 30/17 30/25        174/12                        120/14 120/18 133/9 156/23
 31/5 34/6 35/1 36/7 36/10    don't [97] 4/4 4/18 5/19       165/18 165/18 165/19
 36/16 36/16 39/25 40/14       6/5 6/18 7/3 14/5 15/5       driving [1] 117/18
 42/7 43/25 44/11 45/20        16/24 17/10 19/14 20/11      drop [2] 30/12 129/16
dropped - establishes                                                           Page 199
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 199 of 228
                               183/7 183/9 184/9 184/10     employer [4] 26/24 36/12
D                              184/12                        66/24 67/18
dropped [4] 128/12 129/17     earth [3] 81/25 82/25         encourage [2] 59/24 160/24
 129/17 175/6                  101/14                       encouraged [3] 32/21 45/16
due [9] 52/18 52/19 53/16     earthly [1] 70/25              46/5
 53/16 95/14 124/18 156/6     easier [1] 106/4              encouraging [2] 36/7 54/1
 156/6 156/7                  East [1] 57/8                 end [9] 21/8 24/12 24/18
dummy [5] 142/1 144/17        easy [1] 95/10                 47/22 55/11 76/22 76/23
 158/3 158/4 158/5            ECF [3] 5/7 5/8 5/9            180/10 180/14
during [32] 3/23 8/10 9/10    econometric [3] 116/15        ending [1] 162/5
 10/3 13/2 25/12 25/13 26/6    117/3 140/12                 enemy [1] 47/24
 32/4 38/17 47/11 49/3 49/7   economic [5] 9/13 10/11       enforce [16] 11/22 14/19
 49/12 49/16 49/18 50/11       108/7 108/11 109/17           15/2 15/10 19/2 41/11 55/8
 52/7 55/21 58/9 61/3 61/7    economics [12] 34/10           68/15 69/4 69/8 69/18
 61/23 64/14 64/14 65/2        107/24 108/1 108/2 108/13     70/22 78/18 90/9 98/2 98/4
 103/22 163/5 170/20 171/23    108/19 108/25 109/3 109/25   enforce what [1] 90/9
 172/1 177/19                  111/5 111/25 113/2           enforceable [1] 19/7
duties [3] 62/7 62/11         economist [4] 114/10          enforced [2] 65/14 65/14
 62/11                         117/16 143/3 158/1           enforcement [2] 55/16
duty [25] 62/10 62/14         economists [10] 34/15          89/16
 62/25 63/1 68/15 69/17        115/10 115/16 115/16         enforcing [2] 69/10 69/12
 69/22 69/24 70/3 72/23        115/21 116/3 116/3 138/16    engage [11] 10/7 10/25
 73/6 76/13 77/2 77/4 78/1     139/14 150/19                 23/16 25/10 34/6 43/21
 85/6 85/6 95/19 97/25 98/8   Ed [1] 3/11                    46/9 50/3 64/7 105/17
 102/21 121/14 137/10 161/9   editor [1] 108/24              176/5
 161/18                       educate [4] 66/2 68/19        engaged [9] 32/14 40/22
duty of [1] 62/10              69/19 98/10                   54/17 54/22 61/13 65/1
E                             educating [1] 102/5            86/2 99/7 148/3
                              education [1] 159/9           engagement [1] 110/25
e-commerce [1] 80/25          educational [1] 107/23        engagements [1] 116/7
e-mail [1] 41/3               EDWARD [3] 1/15 1/15 3/12     engages [1] 162/11
e-mails [1] 69/7              effect [9] 19/22 25/6         engaging [2] 7/15 88/3
each [32] 12/25 20/21 22/1     28/23 42/18 51/10 51/16      engineer [1] 99/13
 35/2 35/3 41/21 44/13         52/12 133/14 161/16          engines [1] 89/22
 44/21 97/25 119/6 124/6      effective [3] 9/14 48/24      enjoin [4] 11/14 82/11
 130/10 135/12 135/25 136/2    105/17                        88/10 92/4
 140/19 141/18 143/10 144/9   effectively [3] 50/24 87/3    enjoined [4] 85/14 88/11
 144/19 146/6 150/8 150/18     90/3                          88/12 101/16
 151/18 153/1 153/5 153/18    effects [2] 151/20 158/14     enjoining [3] 18/20 94/18
 157/14 158/16 163/25 165/1   efficiencies [1] 182/17        101/11
 172/5                        efficiency [1] 182/9          enormous [1] 52/12
eager [1] 147/6               efficient [2] 59/25 182/25    enough [5] 65/19 89/5
earlier [37] 10/1 14/3        efficiently [1] 50/24          126/6 126/13 182/19
 20/5 27/10 28/15 29/1        effort [10] 7/16 9/4 10/10    ensure [4] 26/9 65/17
 29/13 29/25 40/10 43/5        10/19 38/12 54/9 55/6         73/16 77/3
 54/7 70/8 70/19 71/7 91/15    62/16 68/11 102/5            enter [3] 4/9 5/2 6/7
 126/16 164/15 165/16         efforts [1] 63/2              entered [1] 3/17
 171/24 172/1 172/2 173/16    eight [6] 56/5 154/24         entire [5] 103/20 141/21
 174/17 175/11 175/18          155/4 155/14 155/18 168/12    145/24 157/8 160/22
 177/16 179/10 179/10         either [11] 3/20 24/2 64/8    entirely [3] 81/7 181/21
 179/13 180/3 180/4 180/8      64/17 68/6 81/22 82/15        182/7
 180/20 182/8 182/8 182/12     99/9 118/4 132/21 144/12     entitled [5] 36/6 59/23
 184/14                       elected [2] 27/7 27/17         134/18 146/11 185/5
early [75] 27/13 27/15        element [8] 37/19 38/8        Envoy [1] 109/12
 27/16 28/17 29/7 29/17        38/8 54/4 75/17 95/8         ephemeral [1] 64/23
 29/23 30/1 40/10 40/13        143/15 143/18                equal [1] 177/8
 41/8 41/9 42/16 42/19        elements [1] 94/23            equally [2] 102/13 141/20
 42/21 68/8 68/12 69/23       Eleventh [2] 9/20 10/14       equates [1] 79/2
 70/15 70/21 71/1 71/18       else [6] 71/13 128/21         equivalent [1] 92/2
 71/19 71/22 73/7 73/12        148/25 180/3 183/25 184/6    erosion [3] 114/6 119/14
 73/13 73/20 73/21 74/17      embarking [1] 7/19             119/18
 74/24 74/24 75/5 75/6 75/8   embedded [1] 148/21           errors [2] 53/9 137/24
 75/9 75/13 75/19 75/24       emphasize [1] 123/20          escalate [1] 58/9
 76/4 78/12 79/2 80/16        emphasized [1] 62/9           especially [1] 179/20
 82/20 83/5 108/9 129/17      empirical [4] 108/22          essentially [13] 17/23
 137/12 137/13 148/9 170/21    110/24 111/2 114/25           21/6 22/23 24/17 27/9
 170/24 171/6 171/7 171/12    employ [1] 120/9               45/18 128/6 128/14 150/6
 171/12 174/18 175/2 175/21   employee [2] 9/12 87/17        151/1 151/3 158/15 160/17
 178/10 178/10 178/23 180/5   employees [7] 9/3 18/11       established [4] 10/1 61/4
 180/10 180/14 180/23          25/24 62/8 62/12 62/15        91/14 160/11
 182/23 182/23 182/24 183/6    62/22                        establishes [1] 57/24
estimate - explanations                                                         Page 200
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 200 of 228
                              evident [1] 34/3               125/20
E                             exact [5] 49/11 50/14         Exhibit 12 [4] 127/14
estimate [1] 132/18            138/12 138/20 140/8           174/25 175/3 176/11
estimated [18] 32/1 75/20     exactly [11] 116/25 117/4     Exhibit 121 [1] 5/5
 119/3 127/20 128/18 128/23    117/9 128/5 128/16 129/14    Exhibit 122 [1] 46/7
 132/15 132/22 133/16 142/7    129/19 129/20 129/24 146/4   Exhibit 124 [4] 107/12
 170/14 171/7 172/3 174/22     175/8                         107/16 113/16 127/13
 175/19 178/22 181/13         exactly on [1] 129/20         Exhibit 126 [3] 5/7 5/10
 181/23                       exam [2] 31/9 104/1            5/11
et [4] 1/2 1/6 3/3 3/4        examination [14] 2/10 2/11    Exhibit 128 [1] 41/4
ETA [2] 170/14 174/17          2/12 2/13 105/17 105/24      Exhibit 13 [3] 129/1 129/6
ETD [17] 119/2 127/19          107/1 111/12 112/8 112/11     173/2
 128/1 128/2 128/5 128/6       113/9 147/24 183/21 183/23   Exhibit 136 [1] 134/17
 128/8 128/11 128/15 128/17   examine [4] 39/7 104/13       Exhibit 14 [1] 173/11
 129/8 129/14 129/23 170/16    113/24 114/5                 Exhibit 18 [1] 139/25
 175/4 175/8 175/9            examined [1] 172/13           Exhibit 2 [1] 138/4
evaluate [1] 160/12           examining [2] 105/14          Exhibit 20 [1] 130/7
evaluated [1] 148/15           139/25                       Exhibit 22 [3] 132/11
even [63] 9/15 10/6 17/11     example [16] 15/25 43/9        157/24 157/25
 20/21 28/2 32/2 37/23         44/4 44/23 45/17 50/7        Exhibit 3 [2] 136/25 137/3
 38/18 38/18 46/8 51/5 56/8    52/25 68/2 96/11 123/3       Exhibit 38 [1] 41/24
 67/15 68/10 68/12 70/12       126/23 137/6 153/16 160/18   Exhibit 4 [1] 142/20
 72/6 73/1 73/6 75/23 78/3     162/3 174/4                  Exhibit 5 [2] 120/25
 78/14 79/16 80/6 80/9        examples [12] 30/20 35/11      122/13
 80/13 81/12 82/16 82/17       35/16 46/4 50/1 52/11        Exhibit 7 [6] 123/14
 83/16 86/8 87/1 87/17         61/14 61/15 86/4 87/16        123/17 137/24 138/7 139/22
 90/11 92/4 92/11 94/19        101/13 140/5                  160/19
 95/3 95/4 96/24 98/22 99/6   exceed [1] 180/23             Exhibit 8 [1] 43/16
 123/2 123/4 124/1 136/14     except [1] 83/6               Exhibit binders [1] 107/13
 136/18 142/5 142/10 144/21   exchanged [1] 29/16           exhibits [5] 5/5 5/12 5/17
 146/3 147/10 147/15 160/19   exclude [4] 116/17 156/5       103/25 120/22
 161/2 167/3 175/18 177/15     156/11 157/18                existing [1] 14/25
 178/8 179/13 180/23 182/19   excluded [2] 133/7 157/21     expand [3] 126/7 163/13
 183/10                       exclusion [1] 104/5            163/16
evening [2] 183/18 184/8      exclusions [1] 158/25         expanded [1] 151/12
event [4] 123/2 150/18        exclusively [2] 80/18         expanding [2] 80/22 163/15
 154/7 162/6                   108/12                       expect [7] 84/5 117/8
events [3] 151/1 156/2        exco [2] 42/14 43/15           124/23 126/4 126/7 147/20
 156/18                       excuse [3] 45/7 45/7 72/14     181/24
eventual [1] 22/6             excuses [1] 45/1              expected [3] 44/1 127/22
eventually [2] 40/15 47/16    executive [3] 43/18 45/17      169/5
ever [11] 17/5 49/8 82/15      108/6                        expenses [1] 8/4
 82/23 101/14 101/16 111/22   exemption [1] 161/17          experience [6] 115/14
 112/1 112/4 121/20 136/14    exercise [4] 44/15 58/13       117/8 165/17 167/20 174/20
every [26] 7/16 9/4 36/7       83/25 93/4                    176/7
 41/21 44/10 44/11 44/13      exercising [1] 154/6          experienced [7] 52/18
 44/21 62/15 63/21 63/21      exert [6] 7/16 9/4 10/11       84/10 122/3 124/12 131/11
 63/23 69/18 95/7 95/8         10/20 62/15 63/2              144/15 156/6
 109/7 110/25 121/2 127/19    exerting [3] 35/24 36/17      experiencing [1] 114/2
 144/19 149/20 153/1 163/25    102/11                       experiments [1] 120/19
 172/1 172/5 173/17           exhausted [1] 64/5            expert [34] 29/14 31/4
everybody [9] 44/9 44/19      exhaustingly [1] 98/22         34/10 34/12 52/15 105/3
 45/3 45/8 45/8 46/22 47/22   exhibit [57] 5/5 5/7 5/10      105/6 105/6 105/10 105/14
 100/21 105/11                 5/11 41/4 41/24 43/16         106/8 106/11 109/15 109/22
everybody's [1] 45/4           45/13 46/7 103/21 104/1       109/24 110/1 110/3 110/5
everyone [4] 41/23 50/13       107/12 107/13 107/14          110/10 110/15 110/17 111/5
 71/13 102/16                  107/16 107/17 113/16          111/22 111/24 112/2 112/4
everyone's [1] 132/16          118/21 120/25 121/1 122/13    112/9 112/12 112/16 113/11
everything [3] 94/18           123/14 123/17 125/7 125/20    131/4 148/11 160/8 166/1
 148/25 158/6                  127/13 127/14 127/17 128/9   explain [17] 17/6 30/21
evidence [42] 4/4 4/13         129/1 129/6 130/7 132/11      34/22 78/1 113/20 120/22
 8/22 12/24 18/3 27/3 27/4     134/17 136/17 136/24          125/8 127/16 132/11 137/8
 28/5 30/25 31/1 31/11         136/25 137/3 137/11 137/24    138/9 140/2 140/19 142/25
 36/25 37/11 37/16 38/15       138/2 138/4 138/7 139/22      144/13 145/5 178/21
 39/14 39/14 39/24 55/20       139/25 142/20 144/9 145/4    explained [3] 119/11
 55/22 56/22 57/24 58/5        157/22 157/24 157/25          119/19 122/8
 72/5 72/11 77/6 77/6 77/7     160/19 173/2 173/11 174/25   explains [1] 103/16
 77/13 77/14 85/23 85/23       175/3 176/11                 explanation [1] 144/25
 85/25 86/3 86/10 88/3 88/7   Exhibit 1 [1] 145/4           explanations [11] 117/5
 114/13 177/18 180/12         Exhibit 104 [1] 45/13          117/18 117/20 117/21
 180/15 181/20                Exhibit 11 [2] 125/7           117/25 119/20 135/17
explanations... - flight                                                        Page 201
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 201 of 228
                              factual [2] 59/13 95/2        feel [7] 28/21 59/10 59/14
E                             failed [1] 28/17               60/17 84/4 105/5 150/7
explanations... [4] 142/17    fails [1] 8/9                 fellow [1] 88/5
 147/5 147/9 147/14           failure [1] 182/1             fence [1] 47/23
explanatory [8] 140/18        failures [1] 166/25           few [6] 25/17 41/25 99/11
 143/6 144/6 144/10 158/10    fair [8] 16/14 38/6 67/9       102/25 134/2 167/18
 158/21 173/13 173/23          69/17 69/22 69/25 70/4       fides [2] 35/1 35/3
explicit [4] 70/18 91/16       91/5                         field [2] 22/19 109/2
 91/18 93/14                  fairly [2] 117/23 150/3       Fifteen [1] 108/20
explicitly [3] 93/15 147/5    fairness [1] 86/13            figure [3] 16/22 171/22
 147/8                        faith [2] 24/14 67/12          171/22
explored [1] 147/6            fall [7] 41/24 47/13 49/4     file [5] 44/18 66/21 89/19
exposed [2] 76/11 76/12        65/22 121/22 131/14 136/1     90/16 91/17
exposure [1] 36/2             falling [2] 48/8 48/17        filed [17] 3/24 5/8 5/21
express [1] 133/21            falsely [1] 86/24              6/5 23/18 23/23 39/3 51/19
expressed [3] 18/7 124/3      familiar [3] 132/14 149/16     52/23 61/12 85/10 85/24
 134/20                        160/5                         90/11 90/12 91/25 134/21
expressly [6] 10/5 11/13      families [3] 8/20 57/5         164/7
 33/1 35/9 39/15 45/16         57/8                         filing [4] 4/15 39/8 54/8
extend [1] 138/17             fantastic [1] 116/18           55/13
extended [7] 7/25 40/22       far [11] 31/16 31/18 46/16    finally [4] 47/20 120/13
 79/7 79/18 79/19 80/17        56/1 56/1 76/16 94/3          135/14 166/4
 159/13                        122/11 123/4 123/4 161/9     find [15] 31/17 60/22
extends [1] 162/4             faster [6] 45/10 177/17        68/23 82/14 82/15 82/24
extensively [1] 31/2           178/2 178/3 182/6 182/13      91/3 91/5 93/23 95/24
extent [7] 13/11 24/7         fatigue [58] 35/7 35/11        101/1 143/24 169/21 170/4
 26/18 114/13 114/17 127/3     35/14 46/5 52/2 56/23         184/1
 162/6                         101/7 101/7 101/11 102/9     finding [1] 36/17
extracted [1] 104/1            102/11 102/14 102/15 112/5   findings [4] 95/2 97/9
extraordinarily [1] 56/24      118/25 122/12 123/13          147/11 163/25
extraordinary [6] 38/10        123/19 123/20 123/22 124/2   fine [5] 103/23 105/15
 52/14 55/23 56/20 57/3        124/3 124/6 124/8 124/12      105/18 183/19 184/13
 101/20                        124/17 124/19 124/24         fingers [1] 73/3
extremely [2] 139/6 178/18     131/16 139/25 140/15         finish [3] 39/23 83/15
eye [2] 1/13 138/23            140/17 140/19 140/24 141/9    177/10
F                              141/10 141/13 141/14         firm [3] 108/8 108/10
                               141/14 142/2 142/6 142/12     108/11
F-O-R-R-E-S-T [1] 58/24        152/13 154/4 154/10 159/15   firms [1] 108/11
FAA [4] 71/20 102/4 159/21     159/16 159/20 159/21 160/5   first [65] 9/1 9/9 10/2
 174/9                         160/12 160/19 160/20          10/18 11/18 13/23 14/19
FAA's [2] 159/15 159/19        160/22 161/3 161/5 161/7      15/11 16/23 17/8 17/18
face [1] 39/21                 162/1                         18/5 18/25 19/3 26/9 27/7
faces [1] 125/25              fatigued [21] 10/9 10/17       31/10 31/13 33/8 34/9
fact [57] 13/4 17/13 19/3      31/18 33/5 34/14 35/2         36/20 37/6 41/15 46/3
 25/17 26/18 29/1 31/10        35/10 39/4 45/16 45/19        51/23 54/8 55/8 55/15
 37/9 48/11 52/20 53/12        45/19 45/20 45/24 46/2        57/17 59/12 60/5 60/19
 55/16 56/16 65/8 68/22        102/6 102/12 124/1 124/25     61/4 62/5 62/6 62/10 62/10
 69/11 77/22 83/6 84/20        141/11 159/11 160/25          63/4 85/19 87/1 89/13
 88/2 88/5 93/1 94/6 97/9     fatiguing [1] 124/22           90/14 97/24 98/25 103/5
 104/24 114/14 116/21         favor [7] 13/24 42/20          103/7 104/7 107/4 113/24
 125/16 126/10 128/1 133/16    50/19 78/18 87/25 88/1        114/14 116/11 118/19
 139/1 139/8 147/12 152/22     88/4                          124/20 135/2 136/9 137/6
 153/19 153/24 153/25 154/2   favors [2] 43/14 78/17         137/17 142/18 145/23 148/3
 154/20 162/10 162/17 165/6   feature [1] 21/17              148/12 167/13 174/24
 166/4 169/3 170/5 170/19     February [16] 40/17 43/9       181/17 183/1
 171/13 172/20 172/25 173/7    44/4 45/17 63/11 65/4 90/5   fit [2] 75/21 99/8
 174/10 176/22 176/22          90/12 118/20 122/17 136/5    five [14] 114/20 134/8
 177/17 178/21 179/11          137/13 142/1 142/8 160/16     135/11 140/7 143/10 144/3
fact-based [1] 68/22           162/5                         144/8 155/17 155/19 169/23
factor [9] 80/12 84/8         February 16th [2] 63/11        178/22 179/10 179/10
 144/6 160/22 161/24 162/10    90/5                          179/13
 162/16 172/20 172/24         February 2016 [6] 43/9        fixed [2] 146/4 158/14
factored [1] 170/18            44/4 122/17 136/5 142/1      flat [2] 97/8 126/11
factors [16] 74/14 117/5       142/8                        flatly [1] 54/16
 117/11 117/14 119/11         February 2nd [1] 45/17        flawed [1] 140/3
 119/23 120/10 133/5 143/7    February the [1] 65/4         flaws [2] 135/13 135/13
 151/6 159/3 159/4 159/5      federal [17] 11/12 12/1       fledged [1] 47/18
 159/7 172/9 183/11            12/12 13/12 13/17 15/11      fleet [2] 125/8 125/13
facts [11] 7/11 65/6 65/7      18/10 19/2 55/16 70/5        flies [2] 76/18 173/17
 68/4 86/11 88/13 88/14        70/15 71/18 71/23 72/22      flight [37] 7/25 8/19
 89/9 99/1 99/2 99/14          109/22 110/2 110/12           31/20 34/20 43/2 70/16
flight... - goes                                                             Page 202
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 202 of 228
                           foreclose [1] 33/23            183/24 184/2
F                          foregoing [1] 185/4           games [1] 141/2
flight... [31] 70/17 71/21 foreign [3] 110/21 174/3      gate [1] 32/1
 72/25 76/13 76/20 87/20    174/6                        gave [1] 148/22
 127/19 128/22 130/14      forget [2] 70/10 112/17       GCC [1] 73/5
 130/15 145/19 150/11      forgive [1] 158/1             geezer [1] 84/25
 153/18 153/20 153/25 154/2form [1] 42/1                 general [6] 8/1 62/11
 156/8 156/10 157/15 161/9 formal [10] 24/25 25/1         97/15 135/1 155/9 167/25
 161/18 165/10 168/19       25/2 25/5 29/15 29/18        generally [1] 154/25
 171/18 172/1 172/5 178/15  30/16 40/19 42/23 43/4       generates [1] 115/4
 181/12 181/16 181/20 183/3formally [1] 66/1             generation [2] 85/3 85/4
flights [61] 31/22 56/15   formation [3] 14/21 16/6      get [51] 17/3 24/21 28/21
 56/23 76/16 76/18 79/16    24/1                          41/17 45/3 56/1 63/18 69/9
 120/17 128/1 128/4 128/7  formulating [2] 21/25          70/6 70/18 71/22 71/24
 128/11 128/16 128/24 129/8 22/21                         73/22 73/23 74/16 74/22
 129/11 129/16 130/10      formulation [2] 12/18          75/14 75/23 75/24 82/2
 130/14 131/11 131/25 133/3 142/11                        83/16 84/21 90/20 92/20
 133/7 133/11 133/15 133/18Forrest [1] 58/23              92/22 93/12 95/3 99/17
 133/19 133/20 140/20 142/3forth [8] 18/12 35/12          101/16 102/7 106/23 107/14
 145/19 149/22 151/23       46/21 48/12 48/18 63/13       113/18 148/12 149/5 165/16
 152/16 152/20 152/23 153/2 64/4 129/12                   167/18 177/23 177/25
 153/17 154/16 156/5 156/5 Fortunately [1] 115/3          179/17 179/21 179/22
 156/21 157/18 162/14      forums [1] 50/4                179/23 180/4 180/15 180/16
 162/15 163/20 165/16      forward [9] 5/6 26/22          182/5 182/12 184/9 184/10
 165/17 166/16 166/20       59/19 87/19 88/17 99/18       184/17
 166/22 167/4 167/10 167/12 99/21 180/2 183/13           gets [6] 46/8 66/6 81/9
 171/23 171/23 172/3 172/10found [6] 11/5 33/1 33/8       115/23 123/25 141/8
 172/13 175/2 175/4 175/8   33/12 135/20 170/19          getting [17] 22/13 36/9
Florida [1] 9/25           four [13] 36/3 100/23          36/14 46/16 49/7 49/11
flown [1] 126/8             113/17 135/1 136/1 136/2      51/11 67/23 74/4 74/23
fly [29] 10/17 10/23 10/24  143/18 144/3 154/23 155/4     77/9 88/17 129/3 141/4
 28/6 29/11 31/15 31/23     155/14 155/18 168/12          179/7 182/24 183/6
 32/24 33/7 33/14 38/11    fourth [4] 49/17 49/21        give [7] 6/6 23/12 43/14
 38/11 50/7 50/13 72/24     86/21 142/15                  60/4 89/5 161/23 183/14
 73/7 73/17 76/20 77/3 85/7framing [1] 20/8              given [10] 63/24 69/14
 102/6 124/22 126/6 126/13 frankly [18] 25/18 30/2        95/15 102/23 121/4 123/22
 126/24 145/18 160/25 174/6 37/19 38/17 39/9 59/9 64/9    143/24 145/18 155/18
 178/2                      65/13 68/4 80/9 82/23 95/4    169/14
flying [39] 10/8 10/17      95/23 98/20 98/22 99/18      gives [4] 76/7 149/20
 29/3 30/13 37/1 46/1 52/3  102/23 102/23                 174/3 181/11
 52/21 76/11 76/23 119/1   freedom [1] 62/6              giving [4] 24/11 39/23
 124/21 124/23 125/12      freight [1] 51/12              48/9 91/16
 135/21 141/18 143/19      frequencies [1] 130/20        Glass [2] 104/10 104/11
 143/25 144/2 145/1 145/13 frequently [2] 38/10 150/5    glasses [1] 63/16
 145/13 145/16 146/8 149/22Friday [1] 104/4              GLEASON [25] 1/15 1/15 2/5
 149/23 151/12 151/13      FRMC [2] 160/10 160/11         2/11 2/13 3/12 3/12 4/1
 151/25 152/1 152/4 152/12 from a [1] 76/10               4/23 39/7 59/2 60/10
 159/11 162/18 167/16      front [3] 5/19 23/7 90/7       104/13 104/23 105/12 106/8
 172/21 173/21 174/10 178/3frustrate [1] 50/11            106/10 111/7 126/17 147/21
Flynn [7] 39/18 54/21      fuel [2] 178/3 180/14          150/16 162/19 165/7 169/21
 55/22 56/19 57/3 104/18   full [8] 19/22 47/18 51/22     175/23
 151/24                     107/5 138/14 139/13 154/21   Gleason's [1] 177/6
focus [5] 31/10 36/22       156/15                       gloated [1] 48/2
 139/21 151/6 165/21       fuller [1] 134/23             globe [1] 152/20
focused [6] 15/14 25/17    fully [8] 84/5 140/23         go [48] 5/24 6/19 13/16
 29/10 37/8 55/6 108/12     155/10 159/19 162/7 171/13    14/18 27/2 27/4 32/8 47/17
follow [9] 39/1 43/14 78/7  173/23 175/23                 49/24 51/22 63/18 67/18
 126/15 156/9 157/7 160/25 fumes [1] 36/3                 68/14 69/15 69/24 70/1
 169/25 172/17             functions [1] 35/14            71/15 73/3 73/4 82/6 83/4
followed [1] 29/6          fundamental [3] 117/22         83/17 89/10 94/3 96/5 98/8
following [6] 20/1 21/20    118/4 144/22                  98/12 98/13 99/17 99/21
 22/5 41/16 41/22 61/7     fundamentally [2] 68/1         106/2 106/5 112/8 114/21
follows [5] 42/13 43/11     114/25                        136/2 150/24 151/17 167/1
 44/8 46/14 47/15          funds [1] 45/21                171/4 172/15 177/11 178/5
FOM [1] 70/16              further [4] 58/14 120/13       180/12 182/5 182/6 182/12
food [1] 101/25             138/18 147/19                 182/16 182/19
footnote [2] 160/2 162/2   future [1] 58/1               goal [1] 167/17
footnotes [1] 158/13       FWOL [1] 94/5                 God [1] 103/10
for-hire [1] 31/15                                       goes [9] 100/6 101/4 102/9
force [4] 19/10 19/22 44/2 G                              112/11 121/11 128/18
 84/11                      game [4]   24/12 24/18        137/20 145/17 171/23
going - having                                                                  Page 203
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 203 of 228
                               175/7                         28/3 28/10 29/9 61/22 68/9
G                             Green [3] 95/5 95/11           68/25 69/1 69/1 102/10
going [107] 4/10 6/13          100/24                        160/2 162/7
 12/12 26/21 26/23 26/24      Grenfell [2] 95/6 100/25      happening [3] 25/18 64/25
 39/1 43/12 43/13 45/9        grievance [10] 23/18 23/19     151/23
 45/10 45/22 47/15 50/17       66/22 87/18 89/20 90/2       happens [5] 36/10 83/9
 50/22 51/7 51/10 55/22        90/17 91/17 91/25 93/5        97/7 150/5 166/24
 59/15 59/16 59/25 62/2       grievances [1] 44/18          happy [4] 100/19 101/3
 63/21 66/6 67/2 67/4 67/4    Griffith [5] 42/11 43/11       152/21 170/4
 67/18 68/22 69/4 69/9 69/9    49/10 49/14 49/19            hard [2] 102/14 103/20
 72/8 74/12 76/22 76/23       ground [3] 24/11 60/18        hardly [1] 87/11
 77/7 77/19 77/22 77/24        182/20                       Hardware [2] 98/13 99/4
 78/3 78/20 79/16 79/21       grounded [2] 62/5 62/5        harm [8] 8/14 49/16 55/24
 81/13 81/20 81/21 81/22      grounds [1] 33/6               57/1 57/2 58/1 83/3 177/1
 82/2 82/23 85/20 87/13       group [7] 10/19 20/3 22/9     harmed [1] 8/6
 90/8 93/24 93/25 101/14       40/24 41/19 84/25 85/1       harming [1] 114/17
 101/21 101/21 102/1 103/6    growing [4] 53/2 62/21        harmonize [1] 97/5
 103/12 103/20 103/22          123/24 126/5                 harmonized [1] 97/6
 104/12 104/22 113/1 113/18   growth [6] 52/20 53/1 53/3    has [164] 7/24 8/3 8/4 8/6
 117/6 121/8 123/10 127/23     53/16 53/23 142/18            8/13 8/17 9/1 11/1 11/12
 129/23 130/14 131/5 131/9    guarantee [2] 81/9 165/11      12/3 12/24 14/18 14/19
 131/19 135/4 141/16 141/25   guaranteeing [1] 82/1          15/7 15/9 15/20 18/1 18/7
 144/2 144/7 151/19 151/21    Guardia [28] 11/16 12/23       19/8 19/10 21/10 25/17
 152/20 155/19 163/16          13/8 13/13 13/20 13/21        25/22 31/1 32/2 32/2 32/10
 165/12 167/24 168/6 172/22    16/10 16/12 16/14 54/5        32/16 34/12 34/21 35/7
 177/25 178/1 178/3 178/4      55/7 62/2 68/24 88/20         35/8 35/22 37/2 38/2 38/8
 178/13 180/5 180/6 180/21     92/11 92/18 94/12 94/12       38/8 38/11 39/11 39/19
 180/22 182/4 182/5 182/6      94/15 94/20 94/21 96/15       43/1 43/19 45/16 46/8
 183/6 183/7 183/8 184/9       96/23 97/3 97/8 97/13         46/10 48/3 48/4 50/13
 184/16                        97/21 100/1                   50/18 50/23 51/17 51/19
gone [7] 6/9 80/23 89/9       guess [6] 14/22 166/18         52/17 52/23 53/1 53/2 53/3
 153/3 166/19 178/19 182/13    170/2 177/6 179/7 183/4       53/6 53/8 53/10 54/9 54/12
good [25] 3/6 3/11 24/9       guessing [1] 71/8              55/19 56/3 56/19 58/6 58/7
 24/14 31/4 31/6 33/10        guidance [1] 89/5              58/12 63/10 63/24 64/13
 36/19 47/24 49/21 60/11      gun [2] 67/13 68/20            64/24 65/5 69/23 70/17
 60/13 67/10 67/12 79/12      guys [1] 47/18                 73/19 73/23 75/18 76/7
 81/10 94/15 94/16 111/15                                    79/8 80/20 80/20 80/23
 127/1 128/25 133/24 180/6    H                              83/13 83/17 85/17 85/24
 180/19 183/18                hac [1] 3/18                   87/18 90/9 90/15 90/24
goodness [1] 80/25            had [69] 4/5 5/11 5/18         91/9 91/18 91/19 95/8
goods [1] 81/16                5/21 6/14 6/15 28/16 28/17    95/12 95/15 96/1 96/6
goodwill [3] 8/11 55/24        29/24 42/7 48/3 53/23         96/11 96/12 96/13 98/4
 57/25                         53/23 59/11 61/11 68/10       101/8 101/23 102/10 104/19
got [24] 59/19 65/19 72/14     70/8 81/7 81/8 83/21 86/7     110/23 122/3 123/24 123/25
 73/22 73/23 74/5 76/25        87/10 87/11 87/16 93/10       124/12 126/11 127/11
 78/5 78/6 78/21 80/22         98/14 102/24 104/4 108/9      127/19 127/20 127/24
 83/14 83/15 83/15 86/11       114/1 117/7 117/22 120/17     129/18 131/21 133/2 135/18
 87/7 87/14 88/12 88/13        121/18 121/19 121/20          135/18 135/20 138/21
 100/22 138/6 156/14 174/11    121/23 129/6 129/8 129/8      138/22 139/24 140/16
 182/10                        131/16 131/16 133/8 133/8     141/21 142/6 142/24 143/21
gotten [3] 78/23 140/16        133/9 140/17 140/19 141/9     144/10 144/15 145/9 145/16
 151/22                        145/8 146/19 146/24 147/4     147/9 151/12 151/13 151/22
gout [3] 87/10 87/11 87/14     147/5 147/7 149/18 156/1      152/8 153/3 154/13 158/22
govern [1] 8/23                156/5 157/18 159/16 162/21    161/3 162/20 162/20 162/22
government [7] 109/16          162/23 163/4 164/4 164/5      163/4 163/10 163/12 166/10
 109/19 133/10 156/7 157/12    164/22 172/13 176/2 177/5     168/14 174/10 174/10 175/1
 159/10 165/18                 179/10                        175/6 175/14 176/2 176/15
government/ATC [1] 157/12     half [5] 49/7 49/12 86/6       176/17 176/18 176/19
gracious [1] 80/25             87/12 129/18                  176/25 178/19
grant [1] 14/24               Halloween [1] 184/19          hasn't [3] 85/20 96/20
grapple [1] 94/4              HAMILTON [2] 1/17 3/15         112/8
grasping [1] 175/24           hamstrung [1] 105/5           hate [1] 112/7
gravamen [1] 35/3             hand [5] 7/4 103/8 105/21     haul [6] 80/23 145/16
gray [3] 129/9 129/9           137/18 140/14                 152/3 152/19 162/13 178/15
 129/15                       handle [1] 182/21             hauled [3] 84/21 101/23
great [5] 102/4 106/1         handling [1] 58/22             101/24
 122/24 182/2 182/12          happen [10] 45/11 68/12       have [352]
greater [7] 80/19 129/24       71/16 78/3 101/20 102/1      have any [1] 184/10
 133/17 151/23 152/6 178/9     123/22 150/21 151/1 159/12   haven't [5] 77/6 90/17
 178/12                       happen three [1] 78/3          94/11 96/21 126/5
greatest [3] 47/5 47/5        happened [13] 19/17 23/15     having [9] 22/14 51/15
having... - hybrid                                                              Page 204
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 204 of 228
                               59/19 60/18 61/8 62/1 63/7    17/6 17/13 27/1 28/23 30/2
H                              64/25 65/4 65/8 69/1 70/11    32/3 33/16 34/8 34/25 38/7
having... [7] 88/8 102/25      72/18 77/15 78/20 79/21       38/17 38/24 39/17 40/1
 105/8 105/13 117/23 130/19    79/24 80/15 80/20 82/25       41/14 42/19 43/23 45/14
 147/12                        83/2 86/3 88/6 91/15 94/3     46/8 48/1 48/20 49/1 49/24
he [91] 4/1 4/1 7/5 27/18      94/6 95/3 95/9 97/20 101/5    50/17 51/14 52/4 54/6 55/4
 27/21 27/21 34/20 34/21       101/7 101/17 102/3 102/10     57/10 57/15 58/4 58/17
 35/6 38/21 38/23 41/16        102/16 104/10 104/12          58/21 59/1 60/6 60/11
 41/20 41/22 42/6 42/8         104/14 104/24 116/5 117/11    60/16 61/12 61/24 62/4
 43/19 43/25 44/4 44/13        120/2 123/18 124/3 127/2      69/16 70/3 71/12 75/17
 44/24 47/14 47/20 48/13       127/7 130/10 138/14 140/15    82/15 84/19 86/4 94/4
 48/13 48/14 48/20 48/22       141/7 150/18 160/1 160/15     94/13 95/3 96/22 99/16
 48/23 48/24 49/12 51/17       162/22 165/4 166/8 168/3      103/12 103/19 104/3 104/8
 51/21 52/4 52/5 52/6 52/8     172/21 173/6 173/8 173/9      105/19 105/20 106/7 107/14
 66/1 73/22 79/14 83/13        173/15 175/14 175/20          111/4 116/19 120/3 126/20
 83/13 83/13 83/14 83/17       176/14 182/10 182/20 184/9    129/1 129/7 131/3 132/13
 86/15 87/3 87/4 87/11         184/10 184/12                 133/6 133/23 134/9 169/24
 87/13 87/13 87/19 87/20      here's [4] 49/19 50/9          172/14 174/14 179/15 181/4
 87/20 87/20 103/14 103/16     78/14 82/9                    182/15
 104/19 112/8 112/16 112/17   Hey [1] 156/14                Honor's [2] 105/21 172/18
 112/21 112/25 117/21         Hi [1] 148/1                  HONORABLE [1] 1/9
 126/17 135/2 135/7 135/10    high [5] 56/23 121/24         Hook [3] 1/21 185/3 185/10
 135/16 136/14 136/16          122/23 167/23 178/18         hope [4] 44/20 59/8 118/17
 137/19 137/22 138/25 140/6   higher [3] 31/19 56/24         182/1
 140/9 143/22 144/6 145/12     122/16                       hopefully [1] 20/10
 145/15 147/4 168/17 168/18   highest [2] 121/20 136/16     Horizon [1] 109/11
 168/18 168/22 168/24 169/3   highlight [1] 31/8            horrible [1] 87/8
 169/6 169/15 169/15 170/5    highlights [1] 120/21         horribly [1] 57/12
He'll [1] 34/22               highly [5] 7/25 52/9 52/11    horses [1] 156/15
he's [25] 34/11 73/22          80/11 155/18                 host [3] 110/22 115/12
 73/23 79/21 83/14 83/15      hill [2] 78/24 78/24           159/4
 83/15 83/17 87/11 87/14      him [8] 4/4 7/4 47/4 87/24    hot [1] 87/9
 103/21 104/16 105/1 106/13    104/13 106/16 106/22         hotels [1] 45/5
 106/20 112/13 112/16 113/1    112/12                       hour [16] 36/14 59/4 59/5
 131/4 131/4 131/5 137/9      himself [1] 69/2               59/6 59/16 59/22 60/2 86/6
 137/24 141/7 146/25          hire [4] 31/15 84/13 126/6     130/24 138/25 155/20
head [3] 42/11 169/5           126/13                        155/22 156/13 167/5 168/3
 180/20                       Hiring [1] 50/5                182/11
headed [1] 40/8               his [40] 3/18 34/13 35/6      hours [50] 31/21 36/3 36/7
heading [1] 68/21              43/18 49/4 51/21 53/8         56/2 56/6 80/7 86/7 87/12
headquarters [2] 29/21         75/22 79/9 80/13 83/14        124/18 125/3 125/8 125/12
 73/5                          83/15 87/14 87/20 103/13      125/17 126/8 126/11 126/24
heads [1] 85/2                 103/14 112/15 113/3 135/12    130/14 137/14 137/20 139/3
health [2] 36/5 36/8           136/18 136/19 137/24          139/4 139/11 145/9 145/18
hear [2] 68/10 100/7           138/12 138/21 140/7 140/10    149/22 150/12 154/19
heard [11] 65/4 70/8 77/6      140/15 140/17 140/18          154/23 154/23 154/24 155/1
 86/3 89/17 89/18 99/24        141/21 144/2 144/5 144/11     155/4 155/4 155/6 155/8
 101/9 101/12 126/16 183/5     144/11 145/12 147/4 150/10    155/10 155/12 155/14
hearing [10] 6/1 6/20 24/3     169/1 169/6 171/16            155/14 155/25 156/19 158/9
 35/2 35/17 86/14 95/12       historical [5] 120/7           165/8 165/11 165/14 165/23
 95/14 104/12 183/13           125/19 129/10 131/9 174/25    166/15 167/23 168/6 168/8
heart [2] 9/2 18/2            historically [2] 31/23        housekeeping [1] 6/12
heatstroke [1] 87/3            175/4                        how [38] 12/22 16/8 20/8
heatstroke he [1] 87/3        history [2] 94/17 162/1        22/24 30/21 34/22 35/13
held [11] 9/16 10/6 10/22     hit [1] 19/21                  44/20 59/2 69/21 70/11
 11/9 11/13 14/5 63/25        hoc [4] 144/1 151/13           70/23 77/1 83/6 86/18
 74/12 95/12 95/14 178/1       151/15 152/5                  86/19 101/14 111/14 114/21
Hello [3] 111/14 111/15       hold [10] 13/19 26/23          121/9 122/23 125/4 128/22
 148/2                         26/25 44/19 44/19 63/20       128/23 133/25 137/7 140/3
help [11] 3/8 5/4 20/8         111/16 111/20 146/4 156/15    140/20 149/22 157/5 157/6
 21/3 21/9 22/15 25/11        holdover [1] 19/9              166/18 172/10 176/3 177/7
 32/19 48/17 103/10 157/19    holiday [6] 7/19 8/10          178/5 178/21 180/16
helpful [5] 30/22 103/4        39/22 49/4 55/21 58/9        how's [1] 87/13
 181/6 181/7 181/19           holidays [1] 56/1             However [1] 50/10
helping [6] 29/20 32/15       home [2] 57/7 57/13           hubs [2] 56/13 56/13
 77/19 78/7 78/9 78/16        honestly [2] 49/20 94/2       huge [1] 48/16
her [1] 47/4                  Hong [2] 174/5 174/11         human [1] 74/13
here [83] 3/12 7/13 18/6      Honor [94] 3/6 3/11 3/22      hurricane [1] 166/24
 19/17 26/16 35/19 37/19       4/24 5/15 6/25 7/9 7/13      hurry [1] 45/3
 37/25 38/18 42/5 45/9         7/18 8/13 8/21 10/5 10/21    hurt [1] 83/6
 50/10 59/5 59/12 59/14        11/20 13/18 15/8 16/13       hybrid [1] 59/10
hypotheses - informed                                                           Page 205
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 205 of 228
                              identify [6] 3/5 35/15         155/23
H                              107/20 150/8 151/17 155/20   incorporate [1] 117/10
hypotheses [2] 117/5          identifying [2] 100/17        incorporated [2] 117/20
 117/17                        119/4                         147/13
hypothesis [5] 116/24         idiosyncratic [2] 150/21      incorrect [3] 135/6 136/1
 140/16 141/23 144/3 163/23    151/5                         139/20
hypothetically [1] 80/2       if [215]                      increase [25] 7/24 56/10
I                             illegal [33] 7/15 7/22         56/20 79/19 79/25 80/1
                               8/13 10/25 11/10 11/14        80/2 80/8 80/19 81/13
I'd [17] 7/9 30/19 30/23       11/19 12/21 15/22 16/17       81/15 124/2 131/22 131/24
 31/10 32/20 39/23 54/4        33/2 33/9 33/13 33/13         132/1 132/5 133/4 136/12
 58/13 113/15 114/19 116/9     42/18 43/21 46/11 50/16       137/12 138/25 139/4 143/8
 120/20 127/11 136/3 140/2     50/19 54/11 54/11 54/14       159/9 172/21 176/23
 144/24 145/2                  54/17 54/22 55/2 58/18       increased [10] 56/3 122/2
I'll [37] 9/3 14/24 17/16      61/13 75/25 79/2 81/1 88/3    124/7 124/11 131/21 142/19
 24/12 24/21 33/4 39/25        88/20 99/7                    159/20 163/10 163/12
 41/17 41/21 41/23 42/4       illustration [1] 177/2         163/20
 43/12 43/19 44/8 44/25       imagine [2] 35/25 62/23       increases [4] 27/11 141/8
 46/14 47/3 47/21 48/7        immediate [1] 131/13           152/13 180/21
 54/18 55/10 58/3 59/20       immunity [1] 110/19           increasing [4] 36/8 126/9
 79/4 101/1 106/3 106/8       impact [6] 35/14 48/2          131/16 131/17
 106/22 112/25 118/15 120/1    117/22 130/3 133/15 167/6    increasingly [1] 50/23
 130/6 131/7 149/13 160/1     impacts [2] 163/24 176/1      incredibly [1] 85/11
 172/19 176/24                impasse [3] 20/10 20/12       incremental [1] 167/4
I'm [102] 5/2 7/5 14/22        20/12                        indeed [10] 6/15 38/15
 16/22 17/3 18/16 24/7        impediment [1] 83/2            85/7 86/2 88/3 88/19 92/19
 24/18 38/21 44/13 50/17      impermissible [2] 33/1         94/7 163/13 169/12
 50/22 61/2 63/17 63/21        33/8                         independent [1] 113/25
 68/1 70/20 71/8 72/18        implementing [1] 40/11        independently [1] 153/14
 74/15 74/23 74/25 75/2       implicate [1] 127/6           indicated [6] 4/1 21/23
 75/3 76/22 76/22 76/23       implications [2] 126/2         28/8 41/10 139/19 157/14
 77/22 77/24 78/20 81/20       171/20                       indicating [1] 100/17
 82/14 83/17 84/25 85/4       importance [1] 159/11         indication [1] 17/21
 88/8 88/17 92/21 92/24       important [19] 6/21 8/8       individual [18] 10/7 10/16
 93/18 97/19 100/18 101/3      10/13 32/4 46/22 49/8         18/11 30/17 33/17 33/18
 101/24 102/2 102/2 102/9      60/17 61/24 76/24 116/19      33/23 34/3 35/2 35/4 35/11
 104/3 104/20 104/22 105/13    117/2 123/19 135/15 150/14    35/16 39/2 78/10 86/16
 105/15 106/13 107/13          150/15 167/21 179/19          150/18 153/18 154/6
 107/19 108/24 111/17          179/20 179/24                individually [1] 18/22
 111/19 112/11 114/24         importantly [4] 10/21         induce [1] 31/20
 117/23 119/10 141/16          78/17 141/20 141/20          industrial [3] 112/17
 141/25 144/2 144/7 147/15    impose [6] 33/22 37/9          112/18 112/19
 151/21 152/6 152/21 153/7     37/14 38/22 39/12 50/3       industries [2] 8/25 26/10
 153/8 155/18 157/5 157/17    imposed [1] 77/4              industry [36] 25/18 26/8
 158/1 158/13 159/23 160/7    imposes [2] 26/11 62/7         34/11 40/11 42/15 48/9
 160/18 162/14 167/8 167/9    impression [2] 16/23 18/6      56/8 84/16 108/14 108/17
 167/15 169/18 170/4 171/4    improper [1] 53/7              108/23 109/13 109/23
 171/13 172/14 172/18         in [833]                       109/25 110/18 111/2 111/6
 173/10 173/11 173/18 175/3   inappropriate [1] 99/15        115/3 115/10 115/17 115/21
 176/14 176/17 177/4 177/6    INC [2] 1/2 3/3                115/23 115/24 116/4 116/8
 178/25 182/23 184/9 184/9    incentive [1] 76/7             125/1 125/4 147/1 147/3
I've [38] 15/12 18/3 28/7     Incheon [1] 174/4              159/10 161/7 173/8 173/14
 36/24 37/20 51/15 88/11      incited [1] 45/18              173/15 173/25 174/20
 89/9 93/10 99/11 99/24       include [11] 16/25 17/11      industry-leading [1] 42/15
 102/24 103/19 108/8 109/6     118/2 118/23 143/6 143/13    inexperienced [1] 84/10
 109/17 109/18 109/24 110/1    143/16 143/18 144/4 144/7    infallibility [1] 82/24
 110/3 111/1 111/24 112/6      146/1                        inferences [1] 169/14
 124/2 124/14 125/12 133/7    included [14] 18/23 35/12     inferred [1] 38/1
 138/14 138/14 141/12          57/11 79/17 86/5 86/5        infinite [1] 81/14
 146/25 154/16 156/14          152/19 158/11 158/19         inflated [1] 80/12
 165/11 168/2 173/14 173/15    160/13 164/8 166/20 173/8    influence [4] 35/25 36/18
 183/5                         176/12                        102/12 156/23
i.e [1] 118/5                 includes [3] 50/20 135/11     inform [1] 30/24
IAM [1] 9/18                   162/18                       information [10] 4/5
IBT [5] 114/2 121/12          including [12] 8/15 35/9       141/19 148/19 148/21
 121/15 124/4 125/24           39/14 104/20 109/8 109/19     149/20 151/3 161/24 161/25
ID [2] 153/19 153/24           110/19 112/16 116/3 123/7     170/9 174/3
idea [2] 69/5 70/25            158/13 174/8                 informative [8] 141/18
identical [2] 32/24 33/7      inconsequential [1] 168/4      168/22 169/2 169/9 169/20
identified [6] 9/17 46/17     inconsistent [1] 27/5          170/1 170/3 170/8
 50/15 139/18 142/16 145/1    inconvenience [2] 8/19        informed [1] 39/6
informing - just                                                                Page 206
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 206 of 228
                              international [12] 1/5         55/24 55/24 58/13 60/5
I                              1/18 3/3 3/13 3/16 76/11      61/19 63/12 63/13 65/17
informing [1] 54/14            84/11 109/12 152/3 152/20     89/24 90/9 114/2 114/18
informs [1] 96/24              174/12 178/15                 115/4 116/1 118/20 119/15
initial [24] 51/20 107/11     interpret [2] 16/3 16/8        121/16 122/10 124/5 124/7
 113/16 113/22 118/10         interpretation [2] 22/20       126/12 128/10 131/10 135/3
 118/12 120/21 120/24          23/20                         136/13 145/10 150/4 151/12
 127/13 130/6 132/10 143/5    interpreted [2] 10/2 15/20     151/23 153/23 153/23 159/8
 143/11 144/22 145/7 146/15   interrupt [2] 112/7 169/22     160/9 160/25 163/7 166/22
 146/20 146/21 147/6 147/15   interrupting [1] 159/24        168/15 168/20 169/11 175/2
 155/13 157/25 159/14 173/4   interruption [4] 9/6 17/24     175/3 181/2 181/11
initiate [3] 92/12 92/14       17/24 62/20                  itself [15] 10/7 26/5
 92/16                        interruptions [1] 58/15        36/22 63/15 80/20 83/10
initiating [1] 93/6           intimidate [1] 47/11           91/13 92/6 98/21 135/20
injunction [18] 1/9 7/14      intimidation [1] 50/25         136/17 137/20 176/25
 7/18 11/12 11/19 12/13       into [48] 7/23 11/10 25/6      179/16 181/10
 12/20 13/12 13/22 15/17       33/14 35/13 37/4 40/9 49/7
 18/10 33/20 54/8 55/13        49/11 49/18 49/22 49/24      J
 57/17 58/14 92/4 92/20        58/10 59/16 59/24 67/4       jam [1] 48/18
injury [4] 39/21 57/16         68/5 68/6 69/15 75/22        James [1] 3/16
 57/20 57/24                   77/15 79/2 88/17 89/9        January [13] 40/16 41/25
innings [3] 141/2 141/2        89/17 89/24 92/22 101/24      42/9 42/23 65/10 65/18
 141/5                         101/24 125/13 136/1 137/20    65/25 84/13 126/20 126/21
innocuous [1] 138/23           141/13 141/14 143/22          137/14 145/25 145/25
insight [1] 35/13              148/21 149/8 157/16 161/4    January 15th [3] 41/25
insignificant [1] 144/12       161/6 161/16 162/10 162/17    42/9 65/25
instance [16] 72/12 78/12      173/21 174/5 177/12 177/23   January 1st [3] 65/10
 81/11 88/22 93/20 95/10       182/19                        84/13 126/20
 99/4 149/16 150/10 152/13    intuitively [1] 178/11        January 2016 [2] 40/16
 153/2 154/3 154/10 154/16    invent [1] 78/25               42/23
 166/14 171/9                 invitation [1] 27/15          Jeff [4] 1/21 34/19 185/3
instances [3] 132/7 132/14    invocation [3] 37/1 37/1       185/10
 135/7                         38/11                        Jefferson [1] 42/8
instead [8] 22/4 22/13        invoked [1] 21/22             Jet [1] 109/10
 22/13 22/14 29/23 93/23      involved [7] 14/11 35/16      job [8] 43/21 44/10 44/12
 141/15 182/9                  62/1 101/5 101/6 110/23       45/4 48/12 50/7 50/24 85/8
instigate [1] 9/15             110/23                       joint [9] 19/25 21/25 22/9
instigated [3] 32/11 34/22    involves [3] 14/25 33/17       22/16 24/1 24/14 40/6
 39/12                         111/2                         40/25 41/5
instigating [1] 9/12          involving [9] 16/1 109/22     jointly [1] 89/14
instituted [1] 31/24           110/6 110/6 110/18 111/1     journals [3] 108/16 108/19
institution [1] 84/21          164/18 164/19 167/12          108/21
institutional [2] 84/19       irrelevant [1] 6/16           judge [9] 1/10 15/25 23/11
 84/23                        irreparable [4] 55/24          23/13 33/11 33/19 58/22
instructed [2] 43/11 45/25     57/16 57/20 57/24             58/23 181/19
instruction [1] 177/3         is [676]                      judgment [4] 23/10 53/22
instructions [2] 43/24        is a [1] 140/8                 83/25 154/6
 46/12                        is FWOL [1] 94/5              judicial [1] 23/8
insufficient [1] 55/12        isn't [8] 12/11 67/22         judicially [1] 37/25
intend [6] 7/11 31/5 39/7      155/2 156/13 166/8 166/17    July [5] 24/16 41/6 48/13
 49/2 58/9 58/10               167/13 179/18                 86/21 160/20
intended [5] 25/21 59/11      isolate [2] 152/10 152/12     July 10th [1] 48/13
 63/22 79/15 98/7             issue [20] 11/12 17/2 18/6    July 21st [1] 86/21
intends [1] 55/20              24/23 24/24 38/25 45/24      jump [3] 15/6 67/13 68/20
intensified [5] 29/13          58/14 92/4 100/8 100/23      June [7] 24/10 41/1 48/6
 29/25 30/1 42/25 43/3         104/6 104/8 122/12 142/18     49/4 49/10 54/25 160/11
intensify [3] 29/9 30/15       181/9 181/9 181/21 183/8     June 23rd [1] 49/4
 55/21                         184/13                       June 30th [1] 49/10
intent [3] 37/13 63/24        issued [2] 33/21 159/20       June 8 [1] 48/6
 150/18                       issues [13] 21/6 22/11        jurisdiction [22] 11/22
intention [1] 39/5             22/18 34/8 39/2 59/13         12/3 14/19 19/1 66/16 91/9
interest [10] 17/20 17/21      110/21 112/13 113/12          92/5 94/13 94/22 94/23
 22/12 22/19 23/21 24/13       114/22 120/15 178/6 184/10    95/4 95/9 96/4 96/9 96/10
 28/19 76/3 84/6 84/7         it [394]                       96/14 96/19 96/24 99/9
interested [1] 117/12         it's [220]                     99/20 100/18 101/18
interesting [1] 135/15        it's a [1] 68/17              jurisdictional [10] 96/12
interestingly [1] 128/13      items [1] 8/8                  96/13 96/16 96/17 96/23
interminable [3] 21/11        its [60] 7/19 8/1 8/5 8/11     97/15 99/23 100/2 100/10
 64/14 67/22                   8/11 19/8 29/25 35/17 36/5    101/6
internally [2] 165/12          39/20 39/20 41/4 45/16       jurisprudence [1] 17/22
 166/3                         48/2 49/3 52/17 55/24        just [158] 3/17 4/14 6/6
just... - leave                                                               Page 207
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 207 of 228
                               43/25 44/7 44/22 46/14    lanes [1] 182/19
J                              47/3 47/6 47/12 48/6 49/5 language [4] 38/1 91/16
just... [155] 6/12 6/14        54/15 66/1 69/3            96/12 96/13
 6/19 13/15 13/18 16/5 17/1   Kirchner's [4] 27/20 38/21 large [5] 8/6 48/19 56/12
 17/2 17/6 18/12 22/5 23/3     43/22 65/13                109/7 167/15
 23/8 23/21 27/2 30/19 31/6   know [71] 5/2 6/14 7/3     largely [5] 53/4 140/8
 37/17 39/23 41/13 43/25       15/8 45/7 46/22 59/19      141/7 149/19 151/5
 45/6 48/11 50/6 50/17         59/21 61/11 66/2 67/2 67/3larger [6] 123/25 135/19
 51/15 51/18 53/14 55/10       67/11 67/21 68/7 68/16     140/16 141/8 143/21 151/22
 56/1 57/10 59/12 59/20        71/6 72/10 72/12 74/5     last [20] 25/16 31/13
 59/24 61/10 63/20 64/23       75/23 76/25 77/5 77/10     44/17 56/4 67/8 77/24 97/1
 65/21 68/18 69/1 69/1 69/3    77/18 78/13 84/4 84/16     98/23 101/4 102/24 108/12
 70/2 72/17 72/17 72/25        84/17 85/12 87/21 89/9     111/1 113/1 121/22 131/14
 73/18 74/3 74/15 75/2         89/9 90/6 91/7 91/11 93/10 131/20 132/25 137/13
 75/16 77/3 79/4 79/6 79/20    93/16 94/2 94/3 94/8 97/15 144/15 172/12
 80/8 80/9 80/20 81/2 82/18    98/10 99/17 99/19 99/19   late [27] 56/15 57/5 74/23
 82/22 83/1 83/11 84/17        100/21 101/22 102/14       82/10 82/10 82/12 82/18
 85/8 86/6 86/13 88/15         106/12 106/20 112/7 113/5  96/6 106/2 128/22 165/11
 91/16 92/19 92/22 92/22       129/2 130/12 136/16 148/6  165/13 167/21 167/25 168/5
 93/24 97/12 98/17 98/19       149/5 150/3 150/5 155/17   168/6 171/13 178/12 178/13
 99/11 100/7 101/6 101/18      156/15 157/20 161/16       178/19 178/22 181/2 181/3
 102/19 102/21 102/24          168/14 169/4 169/17 178/11 182/23 183/6 183/9 184/15
 103/18 103/21 103/25          181/4 181/19 183/6        later [20] 29/4 30/5 41/25
 105/20 105/23 106/13         knowledge [1] 161/20        47/2 75/13 99/5 99/6 99/6
 106/15 107/22 109/4 110/14   knowledgeable [2] 147/2     105/25 122/20 130/21
 111/8 113/19 114/20 115/19    147/2                      165/23 168/20 169/6 177/8
 116/12 116/14 117/15         known [12] 32/14 95/16      177/9 177/25 178/1 178/16
 118/13 122/13 123/16          125/2 127/19 133/10 146/25 181/24
 123/18 123/21 125/11          149/7 156/7 158/13 168/19 law [26] 1/15 3/12 4/15
 128/12 129/1 132/16 133/1     173/8 173/16               11/17 11/20 14/23 20/25
 133/13 134/2 134/19 134/25   knows [5] 6/15 7/13 45/8    35/21 38/2 38/9 38/9 40/13
 135/24 136/16 137/8 138/11    45/9 57/15                 59/12 59/14 60/18 71/18
 138/21 140/5 141/5 144/20    knuckles [1] 45/11          71/23 75/1 89/10 89/11
 148/3 150/4 150/15 152/17    Kong [2] 174/5 174/11       89/12 95/5 97/9 98/20
 154/10 154/15 157/24         Korean [1] 174/10           98/21 160/25
 158/12 162/19 163/18                                    lawful [4] 11/11 33/14
 164/15 167/9 168/8 169/21    L                           37/4 99/4
 169/25 171/5 172/17 172/25   La [28] 11/15 12/23 13/8   laws [3] 70/5 101/5 101/6
 173/13 174/13 174/16          13/13 13/20 13/21 16/10   lawsuit [7] 23/5 24/17
 174/24 175/3 177/1 179/15     16/12 16/14 54/5 55/7 62/2 30/7 50/12 55/13 90/11
 179/19 180/1 180/14 182/7     68/24 88/20 92/11 92/18    90/12
 182/8 183/12 183/20 184/3     94/12 94/12 94/15 94/20   lawyer [1] 95/25
Justice [1] 109/19             94/21 96/15 96/23 97/3    laxly [1] 65/13
justify [1] 99/1               97/8 97/13 97/21 99/25    lead [4] 9/18 19/1 36/4
                              label [2] 34/5 142/24       151/19
K                             labeled [1] 173/14         leader [5] 26/19 27/8
Kafka [1] 70/10               labeling [1] 33/14          27/17 29/6 54/24
Katherine [1] 58/23           labor [81] 8/23 8/24 9/1   leader's [1] 27/15
keep [7] 47/5 98/24 148/6      10/2 10/12 10/18 11/15    leaders [1] 41/9
 150/16 159/18 165/7 181/11    11/20 12/7 12/9 12/17     leadership [8] 27/6 27/13
keeping [1] 51/11              12/23 13/9 13/14 13/20     27/24 28/4 28/11 28/12
keyword [1] 50/13              13/24 13/25 14/14 14/20    40/8 65/10
kick [2] 20/13 66/12           15/11 16/9 16/15 17/8     leading [2] 42/15 121/12
kicked [1] 98/4                17/10 17/10 17/22 18/2    League [1] 141/1
kicks [2] 66/15 67/2           19/3 19/12 19/13 19/23    least [31] 12/25 15/2 19/4
kind [45] 41/18 47/17 59/9     20/19 20/23 20/25 21/9     25/22 26/9 26/22 56/2
 59/9 63/16 65/5 85/5 90/14    21/12 21/16 22/19 22/24    78/21 78/25 82/18 85/3
 95/21 98/5 114/25 117/16      25/8 25/20 26/6 35/18      85/4 89/7 91/4 98/1 104/6
 120/6 121/24 122/6 122/9      36/20 36/21 37/7 37/23     109/25 127/24 130/11
 125/2 128/14 129/16 130/21    38/1 39/10 40/18 54/5 54/9 135/15 136/13 148/19
 130/22 131/1 131/14 135/1     55/7 55/9 55/16 57/18      162/21 165/10 168/20 169/1
 137/15 140/25 142/5 143/17    57/21 58/16 60/23 62/1     169/11 177/14 177/18
 143/19 143/21 145/18          62/4 63/5 64/11 88/21      180/21 181/22
 146/17 146/18 146/18 150/9    89/23 90/4 91/10 92/1     leave [45] 4/13 51/6 58/8
 151/14 151/24 152/3 155/15    92/10 93/18 93/21 93/24    70/18 71/1 71/1 71/6 71/9
 156/10 156/10 159/6 159/19    94/11 94/14 97/3 97/22     71/19 71/22 72/3 72/3
 161/25 168/4                  100/4 110/9 110/20 110/20  72/25 73/13 73/20 73/21
kinds [1] 55/4                 164/18                     74/21 75/8 75/9 79/1 82/20
Kingston [1] 108/1            laborers [2] 98/14 98/15    83/5 83/13 83/23 84/6
Kirchner [18] 27/17 40/8      lack [1] 73/2               127/25 129/11 130/21
 41/16 42/1 42/3 43/17        laid [1] 118/16             150/23 169/4 171/12 175/2
leave... - machine                                                                Page 208
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 208 of 228
                               174/17                       litigious [1] 102/25
L                             letter [6] 13/4 43/14 50/8    little [20] 61/10 62/3
leave... [13] 177/24           50/20 54/13 54/16             86/17 91/8 97/1 105/5
 178/16 178/22 179/19 180/3   letting [1] 105/16             115/23 122/16 125/18
 180/8 180/10 180/13 180/20   level [11] 28/4 94/5           126/11 129/18 130/12
 180/25 181/12 182/8 182/12    121/20 121/21 132/23          130/17 137/16 137/21
leaving [19] 29/23 70/20       132/24 136/16 139/9 142/9     138/18 139/10 143/24 152/5
 75/6 80/16 128/15 128/16      150/9 151/3                   171/2
 129/8 129/9 129/17 174/17    levels [1] 121/23             LLP [1] 1/12
 174/18 175/8 175/18 178/10   leverage [16] 10/11 28/14     load [2] 182/4 182/5
 178/10 178/12 180/5 182/3     33/22 38/22 38/23 39/12      loaded [9] 29/24 32/2 32/8
 182/23                        42/15 42/22 43/15 48/7        69/24 70/1 71/9 71/15 83/4
LECG [1] 108/10                50/4 60/25 67/5 69/11         119/3
led [4] 7/24 44/5 86/7         77/23 83/7                   local [5] 3/14 44/6 87/21
 98/1                         Lexecon [1] 108/7              90/1 105/1
Lee [44] 2/9 34/10 51/17      liability [1] 38/10           located [1] 32/16
 51/19 51/24 52/16 52/23      licenses [1] 77/2             location [1] 56/12
 52/25 53/6 53/7 53/9 53/14   lieu [2] 22/23 22/25          locations [1] 8/17
 75/18 79/8 80/13 103/6       life [1] 41/18                lockstep [1] 45/4
 103/13 104/20 105/14 106/8   lift [3] 4/8 4/16 6/7         Lodge [1] 92/2
 106/9 107/2 107/4 107/6      lifted [2] 4/25 6/14          logic [1] 180/2
 111/5 111/12 113/6 113/9     lifter [1] 86/20              logical [1] 169/14
 113/11 115/19 116/9 120/20   lifting [3] 4/9 5/2 6/10      logistics [3] 111/23
 124/16 127/16 130/3 134/14   light [7] 28/25 53/14          111/25 183/24
 134/18 136/3 142/14 144/24    115/2 115/17 125/20 146/16   long [20] 41/18 42/5 42/10
 147/18 147/24 179/15 181/1    176/10                        56/5 59/8 63/19 67/23 74/4
Lee's [5] 70/7 70/14 74/12    like [58] 7/9 8/21 14/11       80/23 118/5 120/11 135/4
 74/13 106/10                  27/3 29/23 30/19 30/23        146/25 152/3 152/19 155/16
leeway [1] 73/15               31/10 32/20 34/11 39/23       165/21 167/18 178/15
left [13] 63/16 71/18          45/5 45/5 45/5 46/18 48/10    179/22
 74/24 128/2 128/5 128/8       54/4 56/13 59/10 74/9 77/1   longer [8] 56/6 64/9
 128/24 129/14 137/18 172/2    78/3 78/5 78/13 78/22         128/15 130/24 154/23
 175/4 178/17 179/10           85/12 85/18 92/1 105/21       154/24 178/2 180/11
legacy [1] 164/12              106/12 110/6 111/4 111/9     look [35] 17/7 25/7 35/22
legal [20] 7/10 8/22 19/10     113/15 114/19 116/9 120/14    36/16 61/25 77/16 83/10
 38/23 38/24 38/24 61/5        120/20 121/24 122/7 123/20    96/6 96/19 101/3 114/9
 65/21 66/23 72/24 73/14       127/5 127/11 128/12 131/15    115/24 116/14 120/19
 73/16 73/17 74/16 75/4        133/1 136/3 140/2 140/22      120/24 121/9 122/22 125/2
 75/7 77/3 83/2 86/8 95/2      144/24 149/4 151/7 156/22     134/19 136/24 138/16
legality [1] 83/14             170/6 174/4 174/11 176/10     139/13 139/15 140/21
legally [3] 28/2 73/7          179/2                         148/19 156/21 166/12
 75/12                        liked [2] 98/15 98/16          166/14 166/18 168/1 168/18
legend [1] 129/21             likelihood [3] 122/2           169/7 173/17 173/18 183/13
legitimate [4] 48/5 101/11     124/11 180/21                looked [7] 6/9 96/21
 101/12 124/24                likely [5] 52/9 114/12         122/14 125/5 153/5 168/2
length [3] 10/14 11/1          155/22 178/1 180/3            177/23
 178/9                        likes [1] 140/12              looking [22] 46/18 47/7
lengthy [1] 57/8              likewise [2] 119/15 156/18     88/17 109/2 115/14 116/7
lens [2] 114/9 117/23         limit [1] 18/19                117/12 120/11 123/18
less [22] 36/14 50/14         limited [7] 8/19 59/19         123/21 127/6 140/15 140/25
 52/21 53/5 70/15 70/21        79/16 94/13 94/14 94/22       145/25 146/7 157/23 165/8
 74/24 75/13 75/19 79/2        154/18                        166/7 168/3 169/3 173/11
 80/16 82/19 93/4 115/23      limits [1] 72/23               175/3
 122/11 123/4 135/21 144/1    line [8] 38/20 45/9 47/6      looks [5] 120/7 124/19
 145/1 145/13 152/9 170/21     47/13 128/5 128/10 128/16     136/12 152/17 169/15
lesser [1] 15/2                156/8                        lose [2] 45/22 100/10
let [38] 6/4 6/5 18/12        lines [1] 28/6                lost [3] 8/3 165/14 171/14
 20/18 24/21 27/2 33/25       link [1] 74/22                lot [11] 6/2 36/24 77/14
 44/14 66/2 66/2 66/10 74/5   linkage [1] 175/21             89/17 96/7 100/22 115/4
 76/2 76/24 82/2 92/7 98/10   linked [1] 182/7               115/6 130/13 150/20 179/1
 107/10 112/25 113/19         linking [1] 175/18            lottery [1] 79/13
 118/10 122/12 125/6 126/15   list [5] 7/1 7/3 47/16        Louisiana [1] 1/19
 132/9 134/17 136/21 142/14    47/18 47/18                  low [2] 81/5 109/10
 146/10 146/13 157/24 160/1   listed [3] 50/5 148/22        lower [6] 123/7 125/18
 172/25 174/14 177/10          153/19                        133/19 139/10 139/11
 180/12 183/19 184/6          listen [2] 44/6 85/2           139/11
let's [19] 65/24 67/23        lists [3] 47/14 47/15         lunch [3] 59/16 59/17
 70/6 70/6 70/11 86/19         108/18                        60/17
 89/15 120/22 133/3 133/25    litigate [2] 35/19 39/5
 136/2 136/23 138/2 139/17    litigation [5] 26/12 89/18    M
 154/15 170/8 170/9 170/24     92/16 109/22 176/24          machine [1]   71/14
machinery - methodology                                                         Page 209
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 209 of 228
                               133/12 134/24 135/7 140/20    86/13 86/19 93/17 96/18
M                              147/1 149/22 172/10 183/11    98/12 102/1 102/1 102/15
machinery [1] 87/18           many references [1] 91/4       128/12 140/22 153/9 154/8
made [16] 33/25 49/2 87/20    March [1] 123/8                166/18 166/23 167/17
 96/11 98/22 100/12 118/24    marching [1] 45/4              168/17 169/8 170/3 171/4
 136/4 137/25 146/16 168/23   marketing [1] 82/3             178/2 178/25 182/22
 168/24 171/14 177/16         Markets [1] 92/1              meaning [3] 31/15 34/16
 177/19 179/11                MASFLIGHT [2] 149/8 173/16     93/12
magic [1] 155/9               massive [3] 166/21 176/15     meaningful [2] 167/5 167/9
magical [1] 79/13              177/1                        means [17] 29/23 32/18
magnitude [2] 165/9 176/23    Masters [1] 107/25             52/8 52/9 64/6 66/3 69/12
mail [1] 41/3                 material [4] 3/22 4/2 4/19     70/10 78/6 78/16 84/16
mails [1] 69/7                 50/20                         85/9 102/11 126/12 132/22
main [1] 119/13               materially [3] 139/10          132/24 144/20
maintain [11] 9/4 25/3         144/22 165/23                meant [1] 176/25
 52/13 58/1 62/16 63/1 63/1   materials [1] 146/14          meantime [1] 24/8
 63/3 89/15 97/25 115/8       matter [25] 6/12 14/5         measurable [1] 72/24
maintained [1] 52/7            53/14 53/25 59/20 68/15      measure [12] 123/20 125/1
maintains [2] 115/25           73/2 80/15 96/3 96/3 96/8     125/4 141/24 146/7 155/21
 153/20                        96/10 96/14 96/14 96/19       158/7 159/1 166/7 166/9
maintenance [2] 45/6 52/3      100/18 102/8 102/13 107/11    168/1 168/22
major [29] 12/17 12/19         110/12 114/24 116/13         measured [2] 72/23 168/18
 13/22 14/13 14/16 14/20       134/15 180/2 185/5           measures [5] 47/8 118/20
 14/24 14/24 15/5 15/18       matters [11] 96/8 96/9         118/23 119/6 136/10
 16/4 16/20 61/4 91/8 91/10    108/12 109/16 110/5 110/22   measuring [3] 80/7 117/11
 92/8 92/9 92/11 92/18         115/14 116/7 163/2 171/18     159/12
 92/23 93/1 93/3 93/9 93/9     177/18                       mechanical [2] 119/5 120/6
 93/11 93/13 100/11 100/11    maximize [1] 182/9            mediate [1] 13/10
 141/1                        maximum [1] 44/16             mediating [1] 13/16
make [44] 6/9 9/4 13/19       may [48] 5/15 5/16 6/11       mediation [13] 14/4 15/4
 23/13 24/19 27/8 36/16        7/3 7/5 14/18 15/9 15/10      20/24 20/24 21/6 21/7
 40/19 44/11 62/16 63/1        24/23 36/8 50/21 54/20        21/14 22/6 25/10 64/5
 63/1 63/3 68/17 71/11         67/10 87/24 89/4 95/4         64/10 64/12 64/16
 72/18 75/2 78/10 78/19        95/21 105/7 106/19 112/8     mediators [1] 21/2
 85/6 89/15 95/3 97/25         112/22 117/6 122/15 126/24   medications [1] 8/7
 101/23 106/4 112/10 112/20    130/5 134/12 138/22 139/20   meet [3] 22/8 82/23 180/22
 126/17 128/14 132/16 142/4    145/5 147/21 161/5 162/19    member [5] 5/23 45/18
 145/12 146/3 155/1 158/19     165/6 171/2 174/9 175/23      49/20 78/18 83/12
 165/13 167/9 170/5 171/5      177/4 179/8 179/9 179/11     members [11] 18/21 41/4
 174/16 178/14 179/8 184/16    179/12 179/25 180/9 180/18    44/16 47/25 48/11 66/2
 184/17                        181/23 181/23 183/25 184/1    76/9 77/21 85/9 98/9 98/10
makes [7] 26/16 71/23 76/1    May 31st [1] 54/20            members that [1] 77/21
 82/8 135/2 136/16 143/19     May 9th [1] 50/21             membership [1] 42/13
making [8] 31/16 43/25        maybe [12] 4/12 23/12         memory [2] 161/11 173/2
 48/3 59/18 77/8 84/1 102/2    60/19 96/13 128/20 174/14    mention [7] 15/12 50/17
 102/14                        179/13 180/19 180/25 183/7    117/15 133/6 158/12 163/18
Malloy [2] 86/20 87/1          183/8 183/14                  169/16
management [10] 23/18         McGUINNESS [2] 1/12 3/8       mentioned [24] 11/2 14/8
 23/19 26/20 66/21 87/22      me [71] 3/14 5/20 6/4 6/6      15/12 36/24 40/7 41/8
 89/20 90/2 90/15 91/17        14/2 18/12 20/8 20/15         41/16 43/4 89/3 104/5
 160/6                         20/18 23/12 24/23 27/2        110/11 117/1 117/4 133/23
manager [1] 73/6               33/25 44/14 50/23 51/11       142/15 148/18 150/15
mandate [5] 11/22 17/23        54/6 58/21 63/19 66/10        154/15 157/11 159/4 159/14
 18/25 55/15 113/20            69/8 72/14 76/2 77/5 81/6     160/21 165/22 167/22
mandated [1] 17/19             82/2 85/12 89/5 92/7 96/20   mentioning [2] 55/5 151/7
manifest [1] 30/9              100/6 100/11 100/22 101/3    mentions [1] 145/15
manipulating [1] 154/6         105/14 105/21 107/10         mere [1] 99/3
manipulation [2] 135/8         113/19 115/1 115/6 118/10    merge [1] 89/24
 136/22                        122/12 125/6 126/15 132/9    merger [7] 19/20 20/1
manner [8] 26/11 31/20         134/17 136/21 142/14          21/21 21/24 22/4 22/7
 40/14 43/6 45/15 90/25        146/10 146/13 148/5 151/19    23/16
 95/15 142/13                  157/19 157/24 158/1 161/25   mergers [3] 20/18 109/9
Manual [3] 70/16 70/17         166/15 169/1 172/25 172/25    110/19
 71/21                         173/2 174/14 177/10 180/1    merging [1] 90/3
manufacturing [1] 109/14       181/6 181/7 181/21 183/15    merits [1] 100/13
many [32] 17/10 28/8 29/23     183/19 184/2 184/6           message [11] 29/13 41/15
 31/13 34/12 37/2 45/13       mean [42] 17/4 19/8 26/14      42/2 42/3 42/9 42/12 42/18
 46/4 46/4 48/24 52/24 53/7    55/25 56/7 56/16 65/24        42/19 43/10 49/14 49/15
 64/13 64/13 76/10 77/23       69/6 71/24 72/7 73/15 74/2   messages [2] 31/11 46/5
 91/4 91/5 108/9 109/18        76/6 78/24 78/24 81/3        met [1] 179/23
 122/9 126/24 129/11 130/19    82/21 83/18 83/24 85/16      methodology [2] 116/13
methodology... - much                                                           Page 210
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 210 of 228
                               162/11                        50/20 52/16 52/17 52/24
M                             model [6] 116/15 117/3         52/25 53/6 53/9 53/11
methodology... [1] 116/14      132/18 143/11 144/19          53/13 54/21 55/22 56/19
methods [5] 53/7 115/20        158/11                        56/19 57/3 59/2 60/10 69/7
 119/7 119/22 119/22          models [2] 139/19 140/12       70/13 71/8 80/10 86/14
metric [4] 79/1 79/7          moment [5] 31/24 40/2 40/7     91/24 100/20 103/5 104/10
 125/10 154/18                 41/9 46/14                    104/11 104/13 104/16
metrics [2] 85/25 88/16       money [3] 45/22 49/18          104/18 104/23 105/2 105/12
MICHAEL [1] 1/12               49/22                         105/14 106/8 106/10 111/7
middle [3] 36/13 57/8         monitor [1] 102/23             117/16 117/25 126/17 129/4
 160/13                       monitoring [2] 148/6           134/3 134/12 134/21 134/24
midst [1] 183/23               148/12                        135/21 136/4 136/7 136/14
might [16] 7/1 20/8 79/12     month [16] 47/2 61/11          137/4 137/7 137/9 137/17
 93/5 93/5 93/8 112/10         121/2 123/22 124/6 124/9      138/10 138/12 138/21
 118/13 120/10 123/4 124/23    125/12 130/10 131/20          138/22 139/5 139/19 139/25
 126/23 128/24 169/5 173/2     139/12 140/20 140/20          140/3 140/6 140/15 140/25
 182/13                        143/17 145/20 172/10          141/21 142/6 142/11 142/16
Mike [1] 3/8                   172/12                        143/7 143/12 143/19 144/5
military [15] 8/1 8/15        monthly [7] 121/21 124/3       144/10 144/25 145/11 146/8
 54/24 56/9 57/2 57/4 57/4     125/3 141/16 143/14 144/4     146/13 146/16 146/25 147/9
 81/18 133/15 133/18 133/20    162/18                        147/13 147/21 150/16
 152/24 153/25 153/25         months [10] 31/13 88/2         151/24 154/12 162/19
 167/16                        99/6 121/10 122/10 123/7      163/22 163/22 164/9 164/22
millenial [2] 84/25 85/1       125/14 130/11 131/12 146/4    165/7 168/13 168/14 169/21
millions [2] 7/20 8/3         more [79] 20/16 31/16          171/15 175/23 175/25 177/6
mind [6] 20/8 71/23 78/22      31/21 36/3 45/9 49/8 50/14    178/8
 150/16 159/18 165/7           52/21 53/5 56/3 56/8 59/11   Mr. Akins [34] 52/16 52/17
minded [1] 117/16              61/10 65/14 69/12 69/13       52/24 53/6 53/11 53/13
minor [13] 12/9 12/15          78/17 80/24 83/21 98/22       105/2 117/16 117/25 135/21
 66/18 91/8 91/10 91/10        99/5 100/15 102/20 105/13     136/4 137/7 137/17 138/12
 91/11 92/4 92/13 93/7 93/8    112/8 116/13 123/25 124/18    138/21 138/22 139/5 140/15
 100/4 100/9                   124/21 124/22 124/23          140/25 141/21 142/6 143/7
minute [11] 157/15 168/20      126/25 129/18 130/17          143/12 143/19 144/5 144/10
 169/4 169/6 170/19 171/22     133/25 134/4 135/19 135/22    144/25 145/11 146/16
 172/2 172/4 176/22 177/8      140/17 140/23 140/24 141/3    146/25 147/9 154/12 163/22
 177/9                         141/5 141/6 141/9 143/23      168/14
minutes [60] 59/7 59/22        143/25 145/2 145/13 145/14   Mr. Akins' [22] 52/25 53/9
 60/3 70/15 70/19 70/21        145/16 145/19 146/8 146/8     70/13 134/3 134/21 134/24
 71/7 73/7 73/10 73/12         147/2 147/16 151/12 151/12    136/7 136/14 137/4 137/9
 73/20 73/21 74/17 74/24       151/15 152/1 152/5 152/7      138/10 139/19 139/25 140/3
 75/5 75/6 75/13 75/13         152/8 154/19 156/1 158/9      140/6 142/11 142/16 146/8
 75/19 78/13 79/1 80/16        166/15 167/20 167/23          146/13 147/13 163/22
 82/19 82/19 83/2 83/5         168/15 169/11 172/22          168/13
 83/21 99/11 106/22 129/7      172/23 174/13 178/1 178/3    Mr. Akins's [1] 80/10
 129/11 129/11 129/12          179/19 180/14 181/15         Mr. Carlson [10] 3/25
 129/12 129/12 129/21         moreover [1] 144/16            34/25 35/5 35/15 50/20
 129/23 134/5 134/6 134/8     morning [7] 3/6 3/11 3/18      56/19 104/16 171/15 175/25
 169/23 170/21 170/24 171/6    65/5 89/17 150/11 184/4       178/8
 172/7 174/17 175/11 175/18   MOSS [1] 1/9                  Mr. Carlson's [3] 5/4
 176/20 177/16 177/19         most [13] 9/23 10/21 16/1      35/12 49/25
 177/25 177/25 178/15          26/3 37/20 39/19 46/21       Mr. Casper [1] 164/22
 178/16 178/22 179/10          49/1 117/2 135/15 141/20     Mr. Cleary's [1] 164/9
 179/10 179/13 183/11          166/20 182/24                Mr. Flynn [6] 54/21 55/22
mischaracterization [2]       motion [6] 1/9 7/12 7/14       56/19 57/3 104/18 151/24
 79/20 98/20                   9/17 23/10 100/16            Mr. Glass [2] 104/10
mishmash [2] 98/19 98/20      motions [2] 23/10 24/2         104/11
misleading [2] 135/9 137/7    motivated [1] 37/9            Mr. Gleason [18] 4/1 4/23
misrepresentation [1]         motive [8] 35/22 36/16         39/7 59/2 60/10 104/13
 136/23                        36/23 37/19 38/13 38/15       104/23 105/12 106/8 106/10
misrepresentative [1]          38/16 68/14                   111/7 126/17 147/21 150/16
 135/10                       move [4] 59/24 106/19          162/19 165/7 169/21 175/23
missed [1] 87/20               116/12 179/6                 Mr. Gleason's [1] 177/6
misses [2] 39/8 39/9          moved [1] 65/6                Mr. Lee [1] 105/14
missions [1] 54/24            moves [1] 156/20              Mr. Petroff [1] 3/17
mistake [1] 87/20             moving [3] 5/6 179/5          Mr. Siegel [9] 6/24 69/7
misunderstand [1] 171/2        181/20                        71/8 86/14 91/24 100/20
misunderstanding [1]          Mr [7] 2/4 2/5 2/10 2/11       103/5 129/4 134/12
 162/20                        2/12 2/13 5/3                Ms. [1] 5/20
mitigation [3] 159/15         Mr. [110] 3/17 3/25 4/1       Ms. Sloane [1] 5/20
 159/21 161/5                  4/23 5/4 6/24 34/25 35/5     much [30] 6/23 17/20 38/7
mixed [3] 76/19 77/1           35/12 35/15 39/7 49/25        56/6 58/19 59/2 59/11 82/3
much... - now                                                                   Page 211
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 211 of 228
                               91/19 94/18 100/7 100/15      181/24 184/8
M                              104/13 123/22 134/1 147/19   no-strike [15] 11/24 15/10
much... [22] 89/9 94/11        148/10 151/16 159/5 179/17    15/13 16/25 17/7 17/11
 98/22 103/2 106/18 107/4     needed [1] 41/20               17/12 17/14 18/7 18/16
 109/7 120/2 122/17 125/4     needs [4] 4/19 13/8 124/20     18/23 19/4 62/24 62/25
 128/23 133/17 133/17          159/18                        91/18
 133/25 134/2 143/25 144/1    negotiate [11] 13/10 20/9     noise [1] 151/4
 161/13 165/11 169/19          22/8 24/14 40/23 51/8        nomenclature [1] 93/2
 169/24 184/20                 67/24 67/24 89/22 90/4       none [4] 33/16 45/2 86/12
multiple [1] 130/19            90/5                          136/8
must [10] 15/16 16/5 17/13    negotiating [7] 14/17         nonetheless [1] 93/4
 34/2 42/7 49/6 49/6 49/6      24/19 25/14 43/15 44/10      nonscheduled [1] 169/18
 80/20 95/11                   76/8 77/12                   nonsense [1] 13/5
mustard [1] 88/23             negotiation [13] 12/16        Nor [1] 11/20
muzzle [1] 85/5                13/2 14/12 16/20 24/24       normal [7] 20/18 22/25
muzzled [2] 85/8 85/14         25/1 36/11 36/13 61/8 67/4    23/20 25/24 121/3 121/5
my [101] 3/7 3/14 3/16         67/5 69/15 91/1               121/5
 20/8 39/1 39/23 50/24        negotiations [26] 7/23        normally [5] 20/22 117/8
 50/25 51/11 53/21 63/16       9/10 10/4 20/3 21/15 25/19    122/24 138/16 139/15
 63/16 63/20 66/23 67/10       26/2 26/13 37/15 38/17       Norman [1] 107/6
 68/2 71/23 76/19 80/25        40/15 40/25 41/5 42/24       Norris [28] 11/15 12/23
 85/3 93/19 94/6 96/19 98/1    49/19 50/11 51/11 58/11       13/8 13/13 13/20 13/21
 99/9 101/24 104/25 105/6      61/23 64/7 64/7 64/15 65/2    16/10 16/12 16/14 54/5
 105/13 107/21 107/24          69/10 69/11 83/7              55/7 62/2 68/24 88/20
 108/18 108/18 112/14 113/1   negotiations' [1] 60/25        92/11 92/18 94/12 94/12
 115/13 116/20 117/2 117/3    neighborhood [1] 126/18        94/15 94/20 94/21 96/15
 117/7 117/19 117/22 117/23   neither [1] 133/20             96/23 97/3 97/8 97/13
 118/16 118/17 120/16 122/8   network [2] 53/4 130/19        97/21 99/25
 123/6 125/5 130/25 134/24    never [5] 42/6 42/7 93/10     Norris-La [18] 12/23 62/2
 135/5 135/15 135/25 136/9     161/22 176/8                  68/24 88/20 92/11 92/18
 138/20 143/5 143/11 144/22   nevertheless [3] 91/5          94/12 94/12 94/15 94/20
 145/7 146/18 146/20 146/20    115/25 144/2                  94/21 96/15 96/23 97/3
 147/6 147/7 147/11 147/15    new [31] 19/10 21/19 23/6      97/8 97/13 97/21 99/25
 148/21 149/8 152/22 154/20    23/24 24/9 26/19 26/20       north [3] 9/23 85/4 110/13
 155/2 155/3 155/7 155/8       27/6 27/8 27/13 27/15        Northwest [1] 109/9
 155/12 156/4 159/14 159/17    27/24 28/11 28/12 29/6       not [311]
 159/18 159/25 160/1 161/13    33/12 40/16 41/9 58/23       not asking [1] 72/8
 163/6 166/1 166/1 166/3       60/25 65/18 76/9 84/14       note [2] 34/25 39/2
 166/5 167/17 168/11 170/23    89/18 109/12 126/23 135/19   noted [2] 36/25 142/18
 170/25 171/3 173/4 175/24     144/10 161/7 161/8 161/15    notes [1] 52/25
 176/2 176/6 176/11 178/15    newly [1] 27/17               nothing [8] 50/14 50/14
 179/8 181/11                 news [1] 24/9                  74/19 74/25 79/13 101/18
Myers [3] 1/12 3/7 3/9        next [10] 6/6 48/24 81/16      136/18 141/21
myriad [3] 61/13 83/16         101/22 121/14 130/16         notice [67] 24/25 25/1
 86/4                          130/21 132/22 156/10          25/2 25/5 25/6 25/21 26/17
myself [5] 115/16 116/3        169/23                        31/15 34/14 40/18 41/2
 117/16 140/12 154/25         night [1] 174/14               42/17 52/1 63/22 63/23
N                             nilly [1] 73/1                 63/24 66/13 67/1 85/10
                              nine [2] 87/12 141/2           85/24 95/13 95/15 97/12
N.W [1] 1/16                  NMB [3] 22/13 22/14 24/12      98/4 99/25 100/15 114/3
NAACP [1] 98/18               no [88] 1/3 11/17 11/24        114/8 117/13 118/20 118/24
name [2] 23/12 107/5           15/7 15/9 15/10 15/13         119/16 120/8 120/23 121/3
names [3] 30/4 35/15 46/20     16/25 17/7 17/11 17/12        121/12 121/16 121/17
narrow [2] 137/17 137/19       17/14 17/21 18/3 18/3 18/7    121/21 121/24 122/3 122/4
National [12] 17/9 19/13       18/16 18/23 19/4 26/7 34/2    122/11 124/5 124/7 125/15
 20/24 21/5 21/12 21/14        38/24 39/4 45/1 48/4 55/12    125/18 126/12 128/10
 22/6 25/9 92/1 93/18 93/21    57/20 58/8 62/24 62/25        129/13 129/15 131/10
 102/3                         64/8 67/6 68/8 68/15 69/12    131/12 131/15 131/18 135/4
natural [2] 106/1 120/18       70/2 70/22 70/25 72/4         136/13 136/20 139/8 141/25
naturally [1] 166/2            72/11 74/2 74/5 74/19         142/12 145/11 145/23 146/9
nature [8] 103/2 115/4         74/21 74/22 76/1 77/13        159/8 162/25 163/4
 119/9 149/23 150/4 150/7      78/20 79/15 80/18 82/22      notice sick [1] 131/18
 151/14 151/15                 87/2 88/13 91/18 91/18       noticeable [1] 131/17
necessarily [1] 182/7          92/21 92/21 92/21 94/15      noticed [1] 56/18
necessary [1] 150/8            96/3 97/7 99/3 105/25        notices [1] 29/16
need [36] 4/16 5/3 13/10       111/17 112/24 113/5 116/21   Notwithstanding [1] 55/18
 13/16 15/5 25/3 42/4 42/15    116/25 117/22 120/4 128/15   November [2] 45/23 47/2
 43/16 50/10 59/3 59/10        129/5 129/5 139/16 144/12    November 2016 [1] 47/2
 59/22 71/22 75/10 77/21       146/17 147/18 148/18         November 23rd [1] 45/23
 81/16 83/14 83/22 84/4        148/18 153/20 155/7 155/9    now [53] 6/13 10/5 21/19
 84/16 84/17 84/23 89/10       156/22 159/6 175/17 175/18    23/5 28/23 32/20 34/8
now... - operations                                                             Page 212
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 212 of 228
                               44/23 54/10 110/1 110/4       124/15 124/19 124/20
N                             occur [4] 114/8 121/3          124/23 125/24 126/4 126/7
now... [46] 39/23 40/5         121/14 163/3                  132/7 132/21 133/2 133/7
 44/22 46/19 49/8 51/14       occurred [8] 21/21 26/19       135/18 136/2 136/11 136/17
 52/15 54/4 60/2 61/2 67/3     26/19 27/19 27/19 30/10       139/1 140/5 140/6 141/22
 67/20 67/23 67/24 67/25       38/11 119/15                  143/7 148/8 150/16 150/17
 72/3 72/3 76/22 78/4 87/12   occurrence [1] 34/17           152/23 154/16 156/8 156/13
 87/23 88/1 88/2 91/7 95/21   occurring [9] 14/13 14/16      158/22 159/5 159/17 164/5
 98/3 114/19 116/9 119/21      28/15 28/16 52/8 52/10        164/8 165/8 165/14 167/4
 120/20 120/25 122/1 124/16    53/19 53/22 183/15            168/20 169/3 169/6 169/14
 125/20 127/11 131/5 136/21   occurs [2] 11/11 162/24        169/20 170/12 171/17 173/7
 139/17 146/19 151/23         ocean [2] 87/13 171/9          173/15
 164/12 170/12 170/20 175/8   October [3] 1/5 121/18        one's [1] 15/2
 177/10 181/1                  160/2                        ones [8] 55/5 103/21
nowhere [1] 136/14            October 2010 [1] 160/2         128/14 128/15 129/8 129/9
null [1] 116/24               odd [1] 99/12                  129/19 129/20
nullity [1] 19/11             odds [1] 13/14                ongoing [3] 61/8 91/1
number [50] 5/1 6/6 8/6       of our [1] 71/20               136/5
 31/21 37/8 50/5 57/19        of strange [1] 90/14          online [1] 50/4
 59/13 79/12 79/12 79/14      off [18] 8/20 20/7 21/7       only [45] 5/12 19/14 25/4
 79/16 79/24 80/6 80/14        31/18 56/14 60/8 61/7         42/13 46/8 47/2 51/9 54/1
 81/5 95/2 97/11 107/15        61/10 73/9 87/23 90/5         55/19 57/4 70/3 76/18 84/7
 120/16 123/21 124/2 125/11    117/7 122/13 134/10 139/9     85/6 87/7 94/23 95/12
 135/11 140/7 140/19 141/8     165/20 169/16 184/22          99/23 113/2 117/23 124/15
 141/10 141/13 141/15         offensive [2] 95/23 95/24      127/2 127/7 129/13 138/14
 141/16 142/3 143/14 143/16   offer [2] 111/4 180/1          140/17 140/18 152/12
 145/8 149/25 158/8 165/14    offered [6] 112/9 112/13       154/18 158/18 158/25 159/1
 165/15 166/17 167/12          116/10 117/21 118/1 147/9     159/3 159/17 162/15 162/15
 167/15 167/15 168/8 168/10   office [5] 1/15 3/12 40/9      162/24 165/5 166/12 167/9
 168/11 172/2 175/6 175/6      66/1 108/7                    167/12 173/25 174/1 174/9
 176/20                       officer [2] 87/1 105/1         183/4
numbers [2] 5/19 81/23        officers [1] 62/15            only triggered [1] 25/4
numerous [3] 109/11 110/2     Official [1] 1/22             Ontario [1] 108/1
 110/4                        officials [1] 95/17           onto [3] 56/15 115/3
nutshell [1] 118/17           often [2] 17/1 130/15          116/12
NW [3] 1/13 1/19 1/23         oh [5] 45/6 137/2 157/1       open [11] 27/10 27/14 29/3
O                              173/12 182/6                  30/13 31/22 48/16 52/2
                              okay [44] 5/14 6/22 6/24       68/8 68/12 117/16 118/25
O'Melveny [3] 1/12 3/7 3/9     17/17 24/5 30/22 47/16       open-minded [1] 117/16
object [4] 105/8 105/15        58/20 58/25 60/7 65/24       opener [1] 29/7
 105/18 131/3                  67/2 71/10 74/10 74/15       opening [11] 2/3 3/21 7/8
objecting [1] 106/10           75/2 75/15 78/16 101/2        7/10 59/3 59/9 59/10 59/23
objection [2] 5/22 113/3       103/23 104/2 104/17 106/2     60/4 60/15 77/14
objective [3] 48/5 64/21       106/3 106/24 111/10 113/18   opening/closing [1] 59/10
 64/24                         114/19 118/8 123/11 129/25   openings [1] 110/11
obligated [2] 27/14 28/2       133/25 134/7 137/23 140/17   openly [1] 48/2
obligation [13] 9/10 9/11      146/10 151/3 158/1 159/18    operate [5] 33/17 77/1
 10/3 12/11 15/16 15/20        170/10 170/11 175/25          87/12 87/14 152/2
 16/9 16/11 16/13 16/20        183/19 184/21                operated [5] 140/20 153/17
 17/18 66/25 89/14            old [1] 76/17                  153/19 153/25 154/2
obligations [2] 61/3 62/7     on [282]                      operates [1] 162/14
obscure [4] 79/1 79/7         on-time [1] 52/14             operation [33] 9/6 30/10
 85/25 88/16                  once [7] 25/5 25/5 120/5       32/10 32/11 35/9 35/14
observation [1] 145/13         122/25 128/2 128/3 157/20     35/15 42/21 43/6 48/3 49/4
observe [1] 41/14             one [111] 6/5 12/15 14/23      51/16 51/19 52/12 53/19
observed [3] 34/22 53/10       18/5 20/17 24/23 26/15        56/3 56/9 57/14 62/21
 132/5                         27/7 32/20 34/12 37/25        71/14 76/19 77/1 80/21
observing [4] 56/9 56/23       38/14 39/6 41/15 41/21        80/23 115/11 143/22 148/7
 122/9 156/24                  44/13 44/21 48/22 50/7        150/5 150/21 151/10 152/8
obstacle [2] 75/4 75/7         50/9 54/13 56/14 61/20        168/21 183/2
obtain [4] 12/12 18/20         65/13 65/15 66/6 66/6        operational [23] 8/9 32/19
 28/17 101/11                  66/14 67/10 75/11 76/18       53/1 82/13 114/7 114/16
obviate [2] 17/15 18/9         79/8 80/5 86/20 86/21         118/5 119/25 121/8 130/4
obviated [2] 18/4 19/3         88/25 89/1 93/22 94/21        135/3 135/17 135/20 136/4
obvious [2] 26/15 176/8        94/25 95/10 97/8 97/23        136/11 142/17 143/8 143/13
obviously [17] 23/1 25/13      97/24 98/18 100/3 100/3       144/7 144/14 146/23 149/6
 73/23 84/20 89/7 90/12        101/4 101/22 104/11 108/25    176/1
 91/21 95/2 100/20 101/17      110/10 115/3 116/13 120/6    operations [42] 8/15 9/13
 102/8 118/16 120/3 124/22     120/6 120/8 120/10 120/23     10/11 13/2 17/19 17/25
 159/20 160/1 166/23           122/7 122/11 123/1 123/2      26/1 26/11 34/20 36/22
occasions [6] 12/25 34/12      123/4 123/5 123/9 124/14      37/6 43/2 45/15 48/14 50/3
operations... - perceive                                                      Page 213
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 213 of 228
                               69/11 69/12 69/19 70/3      118/11 129/1
O                              71/20 73/1 77/21 84/24     paint [1] 36/3
operations... [27] 53/22       85/6 85/6 85/8 85/9 85/9   painters [2] 36/1 36/5
 54/23 58/15 61/2 70/16        85/9 85/15 86/8 86/14 90/4 paper [1] 83/15
 70/17 71/21 84/11 111/23      90/15 90/16 91/6 91/16     papers [8] 23/11 29/14
 115/11 117/19 119/14          93/22 95/1 98/8 98/8 98/9   57/15 76/15 89/4 95/1
 119/19 126/14 131/5 150/7     98/10 98/16 98/17 101/13    100/21 104/19
 151/14 152/7 152/11 153/23    103/1 103/6 103/16 104/11  paragraph [8] 18/19 43/22
 162/12 162/12 162/23          104/15 104/24 105/3 107/17  61/5 61/7 86/22 113/17
 162/23 168/15 172/23         ourselves [1] 103/1          114/20 118/10
 173/21                       out [94] 9/18 16/11 16/14   paraphrasing [1] 61/2
operative [1] 97/23            16/22 19/15 20/5 29/20     part [22] 16/15 37/22 43/2
operator [2] 80/24 162/11      29/23 30/25 31/25 32/15     46/22 64/12 68/18 76/17
opinion [3] 9/25 131/5         33/11 36/2 41/22 44/9       76/21 125/5 136/9 137/12
 159/9                         45/21 46/20 47/4 47/5       137/13 151/25 161/8 161/9
opinions [4] 116/10 118/12     47/17 48/18 51/3 51/5 53/6  161/15 161/17 161/18
 118/13 118/16                 62/18 62/21 63/20 66/2      162/11 162/12 164/12
opportunities [1] 119/1        69/23 70/9 72/12 72/13      174/24
opposed [2] 122/5 152/2        72/22 74/1 74/3 75/5 75/11 partially [1] 177/5
opposing [1] 103/24            75/14 75/19 76/4 77/19     participated [1] 44/4
ops [1] 78/22                  78/12 79/14 86/24 86/25    particular [11] 35/18
or [242]                       91/15 93/23 97/8 99/3       35/19 121/7 125/7 138/25
orchestrated [3] 58/5          100/8 115/5 118/16 119/2    149/21 149/21 150/8 154/7
 71/14 183/2                   119/23 120/13 120/16 124/5  169/2 171/18
order [20] 4/9 5/2 6/8         124/7 124/17 124/20 128/11 particularly [10] 50/9
 7/16 9/5 10/20 18/20 44/2     129/20 133/13 137/15 139/7  54/23 55/22 82/5 92/17
 58/14 62/20 83/10 83/11       145/8 149/19 151/4 151/5    102/5 168/22 169/9 170/1
 88/9 92/5 93/12 95/9          156/11 156/16 156/17        184/19
 101/11 145/17 158/19          157/19 161/17 163/11       parties [21] 11/23 19/24
 160/11                        165/17 166/6 166/12 167/1   20/20 20/23 21/3 22/8
orders [1] 58/18               168/14 169/20 170/6 170/13  22/22 24/2 24/17 25/10
ordinary [5] 52/7 116/1        170/14 170/21 170/24 171/6  25/13 40/2 40/15 40/22
 153/21 154/13 165/19          174/7 174/11 179/16 180/10  59/20 59/24 64/8 89/14
organizations [1] 112/19       181/14 182/10 182/12        100/8 105/7 105/15
original [2] 164/8 173/3      outlier [1] 122/9           parties' [2] 10/6 22/23
originally [1] 101/14         outline [1] 8/21            parts [1] 152/7
ostracize [2] 34/5 46/25      outlined [1] 22/5           partway [1] 183/20
other [81] 6/2 8/8 14/23      outs [2] 86/22 154/4        party [3] 3/20 16/4 66/6
 16/3 16/17 17/1 20/21        outside [1] 174/7           passed [2] 29/24 32/2
 26/12 27/11 32/6 37/12       over [27] 12/2 15/6 23/2    passenger [15] 76/16 76/20
 37/20 38/1 40/12 46/4         31/13 35/3 35/4 40/22       84/15 109/7 130/13 130/13
 47/14 48/5 50/11 51/22        48/17 56/10 59/5 63/16      131/1 162/12 162/14 162/18
 52/9 52/19 52/24 56/15        77/23 80/19 87/2 91/10      162/23 163/5 164/12 164/19
 56/24 70/5 75/11 75/23        98/23 102/24 103/1 109/6    178/12
 79/4 82/6 82/6 87/16 93/4     126/9 130/21 152/20 152/22 passengers [3] 130/15
 93/22 97/3 97/24 100/3        154/7 159/10 165/16 183/22  163/8 167/16
 101/2 101/5 101/6 101/19     overdue [2] 41/19 42/5      past [13] 20/21 21/16
 104/3 110/2 112/24 115/9     overlooked [1] 147/7         31/16 32/9 32/19 40/4
 115/11 115/16 115/21 116/3   overtime [2] 10/8 119/1      64/21 64/22 70/21 91/14
 116/7 116/16 116/17 117/14   overview [3] 39/24 103/13    109/6 109/23 168/2
 119/11 119/19 119/23 121/5    106/4                      patterns [1] 124/17
 132/14 133/5 133/12 133/13   overwhelming [3] 37/12      pay [6] 40/12 45/21 62/17
 133/20 137/21 141/23          37/12 53/18                 63/9 64/1 64/18
 144/24 146/14 148/20 149/6   own [7] 33/18 71/6 83/14    peak [6] 7/19 49/3 49/16
 153/1 156/22 158/6 158/10     96/19 135/12 166/3 181/11   58/9 131/15 139/3
 160/15 172/8 173/18 177/8                                peaky [1] 146/3
 177/11 177/22 179/14         P                           peculiar [3] 140/21 143/20
 179/25 180/24 182/16         p.m [5] 60/8 60/9 134/10     143/24
otherwise [3] 62/19 99/13      134/11 184/22              peer [3] 46/25 47/5 108/21
 178/17                       Pacific [1] 174/11          pending [2] 24/9 24/17
ought [3] 4/16 83/5 177/9     package [1] 133/21          people [15] 4/12 32/13
our [82] 4/20 5/25 5/25       packages [4] 56/14 56/16     42/2 46/17 46/23 47/6
 6/2 7/12 8/15 8/18 8/22       163/8 163/9                 81/17 82/1 82/6 83/4 95/24
 9/17 9/17 28/5 29/14 29/14   page [21] 2/3 2/8 60/21      102/14 104/8 167/1 168/1
 30/24 31/4 35/13 36/15        60/21 61/6 107/17 107/23   people's [1] 46/20
 38/12 39/9 39/17 40/1 45/8    114/20 120/24 123/14 125/6 per [15] 124/4 124/6 124/8
 48/17 50/7 51/16 54/20        127/13 130/5 132/10 132/17 124/9 125/3 125/8 125/12
 56/18 56/21 57/7 57/24        138/3 139/21 142/21 145/2   125/17 126/11 139/11
 58/1 58/1 58/8 60/17 60/20    146/10 152/21               141/14 141/17 142/3 145/9
 67/13 67/14 67/17 68/15      pages [8] 6/7 61/11 63/13    145/19
 68/19 68/19 69/4 69/8         100/23 108/18 113/16       perceive [1] 4/19
percent - potential                                                             Page 214
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 214 of 228
                              pick [2] 50/7 80/6             100/10 100/11 101/10
P                             picked [1] 173/23             plaintiffs' [22] 4/18 7/8
percent [67] 41/23 56/3       picking [1] 52/2               41/4 43/16 45/13 46/7
 56/4 56/6 56/10 79/19        piece [1] 141/18               60/20 60/21 63/23 65/5
 79/21 79/25 79/25 80/1       pieces [1] 44/9                98/2 107/1 107/11 107/12
 80/2 80/2 80/5 80/8 80/8     pilot [60] 20/3 29/18 30/6     107/16 111/12 113/9 113/15
 80/19 81/4 81/4 81/8 81/9     33/23 34/3 34/21 35/18        134/17 138/2 147/24 181/22
 81/10 81/12 81/14 81/19       39/11 41/19 43/1 44/23       plan [7] 34/8 41/10 103/16
 81/20 81/21 81/23 81/23       49/20 50/21 50/21 50/22       105/24 153/23 181/12
 82/4 82/4 82/7 82/16 82/17    51/18 51/25 52/18 52/21       181/16
 82/23 84/12 121/13 121/18     53/16 57/5 65/9 73/18        plane [7] 69/23 74/1 74/3
 121/22 126/18 128/1 128/13    73/21 75/5 76/19 78/11        87/14 156/15 182/4 182/19
 128/13 128/18 128/19          78/12 80/18 83/12 83/19      plane's [1] 182/5
 129/14 131/11 131/21 132/1    84/8 84/22 114/1 116/1       planned [1] 129/6
 132/23 132/24 133/17 142/9    116/21 116/22 118/21         planning [3] 27/1 86/15
 144/13 144/13 166/19          123/19 125/3 125/8 125/17     150/10
 166/21 167/3 167/14 167/17    125/21 125/25 126/1 126/2    plates [1] 100/22
 168/15 169/10 169/11 175/2    126/11 130/3 136/10 139/25   platform [2] 77/22 78/6
 175/3 175/7 179/4 181/2       141/17 141/18 142/3 145/9    play [3] 79/12 141/5 161/6
percentage [12] 79/22          146/22 149/21 150/10 161/2   pleadings [1] 125/24
 79/22 81/13 81/14 131/22      166/9 181/14                 please [9] 3/4 72/15 99/20
 131/23 133/4 133/19 166/16   pilot's [3] 10/9 156/17        103/8 108/4 114/20 123/16
 166/19 167/4 167/10           162/17                        130/5 130/8
perfectly [1] 43/25           pilots [144] 9/19 9/21        plenty [3] 29/2 29/2 50/10
perform [3] 149/11 154/22      9/24 10/7 10/15 10/16 11/6   plus [4] 64/15 67/14 87/2
 171/19                        28/5 28/25 29/2 30/2 30/17    155/20
performance [4] 114/7          31/12 31/14 31/18 31/21      podcast [1] 42/1
 118/5 135/17 144/14           31/24 32/14 32/15 32/21      podium [2] 3/4 60/10
performed [3] 51/17 157/22     33/4 33/17 34/5 35/8 35/16   point [48] 10/13 10/15
 165/1                         37/18 39/3 39/7 39/16         15/8 20/7 25/21 26/22
performing [1] 161/23          41/10 41/11 42/4 42/24        30/25 35/5 38/6 39/1 39/8
performs [2] 141/22 150/17     43/6 43/10 43/11 43/17        39/9 42/8 48/22 55/11 64/7
perhaps [9] 91/8 102/20        43/19 43/20 44/1 44/6 44/8    67/5 77/12 80/3 81/3 83/11
 104/21 159/13 171/25          44/25 45/14 45/16 45/25       84/12 84/19 84/23 85/19
 180/23 180/25 183/17 184/8    46/5 46/9 46/11 47/3 47/6     96/21 97/17 101/4 102/7
period [57] 20/11 21/8         47/11 47/13 47/20 48/14       126/17 131/3 131/22 131/24
 22/10 25/1 25/2 25/5 25/13    48/17 48/21 49/13 49/15       133/4 133/13 135/15 136/15
 26/4 29/10 32/5 52/5 52/5     49/16 50/1 50/18 52/20        136/18 137/15 139/7 145/11
 67/2 72/24 93/13 97/24        53/19 54/2 54/22 58/7         155/16 155/20 161/1 165/20
 120/7 120/8 121/14 122/10     69/23 69/25 70/14 71/9        167/4 173/20 181/22
 122/14 122/16 123/3 123/6     73/6 76/4 76/9 76/10 76/25   pointed [5] 91/15 145/8
 123/8 125/14 125/19 129/9     77/8 77/9 81/2 83/23 83/24    163/11 168/14 179/15
 129/10 131/9 131/19 137/22    84/4 84/13 85/1 86/16        points [3] 53/6 112/10
 138/18 139/8 144/18 145/22    89/25 102/6 102/11 102/17     166/19
 145/24 145/24 146/1 159/12    103/1 114/12 118/24 118/25   poisoning [1] 101/25
 159/17 160/3 160/17 160/22    119/2 119/4 120/4 121/2      Polar [1] 153/9
 161/13 162/3 162/4 162/5      121/4 121/6 121/9 123/25     police [2] 101/21 101/21
 162/8 162/22 163/6 170/21     124/4 124/6 124/8 124/18     policed [1] 101/15
 171/24 171/25 172/1 172/7     124/19 124/21 124/22         policy [2] 65/10 66/8
 172/8                         124/25 125/2 125/4 125/12    pollute [1] 156/21
periods [1] 145/23             126/6 126/8 126/13 126/18    portion [5] 5/12 118/24
permission [5] 70/18 70/18     126/23 127/2 127/7 127/21     121/16 138/19 151/14
 71/22 71/24 74/4              127/25 128/2 135/21 137/10   pose [1] 178/4
permits [1] 10/7               140/23 141/8 141/10 141/15   posed [1] 115/1
permitted [1] 104/16           145/1 145/17 146/7 147/17    posit [1] 161/15
persistent [1] 34/23           151/8 153/22 160/9 160/25    position [6] 66/24 83/19
person [5] 87/7 101/21         170/20 175/1 176/4 176/7      83/25 102/22 126/24 181/23
 114/25 140/12 154/25          176/17 177/3 181/11 182/10   positive [1] 124/24
personal [2] 8/18 95/15       pilots' [7] 51/21 118/23      possibilities [1] 159/1
personally [1] 170/4           119/24 121/13 121/14         possibility [7] 116/17
personnel [1] 167/17           149/25 150/3                  119/23 120/14 124/17
persons [1] 95/16             place [13] 20/22 25/12         156/12 156/12 160/14
perspective [3] 76/3 83/22     34/2 40/4 68/18 120/5        possible [4] 64/9 167/18
 84/3                          159/16 162/1 167/13 169/22    167/19 171/11
Petroff [2] 3/16 3/17          172/21 181/17 183/1          possibly [1] 70/22
phase [2] 166/23 171/25       placed [1] 102/4              post [6] 68/16 142/1 142/7
PhD [2] 2/9 107/24            plainly [2] 12/3 53/13         144/18 170/20 172/8
phone [1] 54/25               plaintiff [2] 90/21 92/12     postings [1] 50/4
phrase [1] 33/5               plaintiffs [14] 1/3 1/11      Posturing [1] 54/18
phrases [5] 10/23 11/6         3/7 45/18 60/4 61/20 62/9    potential [5] 119/20 148/6
 11/10 33/2 34/4               62/24 63/10 79/18 99/1        148/10 156/23 160/21
potentially - punishment                                                       Page 215
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 215 of 228
                              113/21 113/23 175/24 176/3   promoted [1] 51/2
P                            principles [2] 8/22 31/8      pronounced [1] 56/8
potentially [1] 83/20        prior [14] 65/15 67/14        proof [6] 68/25 86/1 86/10
power [2] 43/16 90/25         68/18 79/9 85/13 85/21        87/7 87/7 97/17
powerful [1] 47/1             107/25 108/8 109/9 123/7     properly [1] 68/11
PR [1] 48/10                  124/4 128/11 129/13 164/22   property [1] 95/20
practical [1] 80/15          private [3] 4/22 56/7 56/7    proportion [15] 121/2
practicality [1] 53/21       privilege [1] 5/23             121/19 122/2 124/11 128/4
practice [8] 32/9 64/22      privileged [1] 6/16            128/7 128/11 130/9 131/25
 70/22 91/14 93/24 132/19    pro [1] 3/18                   143/19 151/23 152/6 152/15
 148/18 175/1                probability [2] 122/8          153/2 175/7
practices [1] 64/21           178/18                       proposal [2] 27/8 27/22
pre [3] 68/16 86/14 172/7    probablistic [1] 122/7        proposals [1] 46/19
pre-hearing [1] 86/14        probably [10] 26/15 47/16     propose [1] 27/9
pre-period [1] 172/7          59/16 70/4 80/11 100/23      proposed [3] 117/17 144/25
precedent [5] 18/3 61/5       105/25 115/23 132/14          147/5
 85/11 96/10 127/24           135/14                       proposition [7] 77/7 120/3
precious [1] 8/20            probationary [1] 87/17         120/5 140/23 142/10 177/21
precise [1] 6/6              problem [11] 25/22 54/6        178/16
precisely [4] 14/9 17/5       55/8 65/23 69/3 69/16 79/4   propounded [1] 103/10
 106/20 112/21                82/9 88/8 173/22 180/25      protect [2] 95/20 98/16
predate [1] 135/3            problem I [1] 79/4            protected [1] 45/21
predated [1] 136/20          problems [5] 66/16 82/12      protecting [2] 77/8 105/16
predicate [3] 54/7 55/6       82/13 125/24 156/22          protects [1] 66/4
 55/13                       procedure [3] 21/24 22/5      protocol [4] 19/24 20/4
predicated [3] 79/6 79/6      63/8                          40/25 41/2
 94/7                        procedures [2] 20/13 20/22    provable [1] 51/16
predictable [3] 53/5 152/8   proceed [3] 47/19 104/6       prove [2] 88/19 99/13
 152/9                        147/22                       proven [2] 39/13 99/14
preference [1] 4/15          proceeding [1] 20/4           provide [7] 14/4 27/11
preliminary [3] 1/9 7/14     proceedings [3] 1/25           35/13 101/19 113/25 114/6
 57/17                        110/16 185/5                  149/15
prepare [3] 7/3 113/11       process [13] 20/9 20/19       provided [19] 6/17 22/4
 148/8                        21/11 21/11 21/12 23/16       25/20 67/1 95/13 99/25
prepared [7] 60/4 99/21       24/16 24/25 40/22 42/10       105/3 109/5 109/17 110/17
 99/21 103/19 107/7 134/14    64/14 64/15 94/8              138/13 148/17 149/10
 137/23                      processes [3] 64/14 67/22      154/10 154/13 161/25 164/1
present [16] 3/8 4/3 4/5      97/10                         164/15 164/23
 7/11 27/8 31/6 34/9 41/6    proclaimed [1] 48/7           provides [7] 13/9 63/8
 55/22 80/10 105/4 105/6     proclaimed that [1] 48/7       69/13 69/14 135/8 135/16
 105/9 118/6 160/3 161/13    produced [2] 1/25 4/20         138/23
presentation [1] 24/21       produces [2] 21/7 154/13      providing [1] 176/18
presentations [1] 135/8      product [1] 7/22              provision [18] 16/25 18/1
presented [12] 3/23 27/12    productivity [1] 36/14         18/4 18/7 18/9 19/2 19/5
 30/11 31/1 31/3 31/11       professional [1] 108/4         19/9 22/15 25/4 63/6 63/8
 49/25 58/5 68/5 96/20       program [24] 30/18 48/22       66/15 66/19 91/19 95/25
 109/18 137/7                 48/23 48/23 51/2 51/7 77/8    97/12 97/15
preserve [1] 92/5             77/16 77/16 83/4 150/1       provisions [12] 20/17
president [2] 34/20 108/6     159/10 159/16 159/21          21/22 22/7 23/3 23/4 25/3
presidential [1] 21/1         159/21 159/22 166/5 170/10    64/2 64/4 76/13 91/6 93/14
press [2] 36/2 59/19          170/11 170/17 170/18          97/22
pressure [16] 7/23 9/13       171/20 174/15 176/2          psychological [1] 78/22
 10/20 10/20 26/1 26/11      program or [1] 159/21         psychologist [1] 111/17
 28/21 37/10 37/14 38/16     programs [4] 30/16 43/4       psychology [2] 111/16
 45/12 46/25 47/5 51/8        84/24 162/1                   111/18
 58/10 77/11                 progress [2] 24/19 100/12     public [10] 8/2 17/20
pretending [1] 45/6          prohibit [1] 7/14              80/21 80/21 95/13 95/17
pretext [2] 37/3 50/15       prohibited [2] 10/18 11/15     102/9 102/17 153/8 173/15
pretrial [1] 6/1             prohibition [1] 13/25         publications [5] 34/23
pretty [5] 81/10 87/8        prohibits [3] 9/11 11/18       58/8 108/19 108/20 108/20
 109/7 154/25 165/11          36/21                        publicly [3] 148/20 148/25
prevent [2] 13/22 75/5       project [1] 148/4              149/12
previous [2] 123/18 139/2    projectile [1] 87/4           published [1] 43/10
previously [5] 96/2 121/19   prolonged [19] 29/4 30/11     pull [1] 64/23
 121/23 128/24 170/22         31/20 52/13 56/2 56/8        pulled [1] 79/14
primarily [1] 84/15           56/10 130/25 131/11 131/18   pulling [1] 179/12
primary [4] 118/18 144/6      132/5 133/4 142/25 143/5     pulse [1] 148/7
 147/8 164/5                  152/16 153/3 155/21 156/4    pun [1] 79/15
principal [3] 39/24 105/1     162/3                        punish [1] 46/11
 114/22                      prominently [1] 39/19         punished [1] 71/2
principally [5] 109/1        promising [1] 81/17           punishment [1] 47/13
Purchase - refer                                                                Page 216
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 216 of 228
                               66/11 66/15 66/25 67/7       ready [17] 32/8 51/6 67/23
P                              88/12 89/13 90/25 93/13       69/24 72/2 74/9 83/4 83/16
Purchase [8] 29/20 29/20       97/24                         83/17 119/3 128/2 180/12
 32/15 32/16 77/19 78/9       quote [24] 9/3 11/6 18/18      182/5 182/6 182/12 182/17
 78/16 87/22                   33/5 41/17 41/21 41/23        183/7
purporting [1] 137/11          42/4 43/12 43/20 44/8        real [9] 45/3 49/18 49/22
purpose [11] 11/7 18/25        44/17 44/25 46/15 47/3        79/24 86/19 102/14 102/15
 26/8 35/24 36/17 40/11        47/7 47/21 48/7 49/18         102/15 141/9
 48/4 136/23 151/2 165/21      49/18 50/22 54/18 63/15      realistic [1] 50/10
 171/3                         63/21                        reality [1] 77/16
purposes [9] 91/1 92/8        quoted [1] 97/19              realize [3] 20/7 177/10
 92/24 92/25 105/24 107/7     quoting [1] 42/8               177/11
 112/11 112/12 123/15                                       really [38] 16/5 29/7 36/7
pursuant [1] 20/4             R                              36/15 37/25 47/10 59/14
push [1] 49/6                 rail [1] 8/24                  60/20 90/17 94/3 94/11
pushed [1] 122/23             railroad [1] 26/9              94/14 94/16 94/20 95/24
pushing [1] 70/24             railway [69] 8/23 9/1 10/2     96/9 96/24 97/23 101/25
put [11] 24/17 28/13 49/17     10/12 10/18 11/15 11/20       102/12 106/4 112/15 116/19
 51/8 82/2 87/19 102/17        12/7 12/9 12/17 12/23 13/9    117/11 120/5 123/22 124/20
 103/17 117/23 123/23          13/14 13/20 13/24 13/25       128/12 131/13 133/12
 158/15                        14/14 14/20 15/11 16/9        138/11 138/15 139/16
puts [1] 89/14                 16/15 17/8 17/10 17/22        141/18 142/10 163/2 169/7
putting [4] 46/19 49/22        18/2 19/3 19/12 19/23         181/13
 180/18 181/20                 20/19 20/23 20/25 21/8       really what [1] 90/17
                               21/15 22/24 25/8 25/20       realtime [1] 1/25
Q                              26/6 35/18 36/20 36/21       reason [15] 24/6 35/25
qualification [1] 106/11       37/7 37/23 38/1 39/10         76/24 80/12 83/13 94/15
qualified [10] 106/14          40/18 54/5 54/9 55/7 55/8     94/16 101/17 123/23 146/2
 106/20 109/24 111/22          55/15 57/17 57/21 58/16       150/19 156/9 159/6 165/14
 111/24 112/1 112/4 112/21     60/23 62/1 62/4 63/5 64/11    165/15
 113/2 113/6                   88/21 89/22 90/4 91/9        reasonable [4] 7/16 9/4
qualify [3] 106/9 106/16       92/10 94/11 94/14 97/3        62/15 63/2
 112/25                        97/22 100/4 110/9            reasons [9] 17/16 26/14
qualifying [1] 106/8          raise [4] 3/20 40/12 103/8     36/8 83/16 143/7 165/6
quality [2] 41/18 91/11        184/13                        165/7 165/15 178/24
quarter [2] 49/17 49/21       raised [4] 14/6 26/14         reassigned [2] 58/23 58/24
Queens [1] 108/1               59/13 96/2                   rebut [1] 136/15
question [47] 12/2 14/22      raising [1] 104/6             rebuttal [17] 31/4 51/20
 16/23 23/25 24/20 35/21      RANDOLPH [1] 1/9               52/23 53/8 53/14 117/19
 35/25 36/19 38/2 66/10       random [10] 34/17 52/9         134/14 134/18 135/25 138/3
 67/9 67/10 68/4 68/9 72/8     119/11 119/20 122/4 124/13    139/21 142/21 145/3 146/11
 92/7 92/8 92/24 92/25 96/5    151/1 159/4 159/5 159/7       147/7 147/19 163/21
 112/14 112/22 115/1 115/3    range [8] 81/24 110/18        recall [4] 5/6 112/3 145/7
 116/13 116/18 120/2 122/24    116/8 137/17 137/19 155/15    161/8
 127/1 128/23 128/25 137/21    155/22 174/12                receive [3] 56/20 149/3
 140/14 140/22 141/9 152/25   rapidly [1] 80/22              182/18
 157/7 165/9 169/14 169/19    rare [2] 123/5 124/15         received [10] 8/7 50/18
 172/19 174/8 174/24 177/5    rarer [1] 123/2                57/2 57/11 107/24 107/25
 177/6 177/11 179/8           rate [16] 56/2 56/24 119/4     148/24 153/7 153/12 154/5
questioning [1] 101/13         123/19 123/23 124/1 124/3    receiving [1] 36/25
questions [14] 44/7 54/7       124/5 124/25 131/21 141/10   recently [3] 9/24 16/1
 103/10 106/9 112/24 113/1     141/14 142/2 173/9 173/14     52/18
 113/23 115/6 115/18 134/2     173/25                       recognize [1] 65/22
 147/19 172/18 174/13         rates [7] 31/16 31/19         recognized [3] 10/24 18/1
 183/15                        62/17 63/9 63/9 64/1 64/17    28/8
quibble [1] 167/14            rather [10] 34/17 35/4        recognizing [1] 50/1
quick [2] 43/13 106/13         42/20 52/19 53/16 79/7       record [19] 3/5 6/8 31/5
quickly [6] 22/8 39/25         82/3 99/12 106/15 121/17      41/3 43/23 60/8 60/9 68/6
 51/9 56/14 106/20 179/6      reach [9] 20/10 20/10          72/5 72/18 74/25 85/23
quite [14] 68/1 68/23 81/6     20/11 20/11 21/16 22/10       102/24 107/5 134/10 134/11
 102/22 106/13 118/16          22/17 64/10 110/3             160/20 184/22 185/4
 124/15 146/2 146/3 149/3     reached [5] 19/24 40/25       recorded [3] 1/25 43/10
 149/20 150/5 163/10 164/10    53/10 118/18 121/18           87/22
quo [44] 9/9 10/3 10/12       reaching [2] 119/21 133/21    recover [1] 130/21
 11/11 11/22 14/1 19/2 25/4   read [9] 13/8 18/12 27/20     red [4] 125/14 128/10
 25/4 25/8 25/11 25/25 26/5    37/17 38/9 69/7 87/5          144/17 173/13
 26/10 30/8 30/23 32/5 32/8    104/19 154/20                redacted [4] 4/20 4/22
 35/23 35/24 36/22 36/23      readily [2] 131/23 155/10      6/14 6/15
 39/9 52/5 57/21 58/6 61/3    reading [3] 18/14 18/16       redactions [1] 6/18
 61/16 61/17 61/20 61/21       57/15                        refer [6] 42/3 103/15
 63/6 63/14 64/16 65/2        reads [1] 90/10                113/17 121/3 143/3 151/24
referee - robustness                                                            Page 217
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 217 of 228
                              remain [3] 4/2 20/22          resolution [3] 15/22 16/3
R                              158/21                        64/3
referee [1] 108/19            remains [3] 40/4 144/18       resolve [2] 12/20 13/1
reference [1] 63/25            147/11                       resort [1] 22/5
referenced [2] 46/13 162/2    remedies [2] 13/11 93/5       respect [11] 5/22 6/12
references [4] 63/23 91/4     remedy [4] 14/4 14/7 15/2      39/20 88/15 97/12 100/12
 91/4 91/6                     101/20                        100/14 100/14 102/8 177/13
referred [5] 31/24 127/12     Remember [2] 44/9 162/4        177/23
 130/25 157/13 170/16         remind [2] 59/20 72/18        respectfully [1] 58/13
referring [1] 47/14           reminded [1] 47/3             respond [3] 59/22 59/23
refers [2] 144/6 151/24       remote [1] 8/17                100/20
reflection [1] 55/12          reopen [3] 40/9 40/13 41/7    responded [1] 176/4
reflects [2] 143/1 145/6      reopener [1] 27/16            response [2] 134/3 166/11
refuse [1] 32/1               repeat [3] 31/6 44/14         responses [1] 164/8
refused [5] 13/4 23/19         107/15                       responsibilities [4] 68/19
 23/23 91/24 91/25            repeated [2] 34/5 44/22        84/18 98/11 126/25
refusing [1] 31/22            repeatedly [3] 9/8 16/17      responsibility [4] 69/19
refuting [1] 101/13            43/19                         73/19 77/2 98/9
regard [7] 13/14 52/1 52/2    repeating [1] 103/14          rest [4] 73/17 150/10
 52/2 52/3 89/23 109/15       replacement [1] 31/17          161/9 161/18
regarding [3] 33/24 108/16    replete [1] 43/24             restraint [2] 85/13 85/21
 134/20                       Replication [1] 139/24        restrictions [4] 76/14
regardless [2] 133/3 146/7    report [36] 29/14 31/4         76/21 85/18 85/21
regime [3] 76/23 77/1          36/2 52/15 52/23 53/8        result [7] 34/17 122/4
 77/10                         70/13 80/11 116/20 117/2      124/13 146/5 155/11 155/13
regime they [1] 77/10          117/3 118/11 118/12 122/8     177/9
regional [3] 76/10 84/15       125/7 127/13 130/25 134/3    resulted [1] 43/1
 109/11                        136/14 137/4 137/9 138/3     results [4] 118/4 144/22
regression [27] 117/3          141/21 142/21 144/11          155/2 165/23
 119/8 119/17 120/9 120/16     144/11 145/3 147/15 148/21   retaliate [1] 46/10
 132/8 132/9 132/15 132/16     159/25 160/1 163/11 166/1    retaliatory [1] 47/14
 132/18 135/11 139/19 140/3    171/16 174/5 176/2           returned [2] 45/24 47/12
 140/6 140/9 142/6 142/25     reporter [3] 1/21 1/22 7/1    returning [1] 57/7
 143/5 152/17 152/23 157/20   reports [7] 52/11 70/13       revenue [3] 8/4 127/3
 157/22 158/20 158/22          70/14 105/11 106/5 148/16     127/7
 159/17 167/11 173/1           160/12                       reverse [1] 99/12
regressions [1] 133/7         representation [4] 69/18      review [2] 146/14 149/25
regular [1] 115/8              69/22 69/25 70/4             reviewed [2] 105/11 108/21
regularly [3] 10/22 16/2      representative [3] 102/22     reviewing [2] 146/13
 18/1                          104/15 104/25                 149/24
regulated [2] 21/11 26/7      represented [2] 89/25         rhetoric [1] 30/15
regulates [1] 20/25            161/21                       richly [1] 41/19
regulations [3] 70/5 72/25    representing [1] 3/13         right [45] 16/7 18/19 21/9
 85/16                        represents [1] 127/17          21/19 22/14 26/10 27/2
regulatory [2] 72/22 73/17    reprimanded [2] 71/3 71/4      38/4 40/5 46/19 66/13
rehash [1] 60/18              reputation [5] 8/5 39/20       66/21 66/24 67/20 70/6
reinforces [1] 142/10          55/25 57/25 58/8              72/3 73/13 74/1 74/7 74/10
related [2] 32/6 108/13       request [2] 68/12 183/21       80/4 81/19 86/25 88/4 90/4
relates [2] 70/7 119/14       requested [3] 5/21 56/12       90/9 90/15 91/17 98/2
relating [1] 108/13            56/12                         103/8 122/18 141/11 146/19
relations [7] 8/24 17/10      require [3] 4/2 68/22          150/19 151/25 163/8 164/5
 19/13 21/12 92/1 93/18        172/22                        166/12 166/17 169/4 173/5
 93/21                        required [12] 12/19 15/21      180/24 181/23 183/12
relationships [1] 58/2         20/9 20/20 40/13 43/7         184/14
relatively [2] 84/9 161/8      57/16 57/21 65/15 92/15      rights [10] 10/16 15/2
release [4] 21/6 22/6          93/4 99/25                    18/10 44/15 62/6 84/17
 22/14 51/4                   requirement [10] 10/12         90/10 98/14 98/17 98/17
releases [2] 21/14 25/10       16/3 25/8 37/11 66/12        rigor [1] 117/24
relevant [6] 100/17 115/6      72/22 92/10 95/8 96/17       ring [1] 103/21
 131/6 162/22 166/7 166/12     100/2                        rise [1] 131/18
reliability [3] 8/6 55/25     requirements [5] 73/17        rising [1] 133/2
 57/25                         74/16 94/24 97/21 161/19     risk [3] 36/9 102/18 160/5
reliable [2] 7/22 8/10        requires [7] 9/3 9/14         river [1] 65/21
relied [3] 37/21 154/11        23/16 69/20 73/2 97/9        RLA [5] 9/2 11/23 61/4
 154/12                        183/2                         62/24 90/23
relief [1] 95/16              requiring [1] 97/16           rob [1] 8/19
relies [1] 153/22             reserve [2] 45/25 46/3        ROBERT [2] 1/11 3/6
reloaded [1] 56/15            reserved [2] 59/4 59/20       robs [1] 32/3
rely [5] 30/25 39/25 56/11    reset [3] 59/11 59/14         robust [4] 155/13 155/14
 149/4 149/6                   60/18                         155/18 155/19
relying [1] 37/25             reshuffle [1] 130/23          robustness [3] 143/3
robustness... - seized                                                          Page 218
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 218 of 228
                               169/1 169/8 169/19 171/16     49/7 49/12 55/21 58/10
R                             say [68] 13/7 14/10 15/16      131/15
robustness... [2] 154/22       16/15 17/13 17/16 22/7       seasonal [1] 146/3
 155/4                         23/21 25/3 33/6 37/21 38/9   seasonality [1] 158/17
rock [1] 128/12                38/12 38/24 49/21 51/23      second [17] 36/13 49/7
role [1] 109/15                53/12 53/15 53/21 56/6        49/12 92/3 114/5 119/13
room [4] 1/23 76/8 77/12       67/2 67/6 67/19 70/20         128/6 128/17 135/7 136/22
 105/16                        71/24 72/2 84/4 84/10         139/7 144/16 146/1 158/2
rose [1] 121/17                86/14 90/19 94/5 95/6         170/9 176/12 176/14
roughly [8] 81/22 81/23        98/11 99/6 115/22 118/3      secondary [8] 133/10 156/2
 81/23 87/13 115/13 129/18     123/3 123/5 123/6 123/8       156/7 157/6 157/9 157/13
 163/3 175/3                   141/1 141/5 150/12 151/11     157/21 158/23
routine [1] 150/4              151/16 154/8 162/21 167/3    secondly [4] 9/14 18/5
routinely [1] 15/20            167/8 167/23 170/1 170/4      31/18 54/20
row [2] 144/16 158/2           170/24 174/17 176/16         seconds [3] 176/21 177/13
RPR [3] 1/21 185/3 185/10      176/25 178/7 178/14 178/17    177/18
rule [9] 10/23 32/25 38/12     179/4 180/3 180/10 182/6     section [101] 9/1 9/9 10/2
 71/6 112/25 119/23 120/13     182/10 182/22 183/4 183/5     10/18 13/23 14/19 15/10
 124/20 156/11                 183/20                        18/25 19/2 22/1 22/2 22/3
ruled [1] 124/17              saying [29] 13/4 50/13         23/15 23/21 23/22 23/25
rules [7] 62/17 64/1 78/7      58/3 58/4 62/24 69/25         25/20 26/5 26/17 29/15
 85/16 161/9 161/15 161/18     70/12 72/19 73/3 74/9         36/20 37/6 40/18 42/10
ruling [1] 24/3                74/22 75/3 75/3 76/4 77/19    42/17 42/24 54/8 55/15
rumors [1] 49/17               83/3 84/6 84/23 86/18 90/3    57/17 61/4 62/10 63/3 63/5
run [6] 19/8 37/10 48/8        92/21 92/24 102/9 141/7       63/6 63/23 64/4 64/4 64/6
 65/6 71/14 152/1              149/1 152/6 153/16 155/11     64/11 64/15 64/15 65/4
running [4] 130/18 132/16      182/7                         66/13 66/19 66/20 67/1
 150/24 167/15                says [34] 18/8 18/8 18/13      68/16 68/16 85/10 85/24
runs [3] 140/6 141/3 141/6     18/18 26/16 36/2 36/5         89/12 89/13 90/12 90/14
runway [4] 150/24 178/2        36/12 38/21 38/23 44/13       93/13 94/8 94/25 95/14
 180/11 180/15                 52/5 60/24 62/10 62/13        97/11 97/14 97/14 97/17
S                              63/20 66/3 70/17 71/6         97/19 97/20 97/23 97/24
                               71/15 71/21 72/5 74/10        98/4 114/2 114/8 117/13
sabotage [1] 49/3              80/21 85/15 87/19 92/11       118/20 119/15 120/8 121/12
sacrifice [1] 140/13           94/22 95/7 98/10 137/14       121/16 121/21 122/3 122/10
safe [6] 10/24 33/24 38/12     156/14 179/22 181/15          124/5 124/7 125/15 125/18
 46/2 84/1 85/8               scab [2] 47/14 47/18           126/12 128/10 129/13
safely [2] 33/7 33/14         scabs [2] 30/4 34/5            129/15 131/10 131/12 135/4
safety [12] 29/24 32/3        scale [1] 138/14               136/13 136/20 139/8 141/25
 33/6 33/7 33/19 37/2 46/3    schedule [15] 59/21 76/20      142/12 145/10 145/22 146/9
 48/4 48/23 85/16 102/3        126/6 146/2 150/3 151/7       159/8 162/24 163/4 170/20
 102/9                         152/2 162/17 175/11 179/22   sections [1] 22/4
said [46] 12/14 14/15 15/4     179/24 181/10 181/11         see [60] 15/24 16/16 17/21
 15/9 16/19 22/16 23/15        181/16 183/2                  19/16 24/18 30/11 30/12
 23/17 26/20 26/23 27/6       scheduled [14] 31/15 51/5      30/12 30/13 30/14 32/12
 29/14 30/4 35/6 37/8 48/23    53/4 75/19 80/25 144/1        32/23 37/23 47/4 47/18
 48/24 49/5 49/19 50/22        151/13 151/25 152/7 152/11    50/5 59/5 65/12 103/20
 55/10 55/18 56/19 57/23       168/20 169/16 174/21          104/14 115/17 117/6 117/21
 61/15 64/13 65/19 65/23       179/17                        121/17 121/20 125/16 126/7
 69/1 69/2 69/3 73/9 81/9     schedules [4] 149/25 151/8     126/10 129/10 129/15
 81/11 85/20 94/8 96/6         169/17 183/1                  131/17 131/19 133/16 136/8
 101/13 112/16 126/17         scheduling [7] 45/5 112/2      136/14 137/18 138/6 138/21
 151/22 153/24 154/1 155/6     149/15 149/17 149/18          138/23 139/15 144/9 144/16
 155/8 169/10                  149/24 151/18                 147/6 150/1 151/16 153/18
same [31] 21/22 28/12         scheduling software [1]        154/21 158/1 158/13 160/18
 28/23 29/15 30/9 30/12        149/17                        163/22 163/24 168/22
 42/9 42/12 49/11 52/1        scholarly [2] 108/21 109/1     168/24 169/6 169/9 173/6
 53/17 53/19 77/25 101/25     scholars [1] 115/24            173/10 176/2 176/10
 117/24 121/14 124/1 124/14   science [3] 108/2 111/20      seeing [7] 53/15 53/17
 130/18 130/20 132/17          111/21                        53/18 116/23 117/6 132/14
 138/12 138/20 140/8 141/25   scored [2] 141/3 141/6         132/14
 142/5 145/18 146/4 163/3     screen [8] 103/17 113/18      seek [7] 12/20 15/17 15/21
 163/3 165/24                  120/25 123/15 127/14 137/1    15/22 16/3 18/10 20/23
same-day [2] 30/12 52/1        142/22 145/4                 seeking [2] 38/21 55/8
sample [3] 156/5 158/24       screwed [1] 87/19             seem [4] 81/6 138/22 180/1
 165/16                       Seafoods [1] 65/21             181/21
sat [1] 26/19                 seal [13] 3/24 4/8 4/16       seems [1] 105/7
satisfaction [1] 16/19         4/17 4/25 5/2 5/13 5/21      seen [6] 18/3 56/1 76/15
satisfied [2] 95/4 149/10      6/5 6/7 6/10 6/13 6/14        121/19 125/23 176/8
saw [11] 29/4 30/5 133/1      sealed [2] 4/2 4/19           segmented [1] 80/13
 147/4 147/4 168/16 168/17    season [8] 7/20 8/11 39/22    seized [1] 170/18
selection - six                                                                 Page 219
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 219 of 228
                               136/10                        121/24 124/16 131/15
S                             severely [2] 8/4 8/11          131/18 152/14 154/10
selection [1] 158/24          severity [1] 91/12            side [10] 4/18 26/12 64/17
self [4] 21/3 21/9 22/15      shaded [1] 173/14              68/6 75/23 78/10 78/11
 25/11                        shall [6] 18/9 18/19 62/14     97/25 137/18 182/16
self-help [4] 21/3 21/9        64/1 95/14 95/16             sidelines [1] 24/8
 22/15 25/11                  share [2] 30/19 161/12        sides [10] 65/11 65/19
sell [1] 43/12                shares [1] 102/16              65/22 65/24 66/7 68/7 78/7
semi [1] 26/7                 sharply [1] 121/17             78/19 182/15 183/3
semi-regulated [1] 26/7       shattering [1] 81/25          SIEGEL [14] 1/11 2/4 2/10
sending [3] 120/8 124/5       shed [3] 115/2 115/17          2/12 3/7 6/24 69/7 71/8
 135/3                         125/20                        86/14 91/24 100/20 103/5
sense [13] 53/15 53/21        shell [1] 143/15               129/4 134/12
 53/25 70/7 75/1 75/17 76/1   sheriff [1] 65/18             signal [2] 27/18 28/8
 76/3 79/5 81/2 82/8 82/22    shifted [1] 65/5              signals [2] 10/25 33/2
 122/22                       shifting [1] 98/24            significance [2] 147/10
sensical [1] 75/25            shifts [1] 90/25               158/8
sensitive [1] 80/24           ship [1] 51/12                significant [25] 7/24 8/14
sensitivity [3] 142/24        SHOP [9] 29/19 32/15 32/16     24/24 34/16 43/2 51/25
 143/4 168/12                  32/21 43/5 49/6 51/6 77/16    52/6 58/7 81/24 114/4
sent [23] 40/17 42/1 54/15     77/18                         114/11 114/15 118/21
 114/2 114/8 117/13 118/19    SHOP'ing [1] 48/11             119/10 119/18 132/6 132/20
 119/15 121/16 122/10 124/7   Shoreline [1] 64/20            132/23 136/12 142/8 142/13
 125/15 126/12 128/10         short [18] 12/12 22/10         144/18 146/23 176/19
 129/15 131/10 131/13          30/25 31/14 34/14 41/24       179/12
 136/13 142/12 145/10 146/9    52/1 82/24 118/24 120/23     significantly [1] 163/11
 159/8 162/25                  121/3 121/17 121/24 122/2    signify [2] 132/18 132/19
sentence [2] 91/19 91/23       131/15 131/18 137/22 166/4   similar [9] 53/3 108/10
separate [4] 12/25 44/5       short-notice [1] 52/1          116/2 116/6 116/7 119/13
 90/1 90/2                    shortage [4] 125/22 125/25     120/2 123/17 176/23
separately [1] 152/25          126/1 126/2                  simple [4] 48/10 140/10
September [8] 40/3 44/24      shorter [2] 145/16 145/18      140/12 142/5
 46/13 58/24 122/15 123/3     shorthand [1] 1/25            simplicity [1] 140/13
 131/20 148/9                 shortly [3] 121/15 128/9      simply [16] 18/4 24/11
September 15 [1] 44/24         164/7                         66/25 70/20 71/15 71/25
September 15th [1] 46/13      shot [2] 128/14 129/19         73/2 85/10 88/6 88/21
September 28th [1] 58/24      should [16] 4/8 4/8 6/7        92/18 152/10 156/8 165/13
September 8th [1] 40/3         23/13 33/16 41/11 51/4        179/18 182/22
sequence [1] 136/3             58/13 60/4 60/19 91/22       simulator [1] 127/5
series [7] 9/16 13/19          99/20 105/24 107/14 169/16   since [30] 6/4 6/8 42/23
 56/22 108/25 109/1 113/1      184/7                         53/2 56/4 65/8 77/24 80/21
 173/6                        shouldn't [4] 69/3 81/20       95/21 108/8 119/15 120/8
serious [4] 102/3 102/8        133/12 162/21                 121/22 122/3 122/10 124/7
 102/13 135/12                show [14] 6/18 119/10          125/14 125/18 126/12
seriously [1] 102/20           136/18 137/11 152/21          126/19 129/14 131/19
serve [1] 173/19               152/23 152/24 152/24 153/1    132/25 139/8 144/15 145/10
served [10] 25/1 25/2 25/6     155/13 175/21 176/18          145/10 145/22 146/8 184/19
 26/17 61/12 109/15 109/21     180/13 181/7                 single [6] 40/23 41/5
 110/1 110/5 143/17           showed [1] 180/16              56/17 90/5 140/9 144/19
serves [1] 173/2              showing [5] 57/20 93/18       sir [1] 107/19
service [3] 81/8 127/3         137/9 146/21 154/4           sisters [1] 51/1
 127/8                        shown [6] 103/23 128/4        sit [4] 21/1 24/11 24/13
servicemen [2] 8/15 8/18       138/14 146/1 166/1 170/23     30/19
services [3] 8/10 20/24       shows [32] 12/24 27/3 27/4    sitters [1] 47/23
 109/5                         28/5 38/15 51/23 53/10       sitting [2] 180/11 180/14
sessions [1] 44/5              74/25 119/17 121/1 121/1     situation [6] 21/17 23/4
set [18] 18/12 35/12 45/2      121/10 121/15 124/4 127/23    55/14 97/5 102/17 122/7
 50/12 63/12 64/4 66/2         128/9 129/7 130/9 131/8      situations [2] 53/7 110/6
 89/10 120/18 133/11 140/8     132/15 132/25 133/15         six [75] 31/21 56/2 70/15
 142/5 156/21 171/8 175/9      133/18 137/17 137/22 142/4    70/20 73/7 73/10 73/12
 175/19 182/3 182/8            142/7 145/21 146/6 174/25     73/20 73/21 74/17 74/24
sets [7] 63/14 72/22 89/12     177/14 180/13                 75/5 75/6 75/13 75/19 79/1
 120/6 174/21 181/10 181/16   shuts [1] 156/19               79/12 79/14 79/15 80/6
settings [1] 110/4            sick [38] 10/9 10/17 30/12     80/16 82/18 82/19 82/19
settle [3] 9/5 62/12 62/18     31/14 34/14 35/2 35/7         83/1 83/5 118/10 130/11
seven [2] 155/17 155/19        35/10 35/11 35/18 39/4        130/14 130/24 135/11
Seventh [7] 9/19 9/21 11/1     39/6 39/6 52/1 52/1 86/21     154/19 154/23 155/1 155/6
 11/5 11/9 16/2 89/6           86/22 86/23 86/25 87/7        155/8 155/9 155/12 155/18
several [11] 44/23 46/19       87/23 101/12 102/9 118/24     155/20 155/22 155/25
 50/15 54/9 70/4 88/2 91/4     120/23 121/2 121/5 121/6      156/13 156/19 158/9 165/8
 118/20 121/12 130/22          121/7 121/10 121/13 121/16    165/10 165/13 165/23
six... - status                                                                 Page 220
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 220 of 228
                              someone [3] 87/24 153/18      spots [1] 182/19
S                              184/1                        spouses [1] 57/12
six... [26] 166/15 167/5      someone's [1] 182/3           St [1] 1/16
 167/23 168/3 168/6 168/8     someplace [2] 76/22 78/5      stable [1] 78/6
 168/12 170/19 170/21         something [38] 42/6 42/7      staff [2] 21/2 184/18
 170/24 171/6 171/22 172/2     61/22 64/22 64/23 67/11      stage [2] 24/4 42/21
 172/4 172/7 174/17 175/18     69/14 78/13 79/13 81/24      stance [1] 45/8
 177/8 177/9 177/16 177/19     84/1 86/11 88/6 91/13        stand [3] 78/20 88/6
 177/25 177/25 178/14          91/22 92/18 96/18 99/13       156/25
 178/16 183/11                 101/7 103/1 123/1 123/20     standard [18] 7/11 33/19
size [1] 143/15                126/17 126/21 126/22          37/24 40/12 48/9 57/20
skin [1] 78/23                 128/21 129/5 150/2 150/4      82/24 97/17 115/15 116/4
slightly [4] 119/8 133/19      150/6 150/14 161/4 162/6      122/6 125/1 132/19 138/16
 169/5 177/17                  171/7 180/3 180/4 180/8       148/18 154/23 155/5 155/6
Sloane [2] 5/20 23/13          181/9                        standardized [1] 123/23
slogan [2] 32/23 33/7         something's [1] 82/2          standing [2] 5/19 41/21
slogans [1] 32/25             sometime [4] 148/5 148/9      stands [1] 51/3
slow [4] 9/12 35/8 72/14       148/14 169/23                stars [1] 144/19
 176/17                       sometimes [10] 56/5 56/6      start [25] 3/21 20/18
slowdown [43] 7/16 7/17        99/6 119/1 171/14 171/14      27/19 46/19 60/3 67/2
 7/22 8/13 9/15 10/25 11/8     180/5 180/6 182/4 182/5       67/23 72/17 77/21 78/5
 11/10 11/13 12/21 18/12      somewhat [2] 95/23 143/20      78/6 78/18 81/5 93/13
 21/4 31/19 33/2 33/9 33/14   soon [1] 51/12                 96/16 120/3 120/22 122/23
 34/23 39/19 39/21 42/18      sooner [2] 182/1 182/2         123/3 131/17 136/3 138/15
 43/21 46/9 48/2 48/4 49/3    sophisticated [1] 153/21       159/16 160/17 184/4
 50/16 50/19 52/5 53/16       sorry [18] 72/16 97/19        started [22] 5/5 24/16
 54/12 54/14 54/17 54/23       104/3 107/13 131/18 137/13    28/4 28/12 29/11 29/11
 54/25 55/2 55/20 58/5         139/10 145/14 151/21          29/12 30/4 31/19 42/10
 58/18 61/13 86/2 91/18        159/23 167/8 171/4 171/12     42/16 42/17 58/3 61/10
 91/22 110/7                   172/14 172/19 173/10 177/4    65/1 65/25 66/8 81/4 90/5
slowdowns [3] 21/13 79/9       182/23                        126/18 145/16 160/16
 85/18                        sort [8] 19/9 76/2 77/12      starting [7] 25/19 122/15
slower [1] 177/17              92/22 100/7 117/18 179/7      126/1 131/9 137/12 160/12
slowly [1] 184/16              181/18                        161/4
small [8] 128/7 138/22        sorted [1] 56/14              starts [3] 45/3 61/7
 166/16 166/17 167/10         sorting [1] 56/13              137/19
 167/12 167/15 176/20         sought [2] 95/17 115/5        state [3] 107/5 109/20
smaller [3] 128/4 151/15      sound [1] 95/21                146/19
 151/15                       sounds [2] 95/10 183/19       stated [5] 17/7 42/12
snapping [1] 73/3             source [4] 146/23 147/16       46/14 48/22 55/1
snarky [1] 184/9               174/2 174/6                  statement [3] 7/8 7/10
snowstorm [1] 166/25          sources [1] 173/15             60/15
so [263]                      Southern [12] 9/25 19/20      statements [3] 2/3 3/21
socialize [1] 46/24            20/5 21/19 21/22 22/3 23/6    146/16
software [1] 149/17            23/24 24/9 40/6 40/21        STATES [7] 1/1 1/10 8/1
soldier [1] 57/12              58/22                         57/2 109/8 109/16 174/7
solely [1] 80/18              Southwest [1] 109/10          station [1] 182/17
solemnly [1] 103/9            speak [11] 4/4 35/21 38/2     statistic [4] 101/9 101/22
solid [1] 47/24                72/15 116/24 123/10 128/22    101/23 119/20
solidarity [4] 34/4 42/14      128/22 152/24 176/1 178/8    statistical [31] 39/14
 49/9 49/13                   speaking [1] 125/11            51/17 51/23 53/7 75/22
solve [4] 15/16 16/21 54/6    special [1] 21/24              79/6 110/6 110/24 113/25
 55/7                         specialized [1] 80/24          114/6 115/15 116/5 116/14
some [65] 3/22 4/4 4/12       specific [5] 22/1 27/9         117/1 117/2 118/2 119/7
 9/18 10/14 15/24 24/7         152/17 155/21 161/20          119/12 122/1 122/4 124/10
 25/23 28/4 28/5 28/10 29/1   specifically [12] 49/20        124/13 132/4 135/13 136/6
 29/5 30/19 31/8 39/24 42/2    111/25 112/6 113/17 120/9     141/22 147/10 150/17
 46/16 46/17 47/7 47/17        144/5 144/11 145/15 150/2     150/20 151/2 163/1
 48/15 48/15 48/17 50/25       153/4 157/5 163/20           statistically [22] 34/16
 53/8 54/6 60/18 64/23 69/6   specified [1] 22/17            51/25 52/6 53/24 114/4
 69/7 76/8 78/25 88/13 94/5   spectrum [2] 139/14 155/15     114/11 114/15 118/21
 94/21 103/15 103/17 106/9    speech [1] 98/17               119/10 119/16 119/18 132/6
 109/4 109/9 109/14 115/2     speed [3] 106/3 179/9          132/20 132/23 136/12 142/8
 115/17 117/2 117/17 119/7     179/14                        142/13 144/12 144/18
 119/8 120/20 120/22 121/4    speeds [1] 178/24              146/22 176/8 176/19
 132/14 134/19 139/5 142/11   spike [5] 29/4 30/11 30/12    statistician [1] 114/9
 143/6 152/3 156/9 161/25      52/12 52/13                  statistics [13] 34/10
 164/8 169/25 171/5 180/1     Spirit [3] 9/24 109/10         53/13 85/25 88/7 88/14
 183/8 183/15                  164/16                        88/21 88/22 99/12 108/13
somebody [1] 71/15            spoke [3] 3/25 132/2           109/25 111/5 113/2 180/13
somebody's [1] 78/23           173/16                       status [47] 6/1 9/9 10/3
status... - TEAMSTERS                                                           Page 221
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 221 of 228
                              stronger [1] 169/5             21/10 57/18 64/13 64/20
S                             struck [1] 13/24               85/17 85/20 88/10 96/6
status... [44] 10/12 11/11    studied [1] 116/2              96/7
 11/22 14/1 19/2 19/6 25/4    studies [1] 113/20            sure [30] 6/9 7/5 23/13
 25/4 25/8 25/11 25/25 26/5   study [2] 115/16 119/16        24/4 24/22 51/1 59/18 68/1
 26/10 30/8 30/23 32/5 32/8   studying [2] 115/10 115/21     72/21 75/2 77/9 78/10
 35/23 35/24 36/21 36/23      stuff [4] 46/18 102/3          78/19 82/8 82/14 84/1 85/6
 39/9 52/4 57/21 58/6 61/3     166/24 179/14                 106/13 112/11 112/20
 61/16 61/17 61/20 61/21      styled [1] 60/23               132/16 146/3 153/11 155/1
 63/6 63/14 64/16 65/2        subject [17] 12/5 16/25        167/9 171/5 174/16 178/25
 66/11 66/15 66/25 67/7        21/18 30/6 33/10 47/13        182/14 184/16
 88/12 89/13 90/25 93/13       55/16 76/20 96/3 96/8        suspect [1] 88/15
 97/23 104/4                   96/10 96/14 100/18 123/13    suspicious [1] 137/16
statute [18] 12/1 15/15        145/2 147/19 164/12          swear [1] 103/9
 17/16 38/7 61/9 61/25 62/4   subjects [1] 110/14           switch [2] 136/24 176/10
 63/15 68/24 93/22 94/23      submit [9] 17/14 18/24        sympathize [1] 140/11
 94/24 96/1 96/12 96/16        22/11 22/18 23/19 44/2       sympathizers [1] 47/23
 96/23 97/16 98/6              57/10 58/13 100/16           system [2] 91/23 92/5
statutes [3] 61/25 97/6       submitted [5] 23/9 24/2       systematic [3] 151/6
 99/10                         27/22 52/15 148/8             156/22 159/3
statutory [3] 17/12 63/7      submitting [1] 23/11          systematically [2] 120/10
 66/14                        substantial [4] 100/12         171/20
stay [3] 49/8 104/16           137/12 155/23 168/6          systemic [2] 180/5 180/9
 105/16                       substantially [1] 61/1
stenographic [1] 1/25         substituted [1] 165/22        T
step [2] 13/16 184/5          success [1] 32/19             tab [2] 136/24 136/25
stepped [1] 87/19             such [32] 7/3 10/8 10/23      table [5] 44/10 59/12
steps [3] 9/14 55/3 55/4       11/9 14/7 18/20 21/13 33/7    132/15 158/15 173/1
stick [6] 59/21 65/19 66/7     34/4 34/13 37/23 40/25       tactic [1] 11/1
 79/4 80/7 85/2                43/21 52/19 62/19 63/22      tactics [2] 47/14 49/3
sticking [1] 174/15            63/24 95/14 95/15 98/19      tail [1] 180/19
still [29] 19/10 24/17         99/12 101/19 109/10 109/11   take [35] 9/14 13/6 18/5
 32/7 73/14 73/15 74/11        109/12 115/14 138/17          21/3 21/9 22/15 30/4 31/5
 74/15 75/14 75/21 75/24       150/17 157/18 162/11          34/2 36/6 37/24 46/1 53/8
 77/21 83/14 83/14 85/22       163/19 170/20                 55/3 61/24 63/19 66/11
 89/10 89/21 93/3 100/4       sudden [1] 36/14               80/8 83/10 85/19 87/17
 118/6 163/13 171/9 174/18    suffer [2] 55/23 130/10        89/24 99/16 100/15 102/19
 178/23 179/9 179/12 179/13   suffered [1] 153/3             105/25 120/24 128/20
 182/16 183/20 183/23         suffering [3] 125/21           133/24 134/3 143/4 172/2
stipulate [1] 71/9             146/24 167/4                  177/13 182/4 184/7
stipulation [1] 106/7         suffers [2] 135/12 157/15     taken [2] 58/7 90/24
stood [1] 47/22               Suffice [1] 123/6             takeoff [1] 150/25
stop [25] 7/17 9/15 11/13     sufficient [1] 149/11         takes [2] 12/15 68/7
 12/21 15/23 16/17 29/20      suggest [3] 88/15 104/21      taking [4] 36/3 68/18 83/7
 29/21 32/15 32/17 32/18       141/3                         172/21
 43/6 43/13 54/24 55/3        suggested [1] 142/6           talents [1] 43/13
 58/17 58/19 77/19 78/7       suggesting [1] 140/22         talk [15] 70/6 70/11 74/13
 78/9 78/16 83/3 89/22        suggests [2] 143/7 163/23      80/16 88/6 91/7 91/19
 169/22 183/18                suit [1] 96/11                 153/9 154/15 170/8 170/9
stops [1] 45/4                Suite [1] 1/16                 183/24 183/25 184/2 184/3
storm [1] 156/19              summarize [8] 27/3 30/23      talked [6] 26/20 68/14
strange [1] 90/14              31/8 107/22 108/15 118/13     79/19 94/10 118/6 165/15
strategy [1] 45/24             134/19 146/18                talking [24] 63/10 64/19
street [3] 1/13 66/5 90/15    summarized [2] 46/6 56/22      64/20 70/9 70/9 70/12
stress [2] 16/5 33/16         summarizes [1] 143/2           70/14 74/21 75/1 79/21
strict [8] 28/7 28/13         summary [5] 23/10 30/25        80/17 81/4 81/5 83/1 88/9
 28/19 29/12 65/10 89/16       116/10 118/12 135/1           95/22 102/2 153/7 153/8
 97/16 97/21                  summer [1] 148/9               170/12 172/11 174/15
strictly [15] 11/7 26/23      supplement [2] 115/9           174/16 181/8
 26/25 32/22 41/11 43/7        143/11                       targeted [1] 166/13
 44/14 44/15 44/19 65/11      supplemental [7] 3/25 5/4     tasked [1] 148/12
 90/9 94/24 95/7 95/8 97/10    5/18 27/23 135/25 164/6      tasks [1] 114/14
strike [18] 11/24 15/10        164/7                        taxi [6] 75/14 176/13
 15/13 16/25 17/7 17/11       supplies [3] 8/8 8/17 57/6     176/14 176/17 176/23
 17/12 17/14 18/7 18/16       support [9] 7/11 9/17          177/14
 18/23 19/4 21/4 22/14         11/17 11/21 77/7 99/14       taxied [1] 177/17
 62/24 62/25 86/2 91/18        136/6 140/23 177/15          taxiing [4] 70/25 150/23
strikes [5] 21/13 24/23       suppose [2] 122/14 178/2       177/17 177/19
 85/19 100/6 100/22           supposed [4] 87/12 179/23     teach [2] 84/24 160/24
strip [1] 120/16               181/12 181/15                teaches [1] 76/9
strong [3] 4/15 41/21 49/8    Supreme [11] 9/2 18/2         TEAMSTERS [13] 1/6 1/18
TEAMSTERS... - there's                                                          Page 222
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 222 of 228
                              that's [144] 4/10 12/22        29/11 29/12
T                              13/4 16/8 16/16 16/18 17/2   themselves [2] 73/16 99/5
TEAMSTERS... [11] 3/4 3/14     17/8 18/23 21/14 25/6        then [80] 5/8 20/12 20/12
 3/14 3/16 19/19 20/5 21/19    26/22 30/5 30/22 32/10        21/7 21/8 22/17 23/17
 42/2 54/21 90/1 105/1         37/18 38/4 38/12 38/23        23/23 24/21 27/21 41/20
technically [1] 4/12           41/4 41/24 43/16 43/21        42/6 42/25 47/20 49/13
techniques [2] 116/5 116/6     44/20 45/13 46/1 48/23        50/8 50/9 53/10 54/25 60/3
telephone [1] 44/5             61/5 63/22 64/11 64/12        61/8 65/25 66/11 66/24
tell [12] 14/9 37/17 66/20     64/16 65/19 65/23 66/8        67/5 68/13 73/4 75/9 75/21
 78/20 89/8 96/22 100/24       66/15 67/9 67/11 67/13        75/24 76/16 76/21 79/15
 101/10 109/4 119/21 166/15    68/9 68/20 68/22 68/25        84/6 89/15 92/16 97/24
 176/6                         70/2 71/10 72/7 74/7 74/25    100/3 100/9 100/20 101/4
telling [6] 32/13 45/19        75/24 75/25 77/4 77/14        101/23 102/13 104/14
 77/5 82/17 83/22 136/9        78/15 78/15 78/16 79/10       104/18 106/1 106/9 109/8
tells [1] 78/12                79/20 80/5 80/7 80/11         114/13 115/8 117/24 119/4
tempo [1] 144/7                80/11 81/10 81/21 82/15       120/5 120/13 122/15 122/20
tend [3] 117/15 140/11         84/1 84/14 85/10 86/17        128/7 129/14 130/21 135/14
 154/24                        86/20 86/21 87/6 87/7 87/9    137/21 138/17 139/7 144/3
tension [1] 97/2               87/15 88/1 88/4 88/8 88/21    150/11 150/11 157/7 157/19
term [7] 19/8 19/14 25/12      91/1 91/5 92/6 94/7 94/9      157/21 158/5 161/4 164/5
 26/6 112/17 170/2 178/23      94/25 95/5 96/18 97/7         166/4 174/13 177/22 179/23
terms [18] 11/7 17/4 22/21     100/3 103/23 105/18 106/2     180/24 181/25 182/24
 26/21 58/21 68/17 81/14       107/16 116/18 121/5 122/19    183/18
 84/10 88/7 90/10 91/15        122/21 122/24 127/1 128/25   theories [4] 98/19 98/24
 104/24 116/1 118/4 131/24     129/17 131/5 135/4 135/5      98/24 98/24
 148/7 152/15 176/9            138/4 140/1 140/21 141/7     theory [4] 63/12 65/5
terribly [1] 170/5             142/21 143/25 144/13          145/17 181/18
test [8] 122/7 122/25          150/12 156/16 156/16         there [135] 3/22 4/7 6/11
 123/3 123/6 124/10 124/14     157/19 158/2 160/3 164/3      6/18 9/16 11/17 11/20
 141/23 144/2                  164/17 165/14 166/13          12/11 12/14 12/15 13/22
tested [1] 147/13              166/16 166/17 167/9 168/12    13/23 14/7 14/12 14/23
testified [7] 31/7 34/11       170/15 171/8 172/6 172/21     15/1 17/22 19/4 19/19
 43/18 110/3 110/15 131/4      172/22 173/8 173/25 174/1     20/12 21/15 21/17 21/24
 176/24                        174/18 174/22 175/16          22/4 23/15 24/25 25/11
testifies [1] 103/16           178/15 179/7 179/13 180/16    25/22 26/10 29/2 29/2 29/5
testify [5] 39/18 57/3         181/2 181/18 182/24 183/10    39/10 39/11 41/17 44/9
 104/5 113/6 171/15            184/13                        44/24 46/4 47/16 47/21
testifying [2] 39/3 113/4     that's very [1] 80/11          49/14 51/6 51/24 55/20
testimony [27] 2/8 31/3       the two [1] 89/2               60/3 61/2 66/15 69/6 70/15
 31/5 35/6 51/16 56/18 60/1   their [77] 8/7 8/16 8/20       70/16 72/4 73/15 74/19
 80/10 103/14 103/22 105/4     11/24 13/7 18/18 19/21        74/20 74/22 74/23 79/15
 105/5 107/8 110/17 128/21     21/23 25/24 28/25 29/18       80/12 81/9 81/11 81/16
 131/7 136/10 153/6 155/7      31/12 32/23 33/4 33/18        82/2 90/8 90/23 92/10
 180/1 181/4 182/14 183/10     33/18 37/22 39/16 44/1        93/12 93/21 93/23 95/1
 183/14 183/16 183/22 184/3    44/12 44/16 47/9 48/8         95/5 96/7 97/1 97/7 98/6
testing [1] 171/24             48/11 49/2 49/21 56/11        101/18 102/1 102/10 106/23
tests [1] 122/1                56/25 57/7 58/8 60/22         107/14 107/19 108/8 108/19
tethered [1] 65/3              60/22 61/3 61/5 62/8 62/12    113/23 114/14 116/21 120/4
tethers [1] 63/12              62/14 71/5 71/11 73/5 73/5    122/16 122/17 124/23 127/4
than [42] 27/10 28/15          77/2 82/12 82/13 82/19        127/24 131/13 133/2 133/11
 31/16 31/19 36/3 40/10        83/25 84/13 84/17 84/18       133/16 133/18 136/6 136/10
 49/8 51/22 56/24 59/11        85/2 86/22 90/11 90/19        141/2 141/5 142/16 148/10
 61/10 69/13 69/14 74/24       90/20 90/21 90/21 90/23       158/5 163/2 163/21 164/7
 75/19 79/2 80/19 82/4         91/1 98/11 98/23 99/2         165/6 166/5 166/10 171/4
 84/22 86/18 99/5 105/25       100/13 100/22 109/9 119/5     176/18 177/11 177/25 178/7
 106/15 119/23 122/11 123/4    126/7 126/13 127/3 137/10     178/9 178/23 179/9 179/11
 125/18 130/12 130/18 134/4    148/6 149/16 151/8 154/14     179/21 179/22 179/23 180/4
 144/1 146/9 147/16 168/20     158/8 165/20 173/19 179/4     180/15 180/18 180/21
 169/5 170/21 174/17 175/18   them [48] 4/21 5/20 7/16       180/23 182/12 182/18
 178/17 181/24 182/1 182/13    8/16 8/19 8/20 30/3 33/4      182/24 183/1 183/6 183/7
thank [40] 3/17 3/19 4/24      35/9 36/24 39/6 44/11 45/5    183/9 183/11 184/6
 5/14 5/17 6/22 6/23 7/6       45/19 46/24 46/24 46/25      there's [107] 4/11 4/15
 30/22 58/19 58/20 58/25       47/4 48/17 50/5 54/10         4/16 13/15 13/18 13/19
 59/1 60/6 60/7 60/11 72/20    54/14 58/18 63/16 63/18       15/7 15/9 15/13 17/7 17/11
 72/21 102/19 103/2 103/4      65/21 72/6 72/9 74/5 76/7     17/14 19/17 19/20 20/11
 105/19 105/20 105/23          76/25 85/1 98/10 99/14        21/1 22/25 25/6 26/7 33/10
 106/18 107/4 116/9 118/8      99/15 103/17 103/17 103/20    35/23 36/1 36/24 38/20
 120/20 127/9 129/25 134/9     106/5 114/23 119/10 135/1     48/16 52/21 55/11 59/12
 142/14 147/18 147/21 155/5    135/12 144/21 151/18          66/12 68/16 70/21 70/22
 157/2 169/24 184/19 184/21    158/15 168/2 180/23           72/11 73/8 73/25 74/21
that [1249]                   theme [4] 27/25 28/12          74/22 74/24 75/4 75/16
there's... - time                                                               Page 223
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 223 of 228
                               77/9 77/10 80/17 81/8 81/8    166/22 167/5 167/15 167/22
T                              81/11 82/20 83/25 84/16       170/6 170/16 171/2 171/14
there's... [67] 76/15          84/17 85/2 85/7 85/7 85/24    174/25 175/23 175/25 177/4
 76/17 77/13 79/13 82/5        85/25 86/1 86/23 86/24        178/11 181/22
 82/22 83/2 83/16 85/10        90/17 90/19 90/20 91/12      thinking [3] 178/5 179/1
 88/12 88/13 88/13 89/2        91/25 93/3 93/5 94/8 98/2     181/19
 89/7 90/22 93/24 93/25        98/3 98/25 101/7 101/13      third [6] 39/17 107/12
 97/2 97/2 97/4 97/5 98/19     102/12 102/13 105/8 114/11    107/16 114/13 135/10
 99/3 106/1 116/25 117/1       114/16 115/8 115/20 115/22    139/17
 118/17 119/18 120/5 122/6     117/21 117/22 126/5 126/6    thirdly [1] 54/25
 123/2 124/24 125/25 128/21    126/8 126/24 126/24 130/15   this [327]
 129/10 132/21 134/24          130/20 138/22 139/20         Thomas [1] 42/8
 136/18 137/11 137/15          144/13 145/19 146/17         thorough [1] 154/25
 139/15 141/24 144/12          148/10 149/22 149/22         thoroughly [1] 11/2
 145/21 148/19 149/2 150/20    150/22 150/23 151/19         those [74] 5/10 10/1 13/11
 150/25 155/9 156/9 158/14     159/23 159/24 161/23          14/3 14/6 14/7 14/11 14/15
 159/4 159/6 165/6 166/24      161/25 164/9 170/21 175/20    19/21 19/21 20/3 22/3 22/7
 169/19 172/4 172/6 173/6      182/18                        23/2 23/4 26/1 26/13 29/1
 175/17 175/17 178/12         they'll [1] 31/7               34/15 35/16 38/14 39/7
 178/24 180/4 180/8 182/15    they're [41] 9/17 15/14        39/8 42/16 45/21 46/6
 183/8                         19/25 20/12 36/17 64/3        61/15 63/8 64/14 65/7 69/7
there's again [1] 73/8         70/9 70/12 70/14 72/8 72/8    69/25 78/7 85/21 85/22
there's no [1] 74/21           73/11 73/14 73/16 74/8        90/3 95/17 99/9 108/11
thereafter [1] 161/1           74/9 77/3 78/16 82/10         108/20 113/1 113/4 114/3
therefore [8] 15/6 67/6        82/11 82/12 82/16 82/17       114/9 114/10 114/17 116/2
 76/12 92/13 96/25 162/9       82/17 82/18 82/18 84/1        117/11 117/13 117/20 118/2
 162/16 172/23                 86/8 88/7 90/20 92/22         118/23 129/15 129/16 142/4
thereof [1] 95/15              95/22 101/10 119/3 124/1      150/1 151/4 153/5 154/2
thereto [1] 63/25              126/13 145/13 145/14          156/11 157/17 158/7 158/14
these [70] 10/5 11/5 11/23     158/10 159/3 183/7            158/25 158/25 163/7 163/8
 16/16 17/1 21/20 25/16       they've [10] 31/7 33/6         163/9 163/20 165/1 165/19
 26/3 26/3 30/16 34/8 41/13    57/6 61/22 70/11 100/12       167/1 167/6 175/21
 42/24 44/7 45/13 46/11        100/22 121/22 129/17 141/9   though [11] 28/2 37/23
 46/16 46/17 46/23 47/15      thing [14] 67/3 93/17 97/8     70/13 78/15 90/11 92/4
 47/17 48/1 48/20 50/4         101/25 114/5 124/20 133/13    92/6 158/2 165/25 172/17
 52/24 55/4 56/5 57/1 66/9     137/21 138/14 139/7 150/15    177/15
 67/22 76/10 77/20 77/20       160/20 166/2 183/5           thought [6] 66/17 73/9
 103/25 110/15 112/9 112/10   things [36] 4/15 9/11          115/5 139/19 148/10 168/21
 113/7 113/19 115/15 117/10    12/12 20/8 27/8 32/18        thousand [4] 124/4 124/6
 118/5 118/13 119/6 119/21     67/21 69/7 85/18 96/7         124/8 141/15
 120/22 123/7 124/18 130/24    112/16 115/12 117/7 120/14   thousands [1] 56/16
 135/25 136/1 138/21 144/21    127/5 130/23 131/15 134/24   threaten [2] 30/17 47/11
 149/8 151/18 152/1 155/21     137/16 138/22 144/21 149/4   threatened [4] 46/10 49/15
 156/18 157/13 158/6 158/18    149/23 150/21 150/25 151/5    49/16 95/19
 158/21 158/25 159/6 163/19    151/6 151/7 154/16 156/18    threatening [2] 54/2 95/24
 163/19 169/3 171/19 173/15    163/19 163/21 167/1 170/6    threats [3] 30/2 34/5
 178/5                         177/8 182/13                  50/25
they [168] 3/23 4/20 5/17     think [111] 4/14 6/21 15/8    three [19] 12/25 21/1
 5/21 9/9 13/13 16/2 16/8      16/14 16/15 17/5 23/17        31/21 34/9 36/7 54/12
 17/5 19/14 19/22 20/2 20/9    24/6 27/5 36/20 37/5 37/6     55/18 78/3 100/23 106/22
 20/9 20/10 20/11 22/9         37/11 37/18 40/1 48/18        113/23 120/6 136/25 139/11
 22/11 23/8 23/23 24/13        50/9 51/9 54/7 55/11 57/15    142/5 143/16 145/21 145/22
 24/18 24/19 26/20 26/20       59/3 59/15 59/16 59/17        165/7
 28/21 29/10 29/11 29/12       60/19 61/24 63/19 68/20      threefold [1] 124/8
 29/19 29/19 29/22 30/3        70/3 81/20 81/21 85/11       through [31] 13/16 15/3
 30/3 30/4 30/16 30/16         85/11 86/13 86/14 86/22       20/15 28/10 31/3 33/17
 31/15 31/16 31/19 31/19       88/25 92/3 94/4 96/16 98/5    34/23 51/22 54/15 59/25
 31/22 31/25 32/21 32/21       98/6 99/24 100/15 102/16      73/4 73/5 73/5 91/23
 33/6 34/1 34/6 36/10 37/3     104/22 105/24 110/11 111/8    103/20 106/5 114/9 117/23
 39/4 40/5 42/10 42/25         112/8 113/17 116/19 117/15    123/8 132/20 136/2 143/10
 43/16 45/7 45/14 47/22        120/1 120/10 121/19 126/17    149/7 151/17 156/20 158/23
 47/22 47/23 47/24 48/8        131/24 134/3 135/9 135/14     163/16 181/4 183/16 183/20
 48/10 49/2 50/2 50/6 54/2     136/8 136/17 136/17 136/25    184/11
 54/16 54/17 54/17 56/13       137/24 138/16 139/2 139/11   throughout [10] 32/23
 56/23 56/25 58/8 58/10        139/13 139/14 140/7 140/11    47/10 48/20 57/9 125/3
 59/25 61/21 61/21 64/8        141/4 143/11 143/20 144/6     130/25 135/5 144/5 160/3
 64/9 64/10 65/6 66/14         146/17 148/9 148/14 150/16    161/13
 66/16 66/17 66/21 66/22       151/24 152/22 152/25 153/4   thug [1] 94/19
 68/5 71/1 71/1 71/2 71/2      154/21 154/24 155/7 155/7    thuggery [1] 95/22
 71/3 72/7 72/11 73/7 73/12    159/14 159/25 161/3 161/5    time [163] 4/8 8/8 8/20
 73/15 75/20 76/11 76/12       161/12 162/19 166/20          8/20 12/25 21/22 22/10
time... - under                                                                 Page 224
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 224 of 228
                              tool [1] 47/1                 turn [24] 60/20 94/21
T                             tools [2] 115/15 120/6         113/15 116/9 120/20 120/23
time... [156] 22/17 25/9      top [1] 125/13                 122/12 122/13 125/6 126/1
 28/12 29/3 29/15 29/17       topics [7] 108/22 109/2        127/11 127/12 129/1 130/5
 29/23 30/9 30/13 31/6         110/18 112/9 113/4 113/7      132/9 132/10 134/17 138/2
 31/22 31/25 32/2 32/7         116/8                         141/12 142/20 145/2 146/10
 36/10 41/7 44/11 44/11       tornado [1] 156/20             152/21 172/25
 46/1 46/1 48/16 51/3 51/5    total [2] 172/2 172/3         turned [3] 77/15 141/1
 52/2 52/14 53/17 53/20       tough [1] 41/17                176/10
 56/12 59/2 59/18 59/20       tours [1] 57/8                turning [2] 123/13 130/3
 64/8 70/10 70/10 72/13       towards [1] 101/5             turns [2] 100/8 180/10
 72/23 72/25 73/1 74/4        tower [8] 72/2 72/5 73/23     twenty [2] 134/5 134/6
 74/18 74/21 75/13 75/20       74/4 74/8 74/10 75/8 75/11   two [54] 9/11 17/16 19/21
 75/20 76/13 76/13 77/23      town [1] 65/19                 19/21 44/5 44/7 61/25 66/5
 77/25 80/19 80/19 80/24      traceable [3] 61/16 86/8       66/25 67/3 68/2 76/12
 81/8 81/9 81/10 81/12 82/2    99/1                          76/18 76/21 80/12 81/16
 82/4 82/5 82/7 82/16 82/18   track [2] 102/24 174/9         85/4 86/6 87/16 89/2 89/2
 83/23 84/5 86/25 87/21       tracks [1] 52/6                89/7 90/1 90/2 90/15 97/6
 87/21 87/21 97/1 99/16       trade [3] 95/25 109/13         97/7 99/10 103/13 103/15
 100/15 103/3 104/9 106/1      110/21                        106/5 108/25 114/14 115/14
 117/10 118/25 119/3 122/15   traded [1] 80/21               118/17 118/17 129/1 132/21
 122/16 126/9 127/20 127/20   traditional [3] 80/23          132/21 133/15 135/16
 128/18 128/23 129/7 129/20    144/2 152/3                   135/19 138/22 143/10
 129/24 130/22 133/24 134/1   traditionally [2] 128/2        143/13 144/19 145/23 146/1
 135/4 137/10 137/22 138/18    128/8                         148/16 164/4 165/6 165/15
 139/9 146/25 150/23 152/1    traffic [6] 32/6 71/12         175/21 182/15
 155/15 157/16 161/9 161/9     120/15 157/1 180/11 182/18   two-way [2] 66/5 90/15
 161/18 161/18 162/22 163/3   train [1] 126/13              type [21] 10/25 27/16
 163/4 165/14 166/6 166/8     trained [1] 111/18             78/25 115/19 119/9 120/17
 167/21 168/7 168/20 169/4    training [3] 126/25 127/3      122/6 122/25 130/18 133/8
 169/16 170/14 170/15          127/4                         133/8 133/9 139/1 139/4
 170/25 171/5 171/7 171/8     transcript [3] 1/9 1/25        139/5 141/22 152/12 156/6
 171/12 171/13 171/14 172/1    185/4                         157/18 163/1 166/2
 172/3 173/16 174/21 174/22   transcription [1] 1/25        types [8] 108/22 115/25
 175/19 175/19 175/22         transcripts [2] 6/13 6/17      116/6 125/13 133/15 167/6
 176/13 176/14 176/23 177/7   transgressions [1] 46/18       171/19 179/20
 177/7 177/14 178/10 178/11   transport [3] 56/25 102/5     typesets [1] 133/22
 178/22 179/1 179/5 179/11     102/6                        typically [4] 16/24 21/15
 179/17 179/21 180/22 181/1   Transportation [1] 102/3       26/12 128/5
 181/13 181/14 181/20         treated [1] 12/22
 181/24 181/25 182/3 182/4    tremendous [1] 102/4          U
 182/8 183/18                 tried [4] 24/18 27/17         U.S [19] 1/22 8/14 9/22
timeframe [1] 49/4             27/18 28/16                   11/3 11/4 15/25 33/11
timeline [1] 30/21            triggered [2] 25/4 26/18       33/20 57/4 109/7 109/9
timely [3] 7/21 8/10 31/17    trillion [1] 123/5             109/19 109/20 110/12 164/2
times [8] 41/17 54/12         trips [2] 48/15 48/15          164/11 173/25 174/1 174/9
 55/18 64/13 97/2 97/4        troops [2] 57/5 57/7          U.S.C [3] 63/6 97/14 97/20
 149/25 179/19                trouble [2] 77/9 102/2        ultimately [1] 141/17
tired [1] 101/25              troubling [3] 98/21 98/22     unacceptable [2] 37/3
title [3] 138/6 138/6          101/9                         57/10
 139/24                       trough [1] 139/3              unassigned [1] 31/22
titles [1] 108/10             truck [1] 156/15              unconscionable [1] 8/18
today [13] 4/1 7/13 43/16     true [9] 49/22 88/6 94/9      uncontrollable [5] 156/2
 62/3 68/6 68/10 71/9 76/20    143/8 143/12 146/23 147/16    157/6 157/9 157/21 167/18
 78/3 90/11 95/3 99/24         163/18 171/15                uncontrollables [1] 157/11
 100/16                       truly [1] 103/9               under [74] 3/24 4/16 5/12
together [3] 42/5 97/1        trust [1] 153/24               5/21 6/5 12/7 12/9 12/17
 164/10                       trusted [1] 154/3              12/22 13/7 14/13 15/3 17/9
told [11] 42/3 47/6 47/20     try [23] 12/19 16/21 22/8      17/10 17/15 19/12 19/22
 48/14 51/4 51/7 54/21         24/11 24/13 37/4 38/12        20/19 20/22 21/8 21/12
 61/22 75/8 83/17 161/22       38/18 38/18 55/7 60/17        21/15 23/25 25/20 26/6
tolerance [1] 34/2             65/16 78/25 82/11 98/3        33/18 36/6 36/19 38/25
toll [1] 58/7                  99/12 106/3 118/15 120/1      39/10 40/13 40/18 54/8
tomorrow [1] 184/4             123/1 130/22 151/17 184/10    55/6 57/17 57/21 61/4 62/6
tongue [1] 94/6               trying [19] 15/2 16/22         66/13 66/18 66/20 68/2
tonight [3] 183/24 184/7       17/3 19/25 21/16 68/20        72/25 73/17 75/18 76/21
 184/15                        74/15 82/12 88/7 89/21        76/23 77/1 77/2 78/23
tonight's [1] 184/2            92/20 98/23 101/10 103/1      82/19 84/2 88/20 89/22
too [5] 33/7 63/19 82/8        140/18 157/5 167/9 182/9      90/4 90/15 91/9 92/1 92/10
 82/9 89/4                     184/9                         92/10 92/14 92/17 93/6
took [2] 66/1 87/3            trying to [1] 92/20            93/18 94/13 94/14 95/13
under... - very                                                                 Page 225
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 225 of 228
                              units [1] 90/2                 37/3 46/5 49/2 56/25 79/8
U                             univariate [1] 140/9           79/15 96/12 96/13 98/14
under... [7] 99/9 99/25       universe [2] 157/4 157/8       99/5 99/11 119/6 132/20
 100/4 142/5 171/1 171/10     University [3] 107/25          150/19 150/19 152/12 154/5
 176/22                        108/1 108/2                   160/10 168/1 168/9
undergoing [1] 152/16         unlawful [2] 47/9 95/18       used [26] 7/2 21/24 30/4
underlying [14] 5/22          unlawfully [2] 58/7 60/24      32/4 49/11 53/6 77/23 79/9
 116/20 116/22 118/4 138/12   unless [9] 21/13 25/9          88/2 112/17 115/10 115/16
 140/16 143/4 143/8 147/15     41/23 58/18 64/2 78/18        115/20 116/5 116/6 119/22
 150/7 156/13 169/7 169/8      180/2 180/4 180/8             119/23 125/3 129/16 138/11
 169/13                       unlike [3] 17/9 19/12          144/11 154/18 155/8 157/19
understand [28] 68/3 72/19     21/11                         159/17 173/15
 76/6 78/1 78/8 79/23 81/3    unloaded [1] 56/14            useful [3] 170/2 170/5
 82/21 83/10 83/18 83/24      unloading [1] 182/21           170/8
 93/7 98/15 106/5 112/10      unnecessary [2] 57/7          uses [2] 117/3 144/5
 115/1 149/2 150/18 153/6      102/18                       using [11] 22/13 69/5 85/9
 156/1 157/5 165/9 166/10     unrelated [1] 77/11            88/21 102/11 115/20 119/16
 167/1 168/17 171/6 174/19    unresolved [2] 22/11 22/18     142/11 155/14 155/14
 181/6                        unstoppable [1] 42/14          157/17
understanding [7] 4/21        unsuccessful [1] 29/7         usually [2] 25/19 130/20
 75/3 98/1 116/20 140/18      unsupportable [1] 53/2        UTC [1] 87/21
 151/20 166/6                 until [17] 19/10 21/5         utilization [2] 116/2
understating [2] 123/9         21/13 25/9 32/1 51/5 58/18    125/2
 167/5                         64/2 66/12 83/23 84/5 86/6
understood [4] 26/24 65/23     131/10 131/20 134/7 134/8    V
 86/7 112/20                   160/20                       valid [2] 136/6 158/19
undertake [1] 114/24          unusual [1] 139/1             variable [17] 117/12 118/7
unexpected [1] 32/5           up [57] 17/1 25/16 26/4        140/9 140/18 141/13 142/1
unfair [1] 93/24               26/12 39/1 45/2 50/12 52/2    142/1 142/8 143/11 144/4
unfortunately [1] 48/16        60/19 67/21 74/9 74/9         144/17 158/3 158/4 158/5
unhappy [1] 67/16              74/17 74/17 76/22 76/23       173/13 173/24 177/15
unilateral [2] 21/5 25/10      83/15 87/20 93/17 99/6       variables [10] 32/7 116/16
union [116] 3/23 5/23 9/11     106/3 107/14 113/18 119/5     116/17 144/10 158/10
 9/14 9/15 12/21 13/1 13/3     121/12 122/14 126/15          158/21 173/7 173/8 177/11
 15/23 15/23 16/17 18/11       128/14 128/14 129/19 131/9    177/22
 18/21 21/4 21/4 23/2 23/4     131/19 137/20 140/8 142/6    variance [1] 172/3
 23/5 23/11 23/17 23/18        142/12 151/18 153/3 156/10   variation [5] 119/12
 24/10 26/16 26/19 26/22       156/14 163/22 165/13          119/20 122/5 124/13 139/2
 26/25 27/15 27/16 27/24       171/14 172/17 173/23         variety [1] 119/7
 28/16 29/6 29/17 29/25        177/16 177/19 178/1 178/14   various [9] 48/1 91/6 97/9
 30/14 30/17 32/10 32/12       178/19 179/8 179/12 180/7     108/21 108/22 110/4 112/16
 33/21 35/8 36/1 36/4 37/17    180/10 180/14 182/18 184/7    114/1 160/8
 38/17 39/12 39/15 40/8       upcoming [5] 8/10 39/22       vendor [2] 149/5 149/7
 40/9 40/11 40/19 41/3 41/9    49/3 49/18 55/21             venture [1] 123/5
 41/20 43/5 43/20 45/15       update [2] 49/5 49/5          verify [1] 153/14
 46/4 46/9 46/10 47/7 47/24   upheld [1] 85/17              version [2] 137/23 138/19
 48/2 49/13 50/1 50/12        uphold [2] 44/11 85/21        versus [22] 3/3 9/18 9/19
 50/19 50/25 51/3 51/18       upon [16] 5/25 7/19 61/13      9/20 9/22 9/24 10/14 11/4
 52/15 54/1 54/10 54/14        68/4 68/24 80/6 85/25         16/1 33/11 68/2 74/17
 54/15 54/24 55/3 55/19        88/16 94/7 95/5 98/25         74/22 87/21 88/24 89/1
 55/19 55/20 55/23 61/12       101/8 112/15 154/11 154/12    91/8 95/5 100/25 102/15
 65/15 66/24 68/11 68/13       165/2                         110/12 164/23
 76/3 76/7 76/24 77/17 83/3   ups [2] 52/3 169/25           vertical [1] 138/15
 83/6 83/12 84/4 86/2 89/20   urge [1] 33/4                 very [65] 6/23 7/19 21/22
 90/24 92/15 92/16 95/25      urged [4] 34/7 35/8 48/21      22/8 22/10 28/20 33/10
 101/24 114/2 114/8 118/19     49/13                         36/19 38/7 38/10 48/24
 119/15 122/10 125/15         urging [1] 35/9                58/19 59/21 65/8 66/8
 126/12 128/10 131/10         us [30] 41/22 42/4 48/9        69/19 79/16 80/11 80/22
 134/22 135/3 136/13 145/10    60/17 61/22 67/24 67/25       80/22 80/24 88/16 88/16
 159/7 176/5 176/17 177/3      74/12 78/17 82/10 82/11       91/18 94/22 94/22 95/24
union's [9] 10/22 30/15        82/11 82/12 82/13 85/5        98/21 98/22 101/9 102/2
 31/11 37/13 42/11 44/3        85/5 85/8 88/2 90/7 95/23     102/8 102/8 102/25 103/2
 83/22 84/3 125/21             99/5 101/9 101/10 109/4       106/18 106/20 107/4 111/8
union-directed [1] 33/21       119/22 138/9 143/1 149/20     111/9 116/2 116/4 116/4
unions [2] 25/23 88/10         174/3 183/18                  116/4 116/6 120/2 127/1
unique [2] 21/17 162/24       usage [1] 35/7                 133/11 135/12 135/12
unit [1] 89/22                USAPA [7] 9/22 11/4 16/1       137/17 137/17 137/18
UNITED [17] 1/1 1/10 8/1       33/11 33/20 110/12 164/2      137/18 137/22 138/24
 9/18 9/20 16/2 57/2 88/22    USAPA-U.S [1] 164/2            140/21 147/2 148/3 165/13
 88/24 89/1 89/4 89/7 109/8   USDOT [1] 109/19               166/17 167/10 167/12
 109/8 109/16 164/23 174/7    use [23] 10/22 11/9 34/4       169/24 184/20
vice - well-recognized                                                          Page 226
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 226 of 228
                              wanted [8] 4/5 89/10          ways [4] 32/20 48/25 50/11
V                              112/20 133/23 154/17          77/20
vice [3] 3/18 34/20 108/6      166/10 175/10 175/13         we [246]
Victoria [1] 108/3            wants [1] 3/20                we'd [2] 74/9 111/4
video [1] 45/25               warned [1] 47/15              we'll [11] 6/19 34/19
view [9] 84/20 84/23 99/9     was [182] 3/22 3/24 4/10       80/10 103/17 106/23 160/10
 104/23 134/20 135/16          4/19 4/21 4/22 6/15 6/16      161/12 181/4 182/14 183/10
 138/10 139/18 146/18          10/13 11/2 14/8 14/9 18/12    184/10
views [1] 25/23                22/1 22/3 23/12 26/17        we're [69] 6/10 7/13 24/2
vigorously [1] 98/16           26/18 26/24 27/1 27/6 27/8    24/3 24/3 26/21 26/23
violate [2] 70/3 70/4          27/12 27/14 27/24 27/25       35/19 36/7 36/13 36/14
violated [1] 61/9              28/2 28/3 28/6 28/10 28/15    37/25 44/17 48/14 53/15
violates [1] 37/6              28/16 28/18 28/19 29/2        55/21 62/2 63/7 67/2 67/4
violating [5] 12/1 66/17       29/5 29/9 29/24 29/25 32/8    67/4 67/16 67/18 67/21
 69/22 69/24 88/12             33/21 35/18 35/24 37/12       67/21 69/4 69/9 69/9 69/10
violation [30] 10/11 11/11     37/19 39/1 39/6 40/12         69/12 69/13 72/2 74/9
 11/14 11/19 12/4 12/5 12/8    40/25 41/3 41/15 42/8         74/21 75/17 75/21 77/18
 13/23 13/25 14/25 15/15       42/19 42/20 44/24 45/24       80/15 80/16 81/4 83/1
 15/19 18/11 30/8 30/24        47/7 48/14 49/14 54/13        84/23 85/20 88/3 91/21
 35/17 55/14 57/21 58/15       54/23 55/2 55/5 57/13         98/1 98/14 99/21 102/21
 60/23 61/3 61/20 61/21        58/24 59/6 59/9 61/12         103/6 103/12 103/14 113/18
 67/7 71/18 71/20 85/12        65/13 65/13 65/20 65/20       113/18 116/23 117/6 117/10
 90/22 90/23 93/25             67/8 68/13 68/17 68/18        117/12 123/18 127/6 130/4
violations [2] 65/2 65/16      68/18 73/9 77/8 77/10         156/23 158/11 162/22
violators [1] 46/21            77/16 77/17 77/18 79/24       170/12 174/16 181/8 182/6
violence [1] 94/19             79/25 80/1 83/20 85/21        182/11
Virginia [1] 65/22             87/1 87/1 87/2 87/8 87/22    we've [19] 7/2 31/11 55/11
virtually [2] 32/24 110/25     90/11 90/12 90/23 93/23       57/11 57/18 58/5 59/19
visual [2] 135/8 138/24        94/19 98/6 99/24 102/14       69/14 71/17 77/23 89/8
vitae [1] 107/21               103/4 104/4 108/9 108/10      89/12 90/3 94/10 99/7
vital [1] 7/18                 110/8 110/10 110/11 110/11    101/9 101/12 150/17 184/15
voir [8] 2/10 2/11 106/13      112/14 112/15 112/21         weapon [1] 46/6
 107/1 111/9 111/12 112/12     113/24 113/25 114/5 114/5    weather [16] 32/6 115/11
 131/4                         115/5 116/17 117/13 121/21    120/15 120/17 133/8 149/4
volume [2] 107/12 107/17       122/16 124/5 125/11 128/22    149/5 153/8 156/6 156/18
volumes [1] 108/25             129/15 131/13 131/13          156/22 157/12 158/23
voluntarily [3] 67/20 68/7     131/14 133/1 134/21 138/11    166/24 168/23 170/6
 89/23                         138/13 139/3 139/4 141/25    WeatherUnderground [1]
voluntary [2] 10/16 30/13      142/12 143/5 146/9 146/21     149/6
volunteered [1] 31/23          147/6 147/16 148/7 148/9     weed [2] 165/17 170/6
volunteering [1] 29/3          148/10 148/14 148/16         week [3] 67/8 158/13
vomited [1] 87/4               148/25 149/10 149/11          158/16
voucher [1] 78/14              149/14 149/18 149/19 150/2   weeks [1] 41/25
W                              151/17 153/19 153/19         welcome [5] 3/10 3/19
                               153/25 154/1 154/2 154/4      130/1 183/23 184/4
wage [1] 27/11                 154/9 155/7 157/4 160/11     well [85] 3/17 3/19 6/4
wait [5] 32/9 36/12 83/21      162/25 164/1 164/7 164/7      7/20 10/24 14/5 16/15 19/5
 83/23 84/5                    164/9 164/18 166/5 166/6      23/14 25/7 38/15 42/17
waiting [2] 24/3 24/3          166/6 167/8 168/17 168/21     49/20 59/5 63/18 63/20
waived [3] 18/4 90/4 96/20     169/3 173/19 173/21 173/22    64/3 68/3 69/10 71/13
waiver [2] 17/23 50/8          176/12 179/7                  72/10 73/10 73/22 75/1
walk [3] 20/15 77/22 87/11    Washington [5] 1/4 1/13        76/2 77/3 78/1 83/9 91/14
want [73] 4/4 6/8 27/18        1/16 1/19 1/24                95/25 96/5 98/12 98/15
 34/25 42/6 43/20 59/15       wasn't [11] 14/6 14/7 67/7     98/15 99/23 100/6 103/9
 59/17 66/20 67/4 67/17        80/1 86/15 87/1 88/6 94/19    104/11 104/22 104/25
 67/20 71/9 71/21 72/17        99/25 122/17 170/1            109/13 109/17 114/23 116/3
 73/3 75/2 78/2 83/10 83/13   watching [2] 48/15 48/16       116/7 121/1 127/15 133/10
 83/19 83/24 84/20 84/22      watermark [1] 121/24           133/20 136/5 137/1 138/11
 85/13 85/14 95/5 96/5 98/3   way [52] 12/19 13/15 14/23     145/11 148/20 149/2 150/15
 99/16 99/17 100/16 101/3      15/17 15/20 17/6 18/9         152/15 152/21 154/12
 101/16 102/17 102/22 103/5    22/25 25/7 25/24 33/3 37/3    154/20 154/24 155/4 155/5
 103/19 103/19 104/6 106/2     41/2 44/21 47/5 51/12 66/5    155/14 155/20 158/5 159/14
 112/10 115/1 123/21 140/13    67/22 69/2 70/22 71/16        159/16 162/4 162/15 163/5
 146/3 150/22 150/23 151/6     75/11 82/3 85/2 85/3 90/10    164/19 165/6 165/13 166/1
 155/1 155/11 156/11 156/12    90/15 93/8 94/17 98/3         166/18 167/17 167/22 174/4
 156/20 156/21 158/11          99/12 101/8 114/23 116/16     174/14 178/7 182/7 183/2
 163/23 163/24 165/16          121/6 125/1 125/4 134/25      183/13 183/17
 165/17 166/21 167/17          136/13 136/19 138/16         well orchestrated [1]
 169/21 169/22 171/5 174/16    139/14 140/8 140/21 140/24    183/2
 179/3 179/6 181/7 182/8       141/3 141/22 145/17 155/2    well-established [1] 91/14
 183/25 184/13 184/16          163/16 182/25 183/15         well-recognized [1] 10/24
Wells - withdraw                                                                Page 227
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 227 of 228
                               179/19 179/22 180/10          177/5 178/3 179/5 181/13
W                              180/13 181/12 181/16         which is [1] 177/5
Wells [2] 54/15 105/1          181/19 182/3 182/15          while [7] 24/8 24/16 24/18
went [7] 59/5 81/11 114/23    whenever [2] 115/1 124/19      40/5 48/23 145/13 169/1
 142/12 152/22 161/15         where [59] 14/6 14/23 15/4    white [3] 18/8 30/18 37/16
 184/15                        15/18 16/4 19/25 20/1        who [41] 6/5 8/7 8/16 21/1
were [88] 5/12 5/17 6/18       21/12 26/19 33/12 38/21       23/7 30/3 30/17 34/10
 9/18 11/6 14/6 18/5 22/4      45/14 47/22 55/14 56/9        34/19 39/18 44/6 45/25
 26/16 29/2 29/16 35/12        56/14 63/21 63/24 64/13       46/11 46/20 46/23 47/13
 39/4 41/13 42/16 47/23        64/16 66/6 66/15 67/11        50/18 57/12 76/10 76/25
 47/23 47/24 50/4 54/17        68/20 69/2 79/9 81/24 82/5    77/2 80/20 87/1 87/3 87/10
 54/22 57/12 61/14 61/15       86/22 87/16 88/11 92/3        87/10 87/17 87/18 87/19
 66/17 67/6 67/7 68/5 68/19    93/11 93/22 94/20 97/5        101/21 101/23 104/5 104/12
 69/6 69/8 77/9 77/10 77/18    97/6 97/8 112/15 122/17       104/14 104/18 105/2 115/16
 83/19 86/4 86/7 88/9 97/1     123/7 126/24 130/13 130/19    127/2 127/7 140/12 179/25
 97/12 98/25 98/25 99/1        132/7 133/7 133/11 137/9     who's [4] 42/11 58/22
 101/14 101/20 102/10          155/5 156/22 157/19 165/16    101/20 101/21
 102/11 102/13 113/21          173/10 173/22 176/16 179/3   whole [10] 26/8 72/12 79/5
 113/23 114/4 114/10 114/11    179/17 180/19 180/19          110/22 115/12 150/25
 114/15 114/15 114/16         whereby [1] 31/25              155/20 159/4 178/24 178/25
 114/17 114/22 119/4 121/17   whether [49] 15/12 16/23      wholeheartedly [1] 151/8
 123/2 126/4 126/16 128/15     16/23 17/4 23/25 24/12       wholly [2] 162/7 171/11
 128/16 139/20 143/17          35/18 35/22 39/4 39/5        whom [2] 71/4 95/16
 146/21 146/22 148/3 149/10    47/17 47/22 47/23 47/24      whose [1] 89/25
 149/22 149/23 151/7 151/16    62/18 66/6 68/15 70/10       why [25] 6/5 16/16 21/14
 154/20 156/2 157/11 159/11    72/24 73/6 73/16 75/12        29/10 32/10 37/18 60/2
 161/9 161/22 162/1 162/16     92/22 93/23 93/24 93/25       66/24 68/1 72/10 72/11
 163/21 164/9 173/20 180/15    100/9 104/8 113/24 114/3      83/13 83/16 83/22 83/24
 182/25                        114/10 114/11 119/22 121/7    84/3 112/10 117/5 134/7
weren't [1] 102/12             123/2 124/21 132/19 141/23    135/17 140/2 150/19 154/17
West [1] 92/2                  147/7 153/18 163/2 163/24     165/5 166/13
Western [2] 9/23 33/11         166/10 167/14 168/4 168/19   wide [2] 110/18 116/8
what [228]                     169/19 177/18 177/24         widespread [2] 133/14
what stop [1] 78/16           which [156] 6/15 6/16 7/22     133/21
what's [21] 19/17 23/18        8/23 9/1 12/2 12/17 12/19    widespread in [1] 133/21
 45/9 64/25 74/16 83/3 83/5    13/8 14/13 14/20 18/8        will [83] 3/4 3/8 5/23 6/2
 90/8 93/11 93/25 102/1        19/20 20/24 21/7 24/4         6/7 7/5 8/11 15/24 22/8
 104/23 116/19 117/18          25/13 26/15 28/7 29/23        22/16 22/18 28/21 28/21
 123/10 127/7 127/19 143/14    32/5 32/15 32/23 36/1 39/2    34/20 35/1 35/5 39/17
 162/12 167/20 181/14          39/10 39/11 40/18 41/18       39/18 39/21 41/17 41/24
whatever [4] 78/13 87/12       42/2 42/16 43/5 43/11 44/5    42/4 42/14 45/20 47/16
 93/4 101/17                   44/24 50/21 51/20 52/6        47/18 47/21 47/24 49/21
whatsoever [3] 51/10 72/5      55/5 59/9 61/8 61/15 62/2     53/12 55/23 57/3 58/1
 136/8                         63/5 63/7 63/9 63/11 63/11    58/17 60/22 63/12 63/15
when [116] 11/11 12/15         63/14 66/14 69/12 71/2        63/19 64/21 65/4 65/14
 13/22 14/15 14/16 16/5        76/16 76/17 77/10 81/14       65/15 65/18 67/13 68/20
 23/17 23/23 24/24 25/18       83/7 83/20 83/25 85/19        68/23 71/8 77/13 80/7
 25/19 26/4 26/4 26/12         93/5 93/7 95/18 97/14         84/25 85/2 91/5 101/23
 26/22 27/6 27/18 29/25        97/23 102/10 102/13 102/18    101/24 103/9 103/14 103/25
 30/5 30/8 30/9 30/16 32/2     107/11 108/7 108/19 109/1     104/16 105/4 112/25 120/16
 32/8 37/17 38/9 40/7 42/23    109/5 110/15 114/17 114/24    124/2 131/23 134/3 140/4
 44/9 46/23 47/4 52/5 54/13    115/9 116/13 118/11 119/4     140/22 140/24 141/5 151/8
 56/6 56/13 61/11 64/12        119/7 119/8 119/10 121/6      155/10 159/7 169/25 171/15
 64/19 66/1 71/1 72/12         121/18 121/19 124/25 125/7    174/14 175/8 176/1 176/6
 72/16 72/19 72/21 74/22       125/10 125/11 126/12          176/16 178/8 179/16 181/7
 74/23 76/22 77/6 78/23        126/15 127/13 127/20 128/4    183/13 184/4
 79/18 81/15 82/20 83/9        128/6 128/10 128/16 128/17   William [1] 39/17
 84/10 85/22 85/23 92/18       129/6 129/19 130/24 132/15   willing [3] 42/7 161/12
 94/18 97/6 97/7 99/2          132/23 134/18 135/9 136/17    184/2
 102/14 119/3 119/16 121/9     136/19 136/22 136/25         willingness [2] 118/25
 122/25 123/20 127/21          137/16 137/24 138/13          119/2
 131/10 131/15 131/16          138/15 138/22 139/14         willy [1] 73/1
 131/17 131/24 132/18 133/1    139/18 140/8 140/8 140/14    win [1] 50/8
 136/11 139/13 142/4 147/4     141/10 142/2 142/15 142/15   wind [6] 178/24 179/8
 148/3 148/7 148/10 148/12     143/11 143/20 144/4 144/17    179/14 180/6 180/6 180/20
 148/19 150/8 150/16 153/7     144/17 144/25 145/3 145/3    window [2] 128/6 128/17
 153/9 153/12 154/8 156/8      146/1 146/7 146/11 149/5     winds [2] 169/5 180/19
 157/23 159/23 159/24 160/2    149/21 150/4 150/6 152/4     wipe [1] 151/3
 160/17 161/4 161/8 161/22     152/4 152/25 154/23 156/8    wishes [1] 104/8
 163/1 163/22 165/7 167/11     161/4 162/2 164/8 168/1      with a [1] 16/4
 168/3 168/18 171/18 172/7     168/19 173/1 174/3 174/9     withdraw [1] 172/19
within - Zulu                                                           Page 228
    Case 1:17-cv-01953-RDM Document 53 Filed 11/16/17 Page 228 of 228
                             126/4 126/7 129/11 133/6
W                            133/13 135/1 135/9 135/24
within [10] 22/10 63/15      137/15 138/3 138/16 139/1
 89/6 95/18 99/8 128/17      139/7 139/15 141/1 141/2
 162/7 169/3 176/12 179/11   141/4 143/3 146/17 151/11
without [14] 6/13 24/11      151/16 151/19 151/19
 36/3 48/9 53/3 57/6 57/23   151/21 152/4 154/21 157/8
 71/6 74/3 100/18 103/20     158/3 158/7 158/7 158/12
 104/6 105/6 154/5           158/19 159/12 160/15
witness [15] 2/8 31/4        161/15 161/21 163/15
 39/17 60/5 103/5 103/7      163/18 165/23 166/2 166/3
 107/1 109/22 110/5 110/10   166/22 171/9 172/18 173/22
 111/12 113/9 147/24 180/9   177/15 177/21 177/24 178/7
 183/20                      178/17 179/9 180/9 180/16
witnesses [13] 27/4 30/24    183/4 183/21
 31/6 34/9 59/24 104/5      wouldn't [9] 30/3 37/10
 104/7 104/7 104/12 104/25   83/11 83/19 127/5 141/3
 105/8 105/16 179/25         160/13 161/1 183/1
women [2] 8/15 8/18         write [1] 52/3
won [1] 44/12               writing [2] 68/6 119/5
won't [4] 37/21 49/24       written [1] 108/16
 51/22 77/24                wrong [2] 53/13 53/15
wondering [1] 177/6         wrote [2] 13/4 54/13
word [8] 29/21 30/4 37/3
 50/14 68/14 69/5 77/6      Y
 77/23                      yeah [15] 6/21 59/6 59/8
words [11] 28/9 33/9 49/11 70/1 73/15 74/11 79/24
 77/17 77/20 85/9 86/11      82/21 86/17 88/1 88/10
 94/19 95/22 99/3 146/8      89/6 96/15 97/19 167/8
work [12] 10/23 10/24 20/9 year [30] 10/1 20/6 24/10
 32/25 38/12 50/12 66/2      24/16 49/8 49/12 54/20
 73/2 85/18 109/1 110/25     67/14 67/15 67/16 67/21
 114/24                      67/22 67/23 67/25 68/2
worked [5] 7/2 20/5 71/13    78/4 90/13 99/5 99/6
 109/7 111/1                 121/22 131/14 131/20 133/1
workforce [5] 68/19 69/20    137/13 137/13 139/3 144/15
 84/9 84/14 84/14            158/14 158/16 164/16
working [18] 42/13 52/21    years [12] 25/17 78/4 96/9
 62/17 63/9 64/1 64/18       96/9 102/25 108/12 109/6
 64/19 64/21 64/24 77/10     111/1 121/12 147/1 174/19
 87/2 124/18 125/4 135/21    176/6
 145/2 145/14 146/8 174/20 yes [25] 12/7 16/13 20/14
world [10] 8/17 36/1 57/9    38/21 75/12 89/25 98/12
 82/5 130/12 130/13 130/17   103/11 107/9 109/24 110/8
 131/1 146/19 177/10         110/10 110/25 113/14 122/6
world is [1] 177/10          134/16 137/1 138/1 138/5
worldwide [3] 7/21 125/25    138/8 149/14 153/4 156/11
 166/25                      168/10 173/4
worry [2] 45/20 78/14       yet [11] 82/14 82/21 82/24
worse [1] 46/8               87/22 96/1 98/1 104/5
worst [1] 86/25              163/7 165/4 171/8 177/2
would [137] 4/1 4/3 4/12    York [7] 21/19 23/6 23/24
 4/25 5/3 6/21 8/21 17/14    24/9 33/12 58/23 89/18
 18/24 19/1 19/25 20/2 20/2 you [614]
 21/15 21/24 22/11 22/22    you'd [2] 59/16 112/10
 23/20 25/25 27/3 32/12     you'll [8] 16/16 59/3 91/3
 32/12 44/21 49/16 49/17     129/1 145/7 172/25 176/2
 51/24 59/17 59/24 66/16     182/1
 66/18 67/11 67/12 68/7     young [4] 78/12 84/9 84/9
 70/3 70/4 71/2 71/2 73/6    84/24
 75/4 75/7 77/25 82/3 82/9 yours [2] 6/8 60/10
 84/22 88/14 89/1 92/2 92/3 yourselves [1] 3/5
 93/7 93/8 93/21 96/22
 97/16 98/12 98/13 99/18    Z
 99/19 99/20 100/18 100/20 Zealand [1] 109/13
 101/19 102/12 104/18       zero [5] 45/2 81/13 81/21
 104/20 105/21 105/23        129/19 138/15
 106/12 107/17 111/9 114/23 zone [1] 57/13
 115/9 115/13 115/22 116/11 Zulu [1] 87/21
 117/8 117/15 118/3 121/13
 122/9 122/23 123/4 123/14
